    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 1 of 271 PAGEID #: 23




                        IN 'FHE C4U~2T OF COMMQN FLEAS
                             HAMZLT~N CQUNTY,UH~Q
                                  CIVIL DIVI~IQN

CHRISTOPHER ATWOOD                          Case No.    p 1 6 0 25 3
3399 Ky. 910
Liberty,KY 42539

And                                        JUDGE

REBEIfAH BRADY
212 Locust Avenue                          C~MFLAINT
~'larence, KY 41042                        & JURY bEMAND

And

.TENN~F~R H~C~~X                           (ALL NEW DR. DURRAN~
8783 Ricla~x~ond Road                      CASES SHALL GO TO JUDGE
Union, KY 41 d91                           RUEHLMAN FER ~IIS ORDER)

A7ld

ROBERT & MELArIV~ ~IOU~HTQN
4~ 3 Barkley Street
Falmouth KY,4104

And

PAUL MARKSB~'Y,JR
1211 Garrard St.
Covington, ~,Y 41011

A~.~d

HIRAM & DAWN MCCAULEY
373 Autunu~ Road
Elsmere, ~~'4~ X18

And

CAROL ROSS
~'o $ox 63~
Milan, Indiaaaa 47031

And
     Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 2 of 271 PAGEID #: 24




MIC~A,~L &DIANE SANDER
2014 Bentan Road, Apt. B
Covington, KY ~1 Q 1 I

And

AAV~~f ce. NANGY SHEMPERT
2? Chaz~~.bers Avenue
Walton,KY 41094

A,nd

RICHARD ALLEN STANFr~I.~~
4258 Aspen Drive
Independence, KY 41051

        Plaintiffs,

v.


A~iYJ~AKAR ATIQ DURRANI,IVY.D.,
Sezve; 4rthc~~edic &Spine Institute
2~3 C~ial Road
Lahore 540010 Pakistan
(Serve by regular snail

And

CENTER FOR ADVANCES S~'ZNE
TECHNOLOGIES,YNC.
Serve: Orthopedic &Spine Institute
203 Canal Road
Lahore S~U~O P~.kista~i
(serve by regula3• mail

Anc~

WEST CHESTER HOSPITAL,LLC
7700 C~NIVE~SITY DRIVE
WES"I` CHESTER, OH 4569
S~~VE; GH&R BUSINESS SVCS., INC.
511 WALNUT STREET
19QU FIF'T'H THIRD CENTER
CINCINNATI, OIL 452Q2
(Serve via Cei-~xfied rn~il)
    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 3 of 271 PAGEID #: 25




And

UC HEALTH
SERVE: GH&R.BUSINESS S~VCS.,INC.
511 WALNUT STREET
1900 FIFT~I TI~ZRD CENTER
CINCINNATI,~~I 45202
(Serve via Certified mail)

                Defendants.



        Come novt~ Plaintiffs, anal ~1~ this Complaint end jury t~ema~~d, pursuant to the agreement

ofthe parties and Order oftie Court, and state as follows:

                                  IN`~'Rt}DUCTORY 1'A~2.A.GRAPH

1. All ofthe Plaintiffs filed in t(lis lawsuit ire residents of ~lc~ domiciled in the State of Oluo.

2, Plaintiffs have filets these cases together because of the canimo~ ~~tct each of them hacl

    surgeries pe~•~ormecl by Di•. Durrani while ~e ~vxs nncle~• suspension at West Chestet~

    Hospital.

3. A i~iemorazadum, attached ~s E~~ibit A,discusses conversations that Brian Isaacs and S~.r~ten

    Hughes La~v firm had, vr~ich adc1~•esses and caz~firms tlla# Dr. Dur~atli was suspended fiam

    AugEist 6, X010 thrau~h at least October 5, 2014 at West Gh.estex Haspieal. E~libit B is the

    list of cases subject to this CotnpJaint allegation.

4. 7'Yz~ nnemoi•arrdum states, Dr, Duimai3i was suspended h~ vas nat alloi~ved to sckzedule ~~~v

    patients or perform surgeries, etc.

5. Dr. Dtit'Cc~t1F, during his suspension from A~igust 6,2010 until October• 5, 20105 performed

    surgeries an m~iltiple Plaint~~f's by labeling tlae surgeries "emergencies."

6, Dr, I7t.u~•ar~i perforrz~ed more than 30 s«rgeiies while he was under suspensio~i at Nest

    Chester Hospital,
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 4 of 271 PAGEID #: 26




7, ~'lainti~fs, Coiit~ie Under~~ood, Debbie Rod1•iguez, and Todd Ray, Mike Sander, Richa~~d

    Stanfield, David Sl~errtpet~t, Hiram McCauley,Paul Marl<sber~y, Robert Ho~ghtan, Jennifer

    Hickey, Rebekah Brady ~ncl Christopher Atwood all have InfiaselBMP-2 irn~lanted in their

    spiYles from siu~geries Dr. Diu~ani performed at West Chester Hospital/ UC Health.

8, Plaintiff, Carol Ross, had sti~rgery at West Chester ~Tos~ital and during that surgery Dr.

    Dt~7ani iinplantecl PureGen into P~~.intiff's spine.

9. Plaintiffs Caimie Underwood, ~7ebbie Rodr~gi~ez, and Todd Ray are also Plaintiffs that Dr.

    Dtu7ani per#'oi~rn~d suxgexy can while he was under suspension at West Chester Hospital;

    however, these cases are already filed with this Court.

~ 0. P~~izat~ff Faye Roseber~ is also a Plaintiffthat Dr. DL1TLc~lll ~]eI'f4TCIl~CI Sl1S~T~,i'y OI1 W~ll~e ~1~

    was under suspension at West Chester FIospital; howevex,this case has laeen filed i1~ B~.itler

    County Court.

11. Additiox~a~ly, these cases are ~ei~ig filed together to be cost efficient as well as bei~lg filed

    tn~ether for their cominan scheme offacts at~.d based upon Judge Ruehl~nan's D~c~rnber 15

    Court Order Plaintiffs wz~l zequest ALL cases in~volvitlg Dr. DLil'Tc3IlI OpBtc~#111         ~VYfl18


   suspended be tried together.

                                    J[TRISDICTION AND VENUE

12. At all tinges relevant, Plai~atx~fs were residents of and domiciled in fine State of Ohio.

13. At all times r~~evant, Defendant Dr. A~ubalcar Atiq Durra~li (hereinafter "Dr.17uz-raru") was

   licensed to and did in fact practice meciiciz~e in the State of Ohia.

14, At aI1 times relevant, Centex fax ,A.dvanced Spine Tecl~iologies, Inc. {hereinafter "CAST"},

   was licensed to a~~d did in fact perform ~neciical services zza tk~e State of ~l~io, and was anci is

   a corpaxati~n au~iorizect to transact busi~~.ess in t ie Stiate of Ohio anal I~.~xatucky,
    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 5 of 271 PAGEID #: 27




15. At all times relevant, West Chester Hospital, LLC (hereinafter "West Chester Hospital"), was

    a liYriit~cl liaUility coi~ipa~ly authorized to transact business and perfoi7~i medical services in

    the State of Ohio and operate under the trade nafne West Chester Hospital.

1G. At all times relevaYit, Defendant UC Health Itic., was a duly licensed corporation which

    owned, operated ancUor managed ~nulti~le hospitals inch~ciing, but not limited to West

    Chester Hospital, and which shares€ certain services, profits, and liabilities ~f hospitals

    including West Chester.

~ 7. At all times relevant h~reiz~, tiVest Chester Medical Center, Inc., aka Wast C~~ester Hospital

    k~eld itself out to the public, and specifically to ~`laintiffs, as a hospital providing camp tent

    end c~ualifi~d medical aa~d nursing sei~rices, cat•e and ~eatme~it Uy and tluough its physicians,

    physicians in fi~•aining, residents, nurses, agents, ostensible agents, servants and/a~• employees.

18. UC Health is the coi~arate p~.rent, owner end operataz of West Ches#er ~Iospital, LLC.

19, UC ~ealtk~ Stored BMP~2 ~t UC Health Business Center waa~ehouse loc~.ted in ~azaailton

    CoL~nty.

20. 'C_.iC Health is the corporate ~aarent, owner and ap~r~.toz of VtTest Chester Hospital, LLC. UC

    Health is located in Hamilton County making Hamilton Canty appropriate tc~ br~~ag this

   lawstut.

21. The amount in cont~•oversy exceeds tae juxisdictio~aa~ tlnxesh~ld of this Court.

22. Tk~~s~ Plai~t~~'fs cases have previausl~ been dismissed pursuant to Civ. R, 41(A.){1}{a} and is

   ria~w being refiled ~withiti the lime allowed by O.R.C. 2305.19.

                        FACTUAL ALLEGATIONS OF PLAINTIFFS

                                  CHRISTOPHER AT'WlJOD:
    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 6 of 271 PAGEID #: 28




23, At all times relevant, Plaintiff Christc~plzar Atwood,("Plaintiff', or "Mt'. At~~vood")r~~vas a

    resident of acid dofniciled in the State of Kentucky.

24, In or around siring 2010, Mr. Atwood was experiencing moderate flank fain on his left side.

25, Mtn. At~vood's vas refel~ted to Dr. I7L~rrani.

26, In the siring of 2010, NIr. Atwood visited Dr. Dturani at CAST in Bllre Ash.

27, Dr. Diu7ani reconu~encieci spinal injectiozas and one s~ssioz~ of physical theraJ~y.

2~. A short time after, Dr. T]iu~r~~i reconazaaenc~ed surgery.

~.9. On August 6, 2010, West Chester Hospital suspended Di, DLlft'c3I]l'S St1Tg1Ca1 pT1V1IE~eS~ tu~►til

    Dr. T)urrani cozz~pleted surgical chaJ~ts anc~ the suspension was in effect at least tluough

    October 5, 2~1Q,

3Q, Upon iYlformation and belief, Dr. DEUrani, CAST,end West Chester Y~evei• informed Plai~~tiff

    thafi Dr. Dlu~tai~i's ~~rivileg~s wire suspended.

31. Oti or abort September 22,2010, Dr. Dtu7ani performed a T7-T12 fission surgery oiz pl~uitiff

    at West ChesteY~ Hospital, insertifzg 2 rods ~.nd 1S screws.

32. The September 22,210 st~z$~xy occurred d►.uing the fiiine Wesfi Chester Hospitalt UC Healfih

    suspended fix. Durrani's privileges.

33. tlpan information and belief, Dr. Dui7an~ used Infuse/BMP~Z "of£Label" and/or Pureg~n

    witl~aut Plaintiff's knowl~d~e ox consent, causing Plai77tiff hat~n.

34. The use of BIv~~'-2 increases a person's chance of caticer by 3.5 /0

3S. Due to the unnecessary surgeries Dr. D~ux~ni performed,Plaintzf~~aas a 3.5°lo increased

   chance of cancer because o~'the use o#'BMF-2,
    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 7 of 271 PAGEID #: 29




3b. As a direct and pxo~izxaate result o#'the use and impl~inentatxon ofIi~fiise/BNIP-2 Plaintiff

    has incLU7•ed a 3.5%increase in the risk Qf Cancer, As a result, Plaintiff 11as an increased fear

    of Cancer,

37. ~'laiiitifffollowed up with Jamie Moore at CAST.

38. Three weeks followizig the surgery, Plaintifffolla~ved ~.t~ with Dr. D~~c-~a~ii at CAST.

39. Plaintiff visited With Dr. I]urrani every 6 xnontlls fallowi~ig surgery.

44. PIFl1Tlt1~~ l.3 I1~W 1ri WOTSe fain than he was in prior to surgery with Dr. DLlI7•atzi.

41, ~'laiiitiff has last flexibilifiy and the ability to lead a normal life.

42, Dr. L7~~i7~ani told Plaintiff that his pain and loss offlexibility wexe completely normal.

~3. Plaitltiff continued to follow up wittl Dr. Durxanz and CAST until June 2Q 13,

44. Mr. Aitivood is r ow in excruciatiri~ pain every clay.

45, Mr. A~vo~d naw treats 'with paid i71a~~agement dactars, spine surgeons, his primary cafe

    physician, psych~lagists, and urologists to try to z~az~age leis paita,

4d. Upon infoi7nation and belief, the surgery perfoi~iYed by Dr. Dut~ani was medically

    tuanecessary and inip~•operly per~orined.

A~7. Upon infoY7nation aild Uelief, l~r. Durxani was performing surgeries while has sl~rgical

    privileges were suspended. Dy, D~.u•rani Bever i~ifc~~~ned the P1ai~itiff of the sl~spensian and

    acted as i~ every surgery vvas ate emergency,sa that he coi~~d perform stargery on the Plaintiff,

    Dr. D~u.~7ani mislead, failed to disclose vital inform~tio~i, acid improperly ind►aced the Plaintif.F

    have surgery.

48. As a direct az~d proximate Y•esult of Mr. Atwood's surgery, Dr, Dt~rrvu's negligence, and the

    Defenc~a~~ts negligence, Mr. Atwood I~.as suffered harm.
    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 8 of 271 PAGEID #: 30




49, P~ai~tiff did riot become aware ofInfuse/BMA-2 and/ar Pure~en until he contacted his

    uradexsigned counsel.

50. Plaiz~tzff chid not became aware of Dx. T.~uzra.r~i's use ofInfiiselBMP~2 u►ltil leg~~ counsel

    reviewed Plaintifi~s dills.



S 1. At all times relevant, Plaintiff was ~. resident ofand domiciled in the com~ortwealth of

    Kentucky.

52, Its January o~ 2010, Plaintx~f experienced low back pain, left leg numbness and swelling, Ieft

    at~n nlunbness, and k~e~t~aches; due to Plaintiff's ~~a:in, Plaix~ti~f-visited her primary care

    physician ~~vho referred her to Dr. Dur~ani at CASE'ix~ Blue Ash.

53. At laer ini#ial coi~sultatian with I7r. Auxxani, Dr, Dut7•ani cecanunended ~'l~intiff u~der~o a

    Iumbar spinal fi~sioY~.

SA~, On August G, 201 ,West Chester Hospital suspended Dr. DU1Palll'S SUt~gical privilege, tu~til

    Dr. Duxrani corn~leted surgical chats a~.d the sus~e~~sion was in effect at least through

    Qctob~c~ 5, 2010.

55. Upan infot~natioz~ ~.nd belief, Dr, Dturani, CAST,end West Chester HaspitallCTC Health

    never iza~~rmed Plaintit'f that Dr. T7urxani's privileges were suspei~deci.

SE,(7n August 27,2410, Dr. Duxxani a~erateci on Plaintiff's luzxabaz spine at West Gheste~'

   Haspiral.

57. Upon infoxmation and belief, durit3g this surgery, Dr. Dtura~ii used Itzfiise/BMA'-2 ot~

   ~'ureGen "off label" without P~axxatiffs ktiawlecige or consent, causing Plaintiffharm.

58. Infuse-BMP-2 was used o£flabel. Dr. Dtuxani states he placed ~i dial LIF cage, w~lich is

   not ap~~rovad with implantation Irlfiase.
    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 9 of 271 PAGEID #: 31




59, Upon information and belief, DY•, Dl~rra~~i does not hold the credentials to use the ALIF

    s~irgical approach.

60, Infuse/BMP-2 ~~as not listed on the s~ugical consent forms signed by the client.

61, Tlie Lase of BMP-2 increases a person's chance of cancer by 3.5%

62, Due to the utu~ecessary surgeries Dr. Dut7ani performed, Plaintiff has a 3.5%increased

    chalice of c~t~cer because o#'~he use ofBMP-2.

63. As a direct and pxaxim~.te result ofthe use end irnpletnentation ofItifiase/BMP-2 Plaintiff

    has ii~czurec~ a 3.5% increase in the risk of Cancer. A.s a zesult, Plaintiff has an increased fear

    of Gancex.

64. After this sY.trgeY•y, Plaintiff corztinuec~ treating tivitli Dr, Dni7~ani at CAST zz~ Blue Ash, Qhir~

    and Erlanger, Kentucky.

~5. Ftuther, after her surgery, Plaintiff experiences severe pain in her back and legs, and

    n~unbness in her right side auld buttocks.

f6. At a follow-yip visit, Dr. Durrani told Plai~iti~f she would fiilly recover within a few anoYlths-

    lie was, however,z~~.ist~k~n.

67. Currently, Plaintiff develo~~s sores at kaer incision a~~d experiences nulnbt~ess and swellz~ag in

    der left Ieg, as well as ~~azn and stiffness in her lower axed upper back.

6S. Upon inforn~ation az~d belief, the surgery perfoxmeci by Dr. Du~~ani was medically

    tuuiecessaxy ~.nd improperly ~erforzaaec~.

69. Upon infoi~nation anti be~~ef, Dr, DLtrrani was perfar.~1ing surg~x~es while his sur~ic~1

    privileges ~~vere suspended. Dr. Dut~tani never informed the Plaintiff'o~'~ie sl~spension and

    acted as if every siFrgery was an emergency, so that he cold ~erforrn surgery on the Plaintiff.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 10 of 271 PAGEID #: 32




    Dr~. Dui~tazii mislead,failed tQ disclose vital infa~•mation, azid improperly induced the Plaintiff

    to have surgery.

70. As a direct and proximate result ofthis si~rgety anti Dr, I7urrani's ~ie~Iigence, the Ptan~tiffs

    have suffered liai~~~.

71. Plai2ltiffs did not become ativare of Dr. Durr~ni's use ofInfuse/BMR2 unt~I legal catu~sel

    reviewed Plaintiffs' bx~ls.

                                           ,~El~l'NIFER ~~C~~Y

72. At all times xelevant, Plaintiff was a resident and domiciled in the Camn~onwealth of

    Kentucky.

'73. Plaintiff be~a~i t~•eatment with br. bui~rani on or about ~'ebrt~ary of2U 1 ~ for inteY•mittent back

    pain that she had been experi~zacz~ag for two yews.

74. Dr. D~u~ani diagnosed Plaintiff with "degenerative thoracic spine" and reaoinmencled

    immediate surgerp.

75,In DY•. DLU~~ni OR dictation h~ stated that from the first sti~~gery on ~pri1 19, 2010, that

    Plaintiffspry-op di~~nosis was "Degenerative spinal stenosis T4-5,5-6;" however, all

    rad~ol~~y, u~ to that point, clearly indicated no stenosis at any ]evel,

76. C?ti or abort Apri119, 2010 br. Durrani performed surgery on Flain~if~ at Wesfi Chester

    Haspita~.

77. Irz~z~.~.ediately following siu~ery, Plaintiff's back }~ai~. increased as well as a new severe n.ezve

    pal;l tilu~oi~~hout the thoracic region.

78, Plaintiff inforn~ec~ Iar. Durrani o~the increase in pai~7 end 77r, Dturani explained the screws

    inserted in her back were aggravating tlae nex-v~ causing pain, Dx, Dur~ani reco~zana.ezade~.

    another ii~i~ediate surgery.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 11 of 271 PAGEID #: 33




79. On August G, 2x10, West Chester Hospital suspended Dr. l7urrani's surgical privileges, iu~til

    Dr. Dui7ani con~.pleted surgical charts, and the suspension was in elect at least tluough

    October 5, 2Q1~.

80. Upon inforin~tio~a and belief, Dr. Durrani, Ct~ST, and ~1'est CliesteY~ Hospit~.l/UC Health

    never informed ~laintiff`that Dr. Durratli's privileges were suspended.

~1. On October 1, 2010, Dr. Dut7ani perfoi7ned another surgexy an P1ait7tiff at West Chester

    Hospital to remove the screws from tl~e first siuger3r.

82. rn the October 1, 201Q procedure, Dr. Durrani Iists he per~onned a "Removal of h~.xdwaxe on

    the right side from T5-T7, exploration of fusion, T5-6 ~~erve root con~~ression;" k~owever,

    there is not ar~y documentation from Dr, Durrani nor a consent szgzaed far any llarc~~xraY•e that

    would have been placed at T7~ C~11271i~ ~10P Illltic`iI SllTgeiy oxa 0411917 d, so it is lulcle~u why acid

    how Dr. Ut~rr~.ty. could hive removed harc~tivaxe groin the thoracic spine.

$3. Immediately followi~lg the s~cox~d surgery, Plaintiff continued to have s~vexe bac~C pain end

    the continued nerve fain from the first surger5t.

~4. Plai~ltiff's pain leas increased and continued to the point of being unbearable and affecting a!1

    aspects of her daily Iiving.

85. Upon information and belief, Dr. Durr~tu used In~use/BMP~2 ar Puregen "afflalael" without

    Plaintiff's ~~owledge or consent, in one or mr~r~ s~u~eries causing harm.

86. The use t~f BMP-2 increases a person's chance of cancer by 3.5%

87, Due to the unnecessary surget'l~S DT. Dt~rrani ~~xformed, Plair~tiffhas a 3.S~Ia 1f1CT~c35eC~

    chance ofcancer because of the t~se of BNIP~2,
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 12 of 271 PAGEID #: 34




8~. As a direct az~d proYirnate resin# of ttie use az~d im~~lementati~~a ofInfuse/BMP-2 Plaintiff

    has inciu~red a 3.5%increase iYl the risk of Cancer. As a result, Plain~i~f has an increased fea~~

    of Cancer.

~9. Upon infortnatxon ~nc~l belief, Mlle stugeries upon NIs. Hickey by Dr. L7u~~a~ii ~vveYe medically

    uiuiecess~ry.

90. Upon inforr~~ation and belief, Dr. Dturani was performing s~ir~eries while leis sl.u~gical

    privileges were sus~aended. Dr. Dui7ani never infor~a~.ed ti~~ Plai~rtiff afi the s~is~ension and

    acted as if every surgery was an emergency,so that he eonid perform s~ugery on the Plaintiff.

    Dr, Dur~'as7i mislead,failed to disclose vataI iclformation, and improperly induced the Plaintiff

    to have stugery.

91. As a result ofthe z~egligerice ofthe Defendants n~ned herein, ~'lazzxtiff leas suffered. damages

    incl~~ding medical expenses, pain, a~~d suffering and loss of enJoyrnent o~ 1ifie.

92, Plaintiff did not become aware o~Dr, Du~'rani's Lase of Inflase/SMP-2 until legal coLUlsel

    reviewed Plaintiffs' bills.

                                  R.~BERT si MELANIE HQUGHT()N

93, At all times releva~rt, Robert and Nlel~~ie Houghton were residents of anti domiciled iFl the

    con~montivealth of Kent~~cicy.

94. In Tt~1y 2010, Plaintiff was Y•efei7~ed to Lax. Du~•xaz~i by ~ family mem~ei• because oflower knack

    pain.

~5. Around this tune, T'l~.intiff e~peY~i~nced lower back pain and oc~asiox~a~ txn~~x~.g zn his begs.

96. At lus initial visit with Dr. D~u7•aili, Dr. Duxzani xznn~ediately suggested PlaiYitiff'ruidergo

    su~rg~xy, I)r, DtYt7ani stated Pl~ii~t~~~ had fractured his beck and 11is vertebrae were

    compressed.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 13 of 271 PAGEID #: 35




97. Dr. Dun•ani assured Plaintiff he could remove all pain and he would be back to work within a

    few weeks.

9~. On July 19, 201 Q, Dr. DurranF parforzxaeci a posterior spinal fusion at West Chester Hospital,

    This stiugexy was a1i axial ltunbax i~texbody fusion, posterior spinal fusion, anti bilateral

    form~nial decom~aression.

99. Upon information and belief, D~'. Durrani used Infuse/BMP-2 or Pure~en "off-label" wztlaoi~t

    Pl~intz~~'s knowledge or consent, in one or snore surgeries cursing ha~71z.

10a.    The use of BMP-2 ixacreases a person's chance o~'canceY• by 3.5°l0

J.O1.    Due to the unnecessaY'y surgeries Dr. Dtura.zaz performed,Plaintiff h.as a 3,5%increased

    chance ofcanc~x because of the use ofBMP-2,

102.     As a direct and proximate xest~~t ofthe use ai d impl~zaaentation o~InfiiselBMP-2

    Plazzatiff has i~icut~ed a 3.S% inc;ease in the risk o~ C~.ncer. ~ls ~ result, Plaintiff k~as ~.n

    increased fear of Cancer.

1Q3.    After the surgery, Piaizltiff experiences severe pain, wk~ieh was ~~oY•se than the pain he

   experienced before undergoing s~rrgery with Dx. DiFrrani.

1 D4,   Plaintifffollowed u~ r~vifih Dr. Dut~~.~i, who informed Plaintiffthat although "everything

   was perfect," they should clo a "second look surgery,"

105.    4n Augtixsfi d,2010, West Chester Hospital suspended Dr. Dlu~ani's surgical priei~eges,

   until Dr. Dut7ani completed surgical cla~rts and the suspension was in eff~et at least t~uou~h

   ~ctol~er 5, 20J~,

106.    Upon infarma#ion and belief, Dr. DL1TTe~S1], CAST, anti West C~iester Hospital/U~ Health

   never i~iformed Pi~,z~ntiff that Dr, Du~~ax~i's privileges i~Tere suspended.

107.    011 AL1glISt 2~, 2010, Di. Dturaz~i   performed a second suygery on Piai~ltiff.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 14 of 271 PAGEID #: 36




10~.    Duz~ing ~~is second s~ug~ry, Dr. D~urani performed a lttn~bar laminectflmy, a luzxzbar

   forami~aatomy mid a lumbar spinal stenosis.

109.    After her second surgery, Plaintiffexperience severe paid to lus back and stan~ack~ ~ncl

    had to ca11911 for assistance.

110.    O~~zce in the emergency roozaa, medical ~ersoiuzel detern~ix~ed his intestinal tivall xi~ptured

    due to the first stugery end x,nr~znediate statnach surgery was necessary.

111.    Dr•. O1~dylick ~erforn~ed the eYtler~e~zcy surgexy end ~baut 6 inches of T'lainti~f's

   intestines were removed.

J l2,   Plaintiff was k~ospitalized for 9 clays foJlo~vi~ig Elie stu•~eryto z~epai~~ the damage fioin Dr.

   DLU~tani's fixst surgery on Plaintiff:

113.    Pl~.intiff leas not seed Dr, I7t~rrani since October 16, 2Q11 end Yiow beats with I}r. John

    Meiling.

114.    C~.~t~•ently, plaintiff e~perien~es sever back pain and numbness in his rigli~ lei. His right

   leg also drags and any benciitlg causes his back to collapse. The pai~~ has gotten ~~rogressively

   sevexe since he began t~~ating ~vvith Dr. Durraxai,

115,    Upon inforr~~.atic~n and belief, the surget'1~5 Ll~?OIl M5.7Iickey dry Dr, Dut~ani were

   tnedic~lly unnecessary.

116,    Upon i~ifornlation azad belief, Dr. Durrax~.~ w~.s ~erfartning surgeries whip his surgical

   privileges were suspended. Dr. Du~:ani never in~oi7ned the Pl~.z~tiff ofthe suspel~sian ar7d

   acted as if every surgery was an etnet•gency, so that he could perform siugery on the Pl~.intif~

   Dr. l7urrani mislead, failed to disclflse vital zzaformation, a~ld improperly itiduc~d tk~e Plaintiff

   to leave surgery.

117.    As a result of t1~e negligence of t11e Defenclants zzanled herein, Ms. Hickey has suffered
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 15 of 271 PAGEID #: 37




    datzlages including medical e~~enses, pain and suffering, a~~d loss of enjoyment of life,

118.    Pl~.intiff did nat become awat•e of Dr. D11I'l'c~211'S L1S~ O~IT3fl,1S0IBMP-2 u~itil legal counsel

   revi~we~ Plaintiffs' bilks.



                                      PAUL ~YIARK,SBERT~Y, ~R,

119. .At all times relevant, Paul Marksber~y S.R., was a resident and domiciled in the

   Corrunonwealth ofKentucky.

X 20,   Plaintiff was injured in a motor vehicle accident and was k~aving problems wit~~ kris l~f~

   neck anci left arxn when lie was r~fexxeci to Dr. D~urani and CAST,

121.    Dluing his co~isultation wzth Br, Du~7~ani at CAST,Plaintiff infoi~nad Dr. Dut~a~ii that he

   ~uislaed to have a discectomy a~ C9~ perfoi~leci pi~rsuatit to an MRI xep~i~,

122.    fir. Di.urani agreed to do it arici scheduled liim far that suxgery; a~proxir7iately 10 days

   later, Dr. Durz•~.ni cha7igeci the procedure to an ariteriax cervical discecto~ny C6-C7 tivith

   f~lsiatl, posterior laminectozny,foraminotomy CS-C6.

123.    Throughout Pl~iz~tiffs txeat~z~ent witk~ Dr, Diirrani- Ile xecotnmenc~ted other stugeries.

124.    Or► tLugust 6,2010, West Chester Hospital suspended Dr. Durrani's surgical p~•ivileges,

   until l~r. D«rrani com~letec~ surgical charts and the suspension was in e~feet at Ieasfi tlu~ough

   o~~ob~r~ s,20i a.
I2S,    Upon infor~aaation atici belief, Dr. D~ura7ii, CAST, and West Chester T~ospit~l/UC Health

   never infarzned Plaintifffl~.at Dr, Durrani's ~~~ivileges were suspended.

126.    ~n Qctober 4,200,Dr. Dui~arii pexfol~rned t1~e anterior cervical tiiscectomy C6-C7 wit~~

   fusion, posterior ~aminectomy,forax~ninotolny CS-C6 atld a L5-S 1 ~xiLIF on tha ~'laintiff,
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 16 of 271 PAGEID #: 38




127.    Upon in~ornxatiori and belief, Dr. Durrani used Infuse/BMP-2 ar PEUeGea "o~~babel" in

   this second surgery without Plaii~tif~s ~ula~vlec~ge or conse~it, causing ha~x~a.

1~8.   The use of BMP-2 incY•eases a person's cliarlce o~'cancer by 3.S%

129.    Dui to the unnecessary surgeries D~~. D~.u~ani perfol~ned, Plaintiff~as a 3.S°/n 111C1C~~S~t~

   ch~1c~ off'cancer because of t1~e use of BMP-2.

134.     ,A.s a direct a~Yd ~~'oxirnate result ofthe use and implenientatzon ofInfi~selBlvlP-2

   Plaintiff leas i~icui7•ed a 3.5°lo increase in the risk of Cancer. As a result, Plaintiff`lias ati

   increased dear of Cancer.

131,   Following surgery, plaintiff began experiencir~~ constant btu~tii~g anti an increase in pain,

   bilateral arms decreased xzz strength, and Plaintiffalso developed a severe infection. PIaiY~tiff

   dici not experience these effect before si~rgary tivith Dr. Dui7ani.

132.   Following the October 2(}10 surgery, Plaintiff caz~ti~.ued follotiv-u~ with Dr. Dui-~•ani at

   GIST.

133.   Plaintiff had to go to his primary care pl3ysician for treatment for the infection t~a.t he got

   from surgery with D~~. Dtu7~ani.

134.   Flaintiff i~~ied to tell Dr. Du~rani about lio,tr~ the magnit~ide of his pain, but Dr. Dunani

   kept stating ixa kris zecord llow well Plaintiff was ciQing.

135.   When P1ai~itiff s problems cotltix~ued, he became upset t~vit~i Dr, Durra~v. a~~d soeight h~1p

   from anafiher doctor.

13b.   Upon infarz~~.tzon ar~d belief, the surgery pet~foria~ed by I7r. Di~rrani was medically

   un.z~ecessary and i~np~•c~perly ~~erforrned.

137.   Upon information and belief, Dr, Durrani was perfoi7ning sL~rgeries while his stu•~ical

   privileges were stispaz~ded. Dr. Dut~ani never infoxmed the P1air~tif~of the suspensiota anti
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 17 of 271 PAGEID #: 39




   acted as if every suxgery was an emergency, so that he cotalci pe~~oxm suY~;ery on ~11e Plaintiff

   Dr. Diu~at~i mislead, failure to disclose vital itif~rmation, end improperly induced the

   Plaintiff to have sux~ery,

13S.   As a direct and proximate restiili o~ E~iis s~ugery and fir. Duxxani's negligence,the Plaintiff

   has suffered harza~.

139.   Plaintiff did x~o# became aware of Dr, Di~t~raYU's use of Infuse/~3IvIP-2 until legal catu~sel

   reviewed Plaintiffs bills.

                                ~IRAM AND DAWN MCCAULEY

140.   At all times relevant, plaintiffs, Hiram &Dawn McCauley, were married and resideizts

   acid domiciled in the commonwealth of Kent~YCky.

141.   Plaintiff was told by his primary care ~ahysiciaxi that he should seek out t ie services of a

   surgeon fox kris E~ack.

142.   At the time, Plaintiff was ex~~eriez~.cing accdsional spasms in his back that were being

   treated with pain medication,

143.   Howevex, due to Plaintiff's employment iz~ a shipping war~hQuse, consta~ifi pain

   medication vvas not a tenable soh~tzoz~,

14~,   Plaintiff's insuraf~.ce company, Aetna, maintained a list o~ covered physzei~ns from which

   Plaintiff selected Dr. D~.urani.

145.   Dr. Durrani recot7unended surgery dut•i~ig his consultation with Plaintiff after reviewing

   Plaintiff's MRI fili~is.

146.   Plaintiff was appre~iensive o~back suxgery due to a family history o~'poor t•estrlts, and

   questxoz~ed Dr, Durrani on whether tk~e surgery was necessary.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 18 of 271 PAGEID #: 40




147,   Dr. Dwmani told the Plaii~.tz~~that if sut~;ery was nat done an his back that h.is p~~~ would

   soon be "far worse."

148.   When PlaitZtiff asl~eci L7r. Durrani what made the proposed surgery likely to succeed, Dr,

   DLU7ani irifflz~tned him that the proposed procedure was a "new surgery" and that P~aitxtiff

   ~voi~ld "be better than new when you get done with it,"

149.   Dr. Dl~tmaiv fiu-ther assured Plartitiff that he ~vo~.cld be able to r~t~irn to wox~ within a

   tno~~th fallotiving the suxgery,

150.   Plaintiff informed Dr, Dut7•ani that he dicl not want to be heavily media~.ted, acid

   requested that Ar. Durrani limit his use ofpain ineciicatiox~s.

151.   4n AtFg~st G,2010, West Chester I~os~ifal suspended Dr. Durr~ii's surgical privileges,

   untiil Dr, Dtu7~ani completed sz~rgical charts and the suspension was in effect at least througka

   October S,2010.

152.   Upon ~~aformatioY~ and belief, Dr. Dut~rani, CAST,and Nest Chester Haspital/UC Health

   never in~~t-med Plaintiff th~.t 17x. Durrani's ~arivileges were suspended.

153.   0n October 4, 2d ~ D, Dr, Dtitrrani performed surgery ot~ Plain~if~ canszsExr~g of a posterior

   spinal fi~sio~. with the installation of hardwaze From L3-S1 at West Chester Haspifial.

15~.   U~Oan infoi~nation and belie, Dr, Dt~rrar~i L~seci Ii~fiisell~MP-2 or Puregen "off-label" in

   ~iis siugery witliaut Plaintiffs knowledge or consent, causing harm.

155.   The use of BMP~2 increases a person's ck~ance ofcancer by 3,S%

156.   Due t4 the unnecessary surgeries Dr, DtYi7•ani perfoi~nieci, Plaintiff Ilan a 3.5%increased

   chaYice of cancer because ofthe use of BMP-2.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 19 of 271 PAGEID #: 41




157,     As a dz~•ect and proximate result of the use and i~nplemerltatioza ofInfuse/BMP-2

    Plaintiff has xz~curred a 3.5%increase in the Fisk of Cancer. As a result, Plai~tif~has an

   increased fear of Cancer.

158.    Plaizitiff dit~ nat see Dr. Dtu7~ani after the surgery, and was sent ~o~ne Wit17 no

    documentation detailing follo~e-Eip care.

159.    ~~~ October 9,2Q10 Plaintiff tiv~nt to t1~e etner,~ency room of St. Elizabeth Sout13 to treat

   severe spasms in his back. Plaintiff was given t~va injections into his hid anc~ sent home.

I ~0.   Within 24 hotus, Plaintiff was rushed back fo the hospital iti extreme anti excruciating

   pain, He was kept in tlae k~ospital for a week, anc3 has little memory ofthis time due to tie

   shier amoiuit of pain he was suft'ering.

1&1.    Dining tk~is i~veel~, Flairltiff was t~~ated for severe dehydration aza.d ~n infection ofhis

   surgical incisioYis.

162.    D~irin~ follow~t~~ visits with Dr. Dui~acu, ~'~aintiffinformed Dr. Duc7ani that he was

   sut'~ering fiaia~. numbness in leis #eet as well as pain that radiated dowzx into his legs, Dr.

   Dtu7•ani told the Plaintiff that tk~is was a result of withdxavaal fraYn fain medication.

163.    Six months later Plaintiff was still exp~~zez~cing n~un6ness and pain; during his ~o~low-up

   visit with T7r. Aurrar~i this same pain. which hack earlier been attributed to overuse of pain

   medication was now blamed on Plain~if~s diabetes.

16~.    At Plaintiffs final follow-up with Dr. Duxrani, Dr. DLlI7'c~ill altTlbtltOC~ Plc`jllltIff'3

   confiinuing pain to an eY7or with Plazntiff's ptiy~ical therapy prav~der.

165.    Since Dr, Duriani's surgexy, Plaintiffs pain grad suffering have increased to the point

   were he is largely inuzaobile and unable to engage in eeeryday activities.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 20 of 271 PAGEID #: 42




166.    Pi~intiff's left leg is occasionally non-responsive ar~d must be dragged alo~ag as Plaintiff

    walks. Both off'Plaintiff's legs with occasionally give out, causing falls and ~xtxeme bala~lce

   issues which Plaintiff 13as attempted to coi7•ect by using a cane.

1 ~7.   Singe the si~r~er~ Plaintiffis no longer in coi~tral oflus bowels, arld has ]i~cewise lost the

    aUility to engage iti Ynarital relations. His back cox~tinuousiy s}~asms and he is no IQnger able

   to work.

1 G8.   Upon zz~farmation and belief, the surgexy perfot~ned by I~r, Duxraz~i was medically

   i~nneeessary and improperly pex~axmed.

]b9.    Upon itiFormatiofl and belief, Dr, I~ur~•ar~i was perforriaiz~~ surgeries while his surgical

   ~livile~es were suspended. D~•, D~u7atli never ir~forrrzed t1~e Plaintiff ofthe suspension mid

   acted as if every surgery was an emergency, so that he could perform surgery on the Plainti€F

   Dr. Duzxar~i mislead, failiue to disclose vital in~ormatian, atld inlpxoperly induced the

   Plaintiffto have surgery.

170.    As a direct and prvYi7nate resuult of this sturgery anc~ Dr. Dut7ani's negligence, the

   Plaintiffs ~~ave suffered harm.

                                            C.ARQL ROSS

171.    At all times xelevant, Plaintiff, Carol R.ass,("Plaintiff' or "11~Is. Ross") was a resident off'

   and domiciled in the State of 7ncliana.

172.    In or around late 2048, after ex~e~ienciYlg problexaas with her ~~eck acid associated pain,

   F~laintiff haci surg~zy perfot~ned by Dr. Co~osima and Dr. Goidbert at tl~e Goad Samaritan

   Hospital.

173,    Auring the s~ugery, h~.rdwa~•e was inserted into ~~~intiffs back.

174.    Three months fo~~owing phis surgery, ~'laintif~s liardv~~~re failed, and Pl~intifFwas
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 21 of 271 PAGEID #: 43




   informed that a secolid surgery vtTas necessaey to correct the problem.

175.   ~'laintiff schedijled a second, revisia~xaxy suxg~ry, with Dr. Clunduri to repair the

   hardware.

176.   OY7 the way to this second stiugery, ~'Zaiz~tif~xeceiv~d a phone call fioin Dr. Dur~~aili

   requesting that she nc~t ga fQrwat~d with the second surgery anti that Plaintiff had become his

   p~.tient instead.

177,   Plaintiff proceeded with the second s~uge~•y that day, pert'o~7ned by Dr. Chinduri.

174,   The second surgery dick not res~l~ve Ms. Ross's pain.

179.   Following these surgeries, Ms. Ross was diagJiosed with ra~iculpathy in her right arias,

   which caused heY~ to lose strength and to 6e in co~lstalzt p~.in.

18~.   In or aY•ounc~ early 2010, N1s. lass referred herself to Dr. Dlurani at CAST.

181,   Dtuing Ms. Loss's first vzsit with Dt•. Dlu~ani at CAST,Dr. Dturani told Plaintiff that a

   third surgery was necessary to revise the hardt~rare insei~tecl zza her laaek during tl~e ~i1st

   suzgery end to coi~ect her cervical spinal s#enosis,

1$2,   On August G,2010, Nest Chester Hc~spifial suspended Dr. Durrani's surgical privileges,

   LlI1t1J. Dl'. Duxcanz completed   sw.•grcal chants and the suspension was in effect at leash tiv.•ou~h

   October S, 2010.

1$3,   U~flll 1t1fC1I'Illat10I1 c~t1C~ Y3~11~F, Dr, Durrai~i, CAST,and 'West   Cher#er ~Tospital/UC Health

   never informed P~a~ntiff that Dr', D~urani's privileges were suspended.

184.   Dza or about August 25, 2410, ~t West Chester• Hospi#al Dr. Dut~ar~i perfori73ed a C4-S1

   past~riar spitlal fusion, a ~•~ght sided laminectomy, right sided fora~iliilotoiny C4~SI, and a

   fusion with instrun~~x~tation CA~-~1 and replaced t ae hardware pxevious~y zz~serted iri Ms,

   Rflss's back,
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 22 of 271 PAGEID #: 44




1 S5,   Upon information anti belief, Dr. Dzirraza~ used Infuse/BIVIP-2 "off—label" and/or Puregen

    without Ms, Ross's knowledge or consent, cai~sin~ Ms, Ross ha~•m.

186,    The use of BMP-2 increases a person's chance of cancer by 3.5°/o

1 s7.    Due to the i~tulecessary surgeries Dr. Duxra~~i perfoY~ned, P~aititiff has a 3.5%increased

   cha7~ce of cancer Uecause ofthe use of BMP-2,

188.     As a direct and proxirn~te xesult o:f tk~e use acid implementation ofInfiise/BlY1P-2

   Plaintiff has incui7ed a 3.5%~ incre~.se in the risk of Cancer. As a result, Plaintiff has an

   increased

189.    Ms.Ross continued to experience pain in Iier righ# arm at7d ~b~cic ~.fter the surgery,

190.    Qx~ ar about September 11,2012, Dr. buf7~ani told Plaintiff that a C7-Tl fusion was

   necessary to coi~ect her cervical stenosis.

191.    Dr. D~.urar~i fuz-tl~er tolt~ Ms. Ross that if she dici not i~nderga this surgery, 5~1E ~VOl1ICI

   become paralyzed.

192,    P1~intif~ consulted with Dr. Tayeb, Dr. Nichols, and Dr. Conrad, all of whom advised Ms.

   Ross that ~ faiu~th sEUgery w~.s not necessary anti that she sha~~ld not proceed.

X93.    Plaintiff ~nfarmed Dr. Dul~ani ofthe other doctor's concerns,

194.    Dr, Dti~7•ani convinced Plaintiff that the other doctors were mistaket3, and that if she did

   not have the faui-th surgery she would Uecfltne paralyzed.

195.    br. Duzxaz~i fui`t1~ei• told PlaintifftEiat this fourtk~ surgery would "fix her",

196.    ~n or aboufi Decenlbe~ 7, 2012, Ar, Du~7a~ii ~aerformed a C7-T1 anterior cervical

   discectomy a~ici ail ant~x~ox cervical fusion with instrumentation on Plaintiff at Nest Chester

   Hospital.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 23 of 271 PAGEID #: 45




Z97.   Dr, D~7r~ani told Plaintiff, prior to the surgery, he would Y~emove a loose screw located zn.

   her spine at TI-T2; however, x~ray and c~.r~ical C'I' scan on April 3,2013 confrmeci tk~at tie

   screw is still ~reseilt at T1-T2.

198.   Upon inf'ot~natiori and t~elief, Dr. Durrani used In~use/BNIP-2 "off —label" antilar

   ~ureCxe7~ without iVFs. Ross's l~nowled~~ ox consent, causi~;g Ms,Ross harm.

199.   The use ofSMP-2 increases a ~exso~a's ckiax~ce of caricei• by 3.5%

2Q0,    Due to the ~aruiecessary surgeries I7r, Durrani perfoi~led,Plaintiff has a 3.5%increased

   chance ofcancer bec~E~se ofthe use of BMP-2.

201.     As a direct a.nd proximate result ot'the use and implementation ofInfuse/.BMP-2

   Plaintiff loos xncurrec~ a 3.5%increase in tl~e risk of ~aa~.cer, As a result, Plairztiffhas an

   increased.

202.   since fhe December 7,2t}12 surgery, PlaiY~tift'has had extreme pa~za, she kias difficulty

   moving both arta~zs, she ~•ec~uires increased pain meciicatzoz~s, and leas extreme dif~iclilty

   swa~l~win~ and breathing difficulties ~s well,

203,   ~n Apri19, 2013,Dr. T3urrani's CAST motes state,"This is an issue at dais point fay

   which there is zoo surgical remedy Here. T ciisci~ssecl with her that she has chronic neuropathy

   from all the scat~ti~1~."

204,   Following this st~rgexy, k~]aintiff experienced ext~~enie paizi in her bact~.

205.   Since Ms. Ross's fourth surgery in ar arauzzd December ZQ12, Ms,Ross has been unable

   to wox~ or live her life as s17e haci ~z~or to undergoing surgery with Dr. Diuralii.

206,   Ms. Ross fiu~tlier experiences t~ai1~ increased paid, paralysis, acid decreased rnobxlity.

207.   Upon inforn~atzon and belief, the stugex~es performed by Dr. Durr~yii were medically

   t~m~ec~ssaxy and improperly perfortn~d.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 24 of 271 PAGEID #: 46




208.    Upon information and belief, Dr. Durrani vvas performing surgeries wk~ile his surgical

    l~rivile~es were suspended. Dr. Durra~ai never informed the Plaintiff a~ the suspension and

    acted as if every slugery was an erner~ency, so that he could perforrra. st~xgery on the Plaintiff

    br. Du~rxani mislead, failed to disclose vital ir3fo~~~n~.tia~1, and in~.propex~y induced the PlaiYitiff

    t0 ~1~.V~ Sl1I~~Ty.


209.    As a diY•ect and praxiniate result of Plai~ltiffs surgeries, Dr. Durxani's negligence, a~~d the

    Defendant's negligence, 1'lainfiff k~as suffered harm.

210,    Ms. Ross dici not become avaare o~ ~tifiiselBMP-2 ancUor PureGen until s11e contacted her

    undersigned coivasel.

                                     N~F~I~E & IIIANE ,SANDER

211.    .A.t all times relevant, Plaintiff, Milee and Diane 5aiider,("Plaintiff" ax "Plaintiffs") were

    married and wale reside~,ts of end doYniciled in the Comtno~.w~aLth of Kentucl~y.

212.    In February 2010, FlaintifFbegan to expexzence pain iii ~~is E~acic after time spent

    shoveling snow.

2~ 3.   Plaintiff's primary care p~iysician prescribed painkillers a~ic~ referred hiln to Dr. Durrani.

214.    In March 2Q~ a, Plaintiff had an MRS exam wider the direction of Dr. Dtu7~ani, the results

    of which Dr. Du~7•ani inteipr~ted to indicate that Plaintiff l~~.d a "bad disc" in his back.

215.    Dr. DLiY7ani it~unediateiy recommended surgery t~ correct the problem; no t'i~rfiher

    conservative taaeasules were explored.

216.    Dr, Durrani assuxeci Plaa~tiffthat ~1ie stu~gery would "take care o£[~laxz~tiff's] back

    pxabl~m" and that "[he] could ~o back to a ~ZOxrnal life."
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 25 of 271 PAGEID #: 47




217.    Qn July 19, 2010 Dr. Duc~raiu perfoi~zed surgex•y on the Plaintiffconsisting of: {1) ail

   .AxiLIF fiarn LS-S1,{2} a lafninectomy from L4~I,5 and ~,5-51, and (3)a fora7z~inotomy fiom

    L4~LS anc~1 LS-S1 at West Chester Hospital["tl~e first surgery"],

2~ 8,   Upon infartnation at~d Uelief, TAI. DL7TI~I11 t15~C~ IS]fLIS£IBMP-Z Ol'PU1•e~ei~ "offlabel" in

   this surgery rn~ithout Plaintiff's knotivledge ar cons~z~t, caus~rag harm.

219,    The use ofBMP-2 increases a person's chance of cancer by 3.5%

220.     DL~e to the unnecessary surgeries Dr. Du~xani pe~•fat~tn.ed, Plaintiff has a 3.5% in~reaseci

   chance of cancer because of the use of BI~fP~2,

2Z1.     As a direct a~.d proximate res~ilt ofthe use and implementation ofrnfusa/BMP-2

   Plaantif~~.as incurred a 3.5%increase in the risk of Cancer. As a zesult, Plaintiff iias an

   increased,

222.    Plaintiff had follow~i~p care with Dr,17u~~atii at his CAST offices after the surgery.

223.    After a zn~ox~th ~f recovery alid two weeks of physical therapy along with ~. pa~~x

   tn~nagement coEUSe, Plaintiff's pain was waxse than ever before,

22~.    Oti August ~, 241a, West Cheste~~ Hospital suspended Dr. Durrax►i's siugical privilege,

   until I7r. Dt~xrani completed surgical cha~~s and the suspension was iz~ e~'~ect at least tk~roug~~

   octab~r 5, 2010.

Z25.    Upon infoi~iiation ~zac~ belief, Dr•. Dcura~~i, CAST,end West Chaster Hospit~I/UC Health

   never informed Plaintiff t1~at Dr. D«rrani's }~z~ivx~~ges were suspended.

226.    an September 22, 201fl Dr. Durrani performed surgery on the Plai~Ztiff consisting of a

   righfi side discectoiny ~ncl [an~inectomy from L4-LS at 'West Chester Hospital["tlie second

   surgery"].
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 26 of 271 PAGEID #: 48




227.   Upon information and belief, Dr. ]~urcani i~s~d Infuse/BIVIP-2 or Puregen "affTlabel" in

   tI]l3 S~C011C~ SLIT'geTY Wl#~lOUt PIc~111tIff'S ~x10W1~{~gE OT GOIlS~rit, causing   har~x1.

228.   The t~se a~BMP-2 increases a persona's chancy of cancer by 3.5°/a

229.    Dt~e to the luu~ecessary surgeries Dr. Durr~ni pez•formec~, PlaintifFhas a 3.5°/u increased

   chance ofcancer because ofthe use of BMA-2.

230.    As a direcfi and proximate result o£tlae use and implemerrt~.tion a£Zn~i~seBNIP-2

   Plaintiff has inctit~ed a 3.5% increase in the risk of Cancer. As a result, Plaintif~l~as an

   increased.

23I,   Plaintiff continued t~ have follow-~.ip care tivitli Iar. Y7urra~►i at his CAST offices following

   finis secotld surgery.

232.   ~za Dea~~nber 13, 2010, Dr. Dur~azai performed a revision surgery oz~ Plaintiff from L4-

   Sl at ~~Vest Chester Haspita~["fhe third stugery"~

233.   Upfln iiifari~ati~n mid belief, Dr. Durraiu t~s~ci ~nfuSe/BMP-2 or Puregen "off-label" iz1

   this third surgery withotrt Plaintiff's ~cnowledg~ or consent, causi3lg ha~~n.

23~,   Upon information ax~c~ belief, Dr. Durrani used rnfuselBMP-2 or Puregen "offlabel" in

   this siugery ~vitk~out Plaintiffs lcnowledg~ ar consent, caL~sing harm,

235.   The use of BMP-~ increases a person's chance of cancer by 3.5%

236.   Due to the utuiecessary surgeries Dr. D~u~~zai performed,Plaintiff leas a 3.5°/fl increased

   c~iaYic;e o~ cancex because ofthe use of BIvIP~2.

237.    As a direct and praxiznate xesult ofthe use an~i i~aaplementation of~zafuse/BMF-2

   P~aintif~has i7~cur~cd a 3.5% iYicrease in the xisk cif Cancer. As a result, Plaintiff loos ~n

   increased.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 27 of 271 PAGEID #: 49




238.   Following this third sux~exy, Dx•. Durrani recammendecl that Plaintiff engage in a cotuse

   of physxc~l therapy, but told t~.e ~~azz~tiff thafi there was "nothing inoY•e [hey could do."

239.   Pz•ior to having surgical pzoceduxes with Dr. D~u7•~ii, Plaintiff expeaienced same lowex

   back pazn, as well as pain in axis begs with occasional tni~nbnass, Dl.~1i11~ f~11S tI1]70~ Plaintiff

   was able to continue to work 6~ ho~~rs pet• week.

240.   Since Dr. Dut7•~tu's surgeries, Plaintiff now suffers from extxeme pain far worse tkaarz

   anything die had felt pxzor to .Tiny of2010. He is now on disability, and requires the use of ~.

   cane to achieve some small measure of mobility.

241.   Plaintiff is unable to sit for long peFiods oftime, and has trouble s~eepi~~; due to the paid

   ghat lie now suffe~~s.

242.   Upon information ~nc~ belief, the surgery ~erfonned by L7r, Du~~•ani was medically

   unnecessary and iinprnperly performed.

2~3.   Upon information anr~ belief, Dr. Aurrani was performing suz~~eries while iris surgical

   privileges were suspended. Dr, Dui7~ani never inforn~~ed the Plaintiff ofthe sus~~ension and

   acted as if every surgery was aYl emergency,so that he could perform surgexy on the Plai~~tiff:

   Dr. Dut7•ani's mislead, did not d~sclase vital in~ormatiora, anti i~.lpraperly intiuceci the

   plaitatiff do leave stugeiy.

244,   As a direct at~cl pzoximate result o~these surgeries end T]x. Durrani's negligence, the

   Flaintiffs have suffered hai~n.

245.   Plaintiffs did not becazx~e aware of Dr. T~iktxani's use ofInfiise/BMP-2 Fulfil legal coivas~l

   xevietivecl Plaintiffs' bills.

                                    DAVIb &NANCY SHEMPE~2T
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 28 of 271 PAGEID #: 50




246.   Ai all times relevant, Plaintiff, David ~ Nancy Shemp~c-t,("Plaini:iffi'oY~ "Plaintiffs")

   were mas~ied aald wire xesideYits of and domiciled in the Comman~ealth of Kent~~cky.

247.   Plaintiff sought treatment ~~vit~i Dr, I}L~t7ani in May 25, 2010 fog• lower back pain acid pain

   radia~it7g into his left leg.

24~,   Dr. Dui7ani recon~n~ended immediate stu~gery to alleviate the fain. He infarmeci Plaintiff

   lie wo~~ld be "good as n~tiv" and the recovery would be quick.

2~9.   On A~~gi~st 6,201 D, West Chester Hflspital suspended Dr, Durrani's surgical privileges,

   until br. Duxx~ni completed surgical charts and tk~e suspension was in effect at last t~axough

   Octabex 5, 2014,

25Q.   Upon irifarmatifln ~~c~ be~xef, D7~, Durrani, CAST,and West Chester Hospita]lUC Health

   never• itlformecl 1'laix~.tiffthat Dr. Durrani's privileges tiva~e suspe~lded.

251.   On or abort Se~atember 10, 2010, D~. T~uxxani perfoY~rnec~ a spinal fusioY~ with

   instrumentation surgery ors Plaintiff at West Chester Hospital.

252.   Upon infarmatio~a and belief, Dr. Di~rrani used ~za~i~se/BMP-2 or Furegen "off-label" in

   this surgery without Plaintiff's k~lowledge or consent, causing hai7n.

253.   The use of BMP-2 increases a persoi3's chance of canc~x by 3.5°/u

254.   Due to the unxzecessary stin~~eries Dr. Dt~r~~ni performed,Plaintiff has a 3.5%increased

   chance of cancer' because oft13e use ofBMP-2.

255.    As a direct atici proxix~zaate result ofthe use ~.nd z~aaplemeFztation cif Ir~fuse/BMP-2

   Plainfiifit~has itici~zxed a 3,5%increase in the risk of Cancer. As a result, Plaintiff has ~i

   ii~cre~sed.

25G.   ~'l~.intiff continued to fo~~ow u~ with Dr. Au~rani ar~d complain of cor~finuous back Haiti.

   Although the suxgery relieved lus leg pain, the back pain was intensified.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 29 of 271 PAGEID #: 51




257.    Ar, L7ut7ani told him phis was normal and that the pain was also related to the weatliex

258.    ~'laintif~continues to experience intense 6ac14 pain and has lost ali flexibility. He is

   u~.able to bend over ~t a11.

259.    After surgery with Dr. Duxrani, Plaintiff now uses pain medications to ge# tluottgh evez'y

   day activities.

260.   Plaintiff is i~o Eong~x abbe to ~erfot~n activi#ies that he oxzce loved like htu~ting ar~d

   fishing, play with his, dz~ficult~ with Iang car rides, standing,sitting for any l~ngt~a a~time,

2&1,   Upon information and belief, the surgery per~axmed b~ Dr. Dtum~.ni was rxiedic~.11y

   utmecessary anc~ i~n~roperly perft~rt~led.

2~2.   Upon information and belief, Dr. Durrani was pet~forming surgeries while his surgical

   pxivile;es were suspe~lc~~ci. Br. Du1~•ani never informed the Plaintif~ofthe st~spensi~n and

   acted as if ever~~ st~xgery was a~i emergency,so that lie could pei~foi~tn surgezy az~ the Plaintiff,

   Dr. Duu~az~~ mislead, faih~re to disclose vital i~iforination, and izzapxoperly induced the

   Plaintiff to have surgery.

263.   ~s a direct and ~ro~i~nate result ofthese surget~ies and Dr, Dur~ani's x~.~g~zgence, the

   Plaintiffs ~aave suffered h~m.

264.   Plaintiffs did not become a~~vare of Dr. L3iu~rani's use ofInfuseBMP-2 until legal couzasel

   re~vieti~ed Plaintiff.'s' bills.

                                      RICHARb A.L~LEN STANFIELD

2b5.   At all times relevaza#, Richard Allen Stan£xeld, vvas a resident of anr~ domiciled in tkae

   ~ornmonwealth ofKentl~cky.

266,   Plaintiff sought treatment ~vit11 Dr. Durrani ita e~.r1~ 2010 t'or pain in his la~~ve~ back

   radiating dawn to leis right leg acid foot.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 30 of 271 PAGEID #: 52




267.    At the ti~~st affce visit, Dr. Dut~rani recon~zzzent~eti immediate recommended surgery on

   Plaiiat~f~'s spine.

268.    Dr. I7urrani told Plaintiff that he cfluld "fig k~in~ end he would be able to return to work

   within 5 weeks ~vit~ou# pain."

269.    4z~ August 6, 2010, West Chester ~-Iospital suspended Dr, Dlurai~i's stugical privileges,

   iax~.tz~ Dr, Dui-~a1~i completed surgical charts and the suspensia~~ was iii effect at Icast trough

   actaber 5, 2010.

270,    Upon in#'ot-~nation and belief, Dr, Durt•~~i, CAST,and West Chester ~Iospital/UC Health

   never il7for7rced Plaaz~txf#'that Dr. D~urani's privileges tivere suspended.

271.    On August ~3. 2~1Q, Dr. Dut7ani performed st~rgezy on ~'laiiitiff at West Chester Medical

   C~i~.tez.

272,    Ulan information and b~~xef, Dr, DLUrani used InfuseBMP-2 or Puregez~ "off-1abe1" iai

   this surge~•y without ~'laintif~s knowledge or consent, causing harm,

273.    Thy t~se of BNiF-2 i~icreases ~ person's chance of ca~3cer ley 3.5%

274.    Due to the tuulecessary surgeries Dr. Dui~tani ~erfai~leci, ~'laititiff ~.as a 3.5%increased

   chai7ce of cancer bec~.use ofthe use of B1VIP-2.

275,     A.s a direct and proximate result ofthe use alici i~~iplementatian ofInfuse/BMp-2

   Plaintiff'lhas incurred ~. 3.5% xncr•ease ire the risk of Canc~x. As a result, P]aintiff has an

   increased.

276.   Plaintiff's back felt extremely stiff and sore followring surgery. He cantii~ued to fallow

   Up WIY.YI DP. DUITatll c~riCl COI7713~~Iri td }11II7 aUallt t~]e ~7&I17.   Dr. Durrani told h~rz~ to give it time

   and let it heal.

277.   Plaintiff's pain cantitiuec~ to ic~erease in his lower beck,
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 31 of 271 PAGEID #: 53




278.   P1ai11tiff now lives with co~.stant pain and cliscomfor~t as a z'est~lt ofthe surgery performed

   by Dr, Dui7•ar1i, Plaintiff is constantly stiff with no flexibility az~d is completely unable to

   worl~,

279.   Since surgery Zvi#h Dr. I7uxzani Plaintiff has not been without pain,

28Q.   After sLU~~ery with Dr. Durrani, Plaintiff has di~'fiicial#y with sitting, standing, walking,

   laying down, and sleeping.

28Y,   Plaintiff has a weight limit of5-i0 pounds, he is unable to do hotiseliold chores and

   depends on assistance f~i the hoi~sewark.

282.   Upon i~~.~oriila~ion and belief, the surgery ~erfQrmed bar Dr. I]tu~rar►i ~v~s Fnec3ically

   iu~nec~ssary aid improperly pet~foz~ec~.

283.   Ulan.int'orniation and belief, Dr, Dut'1a.111 GV~iS jJ8Pffl2'lllltl~ Sl1T~~1'1~S W~lllE 11F5 S11I~1G~I

   privileges were suspended. D~•. Dtu~~ani never infoxx~ied the Plai~itifit'ofthe st~spensia~l end

   acted as i~ eve7'y surgery was air emergency, so that 11e co~ild ~~erform surgery az~ the Plaintiff,

   Dr. Duri•ani inisleaci, failed to disclose viial inforazation, azad improperly induced fihe Plaintiff

   to Have stu•gery.

2$4.   As a direct and proximate result ofthese s~ugeries a~ld Dr. Durrani's ~.e~ligence, the

   ~l~intiffs have si~ffer~d harm,

285,   PIaintiffs did nat become awat~e ~f Dx. Durrani's use of Infuse/BMP-2 until legal counsel

   reviewed ~lair~~iffs' bills.

                       ADDITIONAL BACKGROUND Yl~~'ORMATI(?N:

28b.   Defendants fraudulently induced Plaintiff and her insurance com~~any to pay fox the

   surgery.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 32 of 271 PAGEID #: 54




287.   A.ccordi~ig tq CFO Mike Jeffers, West Chester I~aspital was in the business of making as

   muc~3 ~a~oney as possible regardless of their Ilan-profit status.

285.   According to CFO Mike Jeffers, it tivould be agaiizst ~~est Ches#er I~ospital's interest to

   cio s~~aaething that would liz~it their ea~~ning potential or stop mal~ing money.

289.   According to C~'~ 1V~xke Jeffers, Dr. Dut~ra~ii was tk~e highest n~flnthly revenue ge~ieratar

   at West Chester Hospital,

29~.   The Board of Directors of UC Health, ~ecordin~ t~ CFO Mike Jeffers, ti~ere aware ofthe

   fina.Y~cial gro~~vtl~ o~ the hospital a7~d ofthe artha~aaedic acid spiny depa~~me~it and in particular

   fhe significant £inaticial revenue generated fiom Dr. DllI1c9S11'S SUPgEl'leS,

291.   Accoading to CFC7, Mike Jeffers, ~uesfi Chester hospital billed more for BMA-2 and

   PuxeGen then what they pt~rcl~ased the itefns fox.

292.   According to GFO, Mike Jeffers,'~I~st Chester Has~3ita1 tr~cic~d the occupancy oftheir

   ]b2 beds by fluor,

293.   According ~a CFO,Iv~zke Jeffers, at the end of each month there was a xeparting packet

   that 'vas requested from all fihe finance directors, and it would be sent to the corporate

   controller Cha7~ity Fa~min regarding the inontl~ly finances.

294.   AccoY•din~ to CFO,Mi1se Jeffers, the in~oxmation vas tracked by each individual patient

   in the hospital.

295.   According to Arvzual Repo~~ts puff together }~y Jeff Hindi at~d financial statements o~ West

   Chester/UC Health frorr~ 2009 filuough 20 3, the Defendants violated R.C. 17 2{S4), by

   ~cnowin~~y placing false information in numerous documents governed ~y R.G. 1702(54)

   including over $4 rniliian dollars falsely claimed z~s income for Medicaid/Medicare fraud and
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 33 of 271 PAGEID #: 55




   flthar false statements in their praspectzve, repots, fnancial statements, mirzt~tes, records and

   accounts.

296.   West Chester/LTC Health rtlade more money #Tarn surgical patients than medical patients.

   ~}i~. Duxrani was a spine surgeon.

297.   Vt~est Chester/L7C I~ealth n~.ade more zx~a~aey fi~an~ more surgical ~~roceduxes and more

   diag~aostic tens acid thera~~utic procedures of any kind. Dr. Dur~rani ordexed significant

   unnecessary diagnostic tests and procedures for his patients and tie Defendants knew this

   fact.

29~.   CoYnplex uses made Vest Chester/UC Health more zx~oraey than simple ones. Dr.

   D«rrani had co~n~le~ cases.

299.   There have been serious coiasequences since orthopedic device conlpar~zes bega~i sending

   sales Y'ep~•esentatives to tk~e operatiYig ~~oorn of hospitals as they did and da to West

   ChesterlUG I~ealtl3,

30U,   Thy s~.Ies represetltatives assist tie back table ~vittl the instr~unents, tecl~zaic~ue ~nci

   matiagecl inventory. Tla~s has allowed the host}itals to ~.l~ow thear staff to not Know specifics

   aboLrt cases axed aY`thopedic systems. This Ei~s also allowed the hospitals to avoid the cost o#'

   training their staffs far ~vilat tl~e sales representatives do. This all appizes to West

   ChesterlUC Health

30I.   The sales representative adds approximately 40% t~ the cost ofthe implant and increases

   implant usage to 30% at Vlrest Chester/UC Health.

302.   The Dr•. Durrani s~.~~ at West Chester ~s Exhibit A of the medical complex iun amok for

   profit anc~ greed over ~aatient care,
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 34 of 271 PAGEID #: 56




303.    West ChesterlUC Health failed to xepoi~ a single incident of, any kind involving Dr.

    D~u7ani to the National Practitiot~ei~ Data Banlc and any 4thet• reportitt~ agency including the

    011ia IVleciical Board despite there being countless required repoz~ts,

30~.    According try HRSA Data,42% of hospitals have never made a single report to NPbB.

305.    With respect to Dr. DL1ITc'1Til~ West ChesterCUC HeaIt11 dici nat follow their written nieciical

    staff ~~olicies and ~roceclures under tk~exr pi~afessional practice evaluation policy.

3Q6.    West ChesterlUC Health failed to follow the triggers for peer review from ~atlu~ry 2 09

    tl~rai~gh May 2013.

307.    From January 20 9 tkarougli May 2013, with respect to Dr. Durrani, Defendants failed to

    fallow their Medical Stiff Code of Cond~ict wt~icl~ they approved as witnessed b~ Ed Cr~tie,

    President o~ the Medical Staff and Paula Hawk.

3a8.    Unlrnowti Defendan#s ix~chid~ all Members ofthe Executive Camrnit~ee, Creci~ntialing

    Car~unittee a~ld Peer Review fiom 2009 tivr~u~h 2013.

309.    A7~icle I o~the MEC bylaws gives the MSC "oversight," of quality of care and patient

    safety #'ar West Chester.

310.    Article 3.1.1 sets fot-t1z who the officers are including Pxesid~nt, Director of Surgery,

    Director ofZvledicine anti CY~air of C1~edetitials Committee,

31 t.   ,A.ztiele 3.3.1 provides tl~e duties of each c~epa~~ment director and Article 4.4 provides t ie

   fi~nctions ofthe depat~ment.

312.    Defendants have refi~sed to produce througk~ discovery the members of West Chester's

    M~d~cal Execllfiive Committee, Credentialing Comi~zitte~ and Peer Reeie~~ Coxx~mittee from

   2fl09 ~uougli 2013.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 35 of 271 PAGEID #: 57




313,   According to Baxbara Butz, she prepared the application far credentials to be reviewed by

   the department directors, the crede~itialing conunittee, the NI~G and the Board,

314,   According to Graxat Wenzel, there ~~vas a marketing ca~i~pa~~~a that "spoke of a~u

   capabilities" in spine suz'gery,

315.   Nest Chester/[JC Health anc~ the Defendants allowed Dr. Durrani from at least August 1,

   2010 to October 5, 2p10 to perform surgeries at West Chester while suspended. Over 3Q

   patients had surgeries during fil~is tune period. This intentiQZaal egregious concittct is

   appalling ~.nd repre~enfis ~iaaid in the concealzx~ex~t. None of these 30 plus patients would

   have allowed Dr. D~urani to perform thezr surgery haci they laiawn Dr. Durrara~ was

   suspended.

316.   West Chest~rlUC Health and Defendants bragged about and sti11 brag about their spi~le

   surgery capabilities.

3~7.   West Chester/UC Health f~.iled to cam~l~ with t~leir Medical Staff Bylaws which include:

           a} Bylaws

           b) Cred~ntialing Flan

           c) ~.ules and Regulations

318.   ~'k~e list of negligent acts, intentional acts acid fr~uclulent acts by Dz•. Du~rrani known to t1~e

   lios~itaI management, adminis#ration and board ine~bers including these Defendants

   include:

              1}          Dr. Durrani was the #1 ynoney snaking doctor for West Chester.

              2)          ~1Vest Chester planned to lease Dr. Durratii tlae fourth floor of the hospital fot-

               CAST physical therapy.

              3)          According #o Paula Hawk, West Chester atld br. Di~r•rxni weze °`pattnet•s in

               crime.,'
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 36 of 271 PAGEID #: 58




         ~})         West Chester allowed three days of blocked su~•gety time anti allowed mare than

          one surgery at a tinZe.

         5)          West Clteste~' ignored their Medical Executive Cnmmittse bylaws when it came

          to credentializi~ a~~d retaining Dr. D~Frrani.

         6}          West Chester West Ck~ester/UC Healtil~ knew BN~P-2 was being used improperly

          b~ Dr. Durrani inclt~din~ in minors, non-approves! ~ocatians in tl~e spine and in patients

          Wlt~l C~.I1C61' f'1SIC5.


        7}           West Cheste;•/[TC Health knew Dr. D~u'rar~i was claing extensive multiple

         surget~ies on patients,

        $}           West Chester/UC Health knew of Dr. T?uirani's issues at other issues at hospitals

          befoY•e his application of privileges at Nest Cl;ester.

        9}          West GhesterlUC Health ky~e~v about the "Stianti Shuffle" which is an expression

         do describe Dr. Shanti, Dr. Durr~tni's employee seine surgeon, ~~erfQrtxting spine surgeries

         Far Dr. Durl~ani without the consent of the patient.

        1Q}         West Chester(LTC Health knevu about"emergene~" ac~ci on issue where Dr.

         Du~-r~ni would claim a sur~eiy was a~ emergency Co acid it on to an existing schedule,

        11)         West Ghesterll3C Health knew PureGen was being used im~~roperly by Dr.

         Durrani including that was ~~ever approved far hurnan rise and they bought it from Dr.

         Dur~rani.

        12)         West Gl~estet~/L1C Health knew I3r•. Durr~ni wvas the biggest revenue generator.

        13)         West Chester/LlC Health knew Dr'. bui~t•ani would perform multiple surgeries at

         the same time in the OIZ,

        14)         West Chester/UC Health knetiv L7r, Durrani was not dictating OR reports ot~

         dicta#it~g them extremely late, often tunes up to six xiaonChs.

        I 5}        West Chesterl[7C Health l~iew I}r, Aurrani's patients had e~te~nded anesthesia

         waiting for surgery,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 37 of 271 PAGEID #: 59




         IG}      West Cllestez-/UC Hea.lth marketed themselves 1s a world leader in spine surgery.

         17}      Wast Chester/UC Idealth knew Dr. Durt~ani was"over-utilizing."

        18}       The aff"icers and administz•ators in depositions have admitted West Chester/UC

         Health knetiv of the iss►~es involving Dr. Durrarii,

         19}      Westi ChesterlUC Health knew Dr. Durxa~li was not obtaining groper ii~foY•med

         consents from iris p~tieiits,

        20}       West Chester•/UC HeaItI~ knetiv Dr. Durrani dictated discharge summaries late

         anti sometimes not at all.

        21)       West Chester/UC F~eait[l lcuew they wire not following their• bylaws, f•ules and

         policies iza their supe~'vision of Dr', Durrani,

        22}       West Chester/UC Health knetiv Dr. Dur~~axli was abusive to staff.

        23}       West ChesterlLTC IIealth knew Dr, DurrHtii was "sloppy" in surgery,

        24}       West Chester/t1C Health ~t~ew staff and medical staff would lie re~ardittg Dr,

         l]u~•rani issues.

        25)       West Chester(UC Health forced silence upon staff and medical staff,

        26)       West ChesEet•/UC Health tracked BMP-2 ttse by Dr. Durrani to calculate their

         profits from its ttse.

        27}       West Chester/UC Health luasw Dr. D~urani pei~'ormed su►geries too late into

         night to the dett~iment of patient safety,

        2$)       West C~iester/UC 1-Iealth fcnew Dr. Durraxzi's use of zrn~~-oper hardware in s~ir~al

         surgeries.

        29)       West Chester/UC Health knew Dx-. Duirani sometimes marketed hin~seif as a

         neurosiir~eon to pfltients.

        30)      West Chester/UC Healkh l~new fir. l~urrani performed prac:edures beyond his

         scope of practice and training.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 38 of 271 PAGEID #: 60




        31)            Vest Chester/UC Health knew Dr. Dt~rrani pej•~~rmed suygeries with inadequate

         traii~ittg.

        32}         West Chester/UC Hea~tll knew Dr. Duerani used "GLit atl{~ (71S#8" in his OR

         reports.

        33)         West Chester/UC Health knew Dr. Durt~~ni engaged in iin~araper financial

         relationships wit1~ orthopaedic product venciots,

        34}         West Chestei•/LTC Health k~~ew D~•. Dtirrani had the lack of attention to detail as

         requited of a spi~tal surgeon.

        35)         WBSt Chestei~lUC Health knetiv multiple Dr. Durrani patients suffex'ed from

         improper VATS pr~ceciures, t•esulting in various reactive airFVay diseases postoperatively.

        ~6)         West Chester/UC I~eatth l~i~ew they dicl not do proper cc~edentialing piacedu~•es of

         Dr. Durrani ~~~iar ~o privileging l~xm as a stu•geon.

        37}         West ChesterlUC Healt~~ knew Elizabeth Garrett (pl~ysioiaza's assistant} was

         present ai d active in tt~e OR as ~.n assistant sur~ean without the proper approval.

        38)         tUest Chester/UC ~Tealth allowed and promoted T~x~. Durrani to give se►x~in~rs

         knai~vin~ he misreprese~~ted his stah~s at Children's Hospital and University Haspifal.

        39)         West Chester/UC Health knew I]r•. Durrani had an irnpt•oper personal relationship

         with Elizabeth Gai7~ett,

        40}         West Chester/UC Health knew that the required tracking paperwork ofBMP-2

         and PureGen was not routinely completed in fihe OR.

        X11)        WesE Ch~ster/[JC Health knew I7r, Ducmai3i's patientts were having anesthesit~

         retated complications intraoperatively and postopez•~tively, ttnd did not disclose it to

         patients.

        42)         West Chester/UC Health knew Dr. D~~rr~ni Failed to disclose to ~atier~ts tend

         family medical pz•~blems encauntereci duz~ing surgery,
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 39 of 271 PAGEID #: 61




              43)       West Chester(IJC Health knew Dr,17ur~•ani was creating health care billing fraud

               and they too committed billing fraud.

              44)       Nest Chestet~/t]C ~Iealth knew Dr-. Dur~-ani handpicked patients with optin3al

               health insurance far unnecessary surgeries to profit himself and the hospital.

              45}       West ChesterlUC Health knew Dr. Durrani often dic} not contact his patient's

               primary care practitioner foc• in-patient hospital follow up appoil~tments, and instead

               picked West Ct~esteY S~c7~t0 CC7V8I' lT1~XttI11Ze F7I'O~lt, and not have to disclose his

               wrongdoings.

319.   Thy hospita.l's tn~t~.agen~ent ~dn~iz~is#ratio~i acid hoard members,including the

   Defendants, knew o~ the impropet~ use ofBMP-2 and Pu.7.'eGen by not only Dr. Duxrani, btrt

   other siugeoz~s, This Coinplai~it contains detailed sections pertaining to these two subst~t~ces,

320.   Thexe were oti~er 185 BMP-2 victims and over 84 ~ureGen ~ictzz~s at West Chestex/UC

   Heath, all Dr. Duzxani patients. The~•e are h~indreds acid even pxobably over a tk~ausa~~d or

   zn~re past patients of West Chester/UC Health who have x~o idea they have BMF-2 or

   FureGe~a in their spines and they are encountering laealtl~ issues they have no idea could Fay

   caused by BMP~2 or FureGeta, T~vo separate class actiatZS on this issue will lie ~ilecl

   sim►.~ltaneous with this lawsuifi.

321.   The Annual Repox-ts c~~UC Health reflect the bragging [~y the t~~anag~rnent,

   aclsaainistra~ion at~d board, it~.eluding Defendants, of Vest Chester's financial ~~rformanee anti

   spine awards with fi~11 l~nowlecige oft ie false informatio7~ contained in tl~.em including over

   $4 million in fraudulent Medicaid and Medicaxe billings. The one for the Fiscal year ~ndec~

   Jtu1e 30, 2013 is the last orle applicable to Dr. Dusrax~i, his last year at West Chester.

 MARE SPECIFIC ALLEGATIONS BASED UP41V DISCOVERY AND D~P~SITION

                                             '~'ESTIM()~IY
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 40 of 271 PAGEID #: 62




323.    T}iis iza~ormation is to den~oz~strate the overall negligence and inappropriate actia~~s of Dr.

Dtu7~a~ii ar~d the hospitals lie worked with and/or for and/or in a.n individual capacity,

324.    I~rissy ~xobst vas Dr. Dur~•~,z~i's professional and ~~ersot~aJ assistant handling

professional, academic, travel, surgery scheduling, his jot~rtlals, his Boards, his credentialiYlg~ ~ll5

personal ~ff~.irs and his bills.

325.    Kxissy Probst worked as Ar, Dt~rraYli's assistant foz three years at Childxen's Hospital

from 2006,20 7, and 200$.

326.    Krissy Pfobst reported Dr. Dtu7a71i to dandy Singleton, the Business Director at

Ck~i~dren's for leis havx~ag an affair with Janie Maor,1115 ~)IlySlCla21 c'35S~Sta11~,

327,    Lissy Probst resigtled in 20b8 froze Dr. D~.ur~uli arxi remained working for t}u~e other

surgeons in tk~e C)r~hopedic bepaz~tnzent,

328.    Kxissy Probst war~Ced in the Orthopedic Depaa`trnent foY~ eleven years from 2002-2013.

    the retired in May,20I3.

329.    Krissy Probst confii7ned 17~r. Du~'ani claims bE~~.~ a Prince, wheal he is i~.ot.

330.    According to Krissy Probst, Dr. Craw~'ort~, an icon in pediatric orthopedics treated Dr.

    Dunani "like a son,"

331.    Accoxding to Krissy Probst, Dr. CTc~WfOiC~, Cl1ief of Orthopedics ~.t Children's

    ur~co.ndi~ioYially suppazted Dr, Dlu7ani no hatter the issues and problems Dr. Dtiu7ani faced.

332,    Dr. D~~rrani's patient care at Chilc~•en's Hos~ita] dropped off cnt~siderably after ~arzaie

    Moor Uecame his physician assistiant and tk~ey began their ~f'fair.

333.    Dx. I7ur~~ani was the t~nly orthopedic spine slugeon at Ghilci~er~'s who would perfortY~ a

    dangerous high volume of surgeries.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 41 of 271 PAGEID #: 63




334.    At Chiidrexa's, Dr, Dw~rani would begin a surgery, le~.ve and have fellows and residents

    coinplefe a surgery ar do Mlle fill stugery while he was in his office with JamEe MQOx,his

    physician assista~at far four or five ha~u~.

335.    Children's ~c~arcl as~d adiniFiist~atian knew about Dr. Du~7ani doing too m~~y s~~rgeries

    and ~zot prop~xly doing the surgeries. They did nothz~.g.

336.    Dr. Duzrani argued to Cl~ilclren's administration when they complained to ~azrn that he

    made them tnaney so Children's tolerated ~axz~ and allowed him to do what lae wanted.

337.    Ar, Durrani, when told by Children's that Jamie IVloar had to leave, told Ghildten's that

    he world leave tao.

338.    Dr. Agabagi would dQ qne spine patient a clay at Children's because it takes narnsally

    eight hours for a fu~1 fti~sian.

339.    Dr. Durrani would schedule two to three spine surgeries a day at Children's.

340.    Dr. Dui7ani would repeatedly have the Business Director,Sandy Singleton, or t)R

    Director allow 11itn to adci s~ugeries cla~xxi.ing they ware emergencies when t~a~y were not.

:~41.   Ar, Durrat~i ~~ottld leave a spine s~ugery patient fox iFour or £ivy liqurs in the su~~gery staite

    under the care offellows ar residents, unsupervised and siE in his office mid check on the

    stugery as lxe pleased.

342.    Dr,Peter Sfiern clid n.ot like Dr. Duc~'ani while Dr, Durra~ii ~~as at Children's because he

   knew all about his patient safety Y7sk issues. Yet, Dr. Stern supported, aie~ed and abetted Dr.

   Diu~ani's aix~val afi West Chestex. It defies cotnpre~a~zlsion, but was fax one of t~~e world's

   oldest motives—greed o~ m~r~ey,

343,    There is also a Dr, Peter Stut7n, an orthopedic of Chilci~•en's who also had no use for T]r. .

   Dunani.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 42 of 271 PAGEID #: 64




344.   Dr. Dut7•ani close his otivn codes far Children's billing whicl1 he manipulafied with ttie

   fi~~l knowledge of Children's Board and management.

345.   Dr, Dur~ra~~i was dating and living with ]3eth Garrett, a nursi~ag school drop-out, with the

   full knowledge ofhis wife Shazia,

346.   Dr, Dul~aYii was close with David Rattig~n until David Ratti~an pursued Jamie Moor anc~

   Dr, DtiY7ani would nflt allow David Rattigan iz~ tk~e OR at Children's for a long time.

347,   Dr. Dlu~ani, while claiming to have riches, does zaQt. Dx, Du~7ani's tivit'e's family paid for

   Dr. Dui7•ani's education and it is her faz~z~~Iy with ~1~e significaYit wealth.

348.   Medt~•onics paad fox Dr, Di~rxani's trips and paid hi~~z $10,000 fees #'ar speaking or sirnpty

   showing up at a spine conference.

349.   Z~rissy P~~obs~'s business ciirectoc• told 11er to save alb Dx. Durrani related documents and

   ir~oi7nation ar3d she did.

350.   While cuing research at Children's, Dr. Diirratu would missfate facts regardixl$ l~.is

   researc~i, Children's knew he dici this.

351,   Di. Dtu~talii ended on such back terms tivitl3 C1~ildren's Hospital he was not allowed can the

   premises ~ftex kris dep<`~rtl~re itl December 2008, yet he ~erformcd a spine suxge~ry thexe in

   ~'ebz~ary 2Q09.

352,   Eric J. Wall, MD was t ae Director of Surgical Services Division ofPediatric Ortliopeclic

   Surgery when Dx. Di~rrani le~'t Children's.

353.   Sandy Singleton, MBA was the Senior Business Director o~ Surgical Services Division of

   Pediatric Orthopedic Stug~ry when Dr. DL~i-~•ani legit Chitclren's.
     Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 43 of 271 PAGEID #: 65




354.     On ii~foimlation and belief, Dr. Dlurani used his xelations11i~3s with Childz~e~'s officials to

     piuge his Children's file of all patient safety and l~ga~ issues which had occurred as park of

     his depai~tiue "deal" which Defenc3atzts hide with przvile~e.

                                               IN~LTSEBMF-2

~.       BACKGROUl~b INk'QRMATIQl~I

355.     Tl~e L?et~rs Lavv Firm,P.S.C., represents appxaximately 504 Plaintiffs in medical

     malpractice aetioY~s against a former N~rth~xz~ I~eYYt~cky/Cincinnati-~.rea spine suY•geon

     teed Abubal~ar Atiq Dr. Duxxanz(Dr. DurraJ~i), his company, Center fot` Adva~iced Spine

     Technologies, Inc.(CAST), and several a~'ea l~os~itals including, b~.~t not limited tfl, ~N'est

     ChesfieY~ Hospital {WCH),University of Cincir~t~ati I-~ealth {UC Health}, Cincinnati Chzldrez~'s

     Hospital Mec~zcal Center {CCHIVIC), Christ Hospital, Deaconess T~ospital, Good Satn~ritar~

     ~Iaspzta~ and Journey Lite of Cincinn~.ti, LLC (Joui~ey Li#e}(coJlectiv~ly Hospitals}.

35G, I7r. D~.u7~ani ~aerforra~.ed unnecessa~•y,fraudulent, d~zagerous, and tlltirna~ely da~~~aging

     surgeries air these Plaintift~s while worki~~g fir and ~avitla these Hospitals.

357. The scheme anct artifice to de~t~aud that Dr. Dui7aYZi deexsed, executed, and ztter~zpfied to

     execute while working for and ti~ith the Hosp~ta~s included the following pattez7is anci

     practices:

             a. Dc~. Durraui persuaded the patient that surgery was the only option, wE~eti in fact the

                  p~.tiant dici not need surgery,

             b. Dr. Durrani told the patient that the x~nedical situation was urgent and required immediate

                  surgery. He also faEsely told the patient that tielshe was at risk of grave injuries without

                  the surgery.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 44 of 271 PAGEID #: 66




      c, Dr. buri•ani often told his cervical spine patients that they risked paralysis or that hislher

           head wo~cld fall ot'f if he/she tivas involved in a car aocidenE, ostensibly because there was

           almost notk►ing attaching the head to the patient's body,

      d. Dr. Durrazzi o$en ordered imaging studies such as x-rays, GT scabs, or' MRIs for patzents

           but either did not read ~r ignored the resulting z-acii~lo~y reports.

      e. 17r. Dut~~atti often provided his own ~xa~garated aztd di►•~ reading of tl~e patient's imaging

           study that was either inconsistent with or was plainly contradicted by the raciiologtst's

           report. A~ times, Dr. Du~'~ui pt•o~ided a false reading of tl~e imaging.

      £    Dr. Durrani often dictated that he haci performed certain physical e~a[z~in3tipns and

           proeedLlres on patiezats that he chid not actually perform.

      g. Dt•. Durrani often oz•det•ed a pain injection fax• a level of the spine that was inconsistent

           ~iti~ tie pain stated by the patient or with tk~at inr3icated by the irzaaging. Dr•. Durrani also

           scheciul~d patients fat surgeries witl~oi~t learning of or waiting for the results of oet~tain

           fain injections or' ~~elated therapies.

      h. Dr. At~rr~ni often dictated leis operative t~epot~ts rsr other• patient records i~~onths after the

           actual treatment had occ«rred.

      i.   Dr. Durrani's operative 3•eports and ti~eatrr~e~it racQrds cantai~~e~ false statements about the

           patient's c~iagnosis, the procedure ~aei~'ormed, and the instr~imentatio~i used in the

           procecttite.

      j.   When a patient experienced Complications resulting fra~~~ the surgery, Br~, Dtirrani at

           times failed to inform the patient of, oz' misrepresented tl~e tlatui•e of, the camplicatio~~s.

      k. All of the above-mentioned actions were done with the ktiowleci~e, cooper~tiotl, or

           intentional ignorance of the Hospitals because Bt'. bu~•rati[ was one of the biggest

           money~~alcet•s foc~ the 1-~ospit~ls.
      Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 45 of 271 PAGEID #: 67




358.       I~1 adt~ition to the civil medical malpractice actions against Dr. Duixani, on August 7,

      ~Q13, he was indicted by the Federal Govet~nme~lt for performing Luu7ccessary surgeries ~,nd

      for defrauding the Medicare and Medicazd progl~vns. Specifically, the ten~col.uit complaint

      ch~ged Dr, D~u7ani with Health c~•e fiaud, in violation of 18 U.S.C. § 1347, and malting

      f~.lse staternent~ in health care rnaiters, iz~ violatioi3 of 18 U,S,C. § 1X35. There was a

      subsequent superseding indictment adding ovex 3o eaums.

359.       Following these cz'imiilal indictments, i1i December of2013 and priox to tihe first

      PIa.IIat1~S ~l'11I III tl7eSe aCf1C711S, br, Dl~rYa111 ~J.BC~ flle UI71t~{~ Sfclte5 cZllt~ POtLlT11~C~ f0 pfll{1Sfal1,


      He has not returned to the Unit~c~ Stites to face al~egatia~ls of eithex eriminai ar civil liability,

36~.      Among Lax, Du~~.~ani's at~d the Hospitals' pxafessiorial failings was the use of a synthetic

      Uone-rnorphagenetic protein called BMP-2, which was maz~eted under the grade name

      "infuse." Dr. Dtu~az~i used SMP-2/Infuse i~~ ways th.~.t were ei~lie3• not approved Uy the

      feder~,i Foaci a~~.d Drug t~dtninistratiorl(FDA)ax that were specifically contraindicated as

      noted ~3~ #11e FI7A-approved product 1abe~ing, Tile Defendants lead fi~tl ktlawledge of finis

      fact.

361.      BMP-2/Infuse was, at the time of the surgeries in question, and currently still zs

      rnanufac~ured by a company called Medtronic,Ina (Medtronic}.

362.      Dr. D~u7•ani ~rEdotnitia~ltly used BMP-2/Infuse on patients at WC~I, which is owned by

      UC Health.

363.      ~t is ~1ai~lfiffs' positipn t~lat thzs non-FDA-approved use of BMP-2/Infuse r~r~as not only

      ne~li~ent, and fraudulent, but cri~nit~al based upon the manner in which it was allow~~i to be

      used by Dr, T.lurra~li at Test Chester, all with the kilowled~e and fi~il support o~'tlie

      Defendants.

II.       THE PLAYERS REGARDING BMP-2
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 46 of 271 PAGEID #: 68




364.I~r. Durra~~i is a citizen of the Republic of Pakistan and was a pei7nanent resident Qf'the

    United S#aces who,from ap~ro~imately 2005 to 2013, worked as a sine surgeon iYi anct

    arauz~d Cincitviati, Ohio, Lmti1 he fled the U~aited States to escape civil liability end criminal

    prosecution.

365.Medtronic is an Irish coiporatian, with its prailcipal executive office located in Dublin,

    Ireland, and its operational lieadgi~a~-texs located in Minneapolis, Minnesota. ~vledtrflnic is the

    «orld's ehird largest medical devzce company arlci manu~~.ctures and max~Cets BNIP-21Infiise.

    Medtronic sales representatives were also present dL~ring the experimental s~uge~ze5

    performed oz~ Plaintiffs, who are clients ofthe Deters La~v Firm.

366.CAST was a cot~poratiox~ organized uticler t~.e laws of Ohio anal had busi~iess and x~~edical

    oiF£zces in Florence, Kentucky and Evexacl~le, Ohio. CAS`s` was o~vned, in whole or iti part, by

    Dr. Dul7ani.

3G7.Bahler Medical,If1G. 15 ~ X11c~11U~aCLl1TeI' Of I~~C~1CaI llTlj)1a11~5 all.C~ 1S 1 CO1~OTc3ti01] 1{7Cc~teC~ lil

    the state off' Ohio.

3&8,David Rattigan is an Ohio reside~it and was a~.d is a sales representative far Medtronic.

    Further, kte is affiliated with Bahler Medical, Inc., tivas invohJed i7i many ofthe tra~~.sactions

    involving BMP~2, and was present for the experixz~enta.i surgeries in which BMP~2 was used.

369.West Chester Hospital, LLC xs a coY~oratzon ~rga~iized tinder tl~e laws of Ohio. It prflvides

    medical Facilities and bi~~in~ support to physicians, including Dr, Dut~atu, in the state of

    Ok~~o, UTCH is aw~.ed by UC Health,

374.UC Health is a private, non~~arafit cor~or~.tio~i organized under tk~e laws of O11io. It provides

    medical fa~ili~ies, tnanagemeY~t, ada3iinis~ative, ancillary, and bi11it1g s~ippoi~ to pk~ysicians,

    a~ad it a~~is WC~I.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 47 of 271 PAGEID #: 69




371.CCI-IMC is a medical facility in Ohio where br, Duz~•~ni tivas an eni~loyee until

    approximately 20Q8.

III.    W~IE1T IS SMP-21INFUSE?

372.    Thy fu~~ name of BMF-Z is "Recombinatlt ~Iuman N1o~~phogenetiic Protein-2"(also called

    rhBMP-2}, The following definitions apply:

            a.   R~GOIlI}~Iflflllt — AI`~1fIC1c11Iy CT~eateci   in a lab;

            b. Marplaogettetic — Evolutionary development of ate orgarzzsrn;

            c. Protein — Esse~ti~~ for gi•Uwth and t~epair of tissue,

373.RecornbinaYit liurnan protei~i{rhBMP-2} is curr~ratly available for orthopedic usage in the

    United States,

374.Medtronic zn~nufactur~d, zx~.~,rlceted, sold, and distributed BNI~'-2 undex tkae trade name

   "II1fl1S~."


375.BMP-2 has beeY1 shown to stimulate the production ~f bone.

376,   Implantation of BIv~~-2 in a collagen spoY7~e induces new bane for~aatxon and can be

    used for tl~e tre~.tment of bony defects, c~elaye~. union, anal ~ion~unio~i.

BMP-2 AS A BIOLOGIC

377.   BMP-2 is not a device, but instead it is a biologic. See July 2009 Arxzexican. Medical

   Association Az-~icle and 2011 Stanford Sck~ool of Medicine Article.

378. According to the FDA,"[a] `biological pracluct' means a v~~•«s, #hera~eutic serum, toxin,

   ~ultitoxin, vacczz~e, blood, l~load compozaez~t or c~et7~vative, allergenic product, or aY~alogous

   product, ~r arspher~atnin~ ox derivative of arsphenarr~iz~e (or any other trivzlent flrg~nic

   arsenic coinpotuici), applicable to the ~reventioz~, treatmeY~t, or cure o~ a disease ax condition

   ~~~IlllT1c~17. ~~lI1gS ~PLI~?I1C TIe~~tI1 SeI'V1Ce f~LCtSeC.351(i}1,"Av~.~lable


   littp://www.#'da,Gov/ICECT/Inspections/IOM/ucm122S3S.htm.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 48 of 271 PAGEID #: 70




3'79.   BMF'-2 is a Bode-MoYphogenetic Protein that as used to promote bone cre~.tio~ anc~

    retnolcting and falls ~.inder the definition ofa biQtogic, ,~'ee AMA article("bony foxzxaang

   properties")and Stanford Article. BNIP-2 differs From ~. medical device in that once

   implanted, ~t can only be removed days after surgery. If a patient h~ci a cotnplzcatio~. due to

   BMP~2 and did not discover this cornplication uzatil year after surgery, the patiant could nc~t

   h~.ve ~3MP-2 removed to reduce the coin~li~ation because BMP-2 is so integrated into t11e

   p~.tzent's bane.

380.    A patiei~t~has a right to determi~ie what ha~~ens to his or leer body and the preservation of

   ~1iat right requires #hat the patient be info~~tned when a 6oiie grovv~h product, ~I~at causes

   ii7~versible harm., ~s p1~Ged iii his or her body.

WHEN I~ IT USED?
3S1.    Recombinant human BMPs are used in ort~.opec~ic a~a~lications st~cll ~s spinal fusions,

   taox~-unions, and oY~a1 s~u~gery.

382.    The bane graft contains twa darts, The frst is a soh~tzon of human bane grawfili proteiYi car

   mor~hogen~tic ~roteiYi-2. This protein is found in the titi~man body in small dosages anti is

   i~z~portant for the healing and foz,mation of bones. The protein is gez~etzcally engineered to be

   ~itilized iii the Itlfus~ $oz~e Uraf~ product, anti it is eznplayed far the s~iinuiatian of farniation

   and growth icy banes.

383.    The second part ofthe bone graft is an absorbable collagen sponge.

384,    Bofih components a~the Infuse Bone Graft st~~eture a~~e used to fill the LT-Cade L~unUar

   Tapered Fusion Device. This chamber is inter~decl #a re~tare the deteriorated disc s~~ace to its

   orzg~~al height.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 49 of 271 PAGEID #: 71




385,    FDA-appiovecl use for the Infi~sa Bone Graft product is only for lower back surgery using

    an anterior ltullba~ interUody fission {.A,LIF}, a technique wkzere tl~e operation on the spina is

    conducted tluough the abdomen.

3815,   In addition, the Ynfiise Boni Graft pxoduct ~i~st be used in conjiu~etioi~ with Medtronic's

    LT-Cage. Use of BIVIP-2 without the LT-Cage is considered an "off-label" use.

CbNTRA7NDICATIC~NS QF TJSE

387. The FDA. specifically wai~is against the use of Infiise itl the cervical spine, citing reports of

    "life-tk~reateniYlg complications."

3$8. Any use ofIi~fiise gfiher than in lumbar sine si~rgetxes wit11 the LT-Cage is considered

    "off'label" L1S~

389. Infiise should zaever be used on the skeletally inunature patient, i.e,, in patients less than ]8

    years of ale ar those ~~ith Flo radiographic evidence of e~.~iphyseal closure,

390. Infuse should never be used iz~ tl~e vicinity of a resecfied or extznt hu3loi.

391. I~ifiise should .ever be used iY1 those patients kilotivn t~ kaave actzve infection ~.t the surgical

    site.

RISKS ASSOCYA'~'ED WITH OFF-LABEL USA

392. 'When used in an off-label manner, patents may eY~erience problems with pregna~lcy,

   including but Fiat limited to: complications in fetal clevelopx~~.ent; allergic reactions to

   ti#anium, bovine type I collagen, or bone morpho~enetic protei~n~-2; infection; the crea~ian or

   1I1t011S1fCc~t10ri O~tl1TIlOT59 liver or ~S.idney   disease; ILl~l15 DT I1111"ri&tl 12111I1L1110C~e~1CleriCy V1TilS

   (HIV/AIDS}; problerz~s wifh radiation, chematIiezapy, car steroids if a ~~atietlt is xaaali~nan~.t;

   paralysis; bowel andlor bladder dysfunctxox~s; sexual disorders, includi~i~ sterili~atiozl and

   incompetence; respiratory failure; excessive bleeding, and; death,
    Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 50 of 271 PAGEID #: 72




IV.      TIE REGULATORY PROCE,~~

393.     The Medical Device ~rnendments{MDA}to ~13e federal Food, Drub, and Cosmetic Act,

     21 U.S.C. § 30l et seq., established twa sepaj'ate approval processes for 7nedic~l

     devices: l're-1V~arket Approval{PMA)az~t~ Pre—Market Notificatior~.1

394.     The FDA's PMA process is lengthy and involves ~xtenszve investigation b~ the FDA.

     The PMA ~.p~licatiatz requ~xes manufacttu~rs to st~bn~it extensive animal and human data to

     establish their devices' safety and effectiveness. 21 C.F.R. § 814,20. Frequently, ~~a

     experiYnental pr~gra~n tinder close FDA sc~~.~tiny must be successfi~lly completed befoY~e

    FDA approval can ba obtained cinder tl3is process, FDA regulations ~1sa

    require PMA applicants to submit co~~ies o~'all proposed labeling for the device. 21 C.F.R.

    814,20(b~10~. Tl~e FDA app~-~ves a PMA application only after extensive review by t11a

    agency a11d an advisory co~ntnittee coz~nposed of outside ex~e~~ts. 21 C.F.R. § $14.4D.2

395.     7rz caiitrast, the FDA's Pre—Market Notification process is zaaoa~e abbreviated and

    involves less FDA oveY•sight. This process requires applicaxats to sLtbrnit descriptions o#'their

     devices and atl~er in.~ormation necessaz~y for the agency to cleteznzine whether the devices arc

    suUs#atltially equivalent. Pre—Market Notificatia~. applicants must also sL~bzx~it their proposecE

    labeling. 21 ~.F,R. ,X0'7.87, If the FDA detvxznines fihat a device is substantially ec~L~ivalerit

    to a device that vas o~ t ie market pxior to the enactn3er~.t of tY~e MDA in 1976, the applicatst

    is free to market the device.




1 Fender v. Medtronic, 387 F.Supp, 1,326 fn 1 {E,q. C81,1995).

~ Fender v. Mer~tronrc, 887 F,Supp. 1326 fn 1 (E.D. Ca1,1~95),
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 51 of 271 PAGEID #: 73




396.    BMP-2 rec~zved FMA {PMA. z~urnbe~~ P0~0058} far the Infi~se/BMP~2 Lumbar Tapered

    Fusion Device, which PMA provided for limited Lase with specific requirements for its use an

    zndi~viduals. See Medtronic Package insert.

SCQPE OF THE PMA ANb PRODTJCT LABELING

397.    The PMA far BMP-2 ~~rovided that the product n~.ay only be used in patients with tlae

    following characteristics:

             d. Skeletally mature patient, AI~b

             e. At levels L2-S1, AND

             f.   Con~izmed degenerative disc disease(DDD),t1ND

             g. Using only an open anterior oY~ antei'IOY laparosoopi~ Approach, ANDS

             h. SiY months of nQn-o~erfltive treatment prior to treatment with tk~e device, AND

             i. In coinGinatian with the titetallic LT-C~1.GE,¢

See Medtxc~nie Package Inse~~t,"INDICATIt~NS."

3~8.    According to Medtronic's package insei-~ for B]VIP~2IInfiise as weld as otl~eY• industry

    literattue, tk~e foliawing ris~CS are associated with the use ofBMP-2/Infuse:

                  A.         iVrale Sterility

                  B.        Cancer

                  C,        Increased progression o1Fc~ncer

                  D.        Suffocation ofthe cervical region

                  B,        Bone fracture

                  F.        Bowel/bladder l~rohlen3s


3 Tlie anterior interbody fusion approach tivas de~elbp8(I U~Catlse the risk of non-union (pseudarthrosis) is
sigtai~cantLy higher it1 posterior ap~roackxes. The biggest risk factor for fusion surgery is non-union.

4 Instrumented fissions   ll1VdIY6 ~1fl1'C~W3I'e   aid are more stable fusions with a shorter recovery tit7ie than non-
instrumented fissions_
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 52 of 271 PAGEID #: 74




          G.    Loss of spi~~al tnflbility or fttnati~n

         H.     Change in mental status

         I.    Damage to blood vessels anc[ cardiovascular system compromise

         j.    Excessive bone mass blocking the ab~~ity #n #neat pain

         K.    Damage to internal organs attd connective tissue

         L.    Depth

         M.    Respiratory pz•ablems

         N.    T?isassembly and n~igratian of co~n~onents

         D,    Dural teaxs

         P.    Ectot~ic and exuberant bone Formation

         Q,    Fatal deveiopmen~ aonr~~lications (Mirth defects)

         R.    Foreign body (~.11ergie) reaction

         S.    Gastrointes#ina3 cotnpiications

         T.    I~icisional corn~~lications

         U.    ~~fection

         V,    Insufflation complications

         W.    Ne~~rptogical system compromise

         X,    3~tan~unian

         Y.    Delayed anion

         Z.    Mal-union

         AA.   Change in curvature ofspine

         BB.   Ratrogr~icie ejaculaEjon

         CC.   Scars

         DD.   `~'~ssue and nerve damage

         EE.   Itching
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 53 of 271 PAGEID #: 75




                FF.      Pain

                GG.      Hecnatoma

                I~H.     Anap~►ylactic reacCion

                II.      Elevated ei-ytlu~ocyte seditueutation rate

399.   Injury Percezltages;

           j. ~ctapio Bone Growth-d~°/n

           k. Inflammatory Ne~u•itis-15%

           [.   Osteolysis/Subsidence-13

           m. Acute Swelling-7°/a

           n, lttetrograde Ejaculation-2%

           o, $5% oftime, BMP-2 implanted in offlabel use

400.   Not a sirlgie one ofthese risks in the last t~va paragrapkas were ever explained to a single

   patier~.t at Childen's Haspitai by Dr. Duzxani.

401,   BMP-2 was NC7T approved by the FDA far rise in the cervical and thoracic sine and

   BMP-2 tivas NOT sa#'e ar a~~to~ved for use ~n childxezl Less than 21 years of age. These uses

   are considered "offlabel."

"OFF-LABEL" TJ~E

402.   A use of a device is considered "offIabel" if it is not approved tinder the Pre-Market

   Approval p~'ocess OR cleared fox such use pursuant #0 21 U.S.C. § 36{~c(~ (also known as

   "the S10k preanarlcet notification process").

403.   Infiise can be iznpl~nted in an off-~ak~el ~natu~ei• in tluee wads;

           p. ~ppxoach/position; Any approach otiher than an anterior appzoach;

           q. Pt~oduct: Failure to use LT-Cage (or any cagy}; mixing rhBMP-2 with other grafting

                prod~~cts like Allograf~ or Auiograft;

           r. Discs: Use on multiple levels or on a level outside of L2-S1.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 54 of 271 PAGEID #: 76




404.   Dr, D~arrani alid the Hospitals in which he perfarn~ed surgeries ~~epeatedly used BMP-2 in

   these nc~n~FDA-a}~proved i7latulers,

THE N~N~CQMPLIANCE'WITI3 THE REGULA~'~RY PROCESS

4~5.   Ti1e FMA 000458 "Conditions of Approval" specifies the following condition: "Before

   malci~lg a~iy change affecting the safety or ef:Fectiveness of the device, submit ~ ~YvIA

   su~~aleinent for review and approval by t~~e k'DA ,,. [a] PMA supplement ar alternate

   submission shall coin~~ly wxt~ applicable requirements under 21 C.~'.1~. 814.39[.]"

406.   21 C.~',1~. 8I4.39 ~~equires a PMA sup~lernent pursuant to subsection (a)(1)fox new

   indications o~ «se ref the device and ptusuant to subsection (a)(6)for ch~.nges in corn~o~ients.

407.   The P1VIA 400058 "Conditions of A~~~~roval" nat~s #~.e past-marketing reporting

   requirement imposed by Z1 C.F,R. 814.84, particula~•1~ "Ide;itificatioYi ofchanges described

   in 21 C.F.R. 514.39(a)." Medt~•onic did not comply with this regiurement slating to #ha

   int~~~dec1 uses and compoi~anfizy.

448.   The FDt~ can impose post~approva~ xequiretnents in file PMA pursuant to 21 C.F.R.

   S14.82, and this fact results in the device baing characterised as "restsicted" pursuant to 2~

   U.S.C. § 360j(e)far purposes of21 U.S.C. § 3S2{q), Sectia~i 3S2(c~} states that any Y•estricted

   device ~zat is ciistributecl or of~exed for sale with false or misleading adaertising is

   "i7~isbranded,"

4Q9.   "I~d~cations fit• use" is a iiecess~ry part ofthe PMA application and t ie "Indications for

   use" are regtaired to be ~xzn~ted by the applicatiotl. Any different use is incofisisteiit with the

   PMA.

41~.   A. device that fails to meet the requzxements afi the PMA or'21 G,F,R, 814 is "adulterated"

   as defined by 21 U.S.C. § 3S 1(~,
     Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 55 of 271 PAGEID #: 77




411.     2~ C.F,R, 801.6 defi~~es a tnisl~ading statement related to a DIk'~ERENT device

     catlt~.iz~ed in the label delivered tivith the device intended to be used will render the device to

     be used misbranded.

412.     Iv~edtronic slid not ap~~ly for a PMA supplement, as required by the FDA generally anc~

     PMA.OO~~S8 specifically, for the o~~Xabel uses, nor did it provide warnings offihe risks

     known about the off-IaUel uses. A.~l named Defendants in these uses lsne~v about the

     occurrences of off-libel i~se.

413,     The PMA requires an application prior to marketing far ~.evv indicated uses by

     1fiCOT~J01c~tlllg t~1~ ~8{I~ral Yec~uireine~its and   explicitly t~eciting the text of 21 C.~.R, 814.39

     and 814.84 and by specifiically stating the xange ofindicated uses on t~~e PMA,

V.       MEDTR~N~C

41~,     In or abat~t 20 1, ~vTedtronic began preparing far tk~e launch of two spinal fusion products,

     PYRAMID axad INFUSE (BIVTP-2), which xt projectec~l ~~voL~ld eizjoy broad a~p~xcatior~ with

     s~~inal suY~geons and their ~Sati~z~ts on a nationwide basis.

41S.     Medtronic anticipated that bofih products would initially be limited in z~~plicatian,

41~.     Motivated by greed acid ~ desixe to gain coYnpetitive advantage in the zt~arketplaee,

     Medtronic bean a ccrtuse of catiduct designed to broaden the ~pplieation cif}~afih products by

     enc~-users. The couzse of conduct involved fxand,false statenlen#s, material

     ti~isrepres~z~tatiol1, and deceit for the piu~ose ofbr~acieiiing the sales o~tk~ese prodacts

     beyox~cl that vvhicl~ the usual aecepfiance within the scientific commu~lit~ or i~egLilatory

     appY'oval would otherwise allow.

~17.     On or after July 2, 2002, Mecltranic received notification that its ~'xe-Market.Approval

     a~3plze~tion far its BMP-2lI~~fuse bone graft products had been appr~veci b~ the FDA.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 56 of 271 PAGEID #: 78




   However,such ~pprpval was liraxited to tl;e applicatio~a of the device from the T,4 through S 1

   levels. F~uflier, the approval mandatet~ the conduct of post-approval studies to evaluate the

   longterm perforz~ance ofthe BMP-2 boYie graft and to study the potential side effects a~1d

   c~mplicafiions such as fihe ~~romotioY~ o~ tumors by the bo11e moip~aogenetic protein

   cornponetit of BMP-2. Other studies were conducted as well. See "Atlegatiofis against

   Medtronic in the Unsealed IV~ississi~~i False Clams Case."

418.   Medtronic engaged in a fx~.udulen# coiuse of conduct desigzied to rnaxitnize its revemies

   from BMl'~2, regardless of whether it tivoulc~ eventually be allowed to remai~x an the market.

4I9.   One ofthe physicians Medtroiuc co-opted into its fr~.t}c~i~lenfi schenz~ was a Thomas A.

   Zdeblxc~C, M.D. Dr. Zc~~blicic vas az~ orthopedic surgeon tivhose invei~tzon, the LT-Cagy, was

   tae t~nly approved device to act as the detivery vek~iele for BMP~2 into the body,

42~,   Dr. Zcieb~ick e~ljoyed a position within the scientific coixan~unitiy as a Key Opinion

   Leader, and he vas bath a practicing orthopedic st;rgean a~i~ professor at the University of

   Wisconsin.

421,   Iii one of DY'. Zdeblick's first attempts tc~ tout his LT~Cage a.nd rhBMp-2, which woi~lel

   become the active ingredient in the ultimate Infi~s~/BNIP-2 p~ocluct, he enco~intered some

   drawbacks to his goal of pra~i~oting his mid Medtronic's products, which aiose fro~~a the

   policy of cexta.ii~ industry journals, including i11e journal Spine, which followed industry

   standaz~ds before printing peer-~eviev~ecl niateria~. See article in the jo~.irnal S~~ne, published

   in 240.

422,   Not only were the drawbacks related to inciustiy publisllit~g standards, but the National

   Cotlsurxaer Health 7n~armation and H~a1t1~ Prozn~tion Act of 1976 enacted certain provisioxls

   at 42 U.S.Q.§ 3~Ou, et seq., w~aereby t13e Federal Gove~.~ment I~ad entered the Meld of
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 57 of 271 PAGEID #: 79




    medical xeseatch publication. such standards ~~romulg~.ted by the Secretary ofthe

    predecessor to tl~e U.~. T3epai~menfi of Heal#h ~d ~Iunaan Services required that a~~l~lications

    for grants ~.nd contracts must be subject to "appropriate peer review," See X42 U.S.C. § 340u-

    1,

423.     The dxa~vbacks encountered ~vifih the peer~reviewed,5~ane at-ticle 4vere as follows:

             a. Attribrrtion that Ehe study was "sponsored by 1Vledtronic Safamot• Danek, Inc,;"

             b. The study was conducted under FDA re~ulatians, and was "...designed as a prospective,

                 multicenter, nol~bIinded, z•andotnized, and controlled pilot shady;" end

             a   ~t vas accompanied by a cautionary comment, ot~ Point of View, which minirtiized the

                 exuberance and impart cif the article.

424.     rig t ae article, BMP-2 was to«teci by Zdeblick and ~l~e ca-authors as ale potential

    reaXizatioYl of a clre~.n:~ of Dr. Marshall Urist, a reve~•ed pion~ez~ iri the industry and discoverer

    ~f BMP,where it closed with the follotiving: ",..it is e~cauraging to note that Marshall

    Urist's s~s~linal observation ma~1e more than 34 years ago in~y finally came fio clinical

   fruitioYi,"

x}25.    In fihe Point of View, a Dt. 3ohn O'Brien of London questioned whither there could be

   long-terrxx prpbletns associated with the prflduet, He treated Zdeb~ick's study with caution

   anal pt~inted out that simple plaster ofParis leas achieved the same or similar results tnor~e

   than 50 years prior, He ~~osite~ that,"[p]erh~~s vascula~~ization...fixatian }~roeedutres are as

   important as the biochemical compositioza aft~ie `filler."'

42~.     Vascularization is achieved t)nrough removal o~ the disc material between two vei~ebra!

   bodies and then the scrapi~ag ofth~ s~ufaces ofthe vertebral bodies in a fiis~an procedure;

   ~"ixation is the ~roce~s o~ seclui~lg the n~.otion segme~at through medical ha~~clware. In oth~x, ~~'
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 58 of 271 PAGEID #: 80




    the alternative proposed by Dr. O'Brien proved to achieve egtiival~nt ox bette~~ ~•esults,

   Zdeblick acid Medtronic's Infiase/BMP-2 products would be useless anal unnecessary.

A~Z7.   Certain efforts wolzld follow in an attempt to alleviafie the drawbacks encountered with

   the 2000 Spine journal article.

X28.    In 2002, Dr. Z~eblick was installed as the sole editor-in-chief of ~. medical jotunal knov~n

   prior to his installation as the Journal ofSpinal Disordet~s. Fl`IOx t0       715 121S~c7Ilat1013~   the

   jotu~nal enjoyed a ~'aurteen-year history under the ca-editorship of Dr, Dan Spangler end I7r.

   Tom D~telcer. ~i~ce installed, Dr, Zdeblick successfully supplanted Drs. Dan Spengler ~.r~d

   Tani Ducker and bec~.rt~e the sale editor-in-chief, a position which would enable hizx~ tt~ have

   ~~•eater control and would aid his participation in the fraudulent scheme.

429.    During this same time period, Dr. zdeblick also enjoyed a ~osifion on t1~e associate

   editorial board of the meciica~ journal S,~ine, the leading puhliea~ion coveri~~g all discipliz~~s

   relating to the s~in~.

43Q.    In one of Dr, Zdeblick's actions as editor-in-chief, he set about re-purposing the Jout~lal

   in a way that would aid hirx~ xn the furtherance of t~.e fr~.uc~.ulent scheme tluaugh the

   streamliiutZg of the publication pra~ess,

431.    In fiu-th~xa~iee ofthe frauch~ler~t scheme, Dr. Zdeblicl~ xe-puxpos~d the journal alzd

   rexzaxxaec~ it the Joairnal ofS~~inczl Disorders crncl Techniques(JSDT), annot~ncirlg that tk~e new

   journal was "entering ~. new par#nersl~xp t~ith Spine." As part of this ~ax~t~.exship, Swine rr~ould

   "continue to fiFnction as a broad-based scientific jouxnal" tailored to both clinicia~ls anci

   5G1~~1t1S~5. However, the Joatr~nal of'S~inccl ,Dzsordet•.s~   crud Teclanrques woul~t be directed

   sc~lel~~ to physicians in clinical practice,
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 59 of 271 PAGEID #: 81




432.   Dr. Zdeblick's stated goal was "to provide a farttm for up-to~date ~echrliques...", anti in

   fiartherance of that goal, Dr. Zdel~lick ~nno~u~ced that his jaut~~~l wou.Id publish Class T~ or

   Vetter clinical articles but would "occasionally accept cutting edge articles with less than one-

   year folla~~-up." To justify this strealr~lined process, Dr. Zdeblick claimed as lus goal the

   ability of his journal "to keep up with.the fast pace of pra~ess in the treatment of spinal

   patients."

433.   At~n-iti-ai711 with Med~toiuc and others, Dr. Zdebiick would ~n short ordex abuse his

   position of tr~~st as the editox-xn-chief of JSDT.

434.   Zn the Qctober 2042 edition, JSDT published ~.n article entitled, "Anterior Lumbar

   Interbod~ Fusiati ~rsillg rhBMP-2 with Tape~•ed Inferbody Cages." This article was co-

   authored by, among others, C~u~tis A. Dicl~nan, M.D.,~vho was a cicvcloper of Mecit~onic's

   PYRAMID plate and wY~o k~as been paid si~~ai~cant sums by Medtrc~nie through zoyalty

   agreements, cansul~iYig agreemeYits, anc~ educatia~i training and speaking agreements,

X35.   In addition to his interest in the PYRAMID elate, Dr, Dickman haci assisted Medtronic in

   the app~•oval process fox ~nfi~selBMF-2, As part ofthe pY~e-approval hearing process, Dx.

   Dielunan and his Ba~~t•ow Neurological Associates Group ofI'l~oenix, Arizona has submitted

   a letter to the tileeting ofthe FDA's ~rthopec~ics and Rehabilitation Devices Advisory Panel,

   which n et on ~'anuaac~y 10,2002. In that letter, Dr. Dickma7l represented that "approval of

   BMP would provide a significant advance for patient outcozaae acid satisfaction following

   spinal fusion."

43G,   In the 4ctob~r 2pQ2 issue of J~I~T touting the Uenefits of I~ifuse/BMP~2, Zdeblicl~ and

   others failed to disclose their financial ties to 1VZecitroFiia, though iilclustry stanclaY~ds ~•equire

   such ackno~viedgement. Not o~n~y did Dr. Zdeblick fail to disclose that he ~~rafzted from each
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 60 of 271 PAGEID #: 82




    anc~ eve~•y stu~gety which Infi.~selBMP-2 was used fihrc~lxgh rig}its in tlZe exclusive delivery

    vehicle, his LT-Cade, bt~t no xe~ez~ence whatsoever fio their fi~~ancia.l ties to Medtronic was

    made either 6y br. Zd~blic~ ox Dx. Dickman.

X37.    Far yeat•s, the recognized gold standard far spiYlal bone grafts has been tie use a~

    autogenous bone, or bore h~.rvested from the patient's own iliac cxest, car hip bone,

    Medtronic designed to have its infuse/BMP-2 prod~ict supplant a~~toge~ous bone as the gold

    st~uldard in the medical coYnmunity, arld utilized false statei~iex~ts, a fraudulent enterrise and

    the support of Federal fiincis to da so.

X38.    ,As path and pa7~ee1 of Nledt~oflic's frauciu~ex~t sek~e.rne, the Oetaber 200 study was

    published in Dr. Zcieblick's journal. thxee moalths after Nled~~onic received ~'bA ap~roeai for

    Itifi~se. As the article shows, it was actually received ot~ March 28,20x2 ox after Dr. Zciebliek

    hacl accorzaplishecl installrnei~t as fihe editor-in-chief, anc~ was accepted Uy Dr. Zdeblick's

   journal for publication on July 30,2002.

A~39.   At the same tin~.~ Tex, ,Zdeblicic's joui~lal was pE~hlishing the itliti~] a~-~zcle oz~ Zz~fi~se, Dr,

   Zdebliok was ~.lready finalizing anti preparing faz~ subsequent publication afollow-up article

   ~o tout Infuse potentially as the x~ew geld standard. A secoi;ci ~ticle, c~-a~ithored by T]r.

   ZcieUlick and two ot~aex co-authors of the original article, was entitled "Is I~afuse Bone Graft

   S«~~erior to Autograft Bone? Ail Trite~xated Analysis of Clinical Trials tiling the L'I`-Cage

   Lumbar Tapered Fusion Device."

440.    This seeoncl article was published in Val. 2 of2003 and once again, there was zoo mention

   of Dr. Zd~b~icic's ~na~icial ties to Mecitronie.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 61 of 271 PAGEID #: 83




441.    This second article tivauld sez~ve as the second cavei~ advet~isement for the Ynfi.~se

   ~3ro~tuct, axi,d the ar#icle states that "the purpose of otu• an~~ysis was fo investigate the

   potential statistical superiority of I~.~~s~ bony graft to auta~raft..,"

442.    This second a~~icle went ail t~ aruaoi~nc~ th.e July 2002 FDA approval ofi~1~BMP-2.

443.    This article included as an "ac~~owle~gmer~t" an expression of gratitude to the

   ~~hysici~ns "~~vho provided patients for this study acid to tiie clinic research grain at

   Medtronic Sofarnor Danek far their help in data collection atad statistical analyses."

   Haw~~ver, the article stir wiled to advise the Ynedical co~nimi~nity that same or all ofthe

   authors ~•eaching these eonclusion~ touted as monuxz1ental hacl direct financial interests tied to

   those conchisioz~s.

444.   Rater,the failure to report these clear can~icts of interest on t1~e ~a~•t of phase holding

   positions oftrL~st both within the medical corn~nunxty and over patients was pant of

   Mecltro~iic's fraudulent enfiei~rise. However, unchecked by appropriate peer review,

   Medtronic was able to systeza~atically acco~n~lish their foals.

445,   Iii its 2003 Aimual Report, aild ~vit~3out x~co~nizing that Zdeblick was Uein~ p~xd by

   Medtronic, Medtronic cited to ~deblicic's 20Q3 as re~~or-tinp tk~at Infuse ".,,nay become the

   new gold standard in spizaal fusion s~uge~y."

44f,   By its 2006 A~~mial Report, if not earlier, Medtronic had removed all doubt, declaring

   that after its introduction in 2002,"Infuse Sone Graft gi~iekly became the gold standard fibr

   certaa~a types of h~rt~baa• ~i~sit~n."

447,   Medtronic's ~r~udulent sclietY~e was successfitl anci resulted in a rev~ni~e stream ranking

   from 700 to 90~ million dollars ~~er year.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 62 of 271 PAGEID #: 84




~~~.      It has been reported tliafi arotu~d t~~.e same time tizese stories abort Infuse were published,

   editors at Mlle spine Joui'nai be~~ui rece~vitig co~nplain~s from doctors around the co~i~ntry rvl~o

      were pointing out contradictions between papers published by doctors with fnancia~ ties to

   Medtroziic and other data involving In~i~se complications.' See Journctl.5'entinel article of

      Jol~ti Fauber.

X49.      T~xough the use ofthese sham consulting, royalty and education/trai~u~ig agr~e~a~ents

      with its ~hysiciaz~ agents in this fraf~tlulent enterprise, Medtronic has reaped windfalls in fihe

      billions of dollars. Medtronic has used this fra~~d~.~Ient eYltei~rise anci civil conspiracy to drive

   its vast profits and enhance its market position beyond that whicki it would k~a~e realized

   wifiliol~t engaging willfully, knowingly az~d potentially deliberate, conscious, or recldess

   indiff~xence iti the £xauclulent enterprise and fiauduZent eaYicealmezzt. S~2 M15Si5S1~~jJ1 C~S~.

450.     Defendants lead fill lulowl~dge of all these facts pertai~iing to Medt~oiucs.

VI.      FDA PUBLYG HE~L'I'H N~TIFICAT~~~1

451.      On July 1, 2U48 the FDA issued a Public He~1th Notifiication entitled "Life-Tlueatening

      Cornplicati~ns Associated with Recombit~a~t Hu~ia~.Bang Mar~hogenetic Protein iti

   Cervical Spine Fusin."

452.      Tl~is notifiicatior~ was setlt to health care pxactitiorlers all across the United States warning

   ofthe complications associated with B1V~~-2, specific~,Ily when used intlle cezvieal spine.

453.     In the notification tl~.e FI7A Mated they received at least 3$reports o~ earnplications

   dieing the prior fouz years with the use of B~VIP~2 in cervical spine fusions.

454.     TIl~ C0121j111Gc~t10115 WOPe   associ~tec~ with swelling ofthe r~ecic ~lci throat areas, r?vhich

   resulted iii cornpressiat~ c~~fihe airway and/or neuralogic~l structures x~ tk~e neck.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 63 of 271 PAGEID #: 85




455.   Same reports descxibe difficulty swallowing, b~•eathiz~g or speaking ar~d severe dysphagia

   ~OIIOWII]~T C~TV1C~11 5~31I7.e fUS10I111S1I1~ BMP-2 ~?eodt~cts laaci also   been xeported,

456.   The z~atification fuz-tlier stated that, "szx~ce the safety ~nc~ effectiveness ofrhBMP ~a1~

   t~•eatrnent of cervical spine conditions has ~c~t been deir~onstrateci, and ~zl light of tI1~ seriot7s

   adverse events described above, ~'DA recommends that practitioners either use approved

   alternative treatmen#s or cotlsider• enrolling as itivestigators in approved clinicat studies.

457.   Tkze Notification further emphasized the importance of fully infortnin~ patients of these

   potential risks and said that patients treaters with BMP-2 in the cervical spine should knotiv:

           s. The si~zas and symptoms of airway oomplicHtions, including dif~cuity breathing or

                swallowi»g, or stiveliing ofthe ~~eck, tongue, tnoutl~, throat and shoulders ar uppef• chest

                area

           t.   That they need fo seek medical attention it7imecliate~y at the first sign of ~~i airway

                cQxnplicatiori

           u. 'What they need to be especially watchful 2-14 days after the procedure tx~hen airway

                coinplicatioi~s are more likely to occ~~r

           v, rhBMP-2(contained in Infuse Bane Gt~aft) his received ~~re-nnaiket approval for fission of

                the lumbar sine in skeletally mature patients with degenerative disc disease at arse level

                from. L2-S 1 and foA• healing of acute, o}~en tibial shaft fr~efiutes stabilized with an IM trail

                and treated withita l4 days of the initial injury.

458.   Additionally,$MP is tiofi approved in a~iy rxaannel~ for use in ~~tients who are skelet~~~y

   imin~ture{<18 years of age) or pregnaYit.

459.   Dr. Diu7~n.i anci the I~ospitals ignored ALL ofthese warnings end «sed BMF-2 iii

   cer~ic~l spine surgeries, c~uldren, and those with known co~iprorz~zsing factors stiicli as

   osteo~~Qrosis, smoking, and diabetes.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 64 of 271 PAGEID #: 86




X60.   Ftu~thermore, the Notific~.tion stated that the FDA requires hospitals and other user

   Facilities to report deaths arad serious i~~juries associated with the use of medical devices.

X61.   The hospitals that allowed Dr, Durrani to use BMP-2 in fih~ir ~ac~~itzes f~.ilec~ to report

   any complications resulting ~xom his rise ofBMF-2,

VII.   SENATE FINANCE CUMlYYYTTEE It~P(~RT

462.   Nledtronic's actxox~s ~iid not go unnaticecl, and in June of gal ~ the Senate Fi~iance

   Coziunitt~a began an investigation into the fraudulent actions of Medtronic.

463.   Iv~edtranic produced more than 5,000 doctunennts pertaizaing to 13 different studies of

   $~VIP~2 fog• t ie investigation.

4b4,   ~n October 25,2 12, Senate ~inanee Committee Chaii7nan Nlax Ba~.~cus(D-Mont.) and

   senior fnember Ckai~c~c Grassley(R-Iowa) released the results o~ tkxeir 16-month investigation

   into IV~edtrc~nic, vvhicli revealed questionab~~ ties between the medical fiechnology company

   and the physician coi7sultants tasked with testing and reviewing Medtronic products.

465.   The investig~txon xevealed thafi Medtrotuc employees collaborated with physician authors

   to edit and wri#e segments of published studies on BMP-2/Infiise without publicly disclosing

   this collaboration.

466.   Ttlese frai~~«~ently-~roducecl studies may knave in~.ccurately repY•es~nted BMP-2's risks

   and ~aaay have placed acidecl Fveigl~t on the side effects of alternative ixeatments.

467,   Tlae Senate investi~atian further fiound that 1Vledtronic also rr~aintained si~ni~icant,

   previously undisclosed financial ties tivith physicians who authored studies about BMP-2,

   making $270 million in payza~ents to physicians over a 1 ~-year period.

468.   Senafior Bal~cus stated,"Medtroiuc's ~.ctions violate the trust patients have in their•

   medical care. Medical jotu7lal ai~ticics should convey an ac~~irate pictL7re ofthe risks and
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 65 of 271 PAGEID #: 87




   benefits afidrubs and inedica~ devices, bait patients are at serioris risk when companies distort

   the facts the way Medt~~onic has. Patients everywhere w~11 be betteY~ served by a maze open,

   homiest system without this ki~~d o~collusion,"

469.   Senator Cnassiey stated,"The findings ~.lso should prompt medical journals to ta~~e a very

   proactive approach to accountiYlg far• the cpnterit of'tl~e articles along with the auth~rs~.ip of

   the articles a~ld the si~idies they feature. These ~LYblications are prestigious anc~ irifluetttia~,

   and their standing rests an rigorous science a1~d objectivity. It's in Elie interest o~tliese

   jotu7lals to take action, ~nci the puUlic will be~lefit from more transpare~icy and accountability

   an their part.'°

47~.   M~~or fi~idings ofthe investi~atioxa x~aclucie:

           ~. Mecitt•onic ~~vas involved in drafting, editing, find sl~apisag tlae ca~~te~xt of medical jottt7iai

               articles authoF~eci by its piiysiCian cansttitants ~vho received significant amounts of money

               thrati~h royalties and consulting fees from Medtronic. Tl~e company's 7~ofe in authoring

               or substantia3ly editing these articles was not disclosed in the published articles. Medical

               journals should ensure that airy industry tole in clt~afting ai~ticlas or eontributioris to

               autl~oxs €s dilly disclosed.

           b, Medtronic laid a total cif apprpxim~tely $210 tnillio~i to physician authors of Mecitrania

               sponsof•ed studies fr•atn November 196 throrigh becember 2p l.0 for consulting, royalty

               and other arrangements.

           c. An email exohange shows that a Medtronic employee recominencled against ~ublishin~ a

               cornplete ~isf of adverse events, o~• side effects, possibly associated with BMl'-2/lnfifse iti

               a 2005 Joafr~r~cr7 ofBof~e ar~d Jairat Satrgety at~ticle.

          d. Medtronic o#~iaials inserted language into studies that promoted B1bfP~2 as a getter

              technique than ~n alternative by emphasizing the pain associated Frith the altetnative.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 66 of 271 PAGEID #: 88




            e. Docufnents i~ulicate that Medtronic prepared one expert's remarks to the FDA advisory

                panel meeting prior Eo BMP~2 being approved. At the time, the expert was a private

                physician but rues later hired to be a vice pl•esident at Medtronic in 20 7.

            f. Medtronic documents show the company sLtccesst'i~lly attempted tb adopt weaker st~fety

                rides for a clinical t~~ia3 st«dying BlktP-2 in the cervical spine that would have alfotved tlae

                canipany to continue the triat in the event tlxat patients experienced s~v~r~ swelling in the

                neck.

VYIY. YDDA STUDY

A~71.   Iii response to the various controversies surrounding BMP-21lnfiise, including a 3una

   2011 ~r~ticle its the journal Spine, the Yale University ~pe~i T]ata Access(YQI7A)team

   Leached an agreement for Medtronic to provide fi~Il inciiviclual participant data fi~oin all t~~eir

   trials ofrhBI1~IP-2 and allflw utuestricted independent re-a~ialysis of this data.

472.    The YflDA study involvet~ research teams at #wo universities —the Univez•sity o~Yor~

   and the ~xe~on Health and Science Uiuversi#y.

473.    The review faci~sed excl«siv~ly on the use ofrhBMP-2 inpatients undergoing spinal

   fission surgery for treatment of de~eY~erative disc disease, spoziciylolistk~esis, or any other

   relevant spinal conditio~i.

X74,    The tree ~iaitl objet#rues o~the study were: 1} to examine the potential benefits ofBMP-

   2, 2)to exa~za~n~ the potential h~t~ns of BAP-2, and 3)tc~ assess Elie reIiai~ility Qt~~~e

   published e~vide~ice base.

475.    Medt~•onic submitted data from 17 studies, including 12 randoz~aazed cont~alled trials

   (RCTs}.

476,    In total, the YODA study analyzed the data from 1,4(?9 pa~~ticip~nts.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 67 of 271 PAGEID #: 89




X77.    Though the results sliow~d moderate success with fusions as a result o~ BMP-2, the study

   found that BMP-Z results in several diffet'2Ilt CaII]j711Cat10riS 117CIUC~lIlg: ~-~hx~tzs, itnplant-

    related everts, retrograde ejaculation, WQL111C~ Ci]I11~711Cc~t1~11S, and neurological, ~.u•ogenital,

    and vasci~l~.x ~verits.

X78.    In regaxci to tihe alleged tanip~x~ng with the peer-revi~wec~ studies by ~ed~ronic, Mlle

    Y~DA study found that only two out of twenty peer-xeviewed jotu-n~.l publicatio~is Y•eportec3 a

    comprehensive list of all ~.dverse eve~lts that occurred during the studzes.

X179.   Fu~~tllertnore, the way iii ti~vllicli adverse event data was presented in the literature was

   z~neansistent, anci tk~e ratio~iale for presenting some adverse events but not others was rawly

   clear.

480.    The study conchided that far the period up #0 24 ~n~nths after surgery, treatment with

   BIV~~-2 increases the probabilit~~ of st~ccess~iil fusion (according to Medtro~lic clefitutions anal

   re~orrs, which tk~e study noted "were subjective so it is zaat possible to coufii7n whetkier

   repar~ted suceessfitl fusions truly were successful" see YODA St~~dy, p. 3S) but this does not

   tra~asla~e ~o clinically nieariin~ful benefits in pain reduction, fi~nction, or quality of life. Thy

   small benefits in #here outcomes obset•ved from six znt~nths ontivard carne at the expense of

   more pain in the invnediate post-operative period aYid a possible ~ncxeased risk of cal~cer.

481,    Even more relevant to the case against Dr. Dut~ani and the Hospitals is ~l~e YODA

   stLYdy's conclusion that, "[i]t is very impoi~tatit t~.at these finclings ire expressed dearly and

   discussed with patients sa that they can Hooke informed c~aoices abort the type cif surgery

   they woL~lc~ prefer." Id.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 68 of 271 PAGEID #: 90




482.    The Univea•sity of Oregon Study determined that Infuse/BMP-2 is not better tha~~

    Auto raft, ~~vhile the University of York study determined that Infi~se/BMP-2 affars only a

    slight and not sfiatisticaJ.ly significant advantage over Autogr•aft.

4$3.    Tkae YQDA st~.iciy concluded that Medtronic "cx~isrepresent~d tk~e effectiveness and h~rxns

    through selective repot-tangy, duplicate publication, ~.nd undei7epori~ng,"

484.    Adverse event categories such as heterotopic bone foY-tnatian, oste~lysis, anti r~dicu~xtis

    were not included i~~. paY~ticipai~t da#abases az• internal reports; EherefoY•e, the safety prole was

    not fully assessecl.

485,    The Y~DI7A. study fiuther cozach~ded t1~at Nledt~oiuc was i~~~olved in ciraftir~g, editiY~tg, and

    shading the content of medical journal articles on Ii~.fuseBMP-2 authored by its physician

    co~asultants vvha received significant ainouzats of money tluaugh xoyalties anc~ consl~lting Fees

    froYn Medtronic. The company's si~z~ifieant ~~ole in ~uthorix~g or substantively edi#ing these

    articles was nQt disclosed it1 tk~e published articles.

48b.    Ivtec~trotii~ paid a total of approxiinate~y $210 ralillion to the physician authors of

    ZVlecit~•ailic-sponsored studies on Izafuse from Novembex a 99& tht~ou~h 201~ for consi~(ting,

    royalty and other aY~rangements,

487.    ,tin email exchange showed that a Ivfedtroni~ ei7iployee xecoxnmendecl against ~ublishi~g

    a corn~lete list a~'adverse events or side effects possibly associated with Infuse in a 20 5

   Jaut•nal ofBone and Joint Surgery article.

x-88.   Medtronic officials inserted language into studies that prarz~.ote~ Infuse as a better

   tec~mique than a~ alternative ~~r~ced~.u~e by overemphasizing the ~~ain associated i~vith the

    alteniative pxac~dttre.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 69 of 271 PAGEID #: 91




489.       Medtronic's actions violated tie t~'ust patients have in tk~eir medical care. Nledic~ljQUrna1

       at~icles should convey an accurate picture ofthe risks and benefits o£ c~Y`ugs a~zd medical

       devices, but patients are at serious xisk when companies dzsto~'t the facts the way 1Vledtro~nic

       bias. See United States Senate Con~,mit~ee an Finance, ~ctc~ber 2Q12.

49D.       Infilse was intended for a single level anterior lumbar interboc~y fission perfoi~ned with all

       three components in a specific spin~.l region. Thy tk~ree ~om~one~~ts are a tapered metallic

       spinal fiisio~ cage(NAT PLASTIC}, a recon~bizaant hltman (B1V~P} done Mai~hogez~etic

       Protein, and a car~•ier/scaffold for the l3MP and res~.~lting bone. The Infuse product is inserted

       into the LT-CAGE Lt~ml~ar tapered Fusion Device cornpon~nt to fai7n the complete Infi~se

       Bode CiraftlLT—Cade L~.i~nbar Tapexed FLYSion Device.'~'hese compon~~.ts must be used as a

       systei7l. The I~►fuse Bone Craft component must mot lae uses without the LT-Cage T~umbar

       Tapered ~'usian Device component.

491.       BMP-2 is not si~p~ased to be used in minors.

492.       B1VfP-2 is not supposed to be used with smokers and diabetics because ofvascular

       SIOWIIlg.


493.       BMP-2 shaald nod be used tivxth women in cl~xlcl bearing years.

494,       BMP-2 is contraindicated far patients with a known hy~ers~nsitivity to rhBMP~2 an d

       should riot be used i~1 tk~e.viciiuty of ~ resectecl or ex#ant tumor, in patieirts with active

       n3alzgnancy, or in p~.tients undergoing treat~ne~t for a tnaligiaancy.

Imo.       Dot. I]URRAN~ AND BIV~P-2

495.       Despite all ofthese waY~ning signs, Dr. Durrai~i, with tale fill knowledge of tk~e

       Defendants, continued to ti~se BMP-2 in ways not approved by the k'DA, or in an "ofi~laUel"

       manner.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 70 of 271 PAGEID #: 92




496.   A,s early as 2007, Ar, Dui7~ani and f1C Heath knew there were issues with BMP-2

   because insurance corrzpax~ies such as Anthem were refiising to pay for BMp~2.

497.   N1et~itronic provided iii writing to Dr. Durxani and CAST the approved uses £ar

   InfuselBMF-2.

498.   ~IO~Ve~ver, Dr. Duxrani anti t11e Defendants ca~itinued to use BNIP-2 in off-label                 ways,

   inchiding but not limited to;

           a, Using BMP-Z/Infuse in children, cies~ite Medtronic specifically requiring it be uses{ only

               in "skeletally rr~~ture patients;"

           b. CJsing it outside the L2-S1 level ofthe spine;

           c. Ignoring tk~e requirement that B1VIP-2/Infuse only be used for Gracla 1 spandylplisthesis

               or Grade 1 retralisthesis;

           d. Nat requiri~lg at least six ma~lths of nan-operative treatment pt~ior to the use of BMP-

               2/Infuse;

           e. Using BMA'-2/Infuse without the required cage;

           f. Not using the `°ear•t~ier scaffold" ft~ Gdn,]1111C1'101] VVlth BMP-~/I11fU58 aS I'8{fltli'0d;

           g. Using BMP-2/I►~fuse without pxope~'tt'aining despite Mecihonie's warning,"Cautio~z;

               Federal(USA)law ~•estticts this device to sale try ot~ on the order of a physician with

               appropriate training or experience."

499,   Dr. Dtu7a~ai was a pai.cl cozasuttaYit for Medt~anic.

500.   Accoz~ding to Dr. Durxani's own deposition testimony in several cases, Medtronic

   required one ofth~~x re~resetitatives to be presezat in the operating roo~za when its product

   BMP-2/Infuse is used.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 71 of 271 PAGEID #: 93




SOl.    Be~at~se Medtronic representatives were present in t~iese surgeries, ~1~etitronic knew

    when.l~r. Durrani used BMP-21I~1fi~se outside the apprQVed uses according to Medtronic's

    own guidelines.

502.    Dr. Aurrarii was encouraged by Medtronic to obtain peer review atad published studies

    from Mecitt'anic sales representatives to support his use of BMP~2linfuse,

5~3.    Ar. Durrani was encoivaged by Medtronic to be an advocate for his patients anti desct7be

    hew BMP-21Infiise technology can benefit them.

50~,    When asked how he got his Medtronic grant, Dr. Durrani respo~ided,"You apply fio the

    Medtronic's corporate and spy this is what we w~.nt to do, like everybody else in the coiuit~y

    applies, and t~.e~a they cc~rn~ and evaluate ~~e thing acid say,"Oka~T, we think it's worthy.

    We'll give you the grant."

SpS,    Iii regard to his role as a Medtronic cox~si~lt~nt, Dr, DuY'rani stated, "Ifthere are certain

    products that they k~.e~p us iii develo~aing, then they will come to ~ls for a certain consultant

    role for ~. certain product development."

S{?6.   Dr. Dtu~a7ii also stated,"I was involved in the development ofthe minimally invasive

    sine it~st~•urzz~ntation,"

507.    Dr. DurraY~i gave conflicting reports on his fin~ricial relationship with M~dt~onic,

508. In a ciepositian, wla~xa asked wh~Yl ~iis relatiotlsl~ip ~~ith l~~Ied~ionic l~e~a~3, Dr. Dtit~rani

    responded "2 00-it's 2003,'04. Soinethi~ig itl that category, I'II1 110     SUFI. Id's ox~. tk~e


    Medtronic website. You can go look at it."

509.    Mec~tranic's Fvebsite bias no i~~formation regardi7lg tk~~it~ xeiatianship with Dr. Diu7•~ii.

510.    In another depositiion, Dr. Dui7ani stat~ci k~e began 17is relationship with Iv~ecitronzc zza

   "2QQ5 tir 'U6."
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 72 of 271 PAGEID #: 94




S 11.   Dr. Dlu~t•alii also have co~~flicting reports an ho~~ n~,ctch compensation lie received from

    Med#'Ori1C fOI~ his cansultatioYl services.

S 12.   In one deposition, Ar, Dul7ani s#afied i~~ response to an inquiry as to hativ muc~~ payment

    he received,"It's a standard compensation. Again, it's on t ae ~vebsite, ~lOW I7IlIC~1 t~~y've

    paid us."

513,    t-Lgain, this infQxmatian is nod available on the 1V~[edtranie website.

51~.    Iii another deposition, when asked if he received income from Medt7roz~ic, Dr, Dur~•ani

    replied,"No, ~ don't."

515. 'When questioned fiu~ther ifhe zece~ved a fee as a consufta~at, k~e stated,"If you do a work,

    thexe is a coil#Tactual obligation that they 13ave to pay yot~..A.s I told ~ot~ in niy list

    de~aosition, thay slid declare it on their web~ite, so you can actually go on tha website and see

    how much they paid."

516.    Iz~. another deposition, L~r. Durrani stated that he received,"Iess than $10,040 in ten

    years" from Me~itrot~ic.

517.    An email dated July 3D,2 08 from Medtronic Senior Product Man~.~er Katie Stamps to

    Tex. Durrani states that she "xs in the process of working an the renewal of yotu [L3r.

    Durrani's] consulting agreement." As stated, this irifo~•ination is not available on Medtronic's

    website, nor zs any ini'ormatiozl relating to Dr. Dtu7ani's tole as a consultant for Medt~onie,

5i S.   .A. CCHMC packet relati~ag to its Orthopedics t~ep~rttnent it~dicatecl drat Dr. Du3.~an[

   received $d0,00t~ in grants, contracts, or indus~~ agreements fiozn Medtxo~zc So#'amor

   D~lelc in ~Y 2Q08.

519.    Financial information discovered concerning Dr,I7ur7~ni's relationship with Medtronic

   was found in Dr. r3uzrani's biography e~~1 the website far the Qrthapaedic &Spine ~nstitnte,
     Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 73 of 271 PAGEID #: 95




     which Dr. Dt~rr~ni currently operates in Palcistar~. The biagra~~hy states that "Dr. ,Atic~ Dr.

     Duxxani leas also received the Clinical Spine Fellowship Grant by the Dep~~tnent of

     Ortk~opaedic Surgery which was fielded by Medtronic Sofamor Danelc with a budget off'

     $59,17 per year." See http:/Iwv~~r.asi.cQ~n.pk/doctor/dr-atia-Dr, Durrani-tndl.

520.     ~rUhen a request was made to Mec~tranic regarding its affiliation with br. Durxarii, the

     Med~'onic Supplier Relations Team stated that Dr, Dlll~'aril'8 "name [is] not listed in our

     sy5tetn."

521,     Medhonic further responded t~ t ie Deters Law Firm's request that the arm would need a.

     "Vendor I.D. Number," which neither Medtronic zaor and other ~aaz~ty has provided.

522.     David Rattigart, was Dr, Dui-~•ai~i's nl~ii~ ZVledtronic representative from Bahler Medical.

523.     David Rattigaaa and Medtianic [lave the same lawyez. Des~aite the Deters ~,aw Firr1~'s

     willingness to cc~o~erate in scl~edulirig the date fox a deposifiian, they have refused Lu~til

     recently. Mr, Ratfigan's deposition was t~~en June 5, 2015.

524.    In sumtn~uy, clients of the Detexs Law Finn, with the full knowledge and intentional

     consent of all Defendants, b~carne unsu~~ecting experiments for r~~l world #esting of

     Medtronic harciwar~ and BMF-2, by aa~~d through Dr. Dt~rrani ~.nd G~1~T, who had secret

     fn~ncial coiulectio~ts fo Medtr~iaic, improper motives, at~d subinittecl false claims. The

     goverrunent p~.id for many ofthese improper acid uiuegulated e~peximeitts as a result oftt~e

     false claims made by Dr. D~u7aiu, with the knowlecI~e o~Mecltronic, under tY~e veil ~f

     `°medically necessary" surgeries,

525,    Despite zepeated requests, Medtronic has refiised to cooperate in providing any requested

     it~f~rc2~.ation and is aotively downplaying their connections to DY~. I]w.7~ani.

X.       T~iG DEFENYlANTS AND ~1V~P-2
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 74 of 271 PAGEID #: 96




526.   The pttipose o~ the backgk•ou~~d information on the fallowing Defendants and BMP-2

concerning other hospitals is to show the egr~~zo~~s methods, which upon infoi~zaation acid belief

were used at all hospitals,

527.   file Defeticlants allowed ar~c~ encouraged these practices by Dr. DLItTc`L~11 fog• the sole

purpose o~money and greed.

52$.   David Raitigan w as alw~.ys present icy Dr. I7iu7•ani's operating rooms as a re~resent~tzve

of Medtronic.

529. David Ratti~an's sole jol~ was to de~ive~' tl~e BMP~2/Infuse to the Hospitals and male sure

    that it Gvas inserted coxxect~y into t ae patient.

530.    David Rattigan's presence in the OR further supports the Def~x~tla~its awareness of Dr.

Dtu~tani's fiaudl~lent use ofBMP-2/Infi~se.

531.   Informed Caz~sent far Si~r~ieal or Metlieal Procedu~~e ana Sedation:

It is the res}~onsibly of tl~.~ attending ph~~sicia~l #o obtain infoxmed co7lse~~t prior to the pxocedEire.
 The patient, or hisihe~ representative, will Ue advised by ~islher physician of.

            a. The e~plat~atioii of the procedure

            b. The ~eneflts oftlae procedure

            c. Tl~e potential problems that might occur' c~lur~ing recuperation

            d. `~'he risks and sido effects of the pxacedure which could include but are not limited to
               severe blood loss, infection, stroke or death,

            e. The benefits, risks and side eft'ect of a~tei~tlative procedures including the consequences of
               declining this procedt~re or any alternative procedures.

           £    The likelihood of achieving satisfactory results

       CoYnpletion of the "Cansez~t to Hospital and Nl~dical Treatment" form to examizae and
       treat is NaT sufficient as cc~~~sent to perform a si~t•gical procedure, invasive procec~i~re, or
       for medical regiz~ens of substa~lti~.l risk or that are the subject of human investigation or
       research.

532.    The Defendants hacl the respoilsil~ili#y to cai7y out these ca~isent rules.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 75 of 271 PAGEID #: 97




533.    Dr•.17uxxa~ii oftentimes used BMP-2 "off-label" w~ien perfot7nit~~ stugeries.

53~,    BMl'~2 is nianufact~~red, marketed, sold mad dis~•ibutecl by Defendant 1Vletitr~nic under

fihe trade name "~nfl~se."

535.    Dr. Durxani is a consl~lta~rt for Medtronic.

53~i.   Defendants did not inform Plaintiffs of Durrani's financial interest, conflicts of iYiterest or

consulti~ig arxangernen# ti~itk~ Medtronic.

537.    IV1~dtro~~ic, ~rovidec~ in ~vt7ting to Dx. Dui7ani the a~pxovecl uses for BIvIP-2, Elie

substance also referred to as Infiise, whicki is a bode tnorphogeYlic protein, used as a~i ai~ificia]

substitute for bone gx~.f~ing in spine surgeries.

S3$.    BMP-2 is not app~avec~ by the Food a~;d D~•ug Ac~lninistratic~n far i~se in the cervical and

thoracic seine.

539.    BMP-2 is neither safe nor approved for use an children Tess than twenty-one {21} yeaxs of

age.

5~0.    For use in spinal siugery, BMP-2/Yzafuse is ap~~roved by the FDA for a limited procediue,

perfor7z~.ed ari a lunited area afi t(le spine, using specific caniponents. Specifically, the FDA

approved Infi~se for one procedure o~tl~e spizae: ArtiteriQr L~u~lbar Inter~ody rusion("ALIF" or

"Anterior" a~proacli); and only in o~~e area ~f'fihe spit~.e: L4 to S1; araci only when used in

cai7junction with FDA-Approved Components: LT-CAGE Liu»bar Tapered Fusion Device

Co~a~ponent("LT-CAGE"}

541.    Use o~ ~rifiise in cezvical ar tlloraeic sLUgery, or use tluough the bacl~ (pQSterior), or side

{lateral}, ar an areas ofthe spine outside of tl~e L4-~1 region (e.g., the cervical spine}, ar using

cozzaponents other than or in aciditiarl to tlae LT-CAGE ~s riot approved by the FDA,anti thus

such procecluxes and/or use of note-FDA a~pr~ved eotnponentry is termed "off=label."
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 76 of 271 PAGEID #: 98




542.    When used off-label, T~lfuse #zequently causes excessive or uncon~iolled (also refet7eci to

~s "ectopic" or "ex~iberant"} Dane gxawth on or a~~ound the spinal coxcl. When nerves are

compxessec~ by such excessive bony growth, a patient can e~~eriei~.ce, amo~ig other• adverse

events, intractable pain, pac•alysis, spasms, and crams in limbs.

543.    The product packaging far BMP~2/Infuse indicates it causes an increased risk ofcancer

foux(4} times greater than other ba~.e graft altel~nafives.

54~.    Dr. Dut~arzi and Childxez~'s Hospital persotulel dicl nat disclose to Plaintiffs their intent to

use BMP-21Infi~se, and fuz-ther, did nofi disclose their intent to use BMP-2/Tnfi~se in a way zxot

approved Uy the k'DA,

545.    Dr. Durrani Lrsed BMP-2 in Plaintiff in a mariner no# approved by Medt~•onic ar the FDA.

545.    Defendants did riot infaxm P1~.intiffs That Dr. Dtu7•ani used Infuse/BMP-2 in his surgeries.

547,    Plaintiffs would apt have allowed BNIP~2 to be used b~ Dr. Dlu7atii in fus scirg~xy in a

matmer that vvas not approved by the ~A.A ar MedtroYlic, Infiise/~1VIP-2's m~nufactLxrer.

548.    Plaintiffs tivould not lave co~zsen~ed to the use of BMP-2 in Plai7itifi~s body if infoi~ned

ofthe risks by Dr. I]urrani or any Children's hospital persatulel.

549.    The written in{'ot~ned consent of Dr. D~ur~ni signed by Plaintiffs la~kecl the disclostue of

Infitse/BMP-2's use in his procediues.

550.   Plaintiffs never received a verbal ciisclasure ofInfuse/B~p-2 from Dx. Duzxani or a~iy

Children's Hospital persoz~tlel.

551.   Medtronic specifcaliy required Infuse/BMP-2 ozily be used in "skeletally matuze

patients" with degezzerati~ve disc disease,

552.   Ivledtrc~nic regLUred at least six (G)months of nc~n-operative treatment prior to rise of

Infuse/BIVIP-2.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 77 of 271 PAGEID #: 99




553.    D1~. Dtirrani regularly used rnfiise/BMP-2 without this sip(G} month non-operative

treatment.

SS4.    Medtronic required BMP-2 always Eye ~lsed iz~ coz~juzzction wifih a metal LT cage.

SSS,    Dr, Du~7~3rii regularly tilled $N1P-2 wi#hour a proper LT cage in his s~u~geries.

                                     TRIGGERS - RETENTIC}N

SSb,   `Viii respect to Dr. Dlil'l'c~111, West ChesterC[JG H~a1th dici not fallow #heir written medical

staff policies anci procedures undez~ t~aeir professional practice evahkation }~alicy.

557.    West Chester/UC ~Ie~.lth filed to follow the t~ig~ers for peer review from January 2009

tluough May 20~ 3.

558.   The fbllawi~~g are the triggers for peer review ox ot~zex actions as provided by West

Chester/LTC Health to the De#ers Law Office in discovery in related litigation end is a fist which

by their awn aclmissian is nit exclusive and is a list they ~~radt~ced after full kz~o~v~edge ofthe

items L7r. Kezth Wilkey, Plainti~'fs' experts, considered triggers:

             A. Wrong operative procedure perfQY•rned

             B. Serious injury due to medical device

             C, Pr~cedtue performed on ~u~oz~g patient

             D. Medic~tioti resulting zn death

             E. Delay x~ diagnosis

             F. Auto~s~ not correlated with clinical diagnosis

             Gr. Delay in t~~eatnlent resulting in serious injtuy or death

             H. Alleged abuse or Yieglect

             I. Unexpected death

             J. Surgical death
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 78 of 271 PAGEID #: 100




       K. Mortality review

       L. Ux~plan~~ed second surgeon cabled to OR.

       M. 11~D nat crecietiti~led for procedure

       N. Focus revieti~

       ~, ~X1C1C~~Tlt T'~j701'~S


       P. Con~t~aindication to surgery

       Q, Ut~irstende~ retentio~a of fot~eig~i object in a patient after surgery

       R. Complications ~'ron~ procedure (i.e, readmits, izafeotions, pneu~uothorax after

             ~ITQC~i{L1T~~


       S. ~-ray discrepancies

       T. Retu~•ns to slugery

       U. 'Transfiision i-~ot meeting criteria on order sheet

       V. change in surge~•y/procedure

       ~V. Laceratiioi~/or perforation/punctt~re of organ during invasive procedure

      X, Acute MI oz CVA vt~itlii~i ~~ Hours of procedtue

       Y. Anesthesia complications

      Z. MD without tiria~ly response to ED or ux~it Dail

       AA.           Rislc ma~iageinent issues

      BB,            Delay in treatment oat resulting in serious injury and/QY~ death

      CC.            D01c~y ~I1 L~i~~T10518 riOf T~SUIt1A1~ 1T1 1ri~Jllf•y   or death

      DD.            Actitte blood loss ~s iz~dieated by procedt~ze

      EE.            Appropriate caxe measures not axdered

      ~'F.           Re~dx~~issian- complication of previous acimissio~~
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 79 of 271 PAGEID #: 101




            GG.            Unpla~ule~. admission £allowing surgeY•y

            HH.            72 hours returns to ED and readmit s~sne issue

            YI.            Ii~suf~icient doctunentat~on

            rJ.            BMP-2

            KK.            P~.areGen

            LL.            Late dictation or i10 dic~~tion of operative reports ar discharge sununaries

            MM.           False claim ofspo3idylalisthesrs

            NN.            False claim Q~stenosis or its severity

            00.           P~rfoxming stugeries on ~~atients whose k~ea1t11 conditiotl vitiates surgery:

                   age, diabetes, obesifiy, liypertensi~n, mental health issues, etc.

            1'P.          Shanti Shuffle- T.~~. Sh~nti being forced to do are entire surgery for Dr.

                   DuY7atii by Dr. Durr~ni without the patient's lczaowledge.

            QQ.           No hospital consents or improper CAST consents

            RR.           Failed H~clwaae

            SS.           Perfornliz~~ surgery not qualifed to perform

            TT.           Dura tear

            ~JLT.         Having hardw~7'e which should be rez~aoved, which is never retnoveci

            W.            Not uszng the proper cage with BMP-Z

            WW.           Ignoring ~•adiolo~y results

            XX.           Mxsrepresentatian.s to primary cara physicians

559.    Dr. Keith Wilkey, a Uoaxd ceY~tified spine expert, leas ~•eviewecl over 213 patient charts at

'test C~iester ofDr. Durra~~i acid signed 2l 3 affidavits of merit as required under C1~10 0~ Ohio

Rules of Pro~edur~ to file a medical malpractice case and based upo31 these reviews over 500
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 80 of 271 PAGEID #: 102




eveY~ts t~•iggers place which would have requi~•ed action against Dr. T~urrani by 'West Chestex.

Defe~ir~ants intentionally took zoo action,

5~0.    I~~ 2048, I115L1T~11C0 CDI7'J~?a111eS ~]ECc~TTI~ 1T1L1G~1 IXipTe S~If~Ct1V8 Iri tiV~lat ~I10y WOL1ICj all~Ylt}T1Ze

far paymant. They st~i~ed only paying fax spinal surgeries that were hxglily indicated, meaning;

theY~e was rock solid medical evidence to support their Ylecessity for treatment ofpatients,

561.    Cextain diagnoses suc}i as spondylolisthesis ~.nd sevexe s~itial stenosis have good

lifierature support fir cazziplxcated lu~aahat• fission ~rocedtues r~viih ir~strumei~tation, l~ighiy

indicated procedures with goad outcomes which result in; mare pay for Durxani, Dr. Dcirrani

would t~se these extensively. The data shows Dr. Dtu~r~ni falsely claii~~ed spandylolisthesis

diagnosis 95°/a ot~tha time.

562,    Most ofthe suY'geries Dr. Dui7ani actually perFortned were a lesseY' indication; ~naiia~y

degell~xative disc disease with lesser mounts of spinal stenosis wk~ich insl~r~.nce companies will

not usually pay for the more expensive s~ainal ~'iision; less ~~ay dot Di~. L}urrani. This is why Dr.

Dur7ani would clair~l the coi~.ditians o~ spondylokisthesis.

563.    Surgeons have to obtain advanced ~.~~thorization5 from tk~e patient's insuralice c~.rrier

prior t~ doing the surgery. If surgeons are requesting to clo a slugery with a lessex iiidicatian,

most ofthe time it is de~iied unless t11e req~~esting s~.~rgec~n call convince a "peer stu~ean" ofthe

need to do the bagger stugery a~xi deYnonstrate why this case xs a7i exception to their po~ieies.

Th~.t takes time a7lcl tkie peer 11as access to the patient's whole medical zecarcl. Tk~at ~aeer

reviewer could easily have discovered the firaudulent diagnoses Dl~xrani was ciaiYning.

564.    Beginning in ZQ4~, Dr. Durrani lied mi~ck~ mare often to avoid the whole process and

possibility of discov~zy by the insurance cot~lpanies.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 81 of 271 PAGEID #: 103




565.    Dr. Dui~~ani didn't do his operative reports oil time so as to assist his c~~ver-up of the

fraudulent diagnoses.

566.    Governmenfi has given haspxtals iticredible power #o act as the "watch" fat patient's

safety and vt~ell-being, but with that power comes responsibility,

567.    West Chester Hospital haci the duty to monitor its pk~ysiciai~s vza tk~e peer review process

a~icl at least an paper,they had tae process in place.

568.    ~n that process, West Chester bad sev~ra~ "triggers" estal~lisk~ed which would hive

resulted in an in-depth deer review. Triggers dan't have to be events or behaviors that are

m~ipractice, but ~.re designed to be even zl~ore sensitive.

5&9.    Most ofthose triggers are suggested by the goverz~raaent such as complications anc~ ret~un

to s~ugery. However, hospitals are supposed to adjust their triggers fax the inc~i~vidual physicians

ciepcnding an their practice tyke ~u~d behaviors, This is to instue that the hospital has meazaxx~~ful

triggeY•s for each physician, It wouldn't make sense to z~~onitoY• operative re~ai-~s ;Fox an internist

that does~a't o~erafie. It tivould make more sense to Ic~ok at his discharge siuni~lar~ies.

570.    For Dr•. Durra~~i, meaningfiil triggers ~xrould have been items tracked dui7ng the rn~dical

rea~rd review o~'the malpractice claims. Although complications such as hardware failut~e,

nonucuon anal revision are not rnanciateci by the go~ve~nrnent for hospital triggers, any

responsibility peel review cot~unittee s~iould have reviewed Dr. Durra~u's results and adjusted

the triggers fax Dr, Dti~rrani to reflect his high~x than ~iormal coxx~plication r~.te in these a7•eas.

Ot~ier ~~eas ~'ackeci should have ii~ch~ded his offlabel az~d con~•aindicated use ofInfiise and

PureGen,
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 82 of 271 PAGEID #: 104




571,    Defendanfis failed to act i~poxi air. overwhelzaaing arno~znt of material. Tl~.ere were aver 591

individual Niggers that were ignored by ~V~st Chester, That is overwhelming a~.d unforgivable

fc~r a hospital ~o allow, given tt~e power they had to protect their patients from hax~:t.

572,    pn peer review,they are asl~ed to identify and assist with the removal of known

incam~etence, A s~u•geon's duty ox~ tlae peex r~vxew panel is to protect patie~zts ~'irozn illegal

operations. Surgeons look foc false anti fraudulent c~iagtioses phis fictitious z~x~dieal treatment.

573.    The peer review committee is asked to sit on the committee far usually two dears at a

request.

574.    West Ckaest~~• Hospital had bylaws based upon the joint c~tn~nission accreditation of

~aealthcare o~~~anizatians knawl~ as"The Joint Coznmissia~~." The principles of the iilitfal

creclentialitig that allowed Dr. Durr~.ni to st~~'t operating a~ld mecha~lisx~as available to the hospital

to stop him fiom ha~~~nin~ other pafiients a basically equivatex~t. There are some "minor"

variations between state laws but for the most paT-t, they are 1:11e same. Atl example would be the

"process" called sununary suspension, after it becomes clear ofa ~~Iaysician's incnmpetenee, the

rnechanistn to remove hirn are the same everywheza. Therefore, the sit~yatio~i regarding West

Ckaes~er and Dr, DLU~~a~ii ~e unique only in their depth and degree to which Dr. ~}UPCc`lIll'S

egregious be~iavior ~~vas a~~owed to hai~n patients before he was stopped only by the filing of over•

one h~uidred l~.wsuits.

575.    The aredenfiialing and peer review work is ke~~t secret froze the public.

576.    Credentialing is a very lengthy application wk~ere 4Q to 100 pales of documents are

required. Each a~these have to be verified by the creclentialing pe~~sonnel from the hospital and

tk1~n a committee ineinber is ~ssigrked to cio a fi~rtlier background check into these applic~~lts past

work to include calling x~eferenees, Hospitals and training programs.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 83 of 271 PAGEID #: 105




 577.    Withi~i some broad limits, one ca.~i prole very deep into the p~.st ofan applicant because

 Elie a~plicatit signs multiple disclosure agr~eme~ats before the 6acic~raund check, This znst~xes

that if deeded,the ~ee~• review can make goUd recommendations to the committee chairpexsoz~.

578,     Given D~~, Dut~ani's behavior and clinical problems in Cincinnati at the time he was

a~~plying fo~~ c~•edeiitials at West Chester•, phone calls s~.ould have been made Y•egarding Dx,

Du~7ani's past ti~o~k i~istory, ~artic~.ilarly at Children's Hospztal. Another "red flag" that Dr,

I3tti7•ani wa~ild have had was the tact he was not board certified by tl~e Americzi~ Academy of

Qr~hopedic Slugeons or a member ofthe North American SpiYie Sooiety.

579.    Bing board cei-tifiecl acid a mefnber of a specialty society is a good way for a hospital to

have some external quality check ft~r the applicant. Z~ the a~~~licarit does~.'t have those iri their

pacl~efi, it's a "red flag" a~~d tale ~•eviewer far the cornrnittee 17as to be vigilant and do extra

digging.

SSD.    If Nest C~.ester ~.nd Defendants had called and xeceived zeports not favorable to Dr.

Dut~~ani the inf'o~7natio~i woL~ld be confidential and ad~nirustration could stilt take a chance and

convince the physiciaxls ofthe credentialing committee atic~ MSC to allow Elie privileging

anyway, Privileging u~id~r these circumstances is visually granted by the staf~wzth very strict

terms anc~ Elie physician would lie an a very "short leash."

581.    7f this happens,the pk~ysician is ~t~t nn a strict probationary period with any violation o.~

the iayl~ws resulting in termination and dafiabaiilc reparfi is filed.

5~2.    Dr. D~~i7ani was incainpetent ~~d he should have ~.ad az~. inunediate luminary s~.ts~ensioz~

and a National Practitionex's Databank repoz~t should have been filed after a fair hearing

con~rme~ the initial suspension. This report would Ue the only tivay the public would know that

Dr. Du~ti~ani was fiot~ud to be incompetent by leis peers ~t West Ch~ste~~. This repo~~t ciid not
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 84 of 271 PAGEID #: 106




happe~~ a~~d the hospital administration officers, Baartl members and Defezad~nts were protecting

Dr. Dlu~t~ani from the usual pY•ocess ofdeer review.

583.      The hospital administration has considerable control ofthe deer review process. They

rightly claim the actual process of reviewing the patent's reca~~ds a1~d voting can Ghe issue at hand

is done vy the hospital medical staff. The ac~min.istration consols atl fhe remaining variables; the

physicians assigned to the caninlit~ee a~•e assigned to Ye~view the individual case, which physician

is reviewed aa~.d the selecting "triggers" foz the process and, the "assist~.nts ofdie coin~nittee" that

monitor physicians on a daily basis are all hospital employees.

584.      According to a review report ofI7r. Durrani perforxn.ed by Dr. Keith Wilkey, 8 of lb

patientis OR repa~-ts wexe not done in a thirty-day wz~dow, it included a lflt of fictitious,

fraEidulent anti false diagnoses, ttieo contFaixadicated use ofInfuse ~~set~ in minors, one ca~icer after

Infiise ar~d several novel surgeries—VATS,~LxiaLIl', DI,7~'. '~'~~e results of t11is peer review

speak for itself. Had this study been completed, tlae~e is no way to conclude otherwise that Dr,

Du.~7aaii was incompetent. He shc~ulc~ have been summarily suspended before the study was done

to protect future patie~its. T11e peer revievt~ should have xepoi~ed to the MEC and then Dr,

Durrat~i s~iould have been suspended tu~til a Dearing at the MEC level confirmed ox denied the

St1ri1fl3fit'y SL15]]Ex~51p11,   A databank ~•~port would have beets required to be filed b~ West Chester.

585,      Nest ChesteY~'s bylaws clearly state the requirement that OR reports be done within 30

days from the complet~~x~ ofthe surgery. WithoLrt exceptions, pliysiciaz~s get wxxtteri notification

ofi fiheir cielingt~ent reco7~ds a~~d are given any~vl~ere fronra seven to terl days to coi7~ect the

deficiency. If the charts are not dicta#eci within that time limit, the physician is summarily

suspended and tl~e case zs sent to fihe MEC far their review. T1nis ~~rOCess may be repeated one U~'

two mare tii7~es, but usually within asix-ri~onth period, tie delinquent physician has their
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 85 of 271 PAGEID #: 107




privileges revoked anc~ a datab~~k xeport filed. Dr. DL1i7~ani was giveia an exception for avez• dour

years.

586,     Defendants willingly overlfloked illegal opei'7f10I15. Dr. Dunan~ gave false or

e~aggerateci and fraudulent diagnoses plus fictitious nleciical treatment. His surgical outcorxaes

wete hat~tible.

587.     The hospita111as to disclose the OR re~oc-ts and tlae report incluc~ec~ the time anc3 the date

ofthe dictation, to which the delay from the s~ugery date can be determined. Nest Chester lead

to disclose e~naits between ttae hospitals and i3r. Durrani. In one email ~•om the CEO,D~fendan#

Jos~pl~ to Dr. Dut7ani, tl~.e CEO ackno~vled~es t11at they knew o~Dr, Dut~a►u's dictat~~n

violations. Therefoz•e, tl~e~ hacl actual knowledge of Dr. Durrani's violations end caruiot cIainz a

sfiatutory presumption o~ im~~~uxaity ~i~om negligent creden~ialing.

588.     The Joint Commiss~c~n sets file standard and 1~ospital co~plia~ice isn't controlled by the

state. Hospitals hive tt~ have ongain~ physiciaia Ynonitorzng iYl place to satisfy the accreditation

regtairei7ients, Good Hospitals require a medical staffthat is willing and able to monitor itself

tluou~ka Practitioner Per~'orrnance    ongoing professional pxaeti~e evaluation "4PPE~"

~$9,     Since 20Q9, the Joint Can~nlissio~i has rat~uired hospitals, through. xts medical staff, to

conduct an angoilig ~7rc~fessional practice evaluation of every privileged p~~actitioner at tk~e

hospital, withou# exceptipn. There are three essentials to OPl'E: it must measiu~e eel~tain Things

(far surgeons, surgical complications and treat~.~etit patter~is), the measures must Ue collected and

assessed (~~x~odic chart xeview, observation, discussiaz~ with other doctors and nurses), and

#finally the medical staff must act on xts findings ~~ocused prafessiot~al per~forrraanee evaluatio~i

instituted.} It is a confidential process.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 86 of 271 PAGEID #: 108




590.    Due to the confidentiality, Dr. Durr~li's OPPE from the hospital is riot av~.ilable but

because Vilest Chesta~• is joinfi cotn~nission accredited a nd they supposedly meet all Yheir

requirements, it is safe to colichide #l1e OPPE process was done twc~ ar flues tirz~es on Dr.

Dttt~ani. O~.ce he started at West Chester anti then befo~•e ~iis re-credentialing every two years.

He either resigned, ciid gat ~'eapply, or was revoked ar~Lind his four year ie-cr~dentialing.

591.    Thexe is ano#her instance whew West Chester admitlistratia~i should have Icna~~z about

tale other Dr, Dui~ranz issue in that i~the OPP~ found problems, the MEC sh~ul~ have regt~ixed a

Fpl'E, wl3ich is an zn~depth review with tl~e possible requirement for corrective action, summary

sus~~ei~sions, and recommendation a~ limitation or termiiaation of privileges. If a ~`PP~ was

ongain~ azld Tyr, Du~~aiu xesigned dluing this process, a Databar~c repal~t sl3ot~id have been filed,

which didn't happer3.

592,    Anytime ~aa event occurs that is significant, called a"#rigger" OpPE ar an FPP~ can be

conducted, anti ~i~en Dr. Taurra~li's poor perfoi-nzanc~ that should have acctu7ed given a medical

s#affthat was diligent zn their duties, Tli~ adniinxstra~ion l~aci multiple wat~tungs from file medical

staff about Dr. Duax~ni. They knew he was bad and ignored tha# fact.

                                           INFUSEISMP-~

593.    Dr. Du77ani o£teriti7nes used BMP-2 "offial~el" when perForming si~zgeries.

594.    BMP-2 is ~a1anufactur~d, marketad, sold old cl~stributed by Defendant Medtronic under

the trade came "Infuse."

595,    T7r. I]w7•ani is a consultant for Mecitxonic.

596.    Defendants did nat inform Plaizatiff ot`Dui7ani's fiii~ancial ii~teY~est, conflicts ofinterest or

consulting arrangement with Medtronic.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 87 of 271 PAGEID #: 109




597.    Medtroiuc, pravzded in wi'Itltlg t0 JAI'. Durxani and CAST the approved uses for BMP-2,

tk~e substance also referxed to as Infi~se, which is a bone mai~~hagenic protein, used as an

axt~£zcial substitute for bane grafting in spine slugeries.

598,     BMP-2 is nat approved ~y the Food a.nd Drug ~tlministratiott for use iii the cervical a~~d

tk~oracic sine.

599,    BMP-2 is neither safe nor approved far i~se an chilcir~n less t1~an twenty-ox~e (21) years of

age,

600.    For ttse iz~ spi~lal stu~gery,$MP-Z/Itl~ilse is approved by tl~e FTaA.fax a Limited procedure,

perfat~ned on a limited ~uea ofthe sine, using specific coYnponents. Specifically, the FDA

approved Infuse fog• ane ~rocea~u•e ofthe s~inc: Anterior Lutnhar Interbody Fusion("ALZF" or

"Ante~~io~•" approach); and only in one area ofthe spine: L4 to S1; end only when used i1~

conjunction with FDA-~pprovecl Cpmpanetlts: LT-GAGE L~imUar `I`apezed Fusiari Device

Co1~Zpon~z~t("LT-CAGE")

6U1.    Use o~'Infiise i~ cervical or thoxacic surgery, or use through the back (posterior), or side

(lateral}, ar on areas ofthe sine outside ofthe L~-S 1 region (e.g,, the cervical sine), OT USfll~

coinponezats other than or i~1 addition to t1~.e LT-CF1GE is na# appra~ed by the FDA,~xzd thus

such procedures and/or use ofnon-FDA approved cQx~ponentry is termed "off£Label."

6Q2.    W11en used offlabel, ~nfiise frequently causes excessive or uncant~olled (also referred to

as "ec~o~azc" ar "exuberaiat")bone gro~u~i1 an or ~u~ound tie spinal card. When nerves aze

compressed by such excessiae bone grotir~th, a patient ca~i experience, ~nong ptlier adverse

events, intractable pain, paralysis, spasms, end cramps in lizr~bs.

G03.    The product packaging fir BMp-2/Ii~fi~se i~.cixcates it causes ate iticreas~d risk o~ cancer

fotur(4)ti~ries greater than other ba~ae graft alternatives.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 88 of 271 PAGEID #: 110




d04.    Dr. Dtir~ani, CAST staff end employees, acid Wept ChesterlUC Health ~ersozuael did nat

disclose to Plaintifftheir in#ent to use BMP-2lInfi~se, and fiirther, t[zd not disclose their intent to

Lase I3MP-2/Ynfuse in a way Yiot approved by the ~'DA.

605.    Dr. T]urratli used BMP-2 in Plaintiff ire a manner not approved by Met~ti•anzc ox the FDA..

606.   Plaintiff was not iufoc7ned by Defendants that Dr. Dui~ani «sect InfuselSMP-2 i~a her

surgery.

6a7.   P~axz~tiff would nat have ~.~~awed B11~IP-2 to be used by Ax, Diu~ani in her surgeries in a

manner that was not a~~roved by the FDA or Medtronic, Infuse/BMP-2's Ynanufact~~rer.

608.   Ptainti~f ~~ould not have conse~~ted to tl~e use ofBMF-2 in her body if infarineci o~ the

risks by Dr. Dtu7ani, CAST staff ar►d employees, or any Writ Chester/UC H~~lth persoi~tiel.

6~9.   The tivrxt~ex~ zn~ox~ned cor~se~t of. Dr. Durr~ni and CAST signed by Plaintiff l~.cl~ed the

disclosure of InfuselBMP-2's use in her proced~u~es,

610.   Plaintiff never received a verbal di~clost~re of Infi~se/BMP~2 from Ar. DUI'Ic~I]l~ CAST

staffand employees, ax az~y West ChesterlLTC Health ~ersotu~el.

611.   Medtronic specifically required I~lfi~se/BMP-2 ~n1y be c~seci in "slteletally matuie

patients° with degenerative disc disease.

612.   Ivledtionic required at least six (6) mo~lths ofliofi-Qperative treatment prior to rise of

Zx~fuse/BMP-2.

613.   Dr. Dui7•ani regularly i~sec~ Infuse/SMP-2 ~tfithoufi this six(G)r~~onth ~zoz~-opex~.tive

treatment.

614.   Medt~•onic i~ec~uired BMP~2 always be used in conjunction witki a metal LT cage.

615.   Dr. Diu7ani regularly used BMP-2 ~rithout a prol3er LT cage in ~iis si~rgexies.

                                            PUREGEN
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 89 of 271 PAGEID #: 111




                                      PUREGElV NARR[LTIVE

PUREGEN BACKGROUND

616.    PureGen Osteoprogenitor Cell Allograft(PureGen)is a highly cox~cex~trated, pure

population of~a~ly Lineage Adult(ELA)s#em cells that originates in bore m~xxow anal is

collected from live, healt~ay don~.oxs,

617.    PLUeGen is h.arvestecE from livi~~g human beings uzidez~ the Stem Cell Callectian Program

adr~~xr~stexed by the Food and Drub t~drrazxa~stration(FDA)and is defined as }~ofh a "biolc~gie" E~y

42 U.S.G. 3S1(i) and a"drug" as c~efi~led by U.S.C. 321(g).

6i8.    PLrreCen's put~ose was to facilitate bone fission by tnirnicking the regenerative

envira~unent of youthful tissues by increasing the concentration of stem cells available to repair

tzssue and build boz~~.

6~ 9,   When used off-Iabe1, as Dr. Dutrani oFten did, biologic bone allagraft frequetitiy causes

excessive or u7lcant~alled {also refet~recl to as "ectopiG" or "exuUerant")bone grflwtl~ on or

axound the spinal cozd.

620.    When nerves are cflmpressed by sltch excessive bone growth, a patient ca~~ expet7etice,

among other adverse events, intractable ~ax~n, para~yszs, spasms, ar~d czar~aps iza IimUs.

621.    Alphatec Spine,Inc, is a ec~r~oration under the laws of California, and jointly developed

aid dis~'ibuted PrtreCren in the State of Ohifl.

622.    Alphatec Holdings, Tnc. is a. voiding enr~oratipn formed under the l~.~vs o~Delaware with

z~.o operations separate fi•c~m tha holding of other con~pailies which ativlls Alpliatec Spine, Inc.

623,    Dirk Ki~~per vvas President and CEO of A.l~k~atec Holdings, ~z~c. from Februauy 2007 to

All,~llSf ZO12,
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 90 of 271 PAGEID #: 112




624,   Farcell Laboratories, LLC is organized uz~tler the laws of Del~.ware and jointly developed

Puregen.

625.   Al~hatec a~ld P~cell co~deve~~ped the pxoduct "PureGet~", and botka expected PureG~en

would be initially limited in ap~~lication,

C26.   PureGen is praducecl and distributed by Alphat~c Sine, LLC,a dxvis~on of Alphatec

Holdings.

627,   PtueGen was entered into 3 clinical trials by 1~lpl~atec on or around February 9, 2011

which were scheduled to last u~itil September of 2013.

628.   The study papulatio~~► were 54 male/female subjects ~8 yea7•s and older suffering from

symptoms of cervical degenerative disc disease ~n one to fo~u~ contiguous levels between. C3 ~.nd

T1,

629.   The cliiiic~.l txial required:

            a. Inclusion

                    i. Age over SO

                   ii. Side-by-side t~se of Puregen axld Autologous bone in ale same patient far

                       radiographic coxn~arison

                  iii. Sy~a~.ptdFnatic Itiianbar degenerative disc disease in up to 2 coY~tiguous

                       levels between L1 and S1

                  iv. Subjects witka b~.ek andlor leg pint indicated for ~ost~x~ox sta~ilizafion

                       with or tivi~hout decoinp~•~ssic~n at any level and posteriolateral fi~sian

                   v, Tlzuesponsive to cozaservative treatment far at least 6 ~n~nths

                  vi. Radiogz~.phic evide~ice of prirz~ary diagnosis

            b. Excliiszan:
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 91 of 271 PAGEID #: 113




               vii.   No heal~h~ volunteers permitted

              viii.   Moxe tEian two levels requiring postexiolateral fission (PLF)

                iY.   Spo~adyliosis greeter tYzan Grade 1

                Y.    Prior famed ~'~ision surgery at Iumbar level{s}

                xi.   Syst~nlic or iacal infection i~7 the ciise ar cervical spine, past or

                      ~xes~nt

               xii.   Active systemic disease

              xiii.   asfieoporosis, C.~steomalacia, or otkaer metabolic bone disease that

                      would significantly ii~Elihit bone Healing

              xiv,    Use of other bone graft, Bpt~e Mt~i~hagenic Protein(BMP), or

                      bode graft substitutes in adclitian to or in place ofthose pr~dc~cts

                      specified

               xv,    BMA greater t1i~140

              xvi.    Use ofpost-operative spinal cord stimulator

              xvx~.   Know~~ or sus~ec#ed history of alcohol anchor drug abuse

             xviii.   revolved in pendi~ag litigation ar warlcer's compensation rebated to

                      the spine

              xix.    Pregnant or ~laruiing t~ become pregnant during the coluse ofthe

                      study

               xx.    Insulin.-depe~ident diabetes mellitus

              ~~~,    Life expectancy less than dt~ratxon of study
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 92 of 271 PAGEID #: 114




                    xxii.       Az~y significant ps~~choJogical disturbance that could impair

                                consent process or ability to cam~3lete self-assess~aietit

                                questiolu~aires

                    xxiii.     Undergoing chemothez'~.py or radiation treatfnent, or chronic rise of

                               axal or injected steroids or'prolonged lase of t on-steroidal an#i-

                               inflammatory dugs

                    ~xiv.      Knowtl history of hypersensitivity ar ana~~hy~aetic reaction to

                               dirnenthyl su~foxic~e(DMS~).

630. A.~13 clinical trials ti~vere "Terx~n~nated" f~efare ax~.y results wire produced.

631. AI~13atec end ~'~'cell sativ this limified approval for clinical trials as an o~pflrtuYlity to

inar~ket Pi~reCr~~a without prerz1~.rket approval, 510K clearance, a~i exce~~tior~. to the Food Dry;g

aa~d Cosn~~tic Act,rneetiz~g the h~un~nitarian device exception, investigational ne~v ci~ug {IND}

applzc~tion, or other permission to market P~ueGen, all in violation of tihe Food Drug anti

Cosmetic Act.

&32. AlpJaa~ec and Pazcell began a course of conduct desigi3ed to expand tihe application o~

1'~ueGen by ena users in excess ofthe approved clinical vial ~f FureGen. This course of

conduct utilized fraud, false statements, material ~nisxepresentation, end deceit in ordei to

broaden the sales ofPi~xeGen beyond t1~at which tie ~rst~al acc~ptaz~ce within the sciezltific

conl~rtunity ar regulatory approval ~~ould at~ierwise allow.

53~. The Food aa~d Dtug Admii~is~ratit~n {FDA,)conducted an inspection o~Parcell

Labarataz~xes between February 9-14, 2C}11.
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 93 of 271 PAGEID #: 115




634. After the inspection, the FDA responded c~uickl~ to the unlicensed marketing ofthe

device Pu~•eGan by wac~~ing that Pt~reGe~. was not the subject of ail IND application z~or a valid

biologics license with a lefiter dated .dune 23, 2011.

f~5. The letter stated that fihe cells used in the production ofPureGen were IZUr~aan ce~~s,

tisslaes, or celh~l~1' ~.11CI ~15S11~-baSeC~ ]?POC~UC~S ~HCTIPS} aS C78f1IleCI 111 Z1 CFR 1~7~.~{C~~.

636. Based oxi this analysis, the ~'DA. determined that PureGeza vvas a di1~g and bio~agica[

product as defined in the Federal Food, Dr~i~ and Cosmetic A.ct,

637. According to the public health Service Act, a va~zt~ biologics license is also required to

int~~oduce a biologics d~v~ce to the market.

638. Alphatec Spine did not acgture a valid biologics license to ender a biologics product zz~to

interstate con~z~1erce, in violation of21 U.S.C. 3550}; 42 U.S.C,2fi2(a).

f~39. The FDA stated that ~'ureGen,"does not rz~eet all o~Y13e criteria in 21 CFR 1271.10(a) anci

thezefare is riot regulated solely sander sect~vn 361 ofthe Publzc Health Service Act and the

regYtlations iii 21 CFR Part 1271. Specifically, the t~radi~ct cues not meet the criterion in 21 CFR

1271.10(a}(4}{ii){b) because the product is dependent oi~ the metabolic activity of living cells

fox its primary function,"

640. t~s a r~si~lt, a vatici l~iola~ics license was required, which was never obtained by Alphatec

or Parce~~ labs in regards #o PureGen. D~fenda~ts ~cT~ew alI this.

X41. Given this tack of a valid biologics Iicei~ss, the FDA determined that t13e marketing of

P1.ueGen violatet~ both the Federal Food, Drub and Cosmetic Act and the public Health Service

Act.

642. Ire a statement to Mlle press a~~roximateiy a week after receiving the FDA Letter,

Alphatec President Dirk Kuyper stated, "Bot1i Alphatec Spine ones P~.rc~l~ Labor~.tories are fiilly
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 94 of 271 PAGEID #: 116




cor~amitted to work closely and collaba~ativel~ with the FDA to address tkae questitins x'elated to

the ~uteGen Product. We look farwatd to disc~issin~ the PtueGen ~~•oduct with the FI]A end

sXiarin~ our Clinical a~ttcames to date." See article "Al~hatec coinnneaats on FDA's letter

.regarding PureGren pracluct for spinal fission procedures", Spinal News ~z~ternatianal, July 28,

2011, attached as Exhibit E.

643, No such cooperation by Alph~tec and Parcell Iabs accutTed ~n~ nt~ eli72ica1 outcomes

were shared with the FDA as X11 clinical t~~ials ofPur~Ge~ wexe "Tei~tninated" and no data was

released as to the findings.

644. In fact, Al~hatec anti Parcell responded to this letter by continuing to market ~'ureGen in

~,n ~lnlic~x~sed manner until ~1lphatec finally acknoti~ledged the letter• in or mound k'ebruary

2013, al~iost ~~vo years a$er receiving the letter, by stating it disagrees with tale FDA's

classifcation ofPt~reGen as anytk~in~ ether than a tissue product -- despite the clinical t~ia1

a~~~roval ~ist~~g PureGen as "Biological: PureGen Osteaprogenitor Cell Allagxa~t".

b4S. Fut~tller~tnol~e, accarcii~lg to sales r~pxesentative, Thomas Blank, Al~liatec falsely informed

distributors ofPLUeGen tkaat they "resoivec~" the issues addressed in the I'DA letter, slid riot have

to ta~~ PL~xeGen off the Ynarlcet anci it vas "ak" for tll~ir dzstribt~toxs to continue marketing anc~

selling PureGen.

64G, Despite the ap~xoval fvr the cli~ucal trial ofPureGen w~axcl~ limited enrollment to 50

patients, ,A.lpha~ec advertised in its 2012 Annual Report that Pr~eGen had been implanted z~1

over 3,500 patients.

647. PureGen further stated that it had been placEd in these 3,500 ~~tiezzts with "no adverse

events related to the product", despite nti study, statistics oi~ information to back up such a

claim.
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 95 of 271 PAGEID #: 117




648, This 2012 aiuival Y~eport also identified PureGen as a biologic.

649. In the First Quarter of2t}11, ~lphatec Spine atti7buted part ofits 40,x% increase in

revenue to the PureGen product. See Becke~'s Spine Review, Alph~t~c Sine Reports $49.7M

in Ol Revenue, 4d.9% Increase, May 5, 2Q11, attached as e~~ibit ~.

650. Eventually, lfter Pl~r~Gen had been tu~lawfiilly implanted it3 thousands of patients,

.A,lphatec and Parcell conceded that Pi~reGen is a tissue produce anc~ a biologic and sfiopped

shipping F~i~eGen in ~'ebxuary of2013.

PCJ~ ~ + GEN AND OHIO LfAW

~iS 1. It is the position of t17e Deters L~.w Fitni that the ciistributipn and use of ~'t~reGen. by Dr.

Dt~rraru, ~vr~lutio~i Medical, Alp~atec ~pitie, Inc., anci West Chester/UC Health by Defendants

is inn vi~latio~~ not only of Federal LAw as outlined in the FDA's lettex•, but Ohio Mate Law as

w~11.

652. Ohio Revised Cade 3715.65(A) staEes that"No perso~i shall sell, cieliv~x, offer fir sale,

hold far sale, ar give away any ne~v drug ui~l~ss an application tivit~a respect to the chug Iias

become effective undeY• section SOS afthe Federal Food, Drub and Cosmetic Act, 52 Stat. 1Q44

(1938}, 2I U,S,C.A. 301". Defendants violated this provision.

653, A "New Drug" is defiled as "Ai~.y drug the composition of which is not gel~erally

reco~;nizeci among experts by scientific training and experience to evaluate the s~~ety of dY•ugs,

as safe fox use under the conditio~~s prescribed, recommended, or s~iggested in the labeli~lg

th~xec~£" Olio Reviset~ Code 3715.41(9)(a).

654. PlueCerx's status as a Biologic further supports t1~e classification of a ding under the FDA

and Ohio Law;"~ "biological product" ~x~eans a vir~is, tk~erapeutic s~z-uni, toxin, antitoxin,

vaccine, blood, blood component o~ derivative, allergenic product, or analogous pxoduct, or
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 96 of 271 PAGEID #: 118




arsphen.arnine or derivative ofars~henair~ine {or any other trivalent organic arsenic cornpotuld),

applicable to the prevention, treatment, or cure of a disease or condition of huz~aan beings

{Public ~Iealth Service Act Sec. 351{i)}. Additional inteipretatian of die st~tutoxy 1ar~guage is

found iz~ 21 CFR 600.3. Biological products also fneet the defitvtion of either a di'Ll~ Dl• device

under Sections 201(8) and {h) o~the rederal FQOd, Drug, a~1c~ CQSmetic Act(k'D&C Act)." See

http.11www,ficl~.,gov/ICECI/InspectionslI(~M/ucrn122535.ht~n.

b55. It is the ~~ositzon ofthe Deters Law Firm that PureGen ~s a d~~ug as defined iii ORC

3715.01 anci that xts c~istributioY~ befoxe FDA approval was in violation o~ C)RC 3715.65(A).

The Defendants with full knowied~e and iYitetit violated this state#e.

PUREGEN AT'~'~E HOSPITA~~

656, nn October 10, 2011, UC Hea1tI1 began purchasing I'uxeGe~i from Alpkaate~. Thomas

Blank vas ati einplt~yee ofIiuiovative Medical Consultants, LLC and a sales representative,

seller, rnarl~eter, and distributer of Fu7~eGen for the Northei7i KentucicylCincinnati azea.

657, Zn ~iis professior~a.I ea~acity, Th~rnas Blat~lc was present during most, if ~aot ill, of the

surgeries at issue where PiueGen was secretly implanted into various ~Iaintif~s without

inforrneci consent or permission.

658, Thomas Blank worked directly ~vit~~ Alphatec Spine,Inc. acid Def~ndaz~ts in the

rnarketi~lg and d~stributian of ~'ureGeti.

659. Addxtianally, Thomas Blank is ~. shareholder in A~phatec Spine,Inc.

d6Q On May 10,20l2 Evolution Medical, LLC,a physician awned distributorship {FAD),

owned iti pant(at lest ~0%)by Dr. I7ui~rar~x and inco2~or~#ed iri Delaware, received ~ I~entt~cicy

Cei~tific~te o~Autliority.
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 97 of 271 PAGEID #: 119




b61. Around this tune, TlZOxzaas Blanlc began to worl~ with Evah~tzon Medical in the zna~•1~eting

anti distribution of FtireGen, z~a addition to his dealing with ~1lphatee Spi~~e, Inc.

662, On ruly 2~, 2012, ~(JC Hea1~1 with tl~e fill knowledge at~c~ consent ofDefendants began

~alirchasing PureGen from Evolution Medical, LLC.

E~b3. The purchase of Pt~reGen, the logistics ofthe billing, the bilXs oflading,the receiving atld

ha7~dling ofPureGell for West Chester Hospital was handled by UC Health Purchasing.

GG4. Tlae De~enciants tracked West Chester/UC Health's ~tuchases ofPtu•eGe~l £ram Evolution

medical.

665, Specifically, Tk~a~nas Blank would piflvide the n~.aterials from Alphatec Y•elated to fhe use

and approval of ~ureGen to bwayn~ Brown on behalf of UC Health, W~lp ~OL11CL t~~quest

PLireGeiz based an the amounts requested by Dr. D~.at~atu and other doctors wllo used the

~~roduct.

665, after the UC Health reps a~~proved the use ofPureGer3, Tharnas Blank and his associate

Toby Wilcox would orclex the ~rodttot, typzc~.11y in vulk, at~.d draft the regcusite billing

doct~x~~ents.

657. The Pi~reGen ordered would ~e stored on site at WC~-I ~zl tk~e freezer of the o~aarating

rooms,

U68, In addit~o~i to Dr. D~u7ani, other doctors ~t WCH used PureGeza, inelLrc~i~~g Dr. Chunduri,

Dr, Curt end Dx, Shanti.

f~~9. Defendants would purchase at~.d al1o~~ these doctors to use a st~Ustance not a~praved by

the FDA inpatients without tllei~ infoimed c~nse~lt.

E70. Though WCH and UC Health do have patients ~Il oL~t "infgrtned conse~~t" forms, no

rnentioll ofPw'eGen or its uon-FDA approved status is mentioned on these fo~~ms.
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 98 of 271 PAGEID #: 120




DR.I3IJRRAt~1I AND PUREGElV

671. In one ofthe few depositions ta~c~~a Uf Dr. Durrani before his flight from the country lie

stated th~.t PtueGen is "essentially steal cells" and twat lie "used to use [PureGez~] for a certain

amount oftune." bepasi~ian of Dr. L}l1Ti~.ril 1I1 Bi~enc~a Shell v. Dur•i°crni, p. 25-26, attached as

Exhibit N.

672. Thais "certai~a amount o~time" was approximately 3 years between 2010 and 2013, all

while PureGen r~~a1ained ut~.approved by Mlle FD,A.

673. Though dow7iplayin.~ his involvement wit~i PtueGezi, Dr. DuY•rani, ~7x~U~~l I115 lIJ~~~~

POD Evohition Medical, distriUuted Pu~•eGen to West Chester/UC Healt~a wi~13 the full

kt~.awledge and consent of Defe~ada~its.

b7G~, lax. Du17a~1i anc~ his ~vt~lution Medical co-otivner Toby Wilcox and Defenda7its, knew the

Department of ~-Iealth and Huma~i Services and the Un~tec~ States senate Finance Co~~~cnittee

I~as released r~~orts o~, dangers of Physician-owned enfities,.~otahly Physician-owed

Distrilautorships {~'~D's).

675. Dr. Dui~rani atld Toby Wilcox's actions tiv~ougki EvQ1i~t~on Medical violated tI1e Anti-

Y~i.ckbacl~ Statute 42 U.S.C. X324 and Sfark Law 42 U.Q.C. 1395.

676. Corn~liance with tlae Anti-Kickback Statu#es is a condition a~ receivin.g payment from a

Fedez~ll~-funded healtlaca~•e program, at~d most private insurers have a ~~ara11e1 conditional

requirement.

~i77. The Anti-r~.iekback Statute prohibits the payment and receipt ofkickbacks in return far

eitliez pr'octuin~ or recon~ieadi~ig the procluen~ent of a good,facility, ox item to be paid in

wl~.ole or in part by a federal healtt~.care progr~.m,4~ U.S.C. ~ ~20a-7b(b}.
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 99 of 271 PAGEID #: 121




 67$. In violation of 45 C.F,R. 46, ~.nd in furt~aerance of the scheme to fei~i avoidance ofthe

 anti-kickback stat~~tes, D~•. Dtu7ani, CAST, A.lphatec and the Defendants experimented o~

 patients by usi~.g PureGen iu tanapprov~d znax~ners, without the informed consent ofthe patients,

 and subsequently ~billin~ their Health insurance corn~anies all while concealing the true nah~re of

 their aetians.

 G79. Dr. Duri'atii also had connectiax~s with A1~Iiatec as his personal calendar indicates

 meetings with Di~~~ Kuyper, President a~~d CEO of Alphat~c x~ 2008.

` b8d. Dr, Du~7•ani ex~eriz~aentall~ ~.~sed Fu1•e~en bane gr~.ft iYi twenty cervical. surgeries, along

 with as ~naiiy as 72 tht~raeic, cervical., a~ld lumbar surgeries, i~nflring tie 1i~a~ited uses it was

 a~proveci for in the clinical trials.

 6~1. Dr. Durrani,through his PDA Evvlutio~~ Medical, was essentially "double dipping" in his

 ci~alings with PureGen.

682. Dr. Dut~rani would sell WCH atld t1~.e other hospitals the PureGen through Evolution

 Medical and then use and bill for tae PureGen in his su~•geries,

683. Dr, I]uu7at3i a~xt Defend~ts knew such ~z~ arrangement was either ut~etlaical and i11e~a1

(tho~igh still not dzscl~sing the use ofPureGe~~) by having tl~e patients sign an

Acktiowledgeme~rt ofi Potential Conflici ofInterest dorm,

G84. WGH anti Defendant also berlefitec~ from thrs arraugeinent by up charging patients for t1~e

P~.ueGen after ~itx•ck~~sing it fiain EvolutioYl Medical ~d Dr, Durrani,

685. At ail times i~efevent, Dr. At~t~rani anti De#'enda~l~s was iii exclusive cozltra~ of the az~aouFrt

and x•atia ofPuregen bony graft that was eap~rimentally implanted xz~to patients.

68b. F~ueGen was and remains unap~aroved by the FDA for use x~ humans without an

Investiga#ion New Drug("IN~D"} or eYpe~•inlental irifainled consent ofthe patient.
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 100 of 271 PAGEID #: 122




687. Dr. DL}t7•a~1i ~icl Defendants did not receive experimental informed co~lsent frozz~. patie~3ts,

~ao~• chid he verify that an IND was obtained.

688. The basic "Tnfornzed Cox~seiit Fortes" Dr. Dut7ani and CAST did have patients fl] out

z~aade no mention ofPureGen ar the fiact a rlt~n-FDA approved ~~roduct was being i~npla~atet~ in

their body.

£89. In fact, Dr, Dt~xrani end De~endatlts would even conceal the use ofPureGen by

iYitentior~ally withholding it from the billing recoxci~, ~~Qting on one Pry-gyp Code sheet"Do Not

Bi11" twice ire x~~ards to FureGen.

69U. Iraap~~.nting Furegen in any paz-t ofthe spinal canal tivithotrt k'DA clearance, proper trials,

and patient consent is reckless battery and violates the Hippocratic Oath's statement"I will

prescribe regimens far the goad of my patients according to my ability and ~yjucigmetit and

~~ever rho harm tc~ an~~one." If is ~rin-~znal,

                                 PTJR~G~~1 AND OUR CLIENTS

691. What follows are just a few ex~mpl~s ofthe c~a~~ia~e caused Dr. Duxrani and the

Defendants deceptive and fraudt~~ent use ofFureGen in Detez~s Law Office clients without their

consent,

692. A majority oft~iese stugeries occurred AFTER the ~'bA insp~etion ~.nd subsequent

warning ot~ the non-FDA approved stratus ofPureGe~..

X93, Following the cervical slugeries in which PLiregen was izx~planted, the patzezits' pa7ir

became far worse and more extxezr~.e.

694. ~`h~ patients attest to dif~icL~lty with swallowing utithickened liquid, medications i~a pill

form, rputine saliva, and food.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 101 of 271 PAGEID #: 123




695. Many patients describe a choking sensation felt on a daily basis when swallowing and

ckianges to the to~Ze anc~ audibility of their vflice, along with a chroiuc cough,

69{, Following the tkzoracic and lumbar surgeries, pa#ients attest to increased spinal pail,

di~£iculty with ambt~latzon, ~iixinbness and til~glixz~ in 1a-weY• extremities, decreased flexibility.

X97, Below ~e son~.e ofthe clients experiences since having the P~ueg~n im~lallteci:

698. "I have severe law rack pain, stiffiiess, decreased range of motxoz~ and tendei~less. Paiza

~adiatin~ to Ief~ posterior thigh atld nigh#/left lumbar area. Onset mantles ago after surgery." —

William Hayes

b99. "Constant, it~itatiiig pain, less intense Uut still preset. Even after two surgeries, I

continue to have limited t~se ref my leFt leg. The pazza is ever-p~~esent. Y ani easily fatigued atld

have severe fain a£#ex brief tasks such as coalcing dinner, preaching a ser~nan, even cn~kirlg a

bed. Be~~ding over is so painful and pxoduces such instability that rn~r family helps plat on my

socks and shoes. I require a c~.ne foY• ambulation, due to leis leg weakness ~~ad limited range of

motion." — Dat~tell Earls

700. "severe shin in my neck, arxn, sl~oulder bl~cies. ~'zessure o~~ my throat maki~~.~ it

unbearable to swallow m~c~s and food. Liss o~ range of motion in any nec~~ and stif~i~ess in

b~.ek. The pain is so seve~•e that I can x1a longer sleep laying ciowc~.. I have to sleep sitting up.

The pain its rz~y neck is unbearable most days. The fain runs beti~een cz~y shouIdez blades into

n1y cl~.~st end in my tluoat and side of my peck." - Duaale Pelfrey

7Q1, "I feel I h~.ve lost a lot of the flexibility in my nec~C and back, I have Lower back pain,

ti~hk~iess in neck and shoulders, anti lave a hard tirr~e liftinglstanding for long p~xiods of time.

Whez~ I bend aver, I h~.~~ a k~ard tune stz-~.i~htening back up to ate upright position," - Da~~a

C~nl~~+
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 102 of 271 PAGEID #: 124




702. "Low back pain r~.diating into bil~.teral hips, buttocks, leis and feet. Bilateral leg

weakness, Numbness ~~a left foot end tfles. Bilateral buttock and post~xxor thigh muscle spasms.

Burning sensation in right abdomen tk~~.t r~c~iates aroi~~id to back, lYly post~sGUgery MRI a~.d CT

scan. shaved bony overgra~v~vfih into the foramen a~~d i~~to the canal an left at LS-S1." - Jt~.ie

Marti~3

703. "I experience pounding headaches that are far worse than anything prior to stugery, Lefh

Ieg is niunb, painful and swoiien, muscle spasms occuxr~ng in hip az~d bilateral legs since

surgeries with Dr, Dtx~7~ani. My whole hack, neck and leg l~~u~t so bid I could throw up." -Tama

MoQueary

704. "I have ml~ch more pain. Constant right-sided lleadac~ie, intensity va.xzes but always

present. The Uack o~my neck ss~ve~~s. My esophagus feels like it is in a different place. My

throat swells." ~ Kelly Hertn~ssey

70~, A.s stated, there are,just a few exan1ples of cliefzts teat have been discovered to have l~aci

noz~-FDA approved Pt~reGen iin~l~nted iYita their badi~s ~s~ithoi~t their informed consent, xn

violation of both Federal ar~d State La~v, all tivith the knowledge ofDefendants.

706. ~]r. Dui~•a~ii oftez~ti~nes used PuxegeYi when performing surgeries.

7D7. Ptiuegen is a product produced by Alphatec Spine.

708. Dr. L}t~rrani was ~x~.d is a paid consultant for Alp~atec SpiYie.

70R. fir, I3iu7'ani has an ownersl~i~~ stake in the ,Alpllatec Seine.

710. P~.iregen has never been ~.p~roved by the FDA far any hL~man use.

711. Ptuege~ is now ren1aved from the market for any use.

712. Dx. Diurani used the product Purege~i as bane graft substitute sin~zlar ~a Infuse/BMP~2

duxang spinal surgeries.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 103 of 271 PAGEID #: 125




 713, Dr. Dturani, CAST staff and ex~np~Qyees, anti West Chester/UC H~a1th personnel did not

 disclose their intent tQ use Ptuegen, t~zor did they infarin PIainti~~that it was a product that was

 not approved by tk~e FDA for hlunan use,

 714, Dr. Durrani used PL~regen in Plaintiff its maters not approved by the FDA,

 715, Plaintiff was not informed by Dr, Dui7•atli, CAST staff and employees, or any West

 Ches~er/UC IIealth ~ersatinel that Ax. D~urani ~~sed Pure~en in her surgeries.

 716. Plaintiff wol~Id not have allowed Pt~regen to be used Uy Dr. Durrani in her surgez•ies in a

 maiu~er that was nit approved by the FDA.

 717, P~~intiff would not have consentecE to the use of Ptuegen in their body i~ informed ofthe

 risks lay Dr. Dut~tan~, CAST s#off and employees, or any West C1~ester/UC Health persoiuiel.

 718. The written informed consent of Dr. Dttrrax~~ anti C~~ST sigr►ed by Plaintifflacked the

 disclosure of Puregeai's use in her procedures.

'719. Plaintiff nevez received a verUa~ ciisclostu~e Qf pE~xe~;~i~ from Dr. Diurzani, CAST staff atxl

 employees, or any West ~heste~•/UC Health pexsonnel.

                                      DR.DT7I2RAly~ COUNTS:

                                     CbUN'x'I: NEGLIGENCE

72Q.    Defendant Dr. Dtu~~tli awed lus patie~t5, Plai~itiffs, tkze duty to exercise the degree of

skill, carp, end diligence an ordiYZarily prude~rt Health caxe provider would have exercised ~u~der

like ar similar circuz~lstances.

721.    Defendant Dr. Di~rrani breached his duty by failing to exercise the requisite degxee of

s14ill, ~ar~ and diligence tk~~.t an ardix1arily prudent health care ~~rovider would have exercised

undex same oi~ si~nil~r ei~•c~unstanees tluaugl~., among otl~et• things, ~egligerit diag~~osis, rneclical

rnismai~agetn~nt anc~ mistreatmelit of ~l~.intiffs, including but not limited to improper selection
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 104 of 271 PAGEID #: 126




f~T SUl~ger~, im~r~~er ~erforma~ice   of the s~u•gery, and im~ro~ex fallow-u~ care addressing a

patienf'S C011C~Tt7S.

722.    As a direct and proximate result ofthe afQreraae~i~ioned neglige~.ce acid cievzatian fi•om the

standard of care oar the ~~i~ ofthe ~7~fendant Dr. Dt~rrani, Plai~atiffs sustai~iecl all damages

requested in the prayer for xelief.

                                        CQYTN'~'II: BAT'T'ERY

72~.    Dr. Dt~zraiii camr~itted battery against Plaintiffs by ~eY'fornaing a stugery that was

unnecessary, contraindicated for PlaiY~tiffs' medical cflnditions, and for tivhich k~e did not properly

obtain infoxt~led consent, inter a1ia, by using BMP-2, PureGen ai~.d/or B~xaz~a in ~~ays az~d for

surgeries not approved by the FDA and zr~ec~ical corzlm~.inity, and by the failu7•e to provide this

iilfoxmation to Plainfiiffs.

724,    Plaintiffs ~~ould not have agreed to tk~~ surgeries if they ktxew the surgeries were

Linneces5ary, not approved by the FDA,and 71ot indicated.

725.    As a direct and proximate result ofthe aforelnentxaned battezy by Dr. Durr~ni, PI~lI1t1.~~S

sustai~ied all damages requested in die prayer for retie£

                         COUNT III: LACK aF IN'F`ORMED GQNSENT

726.    The informed caz~senfi forrzas fiom Tai, DLUratli and CAST which they required Plaintiffs

to sigh failed to ~iilIy cover all the inforr~~ation necessary end required fox the procedures and

s~ugical procedures ~erfot7a~ed by Dr. D~.ii7ani. Dr. Duzra~~i and CAS's'each requixetl an

informed cflnsent release.

727,    I71 addition, rao otie eerbally informed 1'~~infiiffs o~ the inforrnatia~~ and ~~ slcs required for

informed consent at the tirz~.e of or be~are Plaintiffs' surgery.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 105 of 271 PAGEID #: 127




728.    Dr. Dut~rani failed to inform Plaintiffs of znateri~l risks aizd c~an~;ers inlierez~t ar

potentially involved with the stir~eries and ~~rocedures.

729.    Had Plainti~'fs beeF1 appropriately infari~led ofthe need o~~ lack of need far surgery and

other procedures anti tEze risks of tl~e proced~ues, Plaintiffs tir~ottld npt have tuidergdne tl~e s~u~gery

or procedures.

730.    As a direct anc3 ~~roa.~~a~ate result ofthe lac~t of infortneci consent, Pl~inti~'s sustained all

aatnages requested in the pr~.yer for relief.

         CQi.T~TT IV:INTEI~ITIONAL INFY,ICT~ON OF EMQT~ONAL DYSTR.ES~

731.    Dr. Dut7ani's conduct as described above was intentional asicl reckless,

732.    It is at~~xageot~s and offends against flee gezierally accepted standards cif morality.

733.    It was the proximate and actual ca~ise o£Plaintiffs' psychological injitri~s, emotional

injiuies, me~ifial anguish, suf~el'itlg, and distress.

734.    Plaintiffs suffered severe dis~'ess and anguish so serious at~d of a nature that no

~~easonable xzz~.n or wom~~ would be expected to endure.

                                          COCINT V: FRAUll

735.    Dr. Durr~ni made material, false representations to ~'laintiffs and their insurance

company related to Plaintiffs' treatment includitlg; stating t11e stugeri~s were necessary, that Dr,

L?ui7a~a~ "could #"ix" ~lai~~tiffs, that mo~•e canserv~.tive t~eatmeilt was unnecessat•~ ~-►d futile, that

tl~~ sw'gery would be simple or ~~uas "no bid deal", that Plaintiffs would be walki~lg Fzox~1aily

within days after each suxger~,that the procedures were i~ieciically necess~•y a~~d accurately

repai~ted an the billing to the irasuraiice com~~azay,that the surgery was successful, and that

Plaintiffs were ~a1edically stable atld ready to be ciischazged.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 106 of 271 PAGEID #: 128




736.      Dr. Di~rrani also concealed the potential use ofInfuselBMP-2 anc~/oi Pure~en rn

Plaintiffs' surgexy, as wr~e11 as other in~'ormatioi~, when lie had a duty to diselase ~o Plaintiffs lus

pl~tu~ed use of tk~e same.

737.      These misrepresentations ~ndlor concealments tivere mateiiai to Plainti~'fs because they

directly itich~ced Plaintiffs to undergo her s~u•g~xy,

73&.      Dr. Dixtr~ni knew ar sl~ouid have lcnown such representations were false, andlar made tkae

misr~pxese~tatio7~s with utter disregard and 1~ecklessness as to their t~•~i~h That ktiowlec~ge oftk~exr

f~.lsity may 6e inferred.

739,      Dr. Dl~i~ani made the misrepresentations befoxe, during a~ld after the surgeries with the

111te11~ 4f T111Sl~c~C~]I~~T PIc~711~1ffS c3I1CI 3011 II1511I'c9.17~C~ GQlll~fally 1210 T81y1T1g 11~7C7X1 tll~tri.   Speeifiealty,

the misrepresentations ~~vere i~iac~~ to znduce payme~it by tha insuz~nce com~any~ WItI10Uf WIl£C}1

Dr, Durrani would not have perFot7ned the surgeries, az~d t~ induce Plaintiffs to tu~cler~a the

surgeries withol~t regard to medical necessity and only for the ~~upase ofzeceiving payment.

740.      The ~aaisr~presentations and/or cvnceal~nents were rn~.de c~uri~ig Plaintiffs' office visits at

Dr. Durr~~~i's CAST offices.

7~1.     Plaintiffs were justified in their xeliance on the tnisrepres~n#at~ons because a patient has a

right to txust their doctor and that the facility is overseeing the doctor to ensure the patients of

that dpetor can gust the facility.

742.      As ~ direct and proximate result ofthe aforementiox~eci fraud, Plaintiffs did undergo

surget7es wk~ieh tivere paid for i~ whole ar in part by their inslu•~nce company, alld suffered all

damages as requested in tie prayer faa• relief,

                                 CQLTNT VI: SPQLIATION OF EV~DEIrIC~
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 107 of 271 PAGEID #: 129




743,    Dr. Dut~arax willfully altered, dest~'~yed, delayed, llid, madifeci at~d/oi' spoiled("spoiled")

Plaintiffs' records, emails, billing reco~'c~1s, ~apetwor~k anti related evidence,

744.    Dr, Durrani spoiled evidence with knowledge that there was pending dr probable

litigation involving plaintiffs.

7~5.    Dr. Dui~azai's conr~uct tivas cies~gneci to disilipt Plail~tiffs' potentiaX andlor actual case, anal

did in fact a~~d pzoximately cause ciisxl~ption, damages and harm to Pl~.intif~'s,

                                            CAST C~UNT,S~

                                CUNT ~: VICARIOUS LIABILITY

746.    At X11 times relevant, Defendant Dr. Durrany was an agent, anr~/or elnpl~ye~ of CAST.

'1~7.   Dr. Dutrani is iz1 fact, the owner of CAST.

748,    Defendant 17r, Dui7ani was perforrr►ing within the scope of his cr~aplc~yment with CAST

dtuin~ the care acid t~eati3ient o~Plairitiffs,

749.    Defendant CAST is responsible for hat7n caused by acts of its employees ~'or eondtiYCt that

was withiYl the scope of employment under the theoxy ofrespandea# superior,

750.    Defendant CAST is vicariously liable far t ie acts flf Defendant Dr. Diu~ani alleged in

this Ct~m~laint including all ofthe counts asserted ~gaznst Dr, Dui7at~i directly.

7S 1.   As a direct and praxi~nate res~ilt ofDefendant Ct1ST's acts a~ad omissions, Plaintiffs

sustained all damages requested in the ~~iayer ~o~ relief,

             COUNT II: NEGLIGENT I~rRING, RETEN'~'I4N,AND SUPERVISION

752,    CAST pxovided Dr. Du~7ani, infer olio, fina7~cia1 support, control, medical facil~txes,

billi~ig anti insurance ~~~yznent suppaxt, staff'stipport, inedici~ies, ant!fiat~gible iterzas far rise on

p~tier~ts,
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 108 of 271 PAGEID #: 130




 753,    CAST and Dr'. Du~~ratli p~.~ticipated in experiments using BMP-2 c~T1CIIOT PL1Tegen bane

 graft on patients, xz~cluding Pl~.intif€s, wi~l~~l~t obtaining proffer infoi~ed consent thereby causing

 harm to Plaintiffs.

 75~.    CAST breeched its duty tc~ Plaintiffs, inter alia, by not s~ip~i-vis~z~g or co~~t~~olling t~xe

 actions of Dr. Dt~rrarli a~xi the dactars, nLUSes, staff, and those with ~~rivileges, duriztg the

 medical treatixze~.t of Pl~ii~tiffs at CAST.

 755.    Tl~e Safe Medic~177evice Act required ei~.txties such as CA.S'~ to repoz-t serio~~s ir~ju~ies,

 serious illnesses, atici deaths related to failed n~.edical devices to the FDA and the x~a~nufacturer;

 this was never done.

 756.    Such disreg~.rd for and violatzoz~s offederal law represeYifis strong evidence that CAST

 negligently hired, retained, and sup~r~vised Dr. l~urrani.

757.     As a direct and ~roxirnate result of tlxe acts a~~d omissions lierei~i described, including but

 not limited to failurE to properly sup~xvise rneclical tr~~tment by Dr. Durra~~~, Plaintiffs sustained

 all damages requested in the pzayer for t•elief,

                            CUUlVT III: ,SPOLYA'~`IaN Off' EVIDENCE

758,     CAST,tluough its agents end employees, willfully altered, clestrayed, delayed, hid,

inoditieci end/oz spaded{"spoiled"} Plaintiffs' recot•c~s, smalls, billing reco7•ds, ~aperwoxlc and

related evidence.

759.     CAST,tl~uough ifs agents azad ~rn~~loy~es, s~oileci evidezace with kno~vvled~e that there

was pending ox probable litigation involvizag Plaintiffs.

7~0,     CAST's conduct was designed to c~isrt~~~t plaintiffs' potential andlor actual case, and did

in fact and proximately cause disruption, d~x~zlages and harm to Plaiiatiffs.

                CUI7N~'IV: DI~I~ CONSUMER SALES PROTECTION ACT
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 109 of 271 PAGEID #: 131




7b1.     Although the ~hic~ Cansuaner Sa1as Protection StatuEes O.R.0 13A~5.01 et seq. exempts

pl~ysicial~s, ~ transaction between a hospital and apatient/consumer is not clearly ex~n~ptec~l.

762.     CAS"~''s services rendered to Plaintiffs constitute ~."constamer ~•3nsaction" as de£xned irl

SRC Section ~ 345.01(A).

7G3.     CAST ~initfied suppressed and concealed ~iozn Plaintiffs facts ~vit~~ the intent tk~at

Plaintiffs xe~y ~n #hese omissions, sL►ppressions azzd concealments as set forth herein.

764.     CAST's niisrepr~sentatiai~s, and ifs omissions, 5Ll]?pT8SS1011S citld COI2C~a~T11~Tl~S O~~AC~a ~tS

described above, constituted unfair, deceptive and unconscionable acts and pxaetic~s in violation

of ~.R.0 1345.Q2 a~.d 1345.03 and to Substantiee Rules anc~ case law.

765,     CAST was fully aware o~ its actions,

766.     C.A.ST vas fi~11y ativ~re that Plaintiff's were induced by azld relied upon CAST's

representations ~t the txrn~ C~-LST vas engaged by Plainti~~s.

7C7,     Had Plaaz~#iffs been a~vaz~ that CAST's representations as sit forth above were untrue,

Plaintiffs would not have Wised the services of Defendants.

768.     CAST,tluottgh its agenoy az~d employees kclowingly committed tk~e unfait~, deceptive

and/or unconscionable acts ~x~cl practices described above.

7~9.     CA~T's actions wire not the result of any bona fide ei7•ors.

770.     As a result of C~1ST's uz~~air, deceptive and uncanscioi~able acts end practices, Plait~ti~'s

have suffered az~.d continues to sti~ffet• damages, which include, buff are not limited to the

fallowing;

             a.   Loss o#' money paid

             b. Severe aggravation and inconveniences

             c. U~tder O.R.C, 1345.41 Plaintiffs are entitled to:
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 110 of 271 PAGEID #: 132




                           i.   An order requiring that CAST restate to Plaintiffs all money xeceiveci

                                from Plaintiffs plus three times actual clan~ages and/or actuaUstatutoiy

                                damages for each violation;

                          ii.   All incidental and co~isequential damages inc~irreci by Plaintiffs;

                         iii.   All reasat~able attorneys' fees, witness fees, court costs a~~d other fees

                                lI1CU1'1'BC~.


                                           CQU~VT IV: FRAUD

771.    Upon znfot7nation az~d belief, Plaintiffs believe the bills requested by plaintiffs will

indicate that CAST falsely represented teat Plaintiffs' surgeries tivere appropriately indicated,

pet~foxxned, and meclic~lly necessary zz~. cont~•a-indication ofthe staticiard ofcare.

772,    CAST sent otlt billing to Plaintiffs at their home following their surgery at West Ches#er

HaspitallUC T-~ealth anti Cl-u~~st Hospital.

773.    The exact dates these medical bi~~s were sent ot~t are reflected in tkaose medical bills.

774.    These bills constituted affixxnative Y•epreseratatic~ns by CAST that the charges re~atec~ to

Plaintiffs' stu~ery were medically ap~~ropri~.te and properly dacutnented.

775.   '~'l~e bills were sent with the kn.Qwleci~e of CAST that in fact 1'l~.intiffs' slugery was not

~ppropriaieiy tilled acid docume~te~ and t1~at the services rendered at West Chester ~ospital/UC

Healt~i and Cl~z•ist Hospital associated wit~a Dr. Dut~tani were not appropriate.

776.    Tl~e bills sent by CAST tc~ Plaintiffs falsely represented that Plaintiffs' surgefy was

~ppxapriately indicated, performed and medically necessary in contra-indication ofthe standard

of care.

777.    Plaintiffs relied on the facility holding Dr, DL~~7ani out ~s a surgeon atzci allowing hin~. to

per~~rYn s~.ugeries at its health care facility as assur~ic~ t ie facility was overs~exng Dr. Diura~~i,
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 111 of 271 PAGEID #: 133




VOUC~IiCI~ fOT Ills SilTgical   abilities, aid furtl3er was appropriately billing Plaintiffs for CAST's

services in association with Dr. Durraz~i's sLUgery,

778.     As a direct and proximate resltlt of this reliance on the biilin~ of CAST,Plaintiffs

incurred medical Uills that she otherwise tivould nat lave i~icu~~r~d.

779.     CAST also either concealed ~rt~m Plaintiffs facts they knew about Dr. Dt~rrani, 1I1C1UC~117~T

tk~at Infilse/BMP-2 ar 1'uregen would be t7sed in Plaintift~s' sfugery, or tnisrepresenteci to

Plainti~'fs the nat~~re ofthe suzfiery, ~.ncl the particular risks that were involved therein.

7$0.    CAST's concealzz~ez~ts acid misrepresentations r~gazcizz~g Dr. DLFrr~ni, Infuse/BN~~'-2 or

Piuegeil mid the natut~e and risks ofPlaintiffs' suzgery wire tnate~•ial facts.

7$I.    Because of its superior position az~d professional role as araaedical sei•~ice provider,

CAST had a duty to disclose these material facts to Plaintiffs and a duty fio refrain from

~r~isre~reseziting such material facts to Plaintiffs.

7~2.    CAST intentionally concealed and/ar misrepresented said mat~xial facts with the i~ifient to

defraud Plaintiffs in order to induce P1aiYltiffs to undergo the surgery, and thereUy profited from

tlYe s~ir~;ery and proeeduies Dr. Dlli'Tc~Ill j~BT~Ox1~1eC~ p11 PIr~lI1t1~FS at WBSt C21EStEI' HOS].71tc~IIUC

Health and Christ Hospital.

783.    Plaintiff's were l~n.awar~e that InfiGSe1BMP-2 or Puregen would be Lased in Plaintiffs'

surgery acid therefore, was ~ulaware of the health risks of1nfi~se/BMP-2 oz~ ~ure~en's use in

PlaiYitiffs' spin,

784.    Had Plaintiffs known before Plaintiffs' surgery that InfiiselBMP-2 or ~'ureg~n would be

used in Plaintiffs' spine and informed ofthe specific, harmful risks flowing therefrom, PlaititifiFs

would not have undergone the surgery with Dr. Durra7ii at West Chester Hospital/UC I~ealth acid

Christ Hospital.
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 112 of 271 PAGEID #: 134




785.    Plaintiffs are sfiill awaiting itemized biIiing from CAST zeflectin~ the exact totals charged

£or the use t~f BMP-2 on tl~e Plaintiffs.

786.    As a di~~ect and proximate res~ilt of the fraud against ~lai~atiffs by CAST,Plaintiffs

sustained aX1 damages requested in the ~~rayer for relief.

                    WEST CHESTER HQSPITALIUC HEALTI~ COU~YTS:

                                      COUNT I: NEGLIGENCE

787,    West Chester HospitallUC Health owed their patient, Plaintiffs, through its age~~ts anc~

employees the duty to e~exczse the degree of skill, care, at~d diligence a~i ordizaari~y prudent

health care ~~roeid~x would have exercised ulider like or similar circun~st~nces,

78$.    West Chester Hospital/UC Health acting tluoug~ its agents a~ic~ employees breached tl~eii~

duty by failing to exercise the requisite degxee of skill, ca~~e and diii~ence that ati ordinarily

prudent health care provider would have exercised ~~.nder sane or similar cxxciGmst~nces tl~ougli,

among ether things, nebligent diagnosis, medical misx~ar~a~enzent and mistreatmelrt ofPlaintiffs,

inelut~ing but not Iimited to imptop~r selection for surgery, improper perfoi7nance ~fthe surgery,

improper assistance durxxag Plaintiffs' surgeries and ini~arop~x fol~owi~p carp addressing a

patient's concerns,

789,    The agents and employes who deviated from the standard of care include nurses,

physician assistants, residents and o~l~er hospital paxsonn~l who ~az~tieipated in Plaintiffs'

surgeries.

794.    The management, employees, noises, tecluucians, agents and ail stiff di~xin~ the scap~ a~'

their employment ~.~.d/or agency of West Ckiester Has~ifal/LTC Health's k3aativledge ar~d ap~rovai,

either luletiv or should have kuawn the surgery was not nledicaliy necessary based upon Dr.

Durrani's 1~nown practices; the pre~op raciiolo~y; tk~e pre~op er~ah~atioa~ and assessrx~exlt; az~d t ae
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 113 of 271 PAGEID #: 135




violation o~theit• responsibility under the byia~vs, miles, regulations attd policies of West Ckxester

HospitaUUC Health.

'~41.   As a direct and proximate result of the aforementioned negligei3ce and deviation from the

st~nd~:rcl of ca~'e by the agents and Employees of West Chester Hospita]IUC Health,Plaintiffs

sustained all damages requested iii tl~.e prayer for relief.

   COUNT II: NEGLIGEI~IT CRED~NT~AL~NG,SITPERVISION,AND RETENTION'

792.    As described in tl~e Cou~tts asserted directly against Dr. DuI'T~tll, the ~ctxo~xs of Dr.

Durrani wifli res~~ect to Plaintiffs constitute medical zaegli~ence, lack of infoxtned consetlt,

batfiery, and fiaud,

793,    West Chester HaspitallUC ~I~a~th negligently credentialed, supervised, and retained Dr.

Dur~~ani as a credentialed piryszc~an, violati~ig their Uylaws anti JCAH~ males by:

                a.      Alla~ving Dr. burrani to repeatedly violate the West ChESter HospitallUC Health

                bylaws with it's full luiowlecig~ of the same;

                b.      Failing to adeq~~ately t~evierv, look into, and otherwise investigate Dr. Durrani's

                eclucAtianal backgrou~ad, WOI•k history and peer reviews when lie applied for and

                reapplied fo1~ privileges ~t West Chester Hospital;

                c.      Ignori~ig complaints about Dr. Dt~i•r•a~ii's treat~ient of patients repotted to it by

                West Chester Hospital staff, doctors, Dr, Durra~ii's patients anti by others;

                c~.     Ignoring inforznatzan, they knew or should have kno~vn ~er~t~ining to Dr.

                Durrani's previous ~z~i~ileged time at other Cincinl~ati area hospitHls, including

                Children's Hospit~], University Hospital, Deaconess Hospital, Crooci San7aritan Hospital

                acid Christ ~Ias~it~l.

794.    The safe Medical Device Act regi~x~-ed entities sucks as West Chester T~os~~itaIITJC Health

to report serious injuries, serious illnesses, and cieat~zs relafiecl to failed medical devices to the
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 114 of 271 PAGEID #: 136




FDA and tk~e manufacttuer; t~ais was never done,

795.     As a direct and pro~iria~.te resialfi o~the negligetlt cxedentialing, supervision, and retention

of Dr. ~7urxani, Plaintiffs sustained ail damages requested in the prayer for relief,

                                              CQUl~IT ~~~: FRAUD

796.     West Chester Hospital/UC Health sent ouf billing tc~ Plaintiffs at his kxome following his

surgeries at Wesfi Chester Hospital.

797.     The exact elates tk~ese medical dills were s~~t aut are reflected ix~ those medical Uills.

798,     These bills constituted affrrnative representations by West Chester Hospital/UC Health

that tl~e charges related do Plaintiffs' suxgeries were medically ~pprQpriate and prop~xly

dacumentecl.

799.     The bills were sent with tl~e lalo~vleclge of West Chesfier Hos~itallUG Health that in fact

Plaintiffs' surgeries were Clot apptopriat~ly billed a~ld dac~unented and that the services rendered

at West Cllestex Hos~ital/UC Heath associated with I]x, Durr~.ni were riot ~ppropxzate,

800.     The bills sent by West Chester Hospit~~/iJC Health to Plaintiffs ~'~.Ise1y repY•esented that

Plaintiffs' s~ugeries were appropriately indicated, performed and medically necessary in. cozitra~

indication of t~.e sfa~ldard of caxe.

801.     Plaintiffs relied ors the facility holding Dr. Durrani ottt as a surgeon end allowing l2im t~

perform surgeries ~.t its 1lealth care facility as ~ss~~r~ce tk~e facility was overseeing Dr. Durrani,

VOl1C~11I]~ fOI~ ~.is   surgical abilities, arld fiuthez was appropriately billing ~'laintiffs for West

ClZester Hc~s~ital/UG I3~a~t~'s services zn association with. Dr, Dur~r~ni's surgeries.

802,     ~1s a direct and proximate r~sE~~t of this reliance on the billing of West C~.ester

Has~ita1/L7C T~e~ltli, Plaintiffs incurred medical bills that he otherwise would not lave incu~7ecl.
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 115 of 271 PAGEID #: 137




$U3.      Vest Chestex Hos~itaUIJC Health also either concealed from Plaintiffs facts they knew

about I7r. Durraly, including that Infi~s~/BMP-2 or PLUegerl would tie used ix~ Plaintiffs' surgery,

nr rnisrepresenteci to Plaintiffs the nature of the surgery, and the ~aa~-tict~lar risks thafi were

it~v~lved fihe~ein.

$04.      Vilest Chestex Hospital/UC Heakth's conoealrnents a~1d xa~isreprasent~.tions regarding

Infuse/BMP-2 or Ptt~'egen and the nature and risks of ~'laix~t~ffs' surgeries were material #'acts,

805.      West CYzester Hospitzll ~(1C Health billed Plaintz~~s, Cl~tisto~l~ex Atwood,for"~R

ALL{~GRA~'S" in the amou».t of $18,88G.5$; 1~j70Z1 I11f~1•mation anal belief, Plaintiffs believes

that"UR ,t~LLOGRAFTS" is Infuse/BIvIP-2 used in Plaintiffs' Septe~n6er 22,201D, surgery.

80b.      West Cl~est~r Hospital/ UC Health billed Plaintiffs, Rebak~h Brady,for"OR

ALLOGREIFTS"zn the a~naiult of$ 4,947.20; upon iz~formatio~l and belief, Plaintiffs believes

fihat"OR ALL(~GRAFTS" is ~z~£use/BMP-~ used iil plaintiff's Au~i~st 27,2010 s~ugezy.

807.      West Chester ~Iospital/ UC Hea1#h. billed Plaintiffs, Jennifer Hickey,for"4R

ALLOGRAFTS"axe the amount ~~ $~,3~6.51; tipor~ infoi7nation and be~ze~, Plaintiffs Uelieves

that"OR ALL~GRAFTS"is InfLrse/B1VIP-~ or PureGen used in Plai~itif~s November S, 2Q10

surgery

8Q~,      West Chester Hospital/ UC Health billed Plaintiffs, Pain Marksberry, foY•"OR

ALLt~G~A.~TS"in the amount of $5,441.20; upon itlfozxnatioia and belief, Plaintiffs believes

that"OR ALLOGRA~TS"is Infi~selBMF-2 atxi lox F'ureGen used irx Plait~ti~f's October 4, 201 d

surgery.

809.      Guest Chester Hospital/ UC ~I~alth billed Plaintiffs, Paul Marltsberry, far "flR

AL~4GRAFTS"in the .mount of $1Q~,97$.~1; upo~i infarrt~atian and belxe~, Plaintiffs believes
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 116 of 271 PAGEID #: 138




that"OR ALL~GRAF'TS"zs Infuse/BN1P-2 and !or PuzeGen used in Plaintiffs November 17,

aaia St~t~~~y.
810,     Plaitltiffs, Robea~t axed Melanie Houghtotl, ~,re still awaiting itemized billing stat~xrtents

from tiVest Chester I~aspital/ UC Health,

811.     Plaintiffs, Hiranl McCauley,is still awaiting itemized billing statements from West

Gk~ester Hospital/ UC Health,

812.     Plaintiffs, Carob Itass, is still awaxtir~~ itemized billing statements from ~JVest Chester

Hospital! UC ~Te~lt~..

813.     Plaintiffs, Mike a~lci Diane Sanders, are still awaitzng itemized ~illi~~ statements from

West Chester HospitaU UC ~Iea~th,

814.     Plaintiffs, David Shempert, is still ativaiting itienlized billing statements fiorn West

Chester Hos~~ital/ UC Health.

$15.     ~lai~~tzffs, Richard Stanfield, is sfiill awaiting itemized Uilling statements from West

Ch~ste~ Hospital/ UG I-~ealtli.

S 1 b.   Because of its superior ~~osition and professional role as a medical sexvice provider, West

Chester Hospital/UC Health load ~ duty to disclose these material facts to Plaintiffs and a duty to

refrain from Ynisrepresenting such mat~xial facts to Plaintiffs.

S 17.    West Cl~este~• Hospital/UC Health intentionally coi~ce~lecl andlox misrepresented said

material ~'~cts with the intent to defraud Plaintiffs in order to int~uce PlaiYltif~s to iuldergo tk~e

s~ur~ery, anci tl~eret~y profited from th;e surgeries ar~~l procedtues Dr. DLlt7•ani performed o~i

Plai~~tiffs at WESt Chester l~ospital/CTC Health,
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 117 of 271 PAGEID #: 139




8~ 8.    plaintiffs vveY~e unaware that InfiiselBMP~2 of Puregen wo~Eld be used in plaintiffs'

stztgex~es ~.t~d therefore, tivas unaware of the health risks ofInfiiselBMP-2 or PLUegen's use in

Plaintiffs' spin,

S19.     Had PlaiYitiffs known before Plaintiffs' stugcries that Infi~se/BMP-2 or Puregen would be

used xr~ ~l~intiffs' s~itle azid infai~Yled ofthe specific, haxn~ful risks flotiving therefro~i~, Plaintiffs

would not have u~idergone the surgeries with 17r. Durxani at West Chester I~ospital/UC Healt~a.

X24.     As a direct and ~~roxi~nate result of the ~ir~.uc~ upon Plaintiffs by West Chester

Hos~itaULTC Health, T'laintiffs sustained all daYnages requested in t1~e pray~z- ~'or relief,

                           COUNT IV: SP~LIATI~N ()~ EVIDENCE

821.     west Chester HospitallUC Health tlu~ot~gh its agents and aznplc~~ees, ~vilifiilly altered,

destxayed, delayed, hici, modified andlar soiled("spoiled")Plaintiffs' records, etnails, billing

records, paperwork ai~cl related evidence.

822.     ~rVest Chester Hospital/UC Healfih tluough its agents and employees, spoiled evidence

with ~zaowle~ge that there was pending ox ~xol~able litigation involving Plaintiffs.

823.     West Chester HQSpit~.1/UC Health's conduct was designed to dxsz~upt Plaintiffs' potential

andJor act~ial case, and did in fact azld proximately c~.i~se disrsxptian, darna~es and harm to

Plaz~ati~fs.

                 CQUNT V: ~IIIO C0~1~UMER SALES PROTECTION ACT

824.     Although the Ohio Cons~uner S~.les ~'xatectiari Statutes O.R.0 1345.01 et seq. exempts

physicians, a transaction between a liospi~al and apatient/coxasui~aer is zaot clearly exeir~pted.

825.     West Chester Hos~aitallUC HeaIth's services xende~•ed to Pl~i~itiffs constitu#e a "coYls~.imer

transaction" as d~~ned in ORG Section 1345,01(A).
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 118 of 271 PAGEID #: 140




826.       West Chester Hospital/UC Health omitted suppressed and concealed from Plaintiffs facts

wxt~.the intent thafi Plaintiffs rely on these omissions, st~ppressians and concealments as set forth

herei~i,

827.       West Chester Hospital/UC T~eaith's misrepresentations, azzd its omissions, suppressions

and concealments offact, as described above, constituted unfa~x, deceptive acid tuiconsciotlable

acts and practices iii violation of O.R.0 l 345.02 and 1345.03 ~,tid to Substantive Rules acid case

law.

828.       West Chester ~IaspitallUC Health ti~vas fully ativare ofits actions.

829.       west Chester Hospital/ETC Health was fiilly aware that PIaint~f~'s were inc~luced b~ and

relied upon West Chester Hospital/UC ~Iealth's representations at the time Nest C1lester

HospitaUUC Health was engaged by ~'~ainti#'~s.

830.       Had Plaintiffs beep aware that West Chester HospitaUUC Health's xepzes~ntations as set

fat~tl~ above vt~ere untrue, Plaintiffs tivoulcl not have used tk~e services of Defendants.

831,       West Chester Hospital/UC Health, through its age~lcy quid e~i~ployees knowingly

comtiiitted file unfaix, deceptive and/or uilcons~ion~ble acts and practices described above,

832.       West Chester Hos1aital/UC Health `s actions were not the result of any bona fide errors.

833.       A5 31~esialt of'West C~zester   Hospitat/UC Health's fu~#'~.ir, deceptive and uz~.cox~scio~able

acts and practices, Plaintiffs have s~~fferec~ slid continues to suffer damages, which inclL~c~e, b~.it

are not ~iznxted to the follov~ing:

              a. ~,oss of money laid

              b. Severe agg~'avation anc~ inoonveniences

              c. LTndex~ Q.R.C. 1345.01 Plaintiffs a~•e entitled to:
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 119 of 271 PAGEID #: 141




                                An order requiring West Chester HospitaUUC ~Tealth restore to Plaintiffs

                                all money t~~ceived ft•om Fiaintiffs plus three tinnes actual damages

                                anti/or actual/statu~oty damages for each violation;

                          ii,   All incidental and consequential damng~s incurred by Plaintiffs;

                         iii.   All treasonable attorizeys' fees, witzaess fees, court costs axed Other fees

                                iiac~n•:•ed.

       COUN'~'V~: AGAINST A~,Y,ll~~+'TNDANTS D.R.C.2923,32 ENGAGING IN A

       ~'ATTE~21~I ~F CORR~C7P'X' AC'Z'~VITY; FINES;PENALTIES;FORFEIT~R~;

 ~GQ~tDS AND REP~R.'~`,S; THIRD-PARTY CLATIYXS 'X'CJ PROPERTI'SYJT3~C'~"~'~l

                                   FORFEI'T'URE ~~tate ~.tICO)

834.    Plaintiffs adopt gird incorporate ~ea~eiz~ by i•efere~ce each ~nc1 every allegation in

this Complaint ~s detailed to support tale ~a#tern of eoi•t•upt activity iucl~ding regarding

BMA'-2 and PureGen.

835.    Pursuant to, O.R.0 2923.32(A},

               {A)(1) No person employed by, oz associated with, ~iy enterprise
               s11~11 conduct or participate in, di~~ectly or indirectly, the affairs of
               the enterprise through a ~attertl of coi~upt activity or tlae collection
               of an unlawfiil debt.

               (2} No ~ersox~, thro~.tgh a pattern of corrupt ac#ivity ar the
               collection ofan ~.znla~vful debt, shall acquire or maintain, dizect~y
               or indirectly, any interest in, or control of, any e~tet-~arise ~r real
               pxope~ty.

               (3)Na person, who 1c~lowingly ~.as reeei~veci any proceeds derived,
               directly or indirectly, fcorz~ a pattern o~cor~tupt activity ox tk~~
               collectiaz~ cif a~i~ unlawful deb#, shall use or i~.vest, dix~Ctly or
               indirectly, any part ofthose proceeds, oz ~.~ay proceeds deti~tTed
               from the use ar investment ofany o~'t~.~se proceeds, i~l fihe
               act~t~isition of any title ta, or any xight, interest, ar equity in, real
               property or in t~.e establislzxnent or operatior3 of ar~y ex~tezprise.

               A purchase of secLUities on fihe a~~en maxlcet with intent to ~na~e an
               investment, ~~vithout intent to control or participate in the control of
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 120 of 271 PAGEID #: 142




                the issuer, and without intel~t to assist another to do so is not a
                violation of fliis ciivisio~Y, if the secu~•ities of the issuer held after
                the purchase by the purchaser, the members ofthe purchaser's
                immediate family, and the pLtrcliaser's or Mlle imcneciiate faanily
                members' accotYlplices in a~iy pattern of coi7upt activity or the
                collection o~an unlawful debt do nod aggregate one per cent ofthe
                autstanditig sect~ritie~ of any one class of tl~e issuer'and do ~~ot
                confer, in la~v or in fact, the power to elec# ane ar more directors of
                the issuer.

                 Ohio Rev. Code Anti., § 2923.32(West}


$36.    The Otiia ~tevisec€ Code goes ot~ to sfatie t1~at "Person," is defined as,"(G)"Person" means any

persac~, as defitieci in section 1.59 o~the Revised Goda,and any gova~•tunental officer, errx~~ldyee, or

entity." Ohio Rev. Cale Ann.§ 292 .31 {West)

837.    West Chester I~ospital, LLC (hereinafter "Vilest Chester Hospital",) was a limited liability

company authorized to transact business and perform medical services in the State of ~Izio ~zd

operate under the trade name West Ches#er Hospital..

838.    UC Health is the corporate parent, owner and operator ❑f West Chester Hospital, LLC.

839.    'West Chester Hospitall '~CTC Health would be considered an entity ar~d according to the Ohio

P~evised Code definition of a person

i4t~.   The allio Revised Code also states that,

                {C}"Et~.terprise" includes az~y individual, sole pxoprietarship,

                paz-~z~ership, limited ~~artnership, co~~oration, trust, urupn,

                g~vertunent a~eticy, or other legal eY3tity, or acly organization,

                association, o~ group o~'persons associated in £act although not a.

                legal entity. "~x~terprise" includes zliicit as we(I as licit enterprises.

                Qhio Rev. Code Art~ti. ~ 2923,31 {West}
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 121 of 271 PAGEID #: 143




X41,                                                                          "}, 'vas Iicens~d to
        The CeFlter for Advanced Spine Tecl~iologxes, Inc. (hereinaffier "CAST'

ar?d did i~~ fact perfot~n medical services in the State of Ohio, and was atld is ~ eot~ora#ion

authorized to transact business in the State of Ohio and Kentucky.

$42,    Dr. Durrani ryas the sa~~ owner of CAST and vas directly associated with Ct~ST.

843.    CAST is an ente~~rise.

84~.    West Ckiester Hos~~ital/ UC Health suspended Dr. D«rrani privileges an August 6, 20l 0,

845.    Dr. Durrani continiFed to see new cli~x~ts a~~cdl Qr p~xfarm ~uulecessaxy surgeries, even

though he was under suspension, includi~ag those ofPlaintiffs.

84C~.   West Chester Hos~ifiall UC I~ealth had l~nowled~e that Dr. Z7urrani ,was ~~erfoxming

surgeries while tuac~er suspensiaza.

847.    West Chester Hospital/ UC Health had knowledge t~aat Dr, Durrani was eategorizitlg tk~e

iu~tiecessaxy s~.u~eries as "e~riergencies," and West Chester HospitaI/UC Health allowed the

surgeries to continue. West Chester Hospital/ CJC Health billed for these fiaudul~z~t surgeries

and aided and conspired tivitka CAST and bx. Diu7ani to ack~ieve these acts.

843,    Dz. Du17a2u was on suspension fo~~ incomplete charts, medical records and la#e dictations

of his surgeries, yet, West Chester Hospital/ UC Health allowed for Dr. Diuraraz to perfot~n more

unnecessary surgeries end tkzen billed 1'laintift`s far thas~ surgeries.

$49.    Dr. D~xr7a~u would see Plaintiffs at 11is CAST o~'fices,

85Q.    Dr. Durrazli wo~ild tell Plaintiffs that witi~airt surgery, immediately,they wc►uld suffer

paralysis or death. Flair~tiffs ~voulcl then have the surgery.

851.    CAST ~vaulcl sckied~~le the surgery with West Chester Hospital/ UC Health.
        Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 122 of 271 PAGEID #: 144




      852.     Vest Chester Hospital/ UC Health would then a11aw Dr. DL~rrani to perf'artn, the

      uz1~aecess~~y, surgery on the Plaintiffs and Nest Chester Hospitail UC Health would then bill for

      those unnecessary stugeries.

      853.    West Chester Hospital/ UC Health allowed fog• and participated in the fiaud~~Ient billing

      pr~Ctices, assault dt~e to tl~e utulecessary sLU~geries, acid coris~~ireci to aicl CAST anci Dr. Dur~ani itl

      these cot~~.ipt activities.

      854.    West Chester ~Tospital/ UC Health profZted frox~ Dr, DuY'rani's taiuiecessaiy surgeries and

      West Chester ~To~pitaULJC I-Ie~Ith billed Plaintiffs for t ie Lx~inecessary s«rg~ri~s, even tho~igh Dr.

      D~u7•ai~i was under suspension ~.nd was r~ofi allowed to see i~ew patients ancilot• perform surgeries,

      855,    West Chester ~luoug~i the fiaudulent billing practices at~d callectect ~.u~lawfi~l debt

      coliectiatY, from tumecess~uy siugeries, had az~ interest in helpi~ig CAST colrtitlt~e to lure

     Plaintiffs into t~tuiecessaxy surgeries and a1lo~vv ilie umiecess~uy surgeries to occuz, ev~r~ though

      Dr. Durrani was under suspensiai~. This coi7t~~~t practice stat~ted in 1VIay 2009 through at least

      September 2013,for the pui~ose of tl~.~se particular Plaintiffs.

      856.    test Chester ~-Zaspital/ UC Health, billed Plaintiffs fax tk~e u~z~ec~ssazy suxgexies, and

      «secs the pxocee~is in the oper~.tian oft11e enterpzises.

     857.     The Defendants as cue#ailed in this entire Complaint herein engaged in a criminal

     eniei~rise through a p~.ttern o~ corrupt activity acid the collection of. an unl~.wful debt,

                                            PRAYER FOR ~LIE~

     WHE~,E~+'CIRE, Plaintiff requests and seeksjustice in the form and procedure of a jury, verdict and

     judgtneiit against Defendants on atl claims for the fatlowitig damages:

1. Past medical bills;

2. Future medical bills;

3, Lost income and benefits;
       Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 123 of 271 PAGEID #: 145




4. Lost future income and benefits;

S, Lass of ability to eaY~n income;

6. Past pain and sufferii3g;

7. k'uture pain and suffering;

8. Plaintiff seeks a finclitig that their iz~ji~;ries axe catastrophic under ahio Rev. Code §2315,I ~;

9, A11 incide~rtal costs and expenses ~ncu~xed as a result oftheir injuries;

10, The damages to their credit as a result oftheir injuries;

11. Punitive damages;

~2. Costs;

13. Attorneys' fees;

14, Interest;

15. A11 property loss;

16. All other r~lie~ to which ~liey are entitled includix~g O,R,C, 13 5.01

17, All relief under O.R.C. X923.32. Based upon 1-16 itemization of damages,the damages so~rght

   exceed the minii-~n~m juxisdictiorial amount ofthis Cai~rt and Plaintiffseeks in excess of $25,040.


                                                    Respectfully Submitted,




                                                      atthew Hammer(0092483}
                                                    Lindsay Saese(00913Q7}
                                                    Attorneysfaf~ .~'larntff
                                                    5247 Madison Pilce
                                                    Independence, ICY 41U51
                                                    Fhoue: 513-7291999
                                                    Fay: 513-381-4U84
                                                    mhammer(~7a,ericdaters,com


                                                  JU~.2Y DEMAI~iD
 Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 124 of 271 PAGEID #: 146




Plaintiffs make a den~anci fox a jury under all claims,



                                              Matthew Hammer (QQ9~.483)
                                              Lindsay Boese {009]307)
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 125 of 271 PAGEID #: 147




      AFFIDAVIT OF MERIT
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 126 of 271 PAGEID #: 148
Jui, ], 2014 9;1bRM        M A                                                              No. 1217       P. 29




                                       C~TItISTUPT~~R A'~W'U~b'~
                                         AFFTT~A'V7m QF IYIERY'~'
                                            W~S'~ C~3~S~'ER

               Z, ~.eith A.'VYi11~ey,1VY.]~., after being duly sworn acid Gautiox~ed states ~s fol~o~vs;

           1, r ~le'~ate ~k least ane~halfo£my pX'ofession~l f~tna to the active clinical ~r~ctic~ in mq
              field of Iic~nsure, or its instXUc~ion ire an. accredited scl~~~l. Y am an ~~thopedic
              surgeon whose focus is on sine sur~e~y and treatment of ttios~ ~vitl~ spiny #sues,

           2, 7 ~i11 supplement t~tis affidavit vvi~h another, b~ ~ letter or b~ tee#irnon~, based upon
              and 3.nformatio~ pro~'ided to m~ after I exeG^ute ik,

           3. SvT~ currict~l~rm `~~#ae leas been pre~viausl~ pro`videtl Co opposing coui-~se1 in these ~77r.
              l~u~~~~ni cases and can b~ ~ra~id~ again upon request. for rn~r X~vie~v, T r~~~ upon
              my ccl~toaiion, training and experience,

           4. Y h~~'e not C~unte~ but T h~~ve re~zewed, ovex 50 px marQ casts invo~~ing fir. Durrani
              and the hospitals r~here he once had ~ri~it~g~s,

           ~, Y base my opinions in p~~t on my re'Yxew b~ all the casts Y have r~~vieW~t1 wl~ich have
               re~salecl simi~a~ conduct by br.Durrani ar►d the lnos~irals vv'here he 1~ad priUile~es.

           G. I am.~amilipr with a~paicable standard o~care for 41aio, T~enhtcicy'anti the countiry
              for an arthape~ic/spine surg~pn such ~s Dr. ~7urrani.

           7. X am also familiar• wxt~ applicable standard ofc~xe, po~zcies, r~Ies ar~d re~Iations,
               me~i~al e~cecutx~e c~mmifCe~ 6~laws,7CAH0 req~irementa, crecientxa7in~,
               su~~i~~su~g, ret~t1tion of me~3icat staff, granting,anr~ ~'ea ecting privileges ~~.~ die deer
               xevi.evv process for west Chester I~aspital, T,L~, al3p referred to as West Chest~X
               HOs~it~l or'4Vest Cf~ester IV1ec~ical Centex atad UC ~Iealth.

           $, Y hive re~view~cl all ~elev~nt 7rt~dical x~cords including radi~logy~ pfbr. Durr~ni's
              medical heatm~nt ofChristopher Atwood and tl~~ medical tr~at~nent of Ctuzstopher
              Atwood ~t 1~V'~s~ Chester,

           ~. ~ have rev~er~ed the R~spanse to Summ~.y Sud~nent in the ~r~,nda shell ease and
              X11 the ~~thibits attached to it.

           10. Tl~e Cuter for Ad~~ncecl ~~ua~ Techtaolog,~.es, Zne, vcr~s 77r, Du~ani's practice group
               a~icl he vVas the salt Owner,director €end officer ~fCAST as veil ~s an ~rnplo~ee.
               CA.~T As such is alto responsible for D~', ~lur~•an~'s neg~igencE and for dieu ~'~ilure ro
               also supex'vise, discipline ~~.d retain T~z, T~uixani,

            11.I have alse~ x~vier~ved the pursing srrmax►,ary prepared by Iegal cau~e~'s office fc~~
               Christ~~her ,6ltwoo d. $ased gpon the number c►f uses Y've reV'iewec~ pertaining Ya
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 127 of 271 PAGEID #: 149
Sul. 1. 2014 9,11AM       Ma                                                              No. 1777      P. 30




                                                                        ials X need to review anti
              T)r, l~t~rr~ni, Xeg~l counsel's office knpws what mater
                                                                   this a~"id~'vit cpnt~ins vase specific
              provides me these ~nt~fei~i~~s. Tn addition, r~hil~
                                                                 ant this caseand/or mE~ny &nd/or
              infQrrn~tiai~,; it ~1so contains information relev tU
                                                                     me by ca~nsel ~uvit~'i m~ dir~etian
              most atYd/or X11 t~i~ othaz cases. ~t i~ prefaared fay
              end approval like aII pfthese ~a~'~ been,
                                                                         T rely upon:
           12. Teased u~pozi my re~vievv, tote follovvin~ are Che Bets
                                                           ily mar~ie~, em~aloy~d end ~~vas seeping ~,
           A, Ch~'istapher was a 34 year old male, happ
                                                              ~-Tis Pip,The~daze ~,~Iunt~r
              Solutioi~t CQ his ~onstanf th0~aci~/flank p~in~
                                                                     (see question #1)resulting in a
              ord~xEd ~ lVI~2.T'~horaci~ Spine, Scolioazs $113(Q9
              refeiY~l to br, A. Dt~z~rani.
                                                                 unneoess~r~y, especially v~'hen ~'ou
           ~. Yt is questionable is the surgei~ vvas i~iedi~allp
                                                                Spine, Scolxosis impression.being
              ~:ead 8i~~/0~(Merry Fairfield) N~Rr Tk~oracio            "~~~T7, anti spondylosis
              ea~l~ bI~D within the mid fhar~ci~ spine greatest ~t
                                                                        advanced far the pati~z~t'~
              greatest at approximptely TS~Tfi which is some'c~hat
                                                            ~~~ults of3/2q~/10
              age. Also tike note Qf the Iv~~I Thoraa~c
                                                                  't ghat arigin~lly ineladed an fhe
           C. ~f the T~DT~ #s greatest at T~-T7 level vcvhy vv~sn
                                                                      ~(}~x~-o»er~tivelvl stated there
              ~nfo~rned Cons~nt,(~n $/13/09 MCI Thoraczc r~par
                                                                  n~iatna ~vitl~in the'Z'10 ~►ertebral _
               is an inoi~enral finding of a sin~ll beni~ri hem~
                                                                 novv(S gears latex) ~r~d ~pult~ it skill
               3~ady. Perk~aps tl~i~ heman~io~na lies i~cr~as~d
                                                             ~~in. See atta~het~ a.~~t~ale, ~s a
               ~be part oftine r~as~n for C1u1s's ~ontinuecl
                                                                  t4 neurological symptoms like
               compressive v~r~ebral k►emar►giorna it Gan dead
                                                                   e is sugg~stec~ a genetic
               radz~ting pa~t~ Tong t~~ compressed nerve. Ther
                                                                    fain far 2 yeaY~ prior kd seeing
               px~c]isp~sitiall and pe~h~ps ~rh~n Chris h~~.back
                                                                 culprit of the pain.
                T7x I)r~r~ani perhaps this ktemang~ama was the
                                                                Sine w/o contrast
            p, t~ii 3/2~4i1 O 1Vi~rc~ Fairfield - M~2T Thor~ciG          spiiYS. No acute thar~cic
               ~tnpression~ iV1~ld dege~ierative ch~n~es in the thoxaciC
                ~,bnorm~tlity is seen.
                                                                         d ifthe cui~eatt thoracic
            ~, fin SI4I10 C~~ce n~Ce by I7i•. A. Dux~rani who sate
                                                                t ~eIi~ve his pain then ~lui~~aph~r'S
               forasn.ina~ injections ~e i~vas k~a~~r~in~ didn'
                                                                   on Would inelu~e a video~assistec~
               o~~tion was a surgiea~ one, This surgical opti
                                                                    u-~ent 4fi~lterbt~dy cages ~nc~
               th4~asca~iC interior t.~.or~cic ~ise~ctomy, pl~ce
                                                                       .
               posterior ~psnal insti~umen~tation at the same finae
                                                              to him that 1~~ hack ~ 1cy~,~.tisis taut t~id
             ~. Christo~he~ st~t~d A~. UurXani me~itionecl
                                                                See r~pork a~7!21/09 A~ B~ Late~'aI
                net Say ~ny~hingto 1~im ~egaxdin~ scaliasis,
                                                                r o~ a ~coIiosis 5tut~y Sta~~din~ on
                '~'horaciC Spine ~.n~ also ?fix, burra~i'~ orde
                 1/5/11 bath r~r Mere ~airfi~ld.



                                                           2
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 128 of 271 PAGEID #: 150
Jul, 7, 2014 9;11AM       M R                                                             No. 1211      P. 31




                                                                                         Cluistapher
           G. ~7r, Dur~ani xecomrn~t~d~d surgery on the second office visit 1~ec~use
                                                                                                  ns
              was hav~a~ thoracic foXami~~al i~jectivns at the time A.~ter one 4~the injectio
              he w'as treated far ~ left pneumotliorax, ~I~ st~X~s  this made h~rr► reluctan t t~
              r~cei~'e and' more injections ~t~d that"s'cvher~he elected the surgical xout8~

           I~, Lax, b~nani petfa~med oz~$ surgery an the client:
               x/22/10 S'(XRC~ER'Y' ~a7,'V4t~M:~):
                                                                                               to
               PR~C~p~~.ES: X}`VXdeo-assistied Thor~saopxc Arttel~or disccctorny from T6-7
               T~~,T11,T12
                              2}P~acennen~ pf Auteriar 7n~~xbody cages'~6-T7 to Tll-'I`12
                                  1, 3)Anterior Tnterbod~ fusion T~-T7 to T~ i-Tlz
                              4)posterior Spinal ir~stru!menkatio~z Tb-T12
                              ~)Posterior Spinal fission using autagc~~ and atl~graft from T6 tQ
                                T12

               The Informed Consent does not sCate T5 --'~7, it starts wit11'T'7~T8 thtu ~'1~. does Iiot state
                                                                                                           pre-op.
               a~tagr~4t vt allt~graf~~, Christopher states he vas nvt told about c~mezitation of any find
              '~13a OR ~che~ulin~ R.~q~a~st foz3n also states from T7 to '~12.

               ~'R~C~1'E~tATI'V'~ ~1."ND p(~~Tt~~'ET~A.T7VE T7IAG~1'C7~ES: Saix~~
               ]~egensrati~~ dish disease, T6~T7 to ~`l,l-~'~2
               I~e~en~rati~e spznal ~tenosis Tb-T7 to Tl ~ -T12

           r, BMA'-2 alas Bused:
              9/22l~ G Surg~z~y —       I~£c~se/rh~~vl~'~2 M~dt~•onic
                                        ~`oam Bipact'V~itass hack ~ Or~hovita

               ~l~A has riot app~:ov~c1 BMP-2 ~a~~ use in. the cervical grid tl~ara~~o spine
               prac~dures.

           ~. ~`he ~ollorvvi~.g haa'd~evare wAs implanted;
                       b - $.~ ~ ~2~ 6zram Spicer, I~          ~.T~C
                       i2 - ~~t ~crevv T'IG4 7nt T'~~x, Medtronic ~a Svfr~r~.ar
                       8 —poi ~r~miMA CbH ~,eg 5.~ X ~5,IvYedt~or~ic 7n~ ~o~~mt~r
                       ~# -- Scr Cann MA G~l~ Leg S.S X 40, Medt~onie Tnc ~o~'~rriar
                       2 — lla~ Stiraigkit 200rrun , Medtrc~zuc Inc Sofampr
                                                                                                O,p kte~poi~t
            ~. It was a pQsteriar l~ter~1 a,~~~z'oach wit1~ the use ofInfuse/xl~$MX'2. The
                stata~ ~~,ch cage was parked with aatograft and ~1lograft prior xo the i~s~tio~ into
                ~~cl~ disk space, '~1~~ type ofcagy r~vaa not identi~ie~.
                                                                                               ~'i7.~~rbody
            L, ~I~A ~pp~'0'VECI IrtfL15$ fOr 0310 ~YOG~~.UP~ Of~~E S~31riB: A.titez~ar Lumber
               ~'t~sion A~,~~ on1y, L4-S1 with T~'T-Cag~(~~     n1laar  Tapere   d fusion ~7e~vice
               Component. Ivietltranie did not approve ofus~ge in the thoracic region eitk~er.
               Chxistoph~r ~~ates lie vv'as not inf~prmec~ of the intent to use ofBMP2lTnfiise pr~-
               a~erativzl~.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 129 of 271 PAGEID #: 151
Jul. 1. 2014 9;17AM       M A                                                         No. 1271     P. 32




              IV1,   Operative ~ep~r~ was ix4t dictated ~s~tt1 verified 6~ I7r. A, Duix~z~i until 2/I~/11,(I44 claw
              later)

          1~. Tl~e fallowing vas failed h~rdware~
              Possibly, On ~ ~YI~Y Thoracic VV'/~ ~ontr~st clat~d 1/25/11 stated there ate no
              sare`vvs extending into t1~~ T9 ~ertebr~l body',
              C1n x/23/10 post-4p D~~r 1, a ~.apid R~Spbns~ waS C~1Ied due tb ChCistapher
              comp~~ining of ah~st fain, Cl~e~t x-rtt~ 8 minutes lttter sha~v~d "~'rominq~.ce pf
              tihe cents[ bzeast brv~chovaseul~r marl~in~s suggesting ~ulmca~art3'~venaua
              h;~ert~nsion, There zs some assoGi~,ted ~Y~Iectasis in the ri,~~k 1awer luny", The
              ~?~ Repaz~t does not state whether tIal~ was a right ar left a#~esf htbe i~sei~tivn, The
              Rapid R.espanse note does iyot state either deft or tight chest tube, `VV~s ~~esf X-
              rayrepeated prior to c~iycharg~,
              ~Tr.G show~t~ Sin~t13 Tach~Gardis I~Obph Abna~~al BCC,also st~k~s ~r~'vious
              BCC.r hid undetermined rhythm, naed~ r~r~iew, ~onspeGific T ~vav~ cha~~~e, worse
              iii #nf~rior leads as ap~npatet~ to ECG o~'6/~0/10. W'as ~h~s cleared b~'Cardiology
              pr~~Qp end w~ it r~peaked prior to discharge.
              D-dirr~~r 1.~A~ugJm1(Ref~~e~ce O,QO-p,~}S) was this repeated prior t~ disc~targe?
              V as a Cardiaiogy consult reque$ted~
              On 9/ 4/14 - ~~st-op I7~y ~, WBC vv'as 1~.~ (fieference 3,$-~.Q.B} dust ~vond~ring
              w1n~t ~e pr~o~'WBC vtr~s arit~ vas it ~~pe~t~d p~1ox'to discharge`?

           O, lax. Arthur G, Arend,I~eurosur~eon at the Ma~ield Spisae Institute dick not state
              the surgei~r was unnecessary but what he slid te~1 Christopher vas that ~e vaauld
              not have done that proc~dWre for that diagiQSis o~DDT~ h~ had. Ida r~~ision
              surgery was recommended. The ~ost~op I~RZ records during the past couple of
              dears da not state fh~re was a ~itsion. Christo~hex'Vt~as referred Foy fain
              Ivlan~g~ment Therapy.

           P. ~luYStopher his stated that hxs pain is worsi sines Dr T~~.tr~ani's surg~zy. O~n ~
              dai~~ basis pr~~ap his ~~in score was 4- 110 and ~inae tl~~ surgery it ~~verage~ 5-
              911Q, ~e vs~a~ nb~~ to do household shores, cut the grass with some dis~omfprt of
              ~uvhio~ ~e is not abbe to dt~ now ~vlthpu~ his p~i~ saoze going to a 9/10.

           Q. Christopher ~s now 38 ye~xs old a~'sd ~eParated from his wife cuirez~tl~. Ike is vn
              p~rmaryent SoGia1 Security pisabiiity due to his znabili~y to perform the eating
              ~nc1 Air ~ondifioning jab he once he1c1 f4~' over 15 years. On the Qs~c~vestr~'
              ~7~sabilit~'7~cie~ his ~ca~e was 50%rating liim as Sev~~t~ Dis~l~ility.He is ~ ~`ather
              ofa 9 year olcl d~u~te~', ~e ~nci wi~~ t~.~d for ~ ~a~t~le of years Eo concei~v~
              anoY~ier child since the su1g~r~ f~ut was not successful, CtuistQpher was seeing
              an CJ~olagist reg~rdin~ t~.is mat~ex with no re~alve ~s yet. Chri~to~i~er has m~~ved
              ka Louisville, Ky and i~ continuing tv seek tx~atmenti t1~~~u ~ Pain Mart~gement
              Groin, Dx. ~netch~ in, Ta~n~ville, ~y on ~ monthly basis. fir, T~~~t~he does not
              re~ornmend taking gut the ~~cisting hardvvaa:e. He has had radio~bl~tions,
                                                      4
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 130 of 271 PAGEID #: 152
Jul, 7. 2014 9.18AM       M A                                                              No. 1277      P. 33




                                                                                                       use
              fararninal injections, ~quatherapy, muscle relaxants, ph~sieal rhe~ap~'end the
                                                                            ~ his pain,  r-ie is still
              of ~ TANS unit Tong ~vit~h inedicati~ns tiyir~g to a~levi~t
                                                                                                        this
              being preacrib~d Oxyc~~one, N'eurotin and ~eleet~ on a daily ~~sis. Tie Mates
                                                                                             walks with
              fain manAgernent is helping him to cope with wily living. Chris claw
              the ~icl Qf a cane. Ck+riskopher sfa~es hia ~horacxC  baa~ fain  stems   fo be  ~Xtending
              into lus 1umGae region currently. He also states f~~ i~   e~peine ncing  mp~;e   ie~t sided
                                                                                                  kidney
              t~aracia/flank pain r~~ia#ing do the ~er~ter, Chriskopher skates he does pass
              statics frequently. ~l~~stQ,~h~~• states 1~e aa~id do ev~tythir~g gre-op but he eras
                                                                                                   This
              doing it w~#h fain and t~i~~'s W'~y he laid the surgery,ta eliminate tine p~iz~.
              limitations since the surgery are;
              Walking — m,~~r1~e 500 feet,
                                                                                                           ~.
              Sitting —1 hour maximum thin h~ must change position. TJOIlg CST l~t~~8 111G1UC~~i
                                                                             sly if vvas not  an  i~s~te.
              "~t~nding ~ 3d-A~5 minutes then h~ must sit dawn, previou
              ~e~►ding rnaneu~'~rs —h~ is vez~ litnir~d nor~v states it feels lika spinething is
              1abt~in~ him in the ribs.
              Lying ~ must change po~ifion fre~uentl~,
                                                                                                rested.
               S1e~ping T a~aker~~ ~x~quently at tv~ht to change posi~ians, t~aesi~'t ~e~1
               Luting —pow f~~s a lOlb vc►~igh# limit, gre-op there was not lim{t.
               Hot~~ehol~ chores ~ he an~anag~s enduing p&in with any type of ~ctivit~,
               Cutting Gh~ grass rs almost out o~'the question but ~'it~ held he i~ managing.
               'V~►'eatb~r eh~nges seem to ~1ay l~a~loc ors his pain level inere~sin~ it ko $-9/10.

           r3, used up~~ m~ ~revic'~u', the followuyg are my opinions based upon a r~asanable
               deg~.'ee ofrnediGal cert~iz~ty ~erXaining to tl~e deviation in sYand~.~t ofcarp oar
               118~'~~'ET1C~T 111f411I1P~ COI13?5~~, battery mid fiat~d claims
                                                                               against lar, Durxani, GA~'Z`,
               West Che~t~x end UC ~Te~~Ct~ which pro~sima         tely' caused ~atm ~o I'I~intiff•

               A„ CJiyiecess~xy Burg ry{s). Number ofsu~~eiz~s~,Number
                  unne~~ssaiy

               B. Need to have ~dc~itional surgery to xepair problems cr~~ted b~ Dr. ]~tlrran.i

               C. Ymplantatxon ofPuregen vvith~~t infox'med Consent

               Y7, Impl~ntatic~n ofAMP-~ ~'itho~tt infor~n,e~l consent

               ~E. wiled harc~w'~k~~

               F. Failure k~ obtain proper i~fc~xmed consent for surgery

                G. ~~ilt~re t~ provi~~ ade~u~tc and thorau~h. pry-o~er~tive a~td ~ast~aper~Eive
                   patient surgical ~ducatioz~

               ~T, Failure to.praperl~ post-op moni~ar t'he patient

                Y. failure ~a properly perfar~n follow up,post~o~ care
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 131 of 271 PAGEID #: 153
Jul. 7. 2019 9;1$AM       M A                                                         No, 1277     P. 34




              r. 1~egligent suYgic~l tecIu-►i~ties

             ~. Failure tp m~i~atain accurate and ~ampl~re surgical records ~d surgical
                consent ~t~rms

              L. failure to di~clo5~ im~ac~z~ank heafth inform~~ion t~ patient

              Ivi. k'ailure t~ ma{t~tain and cozr~plete cliso#~~.r~e ~ummAr~

              ~1'. ~'~ilure fp su~ez'vise I~r. ~u~xani

              O, l~~g~igent pre-s~i'gical di~gnos~s

              ~, Failure to ~r~pare ~ timely opex~tive report or other mediea~ record

              Q. filling foa seivioes nit compXeted

              R,, l~at in~`ormiz~g the patient another surgeon v~~a11 be doing all or pert ofthe
                  sgrgar~
                                                                                            ce, end
              S~ Practicing s~utsrde bx. DurrA~li's scope oftraining, edu~ationt e~cpei~ien
                  Bo~X~ certx~icatigz~s

              T. l~evimt~~n in stand~r~l of cote
                                                                                     Qn
              U. ~'~ilure to perf~xm th~zough and a~curat~ pr~ap nonsurgical ~~alu~t~
                                                                                           e
              'V. Failure by I7r. burrani to inform patient of a~ditiouaUchan~~ed paocedu~r and
                  aeasor~

               V~'. FAilt~re b~ CAST to disclose add~t~onaUG~ang~~ ~aracer~ure ~nc~ reason to
                    patient

               ~, F~EIUl:E G~ ~l'. I~urrani ~.B CAST to prvperl~' educ~t~ patient r~g~rdi~~g
                  diag~»psis

               `4''. ~'rior l~nawl~clge o~ passible complication and not acting ~rQperYy upon same

               Z. Failure to disease ~r~zti~ent h~alt~t information ~o an~tiher h~~1th ~&~re ~ro~ider

               A.A.    ~'raudul~nt, negligent and. rsekX~ss ~r~-oper~t~~e wo~'k up

               ~B~     Fzaudulent, negligent and reckless surgery

               C~.     7~accurate, fia~clulent, ~ndlc~x exaggeration ofdi~gnos~s
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 132 of 271 PAGEID #: 154
Jul, 7, 2Q 14 9.18AM        M A                                                         No. 1277     P. 35




              D~,       ~'~ilu2~ to ~ra~erl~' edu~~t~ patient regarding ~iagnpses

              ~E.       Failure to ~tten~pt non-suxgic~I conseivati~e treatine~~t

              ~F,       failure to p~~'form thpraugk~ and accurate pry-op inonsurgiaal ev~7uatio~.

              G~i.      Ft~ilur~ by Dx. D~rrani ~t ~G/t~V'esk Chester I-~as~ital to perform accurate
                     and cotnpl~te pr~ap~rative #eaclu~g

              I-~~. Failure by' Dr, puriani at UC/~est Ck~ester Hospital to properly eduG~te
                  patient regarding diagnoses

              TY,        F~itur~ by Y7x, Dui~'ani ~t ~C/VV'esf Ctaestet'~Tc~spit~l to maintain mccurat~
                     ~nc~lor Gom~lete mediCpl recprds
                                                                                                     l
               rJ.       Fail~r~ ofinformed consent 1~y I~r. ~urrani ~t ~UC/~t~'~st Chester HaspiYa
                                                                                             h~c1
               T~~. Failure pf'X]~ClW'esk Chester I~ospital to insure ]fir. burr&ni and BAST
                  abtain~d proper in~oizn~rl consent
                                                                                                    nt
               ~,L, failure ofZJC/'4Vest Clsest~t'T~os~ital tc~ obte~in proper ~ckno'svi~t~gemp
                   c~faonsent

               N~~v1, Failure 6~ Dr, puirttni at U'C/West Chester ~To~pital to disclose pertinent
                   1~~~1th in~ormatian

               ~N, failure by UC/'4~1est ~hest~r I~e~itll to disclose additionallvh.ang~d
                 proa~ur~ end reason to ~~tient

               00.       ~'ail~tre bar CTC/W'est Chester ~iealth ~o supervisa st~fP

               pP,       Failure by'UC/t~Vest Chester Nledioal staffto praperl~ ~ac~xment
                     al~nbxmalities ~nc~ follow up c~xe

               QQ, rI'on-approved harclwar~ coml~inat~~ns
                                                                                          z~l
               R~. Tea', bu~:ani made ~'~l~e asid materiel misre~r~sent~kion~ o~`m~tei facts
                   xntenr~ed to mislead Cliristpphar Atwood ~nc1 conceal~c1 inatei~ia facts he hid ~
                                                                                         l
                   duty tb cliso~ose. U'~/West Chester T~ealth end ~AS~`cone~l.ed znate~lal f~~is
                   #trey h~t~ a duty to disc~pse. ~hristapk~$r Atvaaod vvas,~t~stift~c~ in xelyin~ on
                   tl~e misrepr~sentatian and did rely ~roximat~Xy causing farm toy C~uist(~pher
                   At~~vood, bx, I~uir~ni, CAST,and UCIWes~ Chester T~ea~th intentianall~'
                   misled Christopher Atwood. ~h~istopher Atwood had the right to GorreeC
                   info~~natio~.


                                                         7
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 133 of 271 PAGEID #: 155
Jul, 7. 2014 9.18RM          M R                                                      ~   No, 1217       P. 36




           X4.'the testimony, fAc~s anti exhibits o~~~r~~nda Shell's Rea~anse ko Motion for
              ~un~mar~'7~dgtnen# and ~xhY~bits t~ same are applicable tQ all the claims against
                                                                                      including
              VV'est Chester 1V,tet~ic~1 ~ente~~(W~MC)an~'L~C T~ealth ~'o~ X11 Maims,
              z~eglig~nt r~tentian and credentialing bTOUght by ~'Iainkiff

           15.        ~ms~d upon my ieVX~w ~~'the d~p~sition Cestin~o~y, the J~A~O requirements,
                 tk~~ 11~f~C byla~crs ~~d alI the infotlnation prav'ided to me,I am able to adopt the
                 following o~i~-d.ona r~latiz~g to W~.~V~C and ~C ~ealkh ~ai~kaining to the claims
                 against them. WGMC's anc~ ~(.Jr~ .~-l~~r~th's ~ctians aid inactions detailed in this
                 affid~'vit p~vxim.atel~r caused harm to P~ainCiff W~MC and 'U'C ~iealth are bath
                 being zeferez~ced ~rhen. only' WCMC is named. I hold the following opinions
                                                                                                     (heir
                 r~l~tive ta'WC~V1~ anc~ L1~ ~Tealth pei~t~inin~ to fil~eir c~z~ducC acting through
                 admini~fratron and ~VIL~G, The tirn~ peri~cl cor~e~t~ed  as fiacn the tirn~ Dr. Dun~ani
                 sought pr~~ileg~s prior to WCMC opaning in Iv,~ay 2089 thYOUgh.M~y 2413 when
                 he no longer hacl pri~ile~es, Tn ~dditi~~ to my o~ini~ns, X set foi~h facts Y rely
                                                                                                      of
                 upar~. This a~tcl~.t~es ~~l which I r~fe~enced thati I Reviewed. ~n addition to ~1~
                 t~.e abo ve, r ~ttast to the following;

                                                     ~'A~'~S

                 1, Accordin,~ t~ West Chester's first ~~.eautit~e Vice President, carol King,she
                    did nit e~tplor~ the "rumors" a~aut fir. ~urrani's leaping Chilt~ren}~.

                 2. Acco~tding tin C&rai T;in~, #fie }iospital tacked ~rablern~ i~saes yet ~V'CMC
                    h~~re failed to ~roduee tihe information gnder peer ~~evie~Vv protection.

                 ~. Ac~~rdiz~g to oircula~ing nur~~, J'an~t ~rn~t1~, presets't~vere changed in the
                    eomj~uter to indicate tie p~ocedut~e I.3r. Y7~rrani ~erfotmed ~f~~r the p}oceduxe.
                                                                                            with
                 4. According tp J"anet Smith, despite na one at West Chester never warkrng
                    D~, L~uz~ani l~~fors,'S~iTCM~ never che~X~~d liim ouk.

                                                                                                    ),
                 5, A~cordYr~g to ~'prtner T.J'ni~versity Y~ospital Pr~~ident(a CJ~~ ~s~lth h~spit~i
                    Bri~zt ~ribler, hos~it~~s faca fin~.nci~l~ cha~leng$S,

                 6. According fo i3slc manager, Da~[~ Sahwallie, ri~l~ management knew
                                                                                       I~urr~ni
                    had issues.
                                                                                  ~u~stionin~
                  7, .~1.ccarding td radiologist, ~~mas Brown,there w~r~ surgeons
                     butYani's dec~sians to p~rfnrm surgery.

                  $. AcG~rciing to inedi4al st~£f director, Paula ~avc>k, a polio called "stop the
                     lying" was implemented the same year and month th~~ kicked out Tex,
                     ~iuiTa~ni. This ii~~ets a poox enviro~un~nt o~ honesty end disclosure b~~ore this
                     polYCy,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 134 of 271 PAGEID #: 156
Jul, 1. 201   9: f9AM     M A                                                             No. 1277     P, 37




              9. ,According to Paula I-~awl~ and ~S the director ofined~eal staff, money i~ not
                 8uppos~d to trump patient safety.

              10, A~~c~rding to ~'~ula TT~r~k, she admit`peer ~'~view is for hospitals to protevt
                  each athei.

              11. According to ~'aul~ ~Iawl~, stie ~t~mits hospitals are interested in ~'olurn.~,
                  something Sir. l~uix~ni prodded for.~S?'CMC ~r~d CJC T:~eslth,

              ]2. AcGarding to Mike 7~f~'ers, t~~ director o~~`~~nc~, they Cracked Dr. I7~unani's
                 fin~a~ial nttt~.bers,

              1~. According t~ ~Vfil~e J~ffer~, he admits I7z, burx~ni helped tl~~m in their time of
                  need.

              1~}, Accar~in.g to 1V.Cfl~e ~eff~rs,]fir, DurrAni wtts the Wi eat rnaney genarato~.

              1~. According to Mike Jeffery, he kne'~v llr, Du~rani had moxe than ~n~ surgical
                  suite as~~gned at once,

              16. Ac~o~'c~ing ka ~il~e ~e~f'er~, bo~Uses ~Vaere p~icl to hitn ~nt~ ath.e~'s bas~cl u~oiZ
                  ~na~c~s.

              17. ACCOrciing to Ur, peter Stern, he l~z'isw fix, Durr~ni was oril~'"satis~aetor~`,°'
                  not ~ wdrl~l class spine surgec~z~ as West Chester ~dvei#iced.

               18. Dr. Stern doesn't ~en~r ~~lmittin~ ~L]~~ ~Iealth ~oaket]the r~~hex way on pur~•ani
                   b~~au5~ o~anoney.

               ~ ~. Ac~ordiiig to creclenti~ling manager, Any S1~ell~', there r~vas plenty'o~"~rz~l~l~c
                   knowledge" about Dr. Au~xani t~ ah~ek b~fpre or~cientialing.

               20. According to Ann Shealy, VV'est Ghestsr relied on #h~ N'PAB th~~ kne~tr was
                   prote~t~d bar ~,ospita7s.

               21. T~~', Erio Schneel~erg6r, fir. Duixtxni's partner, vv~s on the MBC at W~MC,

               22, AcCU~dii~ t4 ~rxc Sahneeberger, ~Y~st Ghestex knew about l~urrani
                   ~Chedu~ing sur$e~ies long into the day an~i tight.

               23.,Flccordit~g to forrrA~r ~urS}ng m~.nager, Elair~~ T~unt~o,`UVCN1~ knew about Dz,
                  ~tuilas~i not c~~pleting rBCOr~S,

               24. A~cordin~ to Elaine I~unk~, ~V'V'GM~ kne'uv Z)r. Uutr~ni would c1Aim surgeries
                   were em~~',~enoy when they ~t~vere not.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 135 of 271 PAGEID #: 157
Jul, 7. 2014 9:19AM         M A                                                       No. 1277      P. 3$




             25. According to Blaine punka,`WCNt~ I~xlew theee way ~~.issue ~wit~ DX,
                I7u~r~ni not being in the room doing surgery on "~iis"patient.

             26: According to Maine bunko, even tie OR nurses knsw'VIT~MC pt~t u~ wifh
                 Ur. ]7t~x7ani £oar mon~~',

             27. According to Elaine ~.uxilto, ~~MC tacked D~'~ Z1u~ani's ~taa~ciml numbers,

             2$, Ac~Qiding to perioperative director, ~,is~ Davis, WCM~ knew ~urrani's
                 ~ffioe as sup~~sed to get o~n~ents sa 'Ixl'CIv~C had an oblig~tiaii to make sure
                 they did.

             29, AGGOrdin~ to Ji]1 St~~n~n, the risk manager ~t W~t Chestei, the kne~v
                 Dt~i~`ani hid "issu~s,,>

             30. Jill Stegtr~an cQnfiizn~ ferry Gaodman's complainCS,

             31. According to I~~.~hy ~i(~~'s, "S~i~CN~C kn~~ how l~r. I~~~a~aa~~ used BMP'-2 and
                 ~ura~en

              ~2. Ar. Tim ~.iern~hek, tl~e ~hi~ofthe Orthopedic d~partm~n,~, failed to do his
                 job under the MEC bylaws as itrelat~d to the super~fsi~n and review of~r,
                 ~gnani.

              33, Ac~orr~ing tp Dr. ~'i~ri ~~ern;chek, h~ knevP'fir. Tlutrani vv~,~ "s1~~pY."

              3~}. Kevin Joseph, t~i~ ~~O o~~WC~VI~, claims to Ic~law nothing about s~trgeiy
                   qp~rations in hrs ~os~its~l,

              ~5, T~evin Jose~1~, the CEQ,~laifns a 1~aspikal must ~xoteet patients from
                  Unnecessary ~~,rm "as Bauch as they can"

              3G. T~evin Joseph, tha ~E{.7, claims W~IvIC doesn't ha~'e aversip,~t of sttr~e~ns
                  doin,~ what Plaintiff cl~~ms T~t~ix~ani was doing, (Des~itc what his bylaws
                  state.)

              37, Sevin Joseph, the CEO,denies the hQSpit~l has any respansibiIxf~ ifDr,
                  I)ur~ar~i did axi uruiecessar~ surgei~',

              38. ~{.~vi11 JOSe~►hr the CEU,despite his finance office tracking it, denies any
                 i~riawledge ofF~Mp-2 ~ts~.

              3~.1"~e~vin Joseph,the CEO,denies ~Cn4wing about and ct~mplaiizts about Dr.
                  ~ur~~ni.




                                                     ~0
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 136 of 271 PAGEID #: 158
Jul. 1. 2014 9:19AM      M A                                                           No. 1217     P. 39




              40. ~.evin Joseph, the Cat?, ~dnlits they benefited firianciall~ ~rora~ ]fir. AUrrani,
                  inclWdin~ his awn ply.

             4X. Mark Tromba, tl~e OR ama~aager, admits ~~P,2 use as used by Dz. Dui~r~nf,

             42. Ac~ardit~g to Jef~'Dt'apelik, tlae Senior Leadership team, including Joseph,inet
                 wee~Cly and r~vier~ved numl~e~•s.

             43.,64ccording to Jeff Drapalik, the GFC~ of WCNlC kne~cw Der. z7urtani was a high
                ~'altux~e money maker.

             44. ~.e~Ie~' Crilbertsan, a rn~mber of the MEC of WCMC,acid ~nest}~esialogist
                 working ~lvith 17t~nrani, had ~ Goncezn ~~out how fang ~urr~ni kept patients
                 under.

             45. Accardin~ tp znatezlsls manager, Dsnn~s ~.vbb,'VV'CIvIC lrnew the ~uolu~n~s o~
                 ~1VII'-Z being uset~.

             4G.,Accozding to T~a~~n Ghaffaii, WCM~ ~e'+~v the chart documentation t~ffir.
                Durrani was not in oomplianae with their bylaws.

             47. I'atrie~ Baker, nursing Vk' ~t ~V'G.M~ a~mit~ WCNlC tr~~k~d the financial
                 perf4m~~nce ofIaX, Dui~ani.

             4$. A,c~ording ka nurse, Vicki ~GOtt, tihe admin~sfxation ~~VV'C~C maw ~iom. tihe
                 o~tsek o~"t~'est Chester X11 the serious issues pertaining Yo Dr.]7~rxani.

             4~, Acear~ling to `Vicl~i Scott, West ~h~ste~'s risk m~na~er began to ig~io~•e
                 com~laii~ts from Ms. Scott.

             50. According to Vicki Scott, staff'uv~s scared t~ speak out.

              ~ 1. Ac~cazdi~a~ to Vicki Scott, patients didn't kn~~ ~t~vho did the surg~ries~—~h~~ti
                   ar ]7~nrarv..

              ~~.,A.ccoixling to'V~i~I~i Scott, re~b~'ds we~:~ ~a0t accur~t~ who w~S in the O~ at
                 vv~iat time.

              ~3. According to Vicki Scott, cveryor~e at ~'J'~MC knew if'was a6~ut money.

              54. Accozdiii~ ~o Viaki Scott, WCIvT~ l~new about Dr. bClI7~t111'& &IlC~ W~St
                  Chester'$ iateg~l tt~e ofT'ure~en.

              55, According to'V'iclzi Scott, T7r. Dur~•ani way a beh~~'~ar pcabl~m.



                                                     1I
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 137 of 271 PAGEID #: 159
J u 1, 1. 2Q 14 9:19AM      M A                                                         No, 121 J     P, 40




                S~. According to p~ticnt r~pxeser~tative, E1iz~bet~t 17e~.ta,'VYC~v1C tracked Dr.
                    buix'~ni's'volumes from the outset anti the C~C~ 1~'ved wh~~ h~ ~~~vv.

                a7. According t~ Eliz~b~th Y7ean,'I~VCMC knew Dx,~1U1TazIi Yl&{~ iS5L1B9 ~t
                    ~hi1C~r~t]'S.


                5~. According to ~liz~betl~ Dean, WCM~ kn~~ Dr. DUi'~ant Was p8z~piTriing
                    ~annecess~zy procedures bX volixmes end repeats.

                59, a4ccording to nurse, Scott Rirner, WAMC ~cn~vc~'I7r. Durra~ii vsraited until ~#~er
                   surgeries to dooument whit praceduxes vcrere planned.

                fQ. AeGt~rding to Scott ~tim,er, p~t~e~ts at V(~'CMC hid ~roae~~tres th~~+ ~it3 nat
                    consent to and'E~7CMC knew it.

                61. A.ccordin~ to ~catt R1mer, sterile #"ields mere nod protected,

                fr2. ACGOrding to Scott ~e~',~C1VtC Icz~ew ~~i~e~en ~c~vas ~ein~ aged by I~r.
                     Durr~~ii and allov[rec~ it.

                63. Aocordxng to'~'hom~s Bl~nl~, pur~Ge~ vtra~ an ~lk~rnati~~ to I~~vlp-2, r~hia$
                   'WCNlC hlrned ~ko based u~ar~ insurance denims o~~MP-2. Yn, ~additiat~, br.
                    ~u~arti oZ~eraCed an unethical POb a~'Alpl~~tech Galled ~~tolution Medical to
                    sell FureC~en to Test Chester.

                ~4.,A,GCOrding to~i~~a~.y(aaodm~n,~VVCMC freaked ~N1P~2 use b~ Dr. T~urrani;
                   patients did npx know'who ~t times parfor.ixY~d their sur~er~r T~.r. Shand ar Ur,
                   Duxxani; electronic reCO~`ds hid to be c~ianged aftez Dr. Durrani's surgery; ~7r.
                   Durr~ni and ~V'CIV~C never obtained ~x~£arrne~l consents; Dx•, T~u~ani's vglume
                   r~vas ~ ~v~.nin,~ sign ~f a~r~lvtilization. ~~ny Q~oodin~n rapar~ed t~~l these
                   cQr~cen~s to WG1VlC and there w~~ no a~tiion. G~zzy Goodm~~i was told end
                   concluded that `]V'C~C dzd ~iQt w~~-►t to c~4 anything about T)r. Uul~rar~t ~ec~use
                   ofmo~e~ r~w~rds.

                                         AnI~ITYt'~NA~, t]~'Y1~Tr~N9

                ~5. The ~e~iter ~f Adv'anced spine T~chn~logies(CA,ST)negligently su~erv'is~d
                    end r~t~ned fix. I~~trrani, including by ~llawing Dr. Upr~ani k~ per~prm
                    ~trineaessaty pzocedur~s and surgex~es; use BMP-2 and/or ~~~eGen 't~ltlno~t
                    appropriate Goz~sent; ~'~iling to disclose T7r, Shanxi and o~hera i~s~volvenzent in
                    suxgely; improper b~~aing; ch~n~ing the ~r~-o~ ar~d p~st~op records t4 cnincicl~
                    when tl~~ sur~er~ was not the surgery' disclosed; ttzid all other conduct detailed
                    in t~.e documents ~ reviar~ved.

                 66, WCIYSC, ~(_]'C Health and Ck•ST'S mo#i~ve for their act~pns and inaCkions
                     tc~'ward~ br. Dur~aiii 'uvas fin~ci~1 fain,

                                                       1~.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 138 of 271 PAGEID #: 160
Jut, 7. 2014 9.19AM      M A                                                          No. 1277     P. 41




             67.'~k~e 1VI~C, ad~ninisttation and Boards of WC~V1C std ~l'C Health'failed to
                "go'v~rn tln~ ~'~fairs oft~$ Medical Staff."

             68, The MEC,admir~istratian ~d ~a~rd~ of'UV'CMC and[J~ ~Tealth `ailed to
                 enfoxce their rules upon ~7~, Aurrani as they w~x~ ~'~c~~tirec~ to do.

             69. The MEC,a+dministratian and hoards afWCMC and C.l'C Health failed to
                 pra`v'i.de ov~r~i~ht ofDt, Dui~rAni ~s they mere required to do.

             7fl. The SEC,adm~'iistratioi~ ~~d ~o~xds of'~i~~MC and UC Health ~'~iled to
                  p~o~erl~ ~~aluAt~ Ur, T~urr~i~i,

             71. The orthopedic end ~t~rgeiy I7ep~rtments ~~dicated their responsibility under
                 the MEC byl&vc+'s to re+rie'cv, investigate and 5~pervise Ur. burraai.

             72, The IViEC, admini~~ration ~r~d Boards of'~1V"CM~ end CJ~ health filed to
                 ~~Qper~y discipline D~,Iautz~ni i~cludi~g samm~xy suspensions and
                 re'~aca~ion.

             7~, The MSC,administration and ~o~rt~s of'VV~IvtC and TJ~ ~Tealth ~~iled to
                 properly discipline under tie MLC byl~vvs as it pertain$ to Dr. S7ur~-~ni.

             74. fih~ MSC,~dministr~~iQn and Bt~arcls of WClvi~ ~n~ U'~ ~I~~itf~ ig~orecl t~~
                 in~~rmatioxi readily available pertaining to I7x. buir~ni before o~`edenti&ling
                 and granting him ~rivileg~~,

             7~,T ie M~~,~dministr~,tia~ and Boards o£W~M~ aid Y7C I-~~alth. faYlec~ to aot
                on Ax. T~tanani's disruptive behavior, unpzt~fessiQnal ~behaviai d clinical
                ~ar~`giYnanc~ pl~csng ~l~intiff at risk.

             7b. The MSC,admir~isiration and $cards of'UV~CIv~C at~d UC ~Tealth ~~rtified ~nc1
                 approved ~~ un~i~~essary pra~edur~s Uf Di•. ~t71Yani on Plaintiffl~,ta0wing th~~
                 vv'e~'~ unn~c~ssary an~1 knowingly allo~vv~ng the irraproper ~s~ of AMP-2 and/~r
                 Pure~en end knowing there wt~s z~ot pra~ex infon~a~d consent,

             77.'the MEC,administraEi~~i and ~o~.rds of'WCMC and UC T~ea~th failed to act
                on ~?r. Dut~ani's failure is ~'nedi~~l record ~incumentatxc~r~.

             78~ The MEC,acimii~istration ~r~ti Bo~u~s of`1NCIv~C and 'L1'C T~ealth ~~i1~ci ~o
                 x~q~ai~~e I~~-, Dutrani ti4 followr the rule fpr offlabel experimental p~roced~res.

             79. Thy M~~,~dministr~~.c~n ~.nd ~t~ard~ ofWCM~ yid C7~ Health allowed br,
                 T7urcani to use undisclosed anc~ unqualified suzgeQnS to perf~~2 his sU~geries
                inclt~din~ Tar. Shanti.


                                                    13
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 139 of 271 PAGEID #: 161
Ju). 7. 2014 9:20AM      M A                                                          No, 1277     P. 42




             80. Thy MEC,administration ~ztd hoards of CIVIC and 't)'C T~ealth ~lla'vved Dr.
                ]~uiT~na do do multiple surger~8s ~t once,

             81, W~MC ttnd U~ ~I~~1th have refu~e~ to ~ro'~i~e as privileged kh~ peer review
                information fiom W~MC far fir. I~urr~ni ~a eitl3.er ~e ar their o'tx+'n expert.
                '~l~ere~or~, we ha~v~ na ~no~vledge of whit ~Ctio~, if arty, was taken against
                 hiin. Ho`~vever, based ~t~ar~ the faGt~ here it is ab~rxaus they failed t~ takes
                 action.

             82. Based upon ill a~'the abave,it's m~'apinian that ~V'~MC ~t~d LTC T~ealth
                 ~ver~ negligent in tkaeir credentialing, ~t~pe~vi~ing, discipIic~ing and ~'etaining
                 Dr,, I~urrani an staff end ~1lawing him to obt~.i~i ~~~ keep ~ilvileg~s ~t WCMC
                 under t1~~ standards ofOhio as detailed ix► the Bre~,c~a Sb.~il's Response to
                1Vrotion ~'ox S~tnmaty J'udg►nent ~n~ this ~►roximat~l~ Gsr~secl harm to l~I~inti~£',

             83. Tho facts support C~uistapher Atwaod's o1~irn for negligence, battery, lack of
                 catnsent and fraud.

             84. Aa a zesulf a~~he ~e~ligenee anti ~onduet ofbx. ~7urrani, BAST,`west ~k~estex
                 and rl'~ T~esltl~, Christopher Atwood suffered damages prq~~mately caused by
                 Chem, inelucling the ~`o1l~vvin~;

                A. F~rn~azaent disability
                B. Fhysie~l deformity and scars
                C. past, Current ~nt1 Future Physic&1 aa~d IVrental pain quid Su~'f~rin~
                A, Last income gsst, present and tutur~
                E. I~os~ afenjoymezit o~1i~e
                ~'. P~sk medical expenses
                Cr. ~utv~re ~lnetlical expenses ~ppXO7~imately in the ~mounC of$5Q,000 to
                    $25Q,OOQ depending an co~ar~~ o~~reatment
                H, Aggtav~tic~n o~~ p~~~existing coziditixon
                Z, Decreased al~ilit~ to cam income
                ~'. 3% increased risk of oanoer and fear of C~z~c~r ifS1V11'-2 was used,

      A1~~IA~TT SA"Y'LT~~ ~C1R1'~[ER N'OT



                                                    ~.EITH b."S~'T~,    Y', IvI,D,


                                                    N'0'~ARX




                                                  14
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 140 of 271 PAGEID #: 162
Jul, 7. 2014 9; 20AM               M R                                                   No, 1271   P. 43




        SUBSC~~~7,SWQRN TO A~TI7 ACKNaWLEDCrED before me, ~ Notary public,}ay
                                                              J~~y
        Keith A, Wilkey, Ivi.l~, on phis          7   day af~A4a3~, 2014.


                                                                         ~                   ~~
                                                           ~l'OTA :5~ PUBLIC U

                 A~G~ PQfNSE                                  ~_ ~o~ci.~    County
                                 seal
                    Publlo - Not2ry
              Nota~~10 ~I 1~Issauri
          ~omm~sstoned for S►. CflafleB GOI1t~I            State of ~,/              5
         MY~mmissl~n N~bef:i11 ~96i3 ~




                                                         XS
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 141 of 271 PAGEID #: 163




                                ~        ~~~           ~~x
                            1          AFFIDAVIT ~F MEk~T
                                         'V4~E~T C~IESTE~
            I, Kezth D.'thlilkey, M.D,, after being dull
                                                           swoi~2 anc~ cautioized states as follows:
       1. I devote at Ieast one-halfof my professi
                                                       onal tune to the active a~inical practice in my
          field ofIicensure, ox~ its instruction uz an
                                                        accredited sclaoo~. Y am an, ortXao~edic
          surgeon wlzase focus is on spine surgery
                                                        and treatment ofthose wig.spine issues.
      2. Z will stapp~eme~it ~s a~Fidavit wig
                                                  ata.at~ier, b~ a 1~ttez' or by ~estimc~ny, based upon
          any inforxnatzon provided to the a~ei•I execute
                                                               it.
      3, Iv1y c~.ux~icu~ vitae has been ~~evious
                                                 ~y provided to o~pnsing ~o~sel in these Dx.
         Dut~ani cases and caxa be pY•ovided again upo
                                                       n request. FOY~171y Y6V3~W~ Y xely upon
         xny education,t~auvz~g and ex~erie~ce,

      4. I Iaave not counted b«t I hate reviewed
                                                 , over 50 or mare cases itzvo~ving Dr,I7urra~~i
         aid the hospitals where he once had priv
                                                   ileges.
     5. r base my opinions ~~ part Qti my ~evi
                                                 ~w of alb the cases T ~~ave reviEwec[ wb.ic~z have
        revealed similar cax~duct by Dr.Dur~axu axtd the
                                                            hQSpifals where he had privileges.
     6. I am ~ar~ailiar with applicable standard ~f.c
                                                     a~e fai• Shia,T~entueky and tl~e corrr~try
        fox a~ oi~hopedic/spine surgeon such as Dr.I]~rr
                                                            a~.i.
     7. I am also fa~ailiar with appZzcable s~id
                                                     ard ~fcare, policies, ryes and regl~iations,
        nzedica~ exeeutitre conunittee bylaws,,TCAHO
                                                             ~requu'ements, creder~fi.~.ling,
        st~~ervisir~g, ~retentio~ ofnzedica~ sta,~F, gxan
                                                          ting ana xejeeting privileges and the peer
        ~eviewprocess for'U~~est Chester• ~Tospital, LLC
                                                              ,also referred to as West Chester
        Hospital o~' Virest Chestex Medical Centez~
                                                       anc~ UC I~eal~~.
    8. Y.have rezriewec~ all relevant medical reco
                                                  rds includ~g radiology of Ur. Durxani's
       medical ireairnent ofRebekah Brady atia
                                                   tae medical treatment ofRebe~Cah Brady at
       VSJest Chestex.

   9..I have rey~ewed.the Response to Siunmary
                                               Judgment in f,~e Brenda Shell case and
      all the ~xhi.bi~s att~claed to it.

   10. The Ce~fier fox Advanced Spiny Techt~ol
                                                c~gies, TriG. was Dr, 1}urrani's practice grou
       aid he was the sole awnex, directox and                                                 p
                                                officer of CAST as well as a.n. employee.
      CAST as sucI~ is also :responsible for Dr. Dui~
                                                      ani's negligence end far their failure to
      also supervise, discipline and re~.in Dx. Durrani.

   l I.. I have a~sv xevzewad the musing s~un~~za
                                                  zy prepped by Iegat cv~insel's office for
         R~~ekah Brady. Based i~~~n t~h~ renumber of case
                                                          s I've reviewed pertaining to Dr.
      Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 142 of 271 PAGEID #: 164




                Duirani, legal cotuisel's office knows what materials I need to review ~,nd provides
                me those rr~ate~x~~s. Tel addifiion, while ~I~is affidavit contains case specific
                info atian; it ~Iso contains irifoz~a~ioz~ z~~levant to this case and/or rn~any and/or
                most and/or aiI fhe other uses. It is prepared ~'or nee by counsel with my dixection
                and a~~roval Tike all ofthese have been.

            ~2. Based upon my review, the follo'wzng axe the facts I rely upon:


            A. Rebekah tivas referred to Dr. Durrani b~ ~~er family pk~~siciai~ for lower E~acl~ and
                Ietfi leg pax.. A.t initial visit, Dr. Durrani falsely iuterprete~. and exaggerates
               findings an tl~e MRY al~d X-rays and recommends sur~ez~y, The protruding disc at
               L4-LS, interpreted by ~e ~radxo~ogist, was never rrzentianed or treated. Dr.
               Du~7•ani falsely repai~ts in. CAST records o~i May 18, 2010, a13ti-i~iflamrnat~riss,
               muscle relaxer, pain xnedxaatioi~s, physical th~xapy, and chiropractic care
'-~            provided temporary or no relief. Rebekah had never xeceived any type o~
               ~reatxa~.e~t for ~e:r back px~ar #a Dr. Durr~ni. An Axial LIF cage was reported to be
               placed during the stugery. Dx, ]~urratu does not hold proffer credentials to use this
               type ofsystem and it is not FrIA approved to use with I~.~use.

           B. Several risk factors existed and conix'aindicated Dr.D~urani perforx~xi~g Lumbar
              5-Sacral 1 A~a1 Lumbar ~'u~ion, Lu~ibaa~ 5-Sacral 1 Poster7ar Spinal F~sian, Left
              Sided LS~S1 ~oxarninotomy and Deco~x~.pressian with Infuse. Rebekah should
              have received six months of nonsurgical treatment prior to stugery and. placement
              ofTrlfuse. There was no attempt for conserv~.tive r~aanagement by Dr. Du7.~•aiu.
              Rebekah's BMI of3S.5 should have been addressed and managed prior to any
              deerszon of surgery. Rebekah is a ten pack year smoker, ~znaking cessatxo~
              should have beep.included in the ~reatnn.ent plan dire to reduced rislc offusion
              success. The protru.dzng disc at LA~-L5 was neglected by Dr. D~trrani. T~astIy,
              Infiise bone graft was not x~.c~uded on the CAST,or Hospital suxgical consent
              ~o~ns.


           C. Dr. Duxratii. reports severe diskogenic disease at ~.S-S1 with aver 7ti%a loss a~
              disk height causx~g severe faraminal arxd central stenosis, anterolis~l~esis ofLS on
              S1, and spinal instabz~zty in. C,A~T office ~.otes dated 4S/18/2Q10.


           D. Q2//27/201{} Radiology reports L4-LS disc pxo~sioz~Jherniation, L5 nerve zoat is
              minimallq xza~.~x~ged u~an, mild disease at LS-SX,V~rtebra~ body heights are
              maintained. Mild fo~rami.~al narxowing on the right.



                                                     2
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 143 of 271 PAGEID #: 165




      E. surgery was recommended by Dr. Durratii at Rebekah's first appoz~xt.~nent at the
          CAST office on May ~8, 2010,


      F. Dr. Duz•r~tnx peiformer~ ane surgery on. the Client:
         One fix, ~.utnbar 5-Sacral Y Axial Lumbar Fusion,Lumbar S-Sacxal ~ ~ost~rior
         Spinal Fusion, Left Sided L~-SI Fo~aminntomy and Decornp~'ession with T~lfuse
         was performed by T}r. Durrani c[r7 WC~ ozx 0$/27/2010,

      G. Infuse was implanted xn the spine on 08/27/2014 @ WCH by Dr. Durirani..

      T~. The fa1laF~i~g 1~a~rd~vai~e was implanted:
          Orthavita Foam Siaact Vitoss pack l Occ fat #~B1~03~09 QTY ~
          ~ed~xonie Infuse Set Bone GRFT SM Iot #M1149Q~AAM QTY 1
          Medtronic 10 x ~4 Capstone-L dot #5 34 QTY 1
          Medt~azuc SET SCR ~'IG4 INT I~IEX no lot# QTY 4
          Medtronic SCR C~NN~ Yv1A CDH 5,5 L~Cr 6.S ~ 45 QTY ~
          Med~ro~ic RQD ~'RE-B~~t'~' M8 no lot #QTY 2

     I. According to the 1Vledtror~ic anc~ FDA guidelines,Infuse was used offlabel. Dr.
        bturani states k~e ~Iaeed an .Axial LIF cage, which is Doti app~gve~. ~vvitl~.
        implantation ~n.~use. ]]r. Durrani rifles not hold the credenti~Is -to use ALIF
        system. Infi~se is not on -the surgical consent foi7ns signed by the client. Six
        months of uonsE~rgical treatment did not ta1~e dace. Rebeka}~ is a ten pacl~ year
         smoker at~.~. ~Yhixz ck~Zlc~ bearing ~.ge range.             _

     J, Surgery was dictated 11/01/20I~ by Dr. Durrani.


     ~. No noted failed hardware to date.


     Y.. Following the surgery, Rebekah received pain inanageme~.t care ~'xom. Dr. Tayeb
         fox ca~astel~atia~z ~fsymptoms including lower back, but~oak, gxoin, and lover
         extremity pain. T;reat~ex~t inchided medication reg~zne and steroid injections.


     M. kebekah will hava health insurance in two months and Maus to see a spine
        specialist              Yegarding tie pain and numbness that is becoming
        increasingly worse. Last radiology 101131201X, MR.I Cervical Sine'~0 contrast
         c7 Sei Ed~ewaod M1~T.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 144 of 271 PAGEID #: 166




      N. Pain pr~ax to surgelcy was Localized to lower back anc~ Left leg. Post-surgery
         complica~io~s include increased pain, pain in more areas, and numbness o~'upper
         and lower extzezz~ities. Siu~gical site complications.


      O. It took Rebekah six months af#~r the LS-S X fusion to zeturr~ to work. Rebekah hay
         since the surgery obtained a job to work from }~on~e. Rebekah states she xs waabXe
         to szt for an extended period time atad Izas difficult getting n~ out ot~ a chair.
         Rebekah suffers lifestyle changes due to tl~e surgez~y. SU.e xs unable to hold her
         baby for any extended time. Left artn is constantly tingling and numb. Rebekah
         states i~ zs very difficult to play children. She xs uzaable to take ~vall~s or
         participate in any physical activity. Rebekah is uat a6ie to lie ova her back which
         causes sleek distuxbance~. Cam~lains ofchronic fatigue due to lack ofsleep.

      13. Based upon my review, the following are my apixtin~as baset~ upon a reasonable
          degree ofrnedi.cal cez'tainty pertaini~~g to ~I~e deviation in standard ofcare or
          ne~]igence, infoz~:ed consent,battery and fraud claims against br. but7ani, CAST,
          West Chestex• ~,nd UC Heal#h whie~,pxo~im~tely caused harm #o Plaintiff•

         A.. Need to lave additional sut~g~xy to repair problems created by Dz, Durxani

         B. I~iplantat~on ofPt~regen without x~farmeci consent

         G. Irnplar~tation ofB7V1p-2 withattt infor~rz~ed consent

         D. F~.iled }~ardt~va~'e

        E. Failure to abfain~ groper informed consent for surgery

        ~. Fax~wre to provide adequate az~d thorough pre-operati~re anti post-operative
           patient surgical education

        G. Failure to properly past-off monitor t ie p~t~e~at

        ~. Failure to properly perform t'ollaw up, past-op care

        I, Negligent surgioaX techniques

        3. Faihue to mai~itain accurate and complete surgical records and surgical
           consent forms

        I~. ~'aili~re to disclose zxnportant health. information fo patient

        L. Failure to maintain end complete discharge summaz`y


                                               C~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 145 of 271 PAGEID #: 167




          M. k'ailure to supez~vise Dr. Diu7ani

          N. Neg~zgent pre-surgical diagnosis

          D. Failuze to prepare a timely operative ~epo~t Qr o~Jzex xnec~ical record

         l~. Billing for services not completed

         Q. Not i~~ozrning the•patient at~~ther siugeon will be doing all or part ofthe
            suxg~ry

         R. Practicing au~sid~ Dr. Diu7a~u's scope oft~~ir~ing, education, experience, anal
            Board certi~ic~,tions

         S. Deviation in sfianda~d o~caxe

         ~'. Failtue to ~erfox~ thorough and accurate pi~e,op nonsurgical evaluation

         U. Fail~zre by Dr. Durrani to infoi~n patient ofadd~tionaUc~an.ged proc~d~~re and
            reason

         V. Failure b~ CAST to disclose addxt~a~a1/cha~.~ed procedure and reason to
              ~~ztient

        'W. Faih~re by Jar. D~urai~i afi CAST to properly educate patient regarding
              diagnosis

         X. Prior 1~nowledge of possible complication and not acting ~ra~erly upon sate

        X. Failure to disclose pertit~ent h~aIth z~~ox~atinn to another health care provideY~

        Z. Fraudulent, negligent acid t'ecl~less ire-operative work tip

        AA.      Fraudt~.ent, negligent and reckless surgery

        BB.      Inaccurate, frai~dulen#, andlor exaggeration of diagnoses

        CC.      Faih~re to pxoperly educate pabi~nt regaxding diagnoses

        IUD.      Failure to attempt ion-surgical canserva~.ve treatment

        ~E.      ~'~ilure to ~ex~'o~xn ~ho~'ougk~ and. accurate ~~e-op i;onsurgical evaluation

        FF,Failure by Dr, Durr:az~i at UCIWest Chester Hospital to perform accura#e and
           complete pret~peratxve teack~ing



                                                5
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 146 of 271 PAGEID #: 168




            GG. Failure by br. Durrani at UCIWest Chester Ho~pxtal to properly educate
              patient regarding diagnoses

            HTr~.   Failure by Dr. T7urra~x at UC/West Chester Hospital to maintain. aoa~.uate
                and/or complefie medical records

            ~Z.    FailYxre of inf'oz~rraed consent by Ar. Dur~aty ~t UCl~est Chester Hospital

            rJ~. ~'ailuure o~UC/West Chester Hospital to insilre Dr. D~urana acid CAST had
                 obtained proper x~afoi7ned consent

           KK. Failure off1CIWest Chester Hospital. to obtain pxoper aclrnowledgement
             of consent

           ~.~,.~'azlur~ by Dr. Duz'~arii at UC/West Chester Hospital to disolo~e pertinent
               health information

           MM. Failure by UC/t~i~e~t Chester I-~ea~~h to disclose additianaUchanged
             procedure and reason to patient

           NN.     ~'a.ilure by UC/West Chester He~.Ith to supervise sta~'~

           4Q. Fail~ue by U'ClWest Chester Medical staff to prapex~y dt~cument
             abnormalities and fallow iip e~.re

           FP.N'on-a~a~roved hardware cambi~ations

           [tR.Dr. Durrani made false ~d material nusreprese~tatious of matei7al faGYs
               intended to mzs~ead Rebel~ah Brady anti concealed material lac#s he had a duty
               to disel.ose. UC/West Chester Health and CAST can~ealed ~ateriai facts they
               had a duty to disclose. Rebekah Brady was justified in relyXng on the
               rnisrepresentati~n anal did rely pxQxirnately causing ha~rnra to Rebel~ah Brady.
               Dr. DuYrani, CAST,and [JC/West Chester I~ea~th it~te~Yionally misled
               Rebekah Brady. Rebekah B~'acl~ had the aright to co:t~ect it~ormation.

     14. The testimony, facts quid e~}ubits of Brenda Shell's Response to Motxan for
         Summary Judgment and E~hibi#s ~o same are applicable to all the cl~xams against
         ~'e~t Ch~stex IV.~edieal Center(WCMC} and UC ~Iealth for all clazz~ls, including
         neglig~r~t xetentio~~ and credeirtialing }~rought by Plaintiff.

     15.       Based upon 1~~y review oftlia deposition testirn.ony, the JCAH~ req~ireznents,
           the IV~~C bylaws anc{ all the infor~-raation ~rovid~c~ to me,I a~i ~b~e to adopt tie
           foilowi~g opznion~ relating to WCMC and UC health pet~taining ~o the clain3s
           ag~ir~st them. WCMC's acid UC Healtl3's actions aa~d inactions d~taileel intIiis
           affidavit proximately caused harm to Plaintiff.. WCMC and rTC HEalth are both
           beitag r~~erencec~ when only WCMC is na.~nes~. I held the followi~ag opinions

                                                 G~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 147 of 271 PAGEID #: 169




         zelative to 'W'CMC and TIC ~Iealth pertaining to their conduct acting through theax
         administration. and MEC, The tune period covered is from the tune 17r. Durrarii
         sought privileges prior to ~CMC ope~.~ng in May 2009 through Mai 2013 when
         he too longer had privileges. In addition to rn~r opxtuoc~s, I yet faY~h facts ~ rely
         upo~z. This xz~c~udes all which r referenced that I reviewed. In addition to a110~
         the above, I attest to the followxx~~:

                                            FACT

          1. According -to West Ch.ester's ~xrst E~ecutive'Vice President, Carol King, she
             did nat explore the "r~unors" about Dx. Dtiun'ani's lea~i~ig Children's.

         2. According ~a Cool Z~i.ng, the hospital tracked ~zoblern issues yet ~VCMC
            have failed to produce the ~faY~nation under peer zeview protection.

         3. According to circulating nurse, Janet Srnifih, presets weY•e changed ire t ae
            computer to indicate the procedure Dx, Durra~u perfox~ned aver the procedure.

         4. A,cco~di,~.g fo Ja~iet Smith, despi#e na one at West Chester never working with
            D~'. Au~r:ra~.i be~'ore, WCIvIC never cheekec~ k~irn out.

         5. Accordi~~ to foz~n.er University Hospital President {a UC ~eal~h hospital},
            Brian Giblet, ~.aspztals face financial challenges.

         6. Accarclii~g to ~zsk manager, T~avid Schwallie, risk managemen# lcriew Dt~rraxai.
            had issues.

         'T. According to radiologist, Thainas Brv~vn, ~Ehere were surgeons questioning
             Dut~ar~i's decisions to perfoz'm. surgery,

         8. According to medic~~ staf-~ director, P~,i~la Hawk,a policy called "stop the
            Iying" was implerrxaza~ed the same year and rnanth they l~iokec~ out I7~-.
            Di~rrani. This infers a door e~ivironme~t of honesty and disalosclre befibre this
            policy.

        9. Aeeorc~in~ to Pat~1a Hawk and as the director of medical staff, rnaney is n.ot
           supposed to tr~rnp patient safety.

         ~.0. Accordir;g to Paula Hawk, sloe adnuts peer review is far hospitals to protect
              eac}~ other.

         7. ~,According to Pa~ila ~-Ia~vk, she admits h~spifals axe interested in volume,
              something br. Durrani provided for WCMC and UC I~ealth.

        Z2, According to Mike Jeers,the director o~finance, they tracked Dr. J]ttl;rani's
           financial niunbers.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 148 of 271 PAGEID #: 170




         13. AccaY•ding to Mute Jeffers, he admits Dr. D~urani helped them in t~~eir time o#'
             need.

         14. According to Mike J~~f~xs, Dr. Durratu was the highest Ynaney generatr~r.

         15. A.cca~diz~~ to Mike Jeffers, lie knew Dr. D~u~ra~~i had more tk~an aria suxgical
             s~.iite assigned at once,

         ~ ~, A.ccaxding fia 1VIike Jeffers, bonuses wez~e paid to him az~d others based upon
             finances,

         17. Accordinng to Dr. Peter Stern, he ktsew T7r. Durrani was only "satisfactory,"
             not a world clasp spine surgeon as West Chester adve~ised.

         18. Dr. Stern doesn't deny aclznitting ~(JC Health laokea tha other way on Dutxatu
             because of m~a~.e~,

         19. According to cr~t~ezatializ~b manager, Ain S~ae~~y, there was plenty of"publio
             knovaledg~" about Dr. Durzar~z to check before eredentialing.

        20. Accardulg to Ann Shelly, West Chester relied ozz t ie Np~}B they knew was
            p~~Qfiected by hospitals.

        21. Dr. Eric Scluieeberger, Dx. Auz7•ani's partnz~, ~vvas on the MEC at WCMC.

        22. According to Eric Scklneeberger, West C~aester knew about J3rz~ratu
            schedEiling surgeries bong i~tQ the day atad night.

        23. Aecordi~~ to fbrnl~r n~usii~g n~az~ager, Elai~le K~~nko, WCMC knew about Dr.
            Durranx not completing reca~~ds.

        24. According to Elaine Kunlco, WCMC Knew Dr. Durrani would eXaim surgeries
            were emergency when t~.ey were not.

        25. Accordi~~~ to Elaix~e ~~.~.~nko, '►7~CMC knew there was an issue with Dr.
            Diurani not being ire ~lae room doi~.g scu'ge~y on "his" patient.

        ~6. According to ~~aine Kunko,even the OR muses knew WGMC put up i~ith
            Dr. Durrani fox mo~iey.

        27. According to Elai~.ie Kitt~lco, WCN1C cracked Dr. Durrani'~ financial ~.t~rnbeY~s.

        28. According to pez~o~erative director, Lisa Davis,'WCMC knew Durrani's
            ofFce is supposed to get consents so WCN1C had an obligation to m~.ke sure
           #hey did.

                                              0
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 149 of 271 PAGEID #: 171




          29. Accotc~z~.~ to Ji~~ Stegm~.n, the risk rx~a~~a~er at Nest Chester, she knew
              Durrani had "iss~ies."

         30. Fill Stegzx~an coxa~xr~s Gerry Goodman's complaints.

         31. According to I~atliy Hays, WCJV,[C knew how Dr. Durrani used BMP-2 aid
             PtueGen,

         32. I~r. Tim I~remchek,the Chie~p~'the 4rtl~opedic department, failed to do his
            job under the MEC bylaws as it ~elatet~ to the supervision a.nd review o~'Ar.
             Du~~rani.

         33. Accarcling to Dr. Tim Kremchelf, he knew Dr. Durraxai was "sloppy."

         34. Kevin Joseph,the CEO of't~CMC,claims to k~~ow nothing about surgezy
             operations in his hospital.

         35. Sevin Joseph, the CEO,e~aims a hospxtaX ~n~st protect ~a~ients from
             unnecessary harm "as ta-~tzo~ as they cap.."

        36. Kev~~. Josepk~, the CEO,claims ~VCMC c~oesn'#have oversight ot'surgeons
            doxrag what PXai~.tx~'~'cXax~as Du~rar~i was doing. (Despite what 1vs bylaws
           stake.)

        37.I~eviil Joseph,the CEQ,denies the hospital has any responsibility if Dr.
           DuY~ani dick an unnecessary sw'gery.

        38. Kevin rosep}~, the CEO, despite leis finance office tacking it, dez~i.es and
           knowledge ofSMP-2 use.

        39. Kevin ,Toseph, tha CEO,denies knowing about a~q complair~~s about Dr.
            Dut:rar~x,

        40. Kevin J~se~h, the CEp,adrr~its they benafited financially from Dr.I3urr~ni,
           ir~cludir~g his own pay.

        41. Mary T~omba,the OR manager, acimzts BMP-2 use as used by Dx. Duxrani.

        42. Accarcling to Jeff T3r~patik, the Senzox Leadershzp team, inclut~i~.~ JQSeph, r~aeti
            weekly and reviewed numbers.

        43. According to Jeff brapalik, the CFQ ofWCMC knew 1~r. T}utx'a~i. was a hi.gb.
            volume money mal~er.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 150 of 271 PAGEID #: 172




         ~4. Lesley Gil.bartsan, a member ofti~.e MEC o£ WCMC,and a~.esthesiolagist
            ~worl~ing with Durrani, had a concern about how long T~urrani kept patients
             under.

         45. Accorditlg to i~iaterials manager, D~rvxis Robb,WCMC knew the vohunes of
             BMl'-2 berng.u$ed.

         46. Accorciii~~; to Karen Gh~tff`ari, WCMC knew the chart documentation of Dr.
             Dut~rani was not in compliance wi#h their b~+laws.

         47, Patrick Bak~x, m~rsii~g VP at WCMC adrnits'VVCMC ~r~.cked the financial
             performance of Dr. Diurani.

         48. According tc~ n~.irse, Viclei ~cot~, the admirustratio~. of WClVIC Knew fi'orn the
             outset of West Ck~estex a~X the serious issues pertaini~.g to Dr. Durrani.

         49. AGC4i`C~ITtg t0 V1CI~1 SCg~~ ~VL5t G~~SteT'S ITS~C 171aIlagBT ~JC'.g;~.11 tC3 1gI1oT0
             complaints ~ron~ Ms. ~co~.

         50. According to Vicki Scott, staff was scared to speak out.                                '

         51. According to Vicki Scott, patients didn't ~i7.ow who did the surgeries—Sha~lti
             or Dtu'~aui.

         52. According to Vicki Sco#t, records were :got accurate who was in the OR at
             whafi time.

        53. According to ~Vicl~i Scot,everyo~.e a# WCMC knew it was about money.

        54. Accorciii~g to V'icI<i Sctitt, WCMC knew abQUt Dr. Durran{'s and'~'est
            Chester's illegal use o~'F~reGen.

        SS. t~ccvrding to Vicki Scott, Dr. Durrani was a behavior problem.

        56. According to patien# representative, Elizabe#h Dean,'L~VCIVIC tracked Dr.
            Dur~~a~u's volumes from t~.~ outset and the CFO loved what k~e saw.

        57. Accorclii~g to Eliz~betla D~~.n, WCMC lcilew fir. Durra~i load issues at
            children's.

        58. Accardi~ig to ~liz~b~th Dean, VJ~CMC knew Dr, ~}uxraxai was performing
            unnecessary procedures by volumes and repeats.

                                Scot Runer,'~7JCMC ksae~sv Dr. Duz~anx waited until after
        S~. ACCOTC~IIIg t0 T1L1T50~
            surgeries to docEUnent what procedures were planned.



                                                   10
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 151 of 271 PAGEID #: 173




         6~,,according fio Scott Rimer, patients at WCMC had procedt~~es they cli.d x~ot
            consent #o and WCMC knew it.

         61, According to Scott Rifner, sterile fieXds were not pratecfec~,

         b2. According tQ ~catt Riz~et', WCIv1C knew PureGren was being lased Yry Dr.
            Dux~rani and allowed it.

         63. Acca~•ding to Thomas Blank, PureGen was an alternative to BMR2,wkaich~
             ~WC~C turned to lased upon insurance denials o~BMI'-2. Tel addition, Dr.
             J]ta~rani operated an unethical P017 of Al~l~atec~ called Evolution 1VTedical to
            self PureGen to West Chester.

         64. Acco~di~g to Ce~;ry Goodxnaxa, WCMC tracked Bl'VIP-2 use by Dr. Durra~u;~
            pa~i~nts did nab l~r~.ow who at times ~erforrned their surgery L7r. ~hanti ar Dr.
             Durrani; electronic records had to be changed a£tei~ Dr. bui~ani's surgery; Dr.
            Ilurrani and WCMC never Obtained iriforrned consents; Dr. Du~~rani's volume
            was a w~~ing sigtl of o~erutilization. Gerry Goodm.~.0 ~'epoz`ted all these
            coizcerl~s to WCMC and there was no action. Gerry Goodman was told ar~d
            concluded that WCMC did not want to do anything about l~r. Durraau because
            ofinoi~ey rewards,

                                ADDITIONAL OPYNr41V~

        65. T ie Center ofA~.vanced Spine Tecl~tiologies(CAST)negl~geri~.y supervised
            acid retained br. Durrani, including by allowing D~.]~urxani tv pe~•fQr~n
            un~acessary procedures and siugeries; use BMA'-2 anc~Jax PureGen without
           appropriate consenfi; failing to disclose Dx. ShanY~ at~.d ethers involvement in
        ' surgery; improper billing; char~.ging tk~e pre-a~ and ~aost-off retards to coincide
           when th.e surgery was not the surge;t'~ disclosed; and a1I a~her conduct de#aided
         • in the documents I reviewed.

        65. WCNIC,UC Heatth and CAST's motive far then actioizs end ~naetians
           towards Dr. Dtir~ani was financial gain.

        67. The 1V~EC, administration and Boards o~ WCMC aa~d UC Health failed to
           "govern the affairs ofthe Medical Staff:"

        68. The MEC,administration and Boards of WCMC and UC Health tailed to
            enforce their rules upon I7r. ~7u~rani as ~liey were required to do.

        b9. The MEC,ad~ninistratian and Baaids of'VV'CMC and UC T~ealth filed to
            provide oversight ot'Dr. Durrat~~i as they were required to da.

        70. The MEC,adrninistratiQn and. Boards of WCMC and UC Health failed to
            properly evall~ate L~}r. Durrarzz.

                                             11
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 152 of 271 PAGEID #: 174




         71. The arCh.opedic and ~uxgery Depaxttxlents abdicated their responsibi~xty under
             th.e MEC bylaws to reviet~v, investigate and su.~ezvise TaX. Durrani.

         72, The MEC,administration and Boaz~ds of WCMC and UC I~ealth failed to
             pzoperly discipline I}r. Durxani ineludin~ surnnlary suspensia~s and
             rev'acation.

         73. Tl3e MEC,ac~mit~istration and Boards of WCMC and TIC ~-Iealth failed to
             properly discipline under the N EC b~Iaws as it pertains to Dr. Durrani.

         74. The NBC,aclininistra~fln and Baa~'ds of WCMC ar~d YJC health ignored the
             u~foi7nation readily av~iXable pertaining to Dr. Durra~u before credentialing
             a.~d granting hi.m privileges.

         75. The 1V~EC, administration a~ad Boards o~ WCMC and UC Health wiled to act
             on Dr, Dut~ani's disruptive behavior, ~inpxofessioz~al behavior and clinical
             performance ~alacing P~aii~tiff a~ ~'~sk.

         76. The MEC,administration and Boards of~CMC and UC Hea1~~ cer~~~ed and
             approved tlae u~inecessary proceduxes of Dr. Durrani an Plai~tit'f lenowing they'
             were unnecessary and lctzawirigly aXXawing tie improper use 4fBMP-2 andlor
             PureGen and knowing t~aere was n.ot proffer informed conse~.t,

         77. The MEC,adminis#ration and Boards of WCMC anc~ iJrG Health failed to act
             o~ Dr. D~rrani's faiture iii inedica.],record docucne~tation.

         '78, The MEC,administrat~an and Boards of WCMC and rTC Health failed to
              require Dx.Durrani to follow the ~~~les for off label experi:menfial p~racedures.

         79. The Iv~~C, admuaxsf~ation and Boards of WCMC and UC Health allowed Tyr.
             Durrani to tine ~2ndisclosed and unqualified surgeons to perform kus surgeries
             including Dr. Shand,

         80. The MEC,administration and Boards of WCMC atad UC Heai#h atlowed Dr.
             Duc~ani to do ~.nultiple surgeries at once.

         8~ , WCMC and UC Healtk have xefused to provide a~ privileged the ~e~z review
              i~~►fannatian fiom WCMC far Dr, Dl~rraaii to ~xt~er me +~r their own exert,
              Therefore, we havE ~v knowledge of what actzon, if any,eras taken against
              him. However, based upon tl~e foots here, it is obvious they failed to take
              action.

         82, Based upon all oftlxe above, it's my opiiuon that WCMC and ETC Healt~~ were
             negligent i~ their c~'edentiali~.g, su~ervisuig, disciplining and re#aitai~ng Dr.
             Dut~ranx ~~. staff and allowing him fio obtain a3id Deep pxzvileges at WCMC

                                               12
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 153 of 271 PAGEID #: 175




                    i~.nde~ ~~e sfandards of Qhia as detailed in tlae Brenda Shell's Response to
                    Motion for Swr~unary Judgment and dais prflxixnately caused harnl to Plaintiff.

               $3. The facts support Rebekah B~ady's claim for negligence, battery, lack o~
                   consent and fi'aud.

               8~. As a result ofthe negligence and conduct of Dr. Durra;~ai, CAST,Westi Chester
                   and UC Health, Rebel~ah Brady suffered damages proximately caused by
                  them,including the following:

                    A. ~en~iar~.ent disa~axlity
                    B. Physical deformity and scars
                    C. Past, Ct~rre~t and Futu~ce Physical and Mental Fain. a~ad ~ufferi~zg
                    D, Lost ixicome past, present ~.r~c~ future
                    E, Loss a~'enjc~yment of life
                    F. Past medical expenses
                    G. Future ~rzedical expenses a~►proxirnate~y in the amo~.uit of$50,000 to
                       $250,400 de~endi~g on course oftreatment
                    H. Aggravatio~i of a p:re-existing co~aditio~n
                    I. Decreased ability to earn income
                    ~. 3%increased risk a~ cancer and dear of cancer if BMP~-2 was used.

    A~'~`IANT SA.YETH FURT~i~R IYOT

                                                                              ~~
                                                      KEITI~ D."WILD ,M.D.


                                                      NOT.AR~


    SUBSCRIBED,SV~~~I'TO.AN~D ACT~N(}WT,EDGEI? ~befoxe me,a N'4tat'y Pt~blxc, by

    T~eith D.'t~Jillcey, M.D,on this ~~ day of~~`

                                                                 ~.
                                                      I~OT       FCT~L~C                "~
                                                             II1TXll5S1011 EX~}.: ~~ l~ P~

         A~7G~LA POlN5~T(Seat
     iVotaN Public - Nafaty
          ~3~E Of Mf5S0UKl
 ~ommjgsldledfor St. Charis~t County                  Stiate ofY ~L i 5~~~'l ~ ►
                F,.~fr~s; July i8,2015
 MY Commisslo~l
     0 . .i loll




                                                     X~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 154 of 271 PAGEID #: 176




                                      JENNIFER HIC~Y
                                     AI'FIDAVIT Q~ MERIT
                                        WEST CHESTER

          I, Keith D. Wilkey, M.D.,after being; duly sr~vorn and cautioned states as follows:

      1. I devote at least one-halfof my professior~aX time to the actzve clinical practice in my
         field of1ice~sure, or its insriuction i~~ an accredi#ed sclaaol. ~ am a~ orthopedic
         surgeon whose focus is on spine st~rge~ry and treai~nent ofthose with spine issues.

      2. I wzll supplemenfi this affidavit with another, by a letter or by testimony, based upon
         any information provided tQ me aver I execir~e it.

      3. My currici~ltun vitae I~as been previously provided to ap~osulg counsel in Giese Dr,
         Dunani cases and can be provided again ~~pon request. Foi~ my review,I rely upari
         my ed~.ication, t~ain~irzg and experience.

      4. Y have not counted but I have reviewed, aver 2a0 ar more cases involving Dr,
         burratu and the haspitais where he once had pitivileges.

      5. r base my opinions in. part on niy review of all fihe cases I have reviewed which have
         revealed similar conduct by Dr.Durrani and the hospitals where he had privileges, I
         have also reviewed bindexs pxovided by tYce ]]eters Law Firm which they provided to
         defense caui~sel.

      6. I am familiar with applicable standard ofoa:re fn:r Ohio, Kentucky and the cou.~ltry
         ~'or a.n orthopedic/spuie surgeon such as Dr. Du.~rani,

      7. I am also fa~miliax with applicable standard of care, policies,rules ar~d xegulations,
         zne~ical execu~i~e committee bylaws,JCAHO requirements, credentialing,
         supervising, Y•etention pfmedical staff', ~raxitir~~ anti xejectulg privileges and the peer
         review process ~flr West Chester Hospital, LLC,also referred to as West Chester
         Hospital or West Chester Medical Center and UC Health.

      8, I have reviewed all relevant medical records including radiology a~Dx. Auz~ran~'s
         medical treatment ~fJennifer I-dickey and the :~x~.edical treatment of Jennifer Hickey
         at West Chester.

      9. I have reviewed the Response to Su~ntiiaty Judgment in the Brenda Shell case and
         all the exhibits attached to it.

      1~. The Center for Advancet~ Spine Technologies,Inc. was Dr. Diut~ani's practice group
          anc~ ~e was the sole a~c~vner, dixector and officer o~ CAST as welX as axx employee.
          CAST as such is a.Xso respo~sibX~ for Dr. Dtu~rani's negligence and fox t~.eix failure to
          also supezwxse, discipline and retax~. Dr, Duxxani.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 155 of 271 PAGEID #: 177




       11. I have also reviewed the nursing sumtnaiy ~a~~epared by legal counsel's office for
           Jennifer Hickey. Based upon the number ofcases ~'~e reviewed per~taitung to Dr.
           77ut7ani, legal counsel's office knows whit ~nate:rials T need to review and provides
           me these ma~e~rials. In addition, while this a~~avit cantauis case specific
          information; it also contains info~~m.atxoz~ relevant to this case ~ndlor naa~a~ at~dlQr
          most andlor all the other cases, ~t xs prepared far me by coansel with my direction
          and approval like all ot'these wave been.

      12. Based upon fny review, ttze following are the facts I rely upon:

      A. Medical/social history: I~c~w 29 year old single Caucasian femaXe, ~o children,
         She is employed as a school maintenance waxer,in college to becozzae a teac~ex.
         1 PPD sm.aker, denies alcohol oY' illicit drug use. Her m.edzeal hzstory i~cl«des
         polycystic ovarian syndrome,interstitial cystitis, viral mer~~ngitis'93, anxiety,
         vaso-vagal syncope. Ms. Hickey's previous surgical histozy prior to Dr. Durrani
         includes tonsillectomy, cl~vle~ystecamy. N~DA. HT:63" WT: 130#

      B. T~.is case involves two Ynedically unnecessazy surgeries th~.t involve grossly
         ~.egligent surgical techniques, ~ian,consez~sual use ofrhBMP~2 in initial surgery,
         nr~~-approved hArdware combinations, fai~i~xe to maintain accurate and cornplate
         sux,~ic~l records,faihire to ~erfo7~n accurate at~.d complete preoperative teaching,
         faxlu~re to maintain complete and accurate a#`~ice procedure consentforms,
         fraudulent, negligent a71d reckless pre a~erativ~ waxy.up, xnaecuxate, fraudulent,
         and/ox exaggeration of diagnoses,failure to properly educate patiezat regarding
         diagnoses, intentional infliction of emgtional dist~•ess due to inaccurate diagnoses
         and. embeX~ished medical statements,failure to maintain ati accurate and aornplete
         medical recaxc~, u~ecessax-y pain management procedures based on inaccurate,
         fraudulent,and/ar e~aggexation o#'diagnoses, patient financial loss due physician
         ordering ofunnecessary, expensive tests and p~rocedi~res based on inaccurate,
         fraudulent, andlor exa~geratian of diagnoses, intentzo~aal, excessive, and recklas~
         lady exposure to radioactive byproducts fiom unnecessary tests and p~oeed~~res.
         It is out stance that the Dr. Durrani and the CAST facility deviated from st~.da~rds
         ofcare an multiple aecwr~re:~ces.

      C. During hei mid-twenties, Ms. Hickey began experiencing pain in her 6ac1{, feeling
         Tike it was in her scapula or right shoulder. Unable to ea~t~a1 it with home
         xem~dies, she went to her PCP,who treated her with trigger point injections and
         pain. mEdxcations ur~success£ully.

      D. In December 2 08, Ms. Hickey saw Dr. A11an Risan, a fain specialisfi, whc~
         ordered a T,Spi~e MCI.

      E. Qn 1212310$, Ms. Hickey completed a T~Spine 1VI~t.I, ordered by D~. ~{ison. The
         results revealed mild disc bi~lgi~.g at C3-4, C4-5, CS-b, G6-7, and ~ h~xnangioma
         at 'x'11. Na significant deger~erati-ve disc disuse, and no sigru~cant t~spine
         pat~.ol~gy.


                                                  2
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 156 of 271 PAGEID #: 178




      F. ivls. Hickey retw~ed to Dx, Rison, who stated that her T-Spine MRS did not show
         any significant t~iorac~c spine pathology, Dr. Rison treated her with epidurals,
         localized injections, aid nerve blocks. However, the pain canti~iued.

      G. On 02/27!09, Ms. Hickey consulted with Dr. Joel S~rger, a doctor at Wellington
         Orthopedic Center. He ordered an 1V~iRI ofher scapula and uppex back.

      H. On Q2/27/D9, Ms. Hickey cam~leted a right scapula and upper beck MRT,ordered
         by Dr, Borger. The results revealed a normal, unrem.ar~able MRI ofthese areas.

      I. Ms. dickey returned to Dr, Sorer,~vho staffed that her right scapula and upper
         back MR.I did not show any ab~.ormalities. I7r. Borger recon~nended twice
         vve~kly physical therapy,

      J. Ms. Hickey retui~ed to her pximary care physicia7i's office, and consulted with
         Dr. Goderwis. Dr. Godelwvxs ordered a C-Spine MRI.

      ~. On Ol/lb/10, Ms. Hickey oampleted a C-Spine MRT, ordered by PCP,Dr.
         Douglas ~oderwis. The results again revealed an incidental Tl 1 heniangioma,
         Otherwise, a noi~nal, urueniarkable C-Spine.

      L. Ms. Hickey attended a Follow up appoi;~txa~.ent with Dr. Goderwis. T?r. Goderwis
         stated that her G-spine MRI results revealed ~.~ abnormalities. He then referred
         he:r t~ Dr. Duirrani.

      M. ~n 01119110, Ms.~~ckey had an uutial consultation vaith Dr, Durrani., Ms.
         Hickey states,"I have been having chronic pain from C-spine tluough tight
         scapula, with referring pain i~ato aright a~ aaad hand,for the last 2-3 years. Sittig
         and long car rides aggravates it, and interferes with getting dressed and outdoor
         yard work. I ofren drop things. I only average ~-6 houxs ofsleep a night, and it
         takes me two to fouz~ hQius to fall asleep. T did an exerczse program with ]fix.
         Da~nrnel3~week r~vit~. x~o xelief. In 208,I txied epidural steroid injections and
         nerve blocks with temporary reXie~, and deep tissue and tri~geY• point therapy. I
         work as a warehouse employee. My Job involves lifting 50-120 pounds and
         pacl~ing, eight hoius/five days a week. Six ofthe eight hours involve lifting, five
         a~'the ei~~.t ~.ouxs involve walking, three hours involve standing, a~ad two involve
         s~tti~.g, M~ ability to enjoy life is good. Z a~xi. hereto discuss xx~.y optX~rn.s, pexiod."
         Dr. Duna~i states,"The Ivt~t.~ of tlae t-spine shows a very severely degenerative
         disk at T~-5 with disk herniation causing foramina! collapse and for~a~ninal
         T1aITpW1I1~, more marked ati the right side as compared to the left. The MRI ofthe
        c-spine is within normal range at this point. I tlunlc she has exhausted
         nonoperative means in the past three years. My recorramendation is for her to do a
         video assisted anterior thoracic diskectQmy and fusion with posterior spinal
        instnamentation and fission at the same time, We wi11 have her scheduled."
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 157 of 271 PAGEID #: 179




      N. ~vls. Hickey states,"According to him (Dr. Durrani}, I needed s«xgery. T.}r.
         Dut~rani assured me that Y hail degenerative thoracic spite, and that the o~l~ way
         to correct the problem was to fuse at T4-TS-T6. Dr. Duxrani insisted that zt was
         a.n accurate diagnosis, and that I world be pain free at Iast."

      Q. Dr. Du~rani failed to address the obvious fact ~liat this 5'3 woman,l3~# woman is
         lifting upwards of her ezitire body weight multiple times a day with hey worl~place
         requirements. Appropriate initial orders would have heeYl a pk~ysical t~.erapy
         consult with specific weight lifting restrictions, and monitor for improvement.

      1'. On Q~}l19/1 Q, Ms.I~ickey had her first surgery wit~i Dr. Durrani at tiVest Chester
          Hospital. Dx. DuY7ani Iists the procedtiues performed as "Video assisted
          tiaoxascapic anterior cliskectoYny at T4-6, anterior ititerbod~ fission thoracic 4-6,
          placement of anterior ulterbody cages thoracic 4-6, ~asteria7 spinal
          inst~cunentatiora at T~-6, posterior spiral fusion at T4-6."

      Q. Also on 04/19/10, Ms. ~Tickey completed a T-Spz~ae X-R~.y and fluoroscopy
         during her surgexy, The results revealed three level upper thoracic fitsian with
         bilateral ~aedicle screws and rods. Intervertebral disc sp~.eers are noted at two
         levels. The endplates ofth.e fused tl~oxacicvertebxal bodies are not well depicted
         on the ftuoroscopi~ images. The two i~itervertebaral disc spacers are relatively
         close along the craniocaud~d axis and a compressipn fracture ofthe middle
         vez~e~ral l~odX cannot be entirely excluded.

      R. IV s. Hickey states,"Sn~r~ after the su~'gery, I developed severe taerve pain
         throughout the whole tht~racic xegion. T thQUght this was norn~.al considering that
         I just had dais huge operation. A week o~ two went b~. I w~.s at my rnot~er's
         house w1ae~ the pain was so intense, like an electric shock, that I almost dell over."

       ~. On 05105110, Ms. Hickey attended k~er first post- op visit with Dr. purrani and
          Jade Moar,PA C at CAST. Jazz~re Moor states, "de;nt~ifer comes in and is doing
          very, very well at this point. She said prior to surgery she suf"£ered from pain for
          years and had chest fain, had radiating pain from az'ound the chest wall, and
          rnidthoracic back fain. Today,she says that the pain is totally different and is
          primarily just discomfort at this point. She sti11 is having issues getting a full
          breath at this point, which I told her to use her incentive s~irometer to help with
          that, She is currently walking how• miles a day to get exercise, She is still very
          sere acid Limited at this point. Jennifer xs going to start therapy for the next b-8
          weeks. Return in three rrkonths to ol~~ain a thoracic x-ray anti evaluate hardware."

       T. Ms. ~Tickey states,"Dr. Durrani took a loflk at me and stated that the screws ~vexe
          probably aggravating the nerve. TY~e solution. was to sck~edule another surgery to
          remove them. 1Va snore explanatxo~s were given.'°

       LT. At the (15105110 ap~oint~nent, A r. Durrani and his CAST stafffamed to impiexnent
           stanc~axds of care, There is n,o dacument~.tion prior to Ms. ~Tic~ey's surgery,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 158 of 271 PAGEID #: 180




         which involved ha~x~tg a chest tube,fihat she had a history of chest fain. Also,the
         fact that Ms. Hickey still struggled to take a deep breath two weeks after surgery
         should have been add~'essed. No lung sou~lc~s, rate or depth o~ respirations,
         oxygenation status, or cap~~~a.~y refill dvcurnented by staff, A c~.es# x~ray should
         have been ordered, as will as a re~erraX back to primacy care physici~.~a for
         monitoring. Instead, CAST sta~~o~Zy documented instructions to Ms. Hickey of
         continui~ig to use her iticentive spirameter. No athex discharge instni~tioz~s
         docutnerited. Additionally, Ms. Hickey stated at her two week past op
         appox~at~ment that she was "walking four miles a clay, and is veiy sflre and lirzazted
         at this point". That amount of cardiovascular exercise two weeks after a m~jo~r
         surgery is too strenuous oi~ the body, on top oftk~e fact that she was having
         respiratory issue and she was a smoker. No dflcurnent~.tia~.found regarding
         slowing down, oz• tie risks associated with continuing such a staenuous work otit.

      V. On 06/15/10, Ms. Hxe~ey attended her seven «reek host- op visit with Dr. Durrani.
         Dr. Durrani states,"She is doing awesome, ovexdid it a little bit and starEed
         having some pains i~a the right side. I injected laer right parascapulat region with
         Lidocaine and stexoxds. I told her fio just take it a little bit easy, anti not repeat a
         lot of activities."

      W. On Q7101110, Ms. Hickey received another x~njection in the sight parascapuiax
        region with Li~ocaine acid steroids by Dr. I]uY~'ai~i, because o£pain in same area.

      X. Ori 0~I13/10, av2o~ro,and 08/45IIQ, Ms. Hickey continuet~ to receive injectia~s
         by Dr. Duzx'ani in the above mentioned area because ofpain. Dr. Durrani states at
         her 071I3110 visit, "Yt looks like scar pain so we injected the scar again with
         lidocai~e and steroid."

      Y. On 08112/10, Ms. H~akey attended apost- o~ visit with Dr. Duxrani, Dr. Dnrrani
         states,"She is still complaining of neuropathic pain on the rzg~t side whioh
         radiates all the'way along the chest wa11. This became s~ bad that she actt~aX~y
         tensed up driving and wrecked k~er truc~C. My plan xs to get a T-Spine MZti to
         make sure she is not huxti~ag any other thoxacic disc. second will be to take out
         the ~r~ght sided screws and explore these nerve roots, and ifthey ~~'e causing
         problems, we care dv a iietve root ablation as well at the same tune."

      Z. OYi Q8/24/10, Ms. Hickey completed a T-Spzne MRI,ordered by Dr. D~u~rani, The
         results revealed prior fusion. at T4-6 witY~ extensive metallic artifact at tk~ese
         levels, k~emangiom~, at ~'J.1, no clinicalXy significant foraminal stenosis, nQ
         evidence ofsigni~~ea~t ~'QCal disc cc~r~tour abnormality, artifact distorts the
         anatomy at the £used levels and will diminish the sensitivity of tlae study at these
         levels.

      A.A.      On 09/01110, Ms. Hickey completed her second surgery with Dr. Duxx~.~ai
         at West Cheater Hospital. br. l~u~rani lists the procedures per~oi~rned as
         "Removal of hardware on the xight side from TS-T7, explaxatzon offiisio~, TS-~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 159 of 271 PAGEID #: 181




         nerve root compression". There is no documentation frazn Dr. Y3urrani nog a
         cansetit sided t'or any hardware to be placed at T'~, during her initial surgery oz~
         04/19110, so it is unclear why/how Dr. Durrani is naw removing hardware from
         that area?

      BB.         A1sv on 09101/10, ~VIs. Hicke3~ cotnplefied fluoroscopic t-spine radiographs
         after her surgery. The finditxgs revealed leis sided ~edicle screws and fizsion rod
         have been refnoved. Right sXded pedicle screws in fitsiori rod as weXX as
         irlterver-~ebral disc spacers are noted. D~~, Du1~•ani dQClunenfied in his OR repaid
        that he removed screwy from tie ri t side,

      CC.        Qn t?9/1S/14, Ms. Hickey att~nd~d k~er two weep post- o~ visit with I7x.
        Duzxani, Jamie IvFaor, FA-C states,"She had. a ~.erve exploration and removal o£
        tha right sided screws of her'VATS instruria~ntatio~i on 09!01!10. Ms. T'~ickey
        states she was i~ a house fire three days post op and had to ~t~n quite a bit to get to
         safety. Very tender to touch, very sore, ht~r~s to breathe, and chest really hurts.
         Start physical therapy, and I will give her anotk~er Medrol Dosepalc to calm thins
         down a bit. We will see her back in three r~ao~atk~s with a tharaaic x-ray."

      DD.       At the 09/15/70 appointment,Dr. Du;r~rani acid his CAST staff failed #o
        implement standards of care. Ms. Hickey is once again complaining a~'chest pair
        and respiratory issues. No lung sounds, xate or depth of respirations, oxygenation.
        states, or capillary refill dacumanted by staff. A chest ~-ray should have been
        ordered, as well as a referral back to primary care physician for monitoring,
        Instead, CAST sfiaff begins a stexoXd without completiz~~ a full examination. IVo
        other discharge instructions documented.

      EE,On 03122111, Ms.~xekey completed a T~Spx~ae X-Ray, ordered by Ax. Du1~•ani.
         The x-ray revealed no abnormalities, and intact l~tardware.

      FF.On that same day,03/22111, Ms. Hickey attended a fallow up visit with Dr.
         Durrani. Dr, Durrani states,"Slie had a video assisted thorascopic anteriox
         diskectarny with posterior spinal instrume~.tation and fusion iu Septerrabex 2410,
         had the right sided rods removed and wa,s doing very well and now k~as started
         complaining o~tk~is radicular pain in. tl~e thoracic spine distribt~t~an on t1~e right
         side along the T6 distribution. This, aacc~rding to leer, is getting worse. The xxays
         reviewed today shows e~eellent placement cif the hardware with no change. ~ feel
         she either Baas a scar around the nerve root ofthe T6, oY is haying some nerve root
         compression. I would like to get an MRI ofthe T-Spine. Start T,idocainE patches,
         Neuxo~tin, CAST pain physician referral, injections in the T5-6 nerve rooti on the
         right side," Dr. Dtu'rani did not document i7z his OR report of any rig~at sided rods
         being rerno~ed.

      GG,       C3n 03/2S/I1, Ms, Hickey completed her T-Spine MRI. ]7isc is enclosed
        for review, print out unavaxlab~e.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 160 of 271 PAGEID #: 182




      ~.        fin. 43129/X X, IV s, Dickey attended a follow up visit with Dr. Durrani. ~7x.
       T}urrani states,"The MRI shows that the foramina on the right side is wide open
        at the operative level...nry feeling is that the reason for her radxcular pain is nerve
       root irritation."

      II. On Qd/1~/12,IVIs. Hickey completed a C-pine MRI, ordered by Dr. ~mar~
          Qsser~nan. The MRI revealed minimal centxal discogenic changes at C3-4, No
          evidence of focal cervical disc herniation, cexvical c~.nal stenasis, or focal cervical
          serve root compresszo~z,

      JJ. On x4105113, Ms. Hicl~ey completed a T-Spine x-ray, T-Shaine CT,and a thoracic
          myelogram, ordered by Dr. Tobier. The T-Spine x-ray revealed le$ transpedic~ila.r
         level screws are present at T4 and T6,transfixed by ~ostei7pr rods. Infierbody
         bone graft spacer present at T4-5 and T5-6. No fracture or rnalalignnlent. No
         acute osseous abnormality. The T-Spine CT revealed ~a compressive
         abnormality or spinal stenosis. The left T4 screw traverses the left costove~~tebral
         joint unmediately lateral to Elie left T4 pedicle. The distal tip ofthis screw
         prajacts into the posterior mediastiniun terminatingjust posterior to the proximal
         descending thoracic aoi-~a. There is chronic cantoux ix~egula~ity ofthe lateral
         cortex ofthe right T4 pedicle and posterior right latez~aX aspect of vertebral body at
         the level of the right costovertebral joint related to s~zrgical ir~strumeri#ation now
         removed. Similarly at the right aspect of T6 vertebra at the same level, Mere is
         also evidence ofprior instrumentation. Tk~e Xeft Tfi pellicle screw distal tip
         projects just anterior to the left antexia:r vertebral body wall col-~ex terminating just
         posterior to descending thoracic aorta, The thoracic myelagrain revealed no gross
         evidence fair thoracic ~ae~eve impingement, or evidence offar cervical nerve root
         sleeve i~nnpingement,

      KK,       Dr. Durrani's misinterpretation ofthe pie-operative diagnosis: Dr.
        Durrani stated ui hip Oft dictation ~xom the first surgery on 04119114, thafi Ms.
        Hickey's pre-op diagnosis was "pege~lerative spinal stenosis T4-5, 5-6." All
        recent radiology up to tk~at point clearly indicated na stenosis at any level.

      LL.        Dr. Dur~ani recoin~nended surg~;ry at Che initial visit on 01119114.

      MM.         br. T)urrani performed two surgeries on Ms.Hickey.

      NN.        rhBN~~'-2 was used in Ms. Hickey's initial surgery on X4/19/10.

      00.         The following Hardware was ir~nplanted:

                 surgery #1 vn 04/19/10
                 One Medtronic Infiise Set Bone Grft SM 2.8x3n1 into upper back
                 One Qrthavifia Foam Bioact Vitoss'~'ack 5ce into upper back
                 Two K2M 8.5 x 22 x 5mn~ spacer into upper back
                 Four K2M SCR PA. MESA 5.5 x 35rnm iz~ta upper back

                                                 7
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 161 of 271 PAGEID #: 183




                 Two K2M S,S ~ SSmm- Rods znto upper back

                 Sur~er~#2 on 09/Q1l10
                 Nv it~zpZants recorded

      PP,~£~Label Use:

         The Intra-Operative lag indicates that Dr, Du~ra:~i iinpianted rhBM~-2 in#a mss.
         Hickey's thoracic spine d.►uing her initial su~'gezy o~i 04/19/I0. Aeeoxding to the
         PMA submitted by Medt~~anic to the FDA,~nfiise was intended for ~. single level
         anterior Iwnbar in~erbac~,v fusion perfortxaed with alb three components in a
         specific spinal r~gXOn. The three components that the lilfuse device consists of are
         1.) A metallic spi~.al £union cage {the LT-Cage), ~.~ TEiO b0I1~ gtc3~ 511~}StltAte~
         which consists o~Xiquxd xk~BIVI~'-2, and 3.} A spongy carrier or scaffold for the
         protein that resides x~. tk~e ~usic~n cage. With the exception ofi two non-spinal tines
         not relevant here,tk~e F]].A. Baas ztat approved any other use ofInfuse, including the
         posterio~~ approach used ova Ms. Hickey by ]fir. l~ux;rani. He failed to use the ~'bA
         approved cage ox spongy ca~xzex, implemented BMP in rnulti~le levels, introduced
         BMP into tl~e ~.o~. FI.7.A. appxoved tlaorac~c area. 'z'be offlabel use ofBMP without
         the expressed ox wrxtte~n con~se~t ~~.dlor owZedge of Ms. Hickey is a violation t~f
         standards of care, as we11 as a vi~latian ofthe manner in which BMP could be
         used,in accordance with the FDA,

      QQ,        Operative Report Dictations;

                 Surgery #1 an 04/19/10
                 Dictated on 10/2110

                 Suxgery #2 on 09/O1/x Q
                 Dictated an 1011$11~

      R.R.      The fallowing consisted offailed haxdware; On Og/01110, Dr. ~3urrani
         dictated that he rerraoved set screws from the right side,

      SS.In July of2413, Jennifer went to the Cleveland Clinic. Jentufer states," On July
         1 St, Z k~ac~ my first appointment. During this appoinisnent, T7r. Meyer reviewed my
         records and all scans. After a physical ex~.m, He admitted that this Vvas a fazled
         thoracic s~ugery and rn.y pain prior to suargery was rslated to the se~pu~a, Dr.
         Meyer made an appoi~t~ae:~t fox m.e ova July 2~`d with ar~otltex pk~ysician to examine
         me. The second appointrner~t was wi#h Dr. Mathews. I have been enrolled ul a
         twee week chronic fain rehabilitatio~i ~rogr~m. This pra~ram is an intense all
         day physical therapy for three cpnsecufiive wee~Cs done in the hospital. This
         program ine~udes OT,PT,strength training, oardio water therapy, and
         psychathexapy."
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 162 of 271 PAGEID #: 184




      T'~'.Ms. ~-Iickey states, "After my second suxgexy failed, Y continued to have the pain I
          started with. My life started to spiral out ofcontrol. The pain was unbearable. I
          was trying to fnisli college, work full time, and mainfair~ ~ personal life. Y started
          to seek holistic options, massage, chirflpractic, vitamins, and acu~uncfiure. I
          found. myself ins a financial situation I col~ld not recover from. I had to file
          bankzuptcy. I spend countless hours ofsleep. My emotional aid psychological
          wellbeing is now a.#'fected. I have to see a counselor. 1VIy physical paa~ h.as ruined
          my relationship. Tai Tanua~ry 2012,I stat~teci to endure long episodes of pain that
          caused me ~o stiiffer fiom vaso~vagal ssmca~e. ~ was admitted into the hospital
          and told one offine triggers is dne to ~~igh levels of pain. The pain is always there.
          I ain afraid to start grad school because Z carutot sit for long periods oftime."

      13. Based upon n1y review,the following are my opinions based upon a reasonable
          degree of medical certainly pertainiz;g to the deviation in standard ofcaxe yr
          negligence, informed Gor~senfi, battery and fraud claims against Ar. ~?uz~anx, CAST,
          West Chester and[~C Health wl~icli proximately caused harm to Piainti~£

         A. Need to have additional surgery to repait~ problems created by Dr. Durra~.i

         $. Implantation o~Puregen without itifortned consent

         C. Implantation of BMP-2 without uiformed consent

         D. Failed hardware

         E. FaiXuxe to obtain ~ropex zz~~o~xa.ed consent fay surgery

         F, Failuxe tv provide adequate and thorough pre-operative and post-operative
            patient surgical education

         G. Failure to properly past-op manitox tkze patient

         ~. Fai~ur~ to properly perfoYnn follow up,post-tip care

         I. Negligent surgical techniques

         r. Failure to tnaititain accuxate and complete surgical records and suxgxcal
            consent foi7ns

         K.. F~,i~ure to disclose itnpoitant health infornlatian to patient

         L. Failure to maintain and complete discharge summary

         M, Failure to supervise Dr. Aurrani

         N. Negligent pre-surgical di~~nosxs

                                                D
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 163 of 271 PAGEID #: 185




         O. Fail~u~e to prepare a timely aperat~~ve report or other medical recoxd

         p. Billing foY services not corzapleted

         Q. Not infoirning the patient another si~rgean will be doing all or part ofthe
            sw~gery

         R. Pxaeticin~ outside Dr. burrani's scope oftr~.i~.ing, edl~cation, experience, ar~d
            Board certi~catioris

         S. Deviation in sta~daY~d of care

         T. ~'aih~re to perforxs~ thoraugl~ ar~d accurate pre-off ~lonstugical evaluation

         U. Failure by Dr. Durrani to inform patient of additionallchanged prroeedure and
            reason

         V. Failure by CA.S"Z'to disclose addifiional/cha~.ged procedure and reason to
            patient

          W. Failure by Dr. ~.7urrani at CAST to propexly educate patient regarding
             diagnosis

         ~. Pridx knowledge ofpassible cornplieatiou and nat acting properly upon same

          Y. FaXiure to disclose pertinent health uiform~tio~.to another health caxe provider

         Z. Fraudulent, negXzge~.t and reckless pre-operative work up

          AA.    Fraudulent, negligent and xeckless surgery

          BB.    Inaccurate, fraiiduXent, a~~d/ar exagg~ratian o~ diagnoses

          CC.    ~'ailuxe to properly educate patient regarding diagnoses

          DD.     Failure fia attempt non-surgical can.servati~ve t~eatr~ent

          ~E.    Failtue to pez~£or~aa thorough and accurate pre~op nonsurgical evaluation

          FF.k'ailure by D;r. Du~'ani at UC/West Chester Hospital to perform accurate and
             aoinpiete preoperative teaching

          GCx. Faa~ure by Dr. Durrani at UC/West Chester Hospital to pra~erly educate
             patient regarding diagnoses



                                                lfl
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 164 of 271 PAGEID #: 186




         HH,    Failure by Dr. Du~rrazli at UCIWest Chester ~Ios~ital to maintain accurate
           a~c~/or com.~lete medical ~'ecords

         II.       Failure ofinformed consent by Dr. Dw7a~li at UC/West Chester hospital

         JJ'. Failure of UC/West Chester Hospital to insure Dr. Durrani and CAST had
              obtaicied proper informed consent

         KIC,      Failure of UC/West Chester Hospital to obtain proper acknaw~edgernent
               Of COnSent


         LL.Failuxe by Dr. Durrani at UC/West Chester Hospital to disctose pertine~.t
             health i~a£o~rna~i~~a

         MM. Faih~re by UC/west Ckaester Healtl3 to disclose ~.dc~ztional/changed
           procedure and reason to patient

         NN'.      Failure by UClWest ~k~ester Healfih to supervise staff

         00. Failure by UCIWest Chester Medical staffto properly document
           abnormalities a.nd follow up care

         Pl'.Non-approved haxdware eombina#ions

            QQ. Dr. ~7u~rani made false and rnateria~ m.is~representations of materiel facts
              intended to mislead Jennifer Hickey aaad concealed material facts he had a
              duty to d~scla~e. UCIWest Chester Health and CAST concealed riaatexzal facts
              they had a duty to disclose. Jennifer Hickey     was justified in :relying on
              the misrepresentation and did rely proximately causing haz'm. to Jennifer
              Hickey. Dr. Duxra~ai, CAST,and U'C/'West Ch~stex Health intentionally
              misled JennifEr Hickey. Jeimifer Hickey~.ad the xight to correct information.

      14. Tk~e testiinati~, facts and e~~ibits Qf Brenda She11's Response to Motiv~~ for
          Summary .Fudgment and ~;~hibits tc~ same are applicable to all the o~ain~s ~gains~
          West Cl~esfier Medical Center(WCMC} and UC Health far all claims, ineludi~ig
          ne~liget~t retention and credentialing brought E~y Plaintif.£

      15.       Based upon my review of t~~e depasitipi3 #estimony, tl~e:TCAHU req«irements,
            the IV~EC bylaws and all tl~~ znft~rmation p~~avidecl to me, T a~n able to adapt the
            followiaxg opinions relating to WCMG and UC Health pertail~inng to the e~a~~~1s
            ~~ai~ls~ then, WCMC's a~~d UC Health's actions and inactions detailed kip this
            affidavit ~r~~t~lately caused llai7n to plaid#iff. WCMC and UC Heal~k~ ~e both
            bung refere~.ced when oa1~y WCMC is i~am~d. ~ hold the ~oltowi~g opxrnions
            xelative to WCMC and UC Health pertaining to their conduct acting through their
            administration mid MEC, The time period covered is from.the time Dr, Durrani
            sought privileges prior to WCMC ope:~ning x~a May 2049 through May 2 13 when

                                                 11
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 165 of 271 PAGEID #: 187




         he no lo~ager had. privileges. In addition to my opinions, I set forth facts I rely
         upon. This xz~cludes all which I referenced fihat I reviewed. In addition to all of
         the above,I attest to the following:

                                           FACTS

         ~. According to West Chester's first Executive V'iee President, Carol King, she
            did not explore the "tumors" about Dr. Dw~ani's leaving Children's.

         2. Aecoxdin.g to Carol I~zn~, the hospital traced problem issues yet ~GVCMC
            have failed to produce the information under peer review protection.

         3. According ~o circulating muse, Janet Snlitla, presets were elaangeci in the
            completer to indicate the procedure Dr. Duxxani perk'oYnied after the procedure.

         4, According to Janet Smitla, despite no one at West Chester never working w~~ll
            Dr. T)urrani b~fare, WCIV~C never checked him out.

         S, According to fc~riner University Hospital ~'resid~nt(a UC Health hospital},
            Brian Giblex, hospitals #ace fina7~cial challenges,

         6. According to risk manger,Da~ici Sohwallie, risk rnanageme~t knew Duxxani
            had issues.

         7. According to radiologise, T}101t1~S BPO'Wil~ there were surgeons questia~ing
             Durrani's decisions to perform surgery.

         8. According to medical staff'director, Paula Hawk,a policy called "stop the
            lying" was xxnplemented the same year and month they kicked out Dr.
            Dur~rani. This infers a poor environment of ho~.esty and disclosure befoxe this
            policy.

         9. Accardirsg tQ ~at~la Hativk end a~ the director of medical staff, moaaey is not
            supposed to tru1np patient safety.

         ~0, According to Paula Hawk,she atlrnits peer re~ie~t is far hospitals to pxotect
             each atk~er.

         1 I. According to Paula Hawk,she admits hospit~.ls are inte~'ested in volume,
              something Dr. Durrani provided fox WCMC and UC I~ealth.

          12. According to Mike Jeffers, the director o~ ~n~ice, they tracked Dr. Durz~~.ni's
             f~aancial numbers.

          13. According to Mzl~e Jef~e~~s, he admits Dr. Durrani helped them its their time o~
              need.


                                               12
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 166 of 271 PAGEID #: 188




         14, According to Mike Jeffers, Dr. Durranx was the highest money generator.

         1 S, ~1cGOt'ding ~o Mike ,reffers, he knew Dr. IJuxz'a~i load more than Qne surgical
              surte assigned at once.

         16. According to 1VIi~e JeFfers, bonuses were paid to hiiii and others based upon
            finances,

         17. According fa Dr'. Pete'Ste~'x1, ~.e knew Dr. Durrani was ~zily "satisfactory,"
             not a world class spiny sur~eoza as West Chester advertised.

         18, Dr. Stern doesn't deny adn~it~in~ UC Health looked the c~tlaer ~vay on Diu~raru
             because of money.

         ~9, Accarciing to credetltialing manager, A3u1 Shelly, there was plenty of"public
             knowledge" about Dr. Durrani to check before ~credentialing.

         2~. Accardi~ig to Ann Shelly, West C~.ester relied on the NPDB t~Zey knew was
             protected by hospitals.

         2Y, Dr, Eric Scluleeb~r~~r, D;r. ~7uxxani's ~a~tner, was on the MEC at WCMC.

         22, Accordi~ig to Eric Sch~~eel~erger, West Chester knew abauti Diu~rani
             scheduling surgez'~es long into the day and night.

         ~3. According to former nursing ni~ager,Elaine Kunk~, WCMC knew .bout Dr,
             Durrani ~aot completing records.'

         24, Ac~arding to Elaine I~unko, WCMC knew ~?r. Durrani would claim surgeries
             were emergency when they were not.

         25. According to Elaine Kunl~o, WCMG kner~v there was an issue tivith D~,
             Durr~t~i z~ot being in #ha roam doing surgery on "his" patient.

         26, According to Elaine Kunko,even the DR nurses knew WCMC put up with
             Dr. Duj7ani far money.

         27. Accardi~ag to Elaine I~unkv, WCMG t~'ackec~ Dr, Dur7avi's financial numbers,

         28. According to perioperativ~ direcfior, Lisa Davis, VV'CMC knew Aurxani's
             office is sapposed to get consents so WCMC had an flbligatzo~a to xz~ake stu'e
             they did.

         29. According ~o Jill Stegman,the risk n~.araager at West Chester, she knew
             Du~xa~i had "15SL1~8."

                                               13
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 167 of 271 PAGEID #: 189




         30. Jill Ste~;tnan canfir-ms Gerry Goodman's complaints.

         31. Accaxdin~~ to I~.at1~~ Hays, WCMC knew how br. Duxzani used BMF-2 and
            PureGen.

         32. Dr. Tirci Kremchek,tie Chief ofthe O:rt~.opedic de~artm.ent, failed to do his
            jab under the IV1EC bylaws as it rel~.ted to the supervision acid review o~Dr.
             ~]tas~ani.

         33. AGCOxdii~g to Dr. Tim Kretnchek, he knew Tar, Durxani was "slo~~y."

         34. I~~vin Joseph, the CEC? ofWCMC,claims to know nothing about surgery
             aperation~s in his hospital.

         35. Kevin Joseph, the C~~,claims a hospital must protect patients £Worn
             unnecessary hatni "~s much as they can."

         36. Kevin Joseph,the CEO,cXaims WCMC doesn't have oversight o~'surgeons
             doing what Plaintiff claixals Durrani was doing. (Despite what hxs bylaws
             state.}

         37. ICevi~i Joseph, fine CEO,denies the hospital has any responsit~i~ity if Dr.
             D~urat~i did an unnecessary surgery,

         38. Y~.~vin Joseph,the CEO,despite his finance office tracking it, denies a~ay
             knowledge ofBMP-2 use.

         39. Kevin Joseph,the CEO, denies knowing about any complaints about Dr.
             Durrani.

         40. Kevin Joseph,the CEC7, admits they benefited financially from Dr. ~}ux~rani,
             including his own pay.

         41, Mark Troznba, the 4R manager, admifis BIV~P-2 use as used by T.~r. Durrani..

         42. Accardang to Jeff Drapalik,the Senior Leadership team,including Joseph, met
             weekly and reviewed numbexs.

         43. According to Jefif Drapalik,the CFQ of'~JCMC knew I3r, Durrani was a high
             vaXurne money maker.

         44. I.~esley Gilbertson, a member ofthe MEC of WCM~,and anesthesiologist
             workuig with buxrani, had a concern about how long Durrani kept ~aatients
             under.


                                               14
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 168 of 271 PAGEID #: 190




         45. flccording to materials n1a~1ag~r, Deru~is Rtibb, WCMC knew tk~e volumes of
             B~UIP-2 being used.

         46. Accardin~ to Karen G af~ari, WCMC knew tlae chart dacumentatio~. of Dr.
            Ilurrani was not i~. compliance with their bylaws.

         47.1'atric~C Bak~x, nursing ~P at WCMC admits WCMC tracked the financial
             per~or~nance of Dr. Durrani.

         ~$. l~ccordiug to nu~•se, Vicki Scoi:t, the admu~istra~ion o~ WGMC knew from tha
             outset of West Chester all tl~e serious issues pei~tazni~ag to Dx. Dui7ani.

         4~. A,ceording ~to Vicki Scvtt, West Chester's risk manager began to xgnare
             c~znpXaints from Ms. Scott,

         50. According to Vicki Scott, staff was scaled to speak out.

         51. Accaa~d~ng to Vicici Scott, patients didn't know who did the suxgeries—Shand
             or Durz'azai.

         52. Accaz•din~ tc~ Vicki Scott, records were nflt accurate who was in tk~e 4R at
             what tx~nn.e,

         S3. ACCarding to Vicki Scott, everyone at WCIVIC knew it was about money.

         54, According to Vicki Scott, WCMC knew about Dx. Durrani's and West
             Chester's illegal use of F'ureGen.

         55. According to Vicki Scuff, Dr. Dur~~ani was a behavior problem.

         56. According to patient repa•esentative, Elizabeth i7ea~, WCMC tracked Dr.
             Dunani's volumes from the outset ~x~d the CFQ loved what he saw.

         57. According to Elizabeth Dean, WCMC kr►ew Dr. Du~~rani had issues at
             Children's.

         S8. According to Elizabeth Dean, WCMC knew Dr, Durrani was perfoi~ning
             unnecessary procedures by volcunes and repeats.

         59. According to nurse, Seatt Rimer, WCMC knew Dr. Durrani waited ikntil after
             surgeries to docurrxent what procedures were planned.

         ~0. A~cor~in~ to Scott Rimer, patients at WCMC had procedures they did got
             consent to and WCiVIC knew it.

         61. A~ctsrding to Scott Rimer, sterile fields were not protected.

                                              15
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 169 of 271 PAGEID #: 191




         62. Accarc~i3~g to Scott Riin~r, WCMC knew pureGen was being uset~ by Dr.
             17urraa~.i and alio~ved it.

         63. Accordii~.g to Thomas Bl~rlk, Pu~reGen was an alternative to BMP-2, whioli
             WCMC t~irned to based upon insurance denials ofBMP-2. In addition, Iar,
             Dut~rani operated an unethical P4D o~.A.lphatech called Evolution Medical to
             sell PureGen to Wept Chester.

         64. According to Geary ~Goadman, VVCMC trac~Ced BMF-2 use by Dr, Du~rani;
             patients did not know wk~o at times perfornaed their surgery Dr. Shanti or Dr.
             Durratai; eIectroluc records had to be changed after Dr, Durrani's surgery; Dr.
             Drarra~i and ~i1CMC never obtained infornled Gonsez~ts; Dr. Dur~`ani's volume
             was a wat~ning sign of ovez~ttilization. Gerry Gaodtaaa~ reported all these
             concerrxs to ~CM~ and there was n~ action. Gerry Goodman was told and
             ooncluded that VJCMC did ~.at want to da axaything abut Dr. Duz~ani because
             of money inwards.

                                ADDITI4NA,L aPINIUlY~

         65. The Center of Advanced Sine Technaingies {CAST)xiegligently supervised
             and ret~.z~aed Dr. Durrani, including by aXlowing Dr. Durrani to perform
             unnecessary procediues acid surgeries; use BMl'-~ aaicllor PtueGe~. without
             appropriate consent;failing to disclose Dr. Shand and others involvement in
             surgexy; improper bi~Iing; changing the pre-op anal post-ap records to coincide
             wheal the surgery was not the sux~ery disclosed; and all other canciuct detaiXed
             in the documents I reviewed.

         66, WCMG,UC Health aiicf CAST's motive for their actions ~~d inactions
             towards Ar, Durrani tivas financial gain.

          ~7. The Iv~EC, admizais~'ation and Boards of WCMC and UC Healtk~ failed to
             "govern the a£~'airs ofthe Medical ~taf£"

         68. The MEC,admuustration and Boards of WC1v~C anti[.TC Health failed to
             enforce their r«les upon Dr. Durrani as they were required to dfl,

          69. The MEC,adm.xnistration and Boards o~ WCMC and UC HeaXth wiled to
              provxd~ oversight of Dr. Durrani as they were req~ured to da,

          70. Th.e MEC,ac~miiustration and Boards of'WCMC and UC Heaith failed to
              pxaperly evaluate Dx. Dui7at~i.

         '71. The orthopedic and Surgery Departments abdicated their responsibility under
              the MEC bylaws to review,investigate acid supexvzse Dr. Durrani.



                                              l~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 170 of 271 PAGEID #: 192




         72. The MEC,admi;nistrationand $oards of WCMC and UC Health failed to
             proper~~ discipline Dr. Durrani including summary suspensions acid
             revocatzo~i.

         73. The MEC,administration and Boards o~ WCMC and UC Health failed to
             properly dxsci~line tinder the MEC bylaws as it~ertains to Dr. Dw~ani.

         74. The MEC,ad~nuushation. and Bards of WCMC and UC Health ignored tie
             information readily availabXe pertaining td Dr. Dunani be~are credentialing
             and granting laxm privileges.

         75. The MEC,admi~.zstration and Boat~ds of WGMC and UC I~ealth failed to act
             on Dr. Aui~ani's disruptive behavior, unprfl~'essional behaviox a.~ld clinical
             performance pl~ci~.g Plaintiff at ~rxsk,

         7b. The MEG,administration and Boards of W~MC ~~nd UC Health certified and
             approved the unnecessary pro~~du.~es of Dr. Durrani on ~'laintiff lulowing they
             were unnecessary and k~lowingly allowing the improper use o~BMP-2 as~d/or
             PureGen and knowing there vas nat prap~x inforn~.ed consent,

         77. The MEC,adrninis~ration and Boards of WCMC and UC Healt}3 failed to act
             on Dr. Di.u~rani's failure in medical recaxd documentation.

         78. The MEC,adrnxiustration arnd Boards of WCMG and UC ~Iealth foaled to
             require Dr. Durra~i to fol~aw the rules far off label expeximental p~^acedures.

         79. The MEC,administr~.tion and Boards of WCMC and UC Health allowed Ar,
             Durrani to use undisclosed and unqualified surgeons to perfozym his surgeries
             including Dr. Shama.

          8Q. The MEC,adr~inist~atior~ and Boards of ~C~vIC and Y7C Health allowed T)r,
              Durrani to do multiple surgeries at once.

          81, WCMC and UC I~eatth have refused to provide as privileged the peer review
              infarma~ian from WCMC for Dr. Durrani to either me or their own expert.
              Therefore, we have no kiao~vledge of wh~.t action,if any, was taken against
              hinr►, However, based upon tha £acts here, xt is obvious they failed to fake
              action.

          $2. Based upviz all ofthe above, i#'s my opinion that WCMC and UC ~-Iealth were
              negligent in their c~edentialing, supervising, disciplining an,d retaining Dr.
              Durran.x vn staff Azad allowing him.to obtain and beep ~rivi~eges at WCMC
              under the standards of ~hxa as detailed in the Breda Shell's Response to
              Motia~l for Summary J'udg~nent and this praxiix~ately caused harrrz to Plaintiff.

          8~.'The £acts support Jetuiifer Hickey's claim for negligence, battery, lack of

                                               17
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 171 of 271 PAGEID #: 193




                    consent and fraud.

              $4. As a result ofthe negligence a~.d conduct of Dr. Diu7ani, CAST, West Chester
                  and UC ~ealtli, 3ennifer T-~ick~y su£~exed darna~es proximately caused by
                  tfietn, including the folio~ving:

                    A. Pennane~t dXSabxlxty
                    B. Physical ~e~armity and scars
                    C. Past, Current and Futtu'e Physical a~ld Mental Pain and Suffering
                    D. Lost income past, preseY~t and fiiture
                    E. Lass of enjoyment of life
                    F. Past medical expenses
                    G. Fugue medical expenses approximately in the amount of$50,400 to
                       $250,OOQ depending on. eaurse of t~•eatment
                    H, Aggravation of a pre~exi~tx~g condition
                    Z, Decreased ability to earn z;~come
                    J. 3%increased risk of can.ce~ and fear of cancer ~f BMF-2 vvas used.

   AFFIANT SA"YETH FUR'~IER NQT


                                                          i/~
                                                    KEITH D, W~,KE ,M.D.




    SLTBSCRISED,SWORN TQ AND ACKNOWLEDGED before me,al~Intary Public, by

    Keith D. Gilkey,lV.t.D, on this _~day ofJu~7e,201S.


                                                     .~11a,~
                                                          ~i~ lI~         fir.
                                                                            - //,~1
                                                                  ~        ~!    ~ r•
            ~NQ `~A p0l~n N
         NQfary Pv611c ~ Notary 3eai
             State of A+li$SOUr1                 ~~ .~,/.             •
    Comrnfssioned for Sf. Charles Cohnty
   MY Cammissfar~ Exp(res: July 18,
      Commission Nurr~,6er: i11336i32015            State o~ N~ L~►~'~




                                                   1$
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 172 of 271 PAGEID #: 194




                                    RQ~ERT HQUGHT4N ~~,.
                                    AFFIDAVIT OF MERIT
                                      WEST C~IEST~~t

          I, Keith D. Gilkey, M.D., after being duly sworn ~.nd cautioned states as follows:

      1. I devote at least one-half of my professional time to the active clinical practice in my
         feld oflicensu~•e, or its instructzan in an accredited school. I am an ortl-►Qpedic
         slugean whose foous is on spitaE stugery and treatment ofthose wit~~ spine issues.

      2. I.will suppieinent t1~is afFidavit with another, by a letter or by testimony, based upon
         auy infartnation provided tame der I execute it.

      3. My curricult~rt~ vitae k~as been previously provided to opposing cou~isel in these Dr.
         Diu7•ani cases aa~.d can be provided again upon request. ~~'or my review,I rely upon
         my education,trax~aizag and experience.

      ~. I have not courted but I have reviewed, over 5~ or mare cases uivalving Dr. Du7rani
         anc~ the h~spita~s w~Zece he ace had privileges.

      5. I base my opinions in part o~. my review of alI the cases Y have reviewed which lave
         revealed similar conduct by D;r, T~u~a~ai and the hospitals where he had privileges.

      6. Tarn familiar with a~a~licable standard aware for Qhio, Kentucky end -the country
         for an ar~liopedic/spine su~gean such as Dr. Dur.~rani,

      7, ~ an1 also familiar with applicable standard ot~ care, policies, Yvles and regulations,
         rnetlxcaX e~ecafive cornnuttee bylaws, JCAI~O requirements, ~redentialmg,
         su~ei~vising, retention o~medica~ staff, gxax~ting and rejecting privileges and the deer
         review process for West Chestier Hospital, LLC,also referred to as West Chester
         Hospital or West Chester Medical Center• and UC Health.,

      8, I have reviewed all relevant medical records including radiology ofDr. Dtu~~ani's
         medical heatme~t o~~tobert Houglatdx~ azad the rn~edical treatment ofRobert
         Hou~}ltan at West Chester.

      R. ~ have reviewed the Response to Si~rrunary Judgment in the Brenda Shell case axxd
         all tk~e exhibits attached to it.

      I0. The Center for Advanced Spine Technologies,fie. was Dr. Durrani's practice group
          and he was the sole ovvrxe~, director and officer o#'CAST as well as an employee.
          CAST as such is a1sQ responsible for I~r. Dw7ani's ~eglxgenCe and £ox tlaevr failure to
          also supervise, discipline and retain Dr. Durrani.

      11. ~ k~~ve also reviewed the nursing summary prepared by Iega1 counsel's office far
          Rabez~t Houghton. ~~sed upofi the rn~mber of cases I've reviewed pertaining to Dr,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 173 of 271 PAGEID #: 195




          Durrani, legal coru~sel's office lrnovvs what materials ~ need to review acid provzdes
          me those ma#eriaIs. In addition, while this affidavit contains case specific
          information; it also contains infv7~aation relevant to this case and/or rnaz~.y and/or
          most andlor all the other cases. It xs prepared forme by counsel with zxiy direction
          and approval like all ofthese l~a~e been.

       12. Based upon lny review,tl~e following are the facts I rely upon:


      A. Dr. Dul~ranx recommended the surgery an the very frst office visifi. He made no
         suggestions or attempts fog conservative treatment at alb. It ~t~vas a premat~ue
         decisiotz to ~o forward with the surgery tight away, It was not necessary to ga this
         route as tie initial treat~nen#.

          lst surgeYy — I]x. Aurrani,"He has disk herniat~o~ bot~Z at the L,4~-LS and the LS-S1
          1eve1 causing cex~txal and foraniinal stenasis."

      C. '~'k~e MRI Iumbar spine from 3/30I1D is interpreted as: Otherwise broad-based disc
         protrusions at L4-LS without ce~atxai or foraminal stenosis at the remaining levels,


      D. 2"d surgery —There were na Dr. Durrani notes rn~ntioning the second sur~eiy that
         took dace on S/23/10 to coni~are to any films taken,


      E. Initial a~'fzce visit was on 4113110 and D~•. Dur~ani recaz~nmended a,"L4-L5 and
         LS-S 1 a~.d ~.5-S1 intarbody fusion with posterior spznal insi~.unentation and an
         LS~SI rzg~t sided forarninotoYny.


      F. Dx. Durrani perfgr~ned 2 surgeries on the oliez~t:
         .lS` suNgery on 7/x911'0 at YYest Chester H~spitc~l

         Procedure —dial lumbar interbody ~uszon L4-L5 and LS-S7 using auto and
         allograft. Flacement of axial lumbar iz~texbody cage I,4-LS and LS-SI. Postexior
         spinal instrumentation L4-LS and LS-SI.Posterior s~i~ial fu~sxon using auto and
         allo~raft L4-LS ar~d ~5-51. Lumbar larrtineetanly LS~SI. Bilateral foraminal
         decompression, predominant L5-S1.

         Pre aid postflp diagnosis — Degenerative lumbar disk disease,I,~-L5, L5-S1,
         Degenerative lumbar spi~a~ stenosis, L4-LS and L~-S 1.

         2"`~ ~ur~gery on 8/23/10 at YYest Chester ~1"ospital

                                                2
  Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 174 of 271 PAGEID #: 196




             Procedure — Lumbar laminecfiomy, right side L4-L5. Lumbar foraminatomy L4~
             L5,right side.

             Pxe and postop diagnosis — Itunbar spinal stenosis L4~L5.

        G. BMP-2 use during surgery:

             l st surgery —yes it was used

             2nd surge:ty -- No BMP rnras used

        H, The following hardware was implanted:
           lst suxgery — (l.) Orthavita Foam bioact vitoss pack lOcc {i) Medt~o~ic Inc
           Sofazno~r I~afiis set bone grft LG(1} Ortl~ovita Foatn bioact vitoss paok Scc(1}
           Transi I~ac AxiaLIF 2L plus stabilization system {1} Transi Inc fixation rod {arnm
          (1)'~'xa~asi ~~c A~iaLIF distxactio~i(6} Medtroiuc Tnc sofamor Set SCR F/G4 itrt
"~'        hex (~) Medtronic Inc sofamar SCR Cann-1VIa CDH 5.5 leg fi.5~4S(2) MedtroYUc
           Inc so~am~r SCR Cann MA CDH 5.51eg 6.5x40(2)lv~edtronic Inc safamar Rod
           Pxe~bent MS S.SxGOMM TI

             2"d surgery — No h.axdwaxe was used

        I.   Off-Label Use: ls` surgery ~ It ,vas a poste~•ior approach using an A.xiaLIF cage at
             the L5. BMP used was the Medtrotuc Inc Sofaniar infus set bo~.e ~rft ~G.

        J. Operative Report Dictations:

             15` surgery on 7/19/1 Q was dictated 10/31/10 by Dr. Dt~rrani.(I d4 days Iatex}

             2"a surgezy on 8/2311 Q vas dictated on 2/7/11 by Dr. Durxa:ni (1 ~0 days 1ateY~)

       K. There was no mention of any h~dware fail hor~vever I}r. Durratu might have
          nieieed his bowel which led to him becoming septic and needing a bowel
          reseetio~.

       L. Client has seen tb.e ~olXawing subsequent treating ~hysiciaz~s:
             • I7x. A.gabe~i with UC Dept of Orthopaedic Surgery.
              ~ Dr. Aarti Singla witk~ Interventional Spine and Rehab.
                  He is waiting to Ue seen at the IvlayfieLd Clinic,




                                                   3
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 175 of 271 PAGEID #: 197




              oIJr. Agabegi did not came out and tell Robert if the surgery was necessary
               ox nat however, Rahert was told that Dr. Durraxri most likely nicked hxs
               bowels from the first surgery.
             • RobeY~t has received 2 in~ectxons with T}r, Singla with oily one ofthem
               giving him terx►poxary relief. She has re~'erred him to the Mayfield Clinic
               and he is awaiting his first appoz~.tzx~e~.t with them.

      M. Client is having rrzore pain and problems since he had s«rgeries with Dr. Durrani.

      N. Sizace being treated by Dr. Dtirrani:

          Naw he ~s ~aavzng sytn~tozns in his left 1e~ as he had in his right leg. His Y•ight leg
          drags at times when he waXks, He has a difficult Time lifting his leg. ~e has pair.
          a~.d txz~gling all the way down Y~is leg. His greafi toe is also ~.um'b on lus right foot.
          There is aticklish feeling going to his groins. He also falls dt~~ to all of'these
          symptoms. He also has rawer back pain.

     • He had to retire from the police department due to kris physical restrictions a~.d
       pain caused b~ the s~ugeries.

      M   He now works at a casino which ragtures a good amount of sitting aid he is
          having some dif£xculty even tolerating that at Mmes.

      13. Based upon my review,the following are my opinxo~s based upon a reasonable
          degree of medical certaizaty pertaining to the dev<iatian in sta~ida~d ofcare ox
          negligence,infoiax~ed consent, E~attery and £gaud claims against Dr. ~JUTTc'1x71y GAIT,
          West Chester az~.d UC Healfih which proximately caused harm to PIaintiff;

          A. Need to have additional surgery to repair problems created by Dr. Durr~.ni

          B. Implantation. c~~Puregen witl3out infozmed cot~senfi

          C. T~nplantatian o~BMP-2 without infaYnled consent

          ~}, k`ailed hardwaxe

          E. Failure to obtain proper informed consent far surgery

          F. failure to provide aciequ~te and tharaugh pre-operative and past-operative
             patient surgical education

          G. Faz~ure to properly post-op monitor the patient


                                                 0
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 176 of 271 PAGEID #: 198




          H. k'ailure to properly pexfornl follow up, post~op caxe

          I. NegXzge~t sut'gicaX tech~iiques

          J. Failure to maintain accurate axed complete surgical xecoxds and s~ugical
             consent forms

          K. Faihue to disclose important healFh information to patient

          L. Failure to maintain and carnpiete discharge sumli~ary

          M. Failiue to supervise Dr. Durrani

          N. Negligent pre-surgical diagnosis

          Q, Failure fo pre~~e a timer operative report ar other medical record

         P, Bi11in~ far services not caan~leted

          Q, Not informing the patient another surgeon will be doing all or part ofthe
             surgery

         R. Practicing oufiside Dr. Durrani's scope ofgaining, eduCatioz~, exper~ez~ee, and
            Board certifications

         S. Deviation in standard ofcare

         'Z', Fazluxe t~ perform thorough and accurate pre-op nonsurgical evaluation

         U. Failure by Dr. Durrani to inform patient o~ additional/changed procedure and
            reason

         V. k'ailure by CAST to disclose additionaUchanged proced«re and reason to
            patient

         t~. Failure by br. Durr~.ni at CAST to properly educate patient regarding
             diagnosis

         X, Prior knowledge of possible complication axad ~aot acting pxaperly upon same           _

         Y. Failure to disclose pertine~at health in.£o~nation to at~,ather health Gaee provider

         Z. Fraudulent, negligent and reckless ire-operative work up

         A.A.   Fraudulent, ~aegligent and reckless s~ugery



                                                5
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 177 of 271 PAGEID #: 199




          BB,      Inaccurate, ~;raudulent, andlor e~caggeratiQn of diagnoses

          CC.      Failuxe to properly educate patient regarding diag~ases

         DD,        Faih~re ~a attempt non-si.ugical conservative treatment

         EE.       ~~,ilure to perform thorough and accurate pre-op nonsiugiaal evaluation

         ~F.failure by Llr. Duarani at UC/West Chester Hospital to perfoi~n accurate and
            complete preoperative teachi~ag

         GG. ~aihu~e by Dr, Dur~atii at UGlWest Chester Hospital to prope~~1~ educate
           patient regarding diagnoses

         HH.   Failure by Dr. Durraz~i at UCIW'est Cheater Hospital to znairitain accurate
           and/or complete medical records

         II.       Failure of infox~rned consent by Dr. Diurani at RUC/West Chester Hospital

         JJ. Failure of UCIWest ChesteY• Hospital to insure Dr. Dt~•azu auld CAST had
             obtained proper informed consent

         ~I~.      ~ail«re of UC1VtTest Chester Hospital to ob#ain prflper acknowledgement
               of a~~zsez~t

         LL.Failure b~ Dr, Durrani ~,t UC/~est Chester T~ospital to disclose pertinent
            health ri~'orrnatian

         MM. Failure by UC/West Chester Health to disclose additionaUchanged
           p~rocedurE ar~d xeason to patient

         NN.      Failure by UC/West Chester Health to supervise staff

         Q0. Fail«r~ by UC/West ~hestar Medical staff to pxo~erly document
           abnormalities and follow i~p care

         PF.Novl-approved ha7•dware cornbit~atiaris

         QQ.Dr. Duz~a~.i made false and rnatel~ial misrepresentations of material facts
            intended to mislead Robert Haughto:~ and ~c~ncealed maternal facts he had a
            duty to disclose. UC/West Chester Health and CAST'cpncealed material facts
            they had a duty to disclose. Robet~t Houghton was justified in relying ort
            fihe nusrepresentation and did rely proximately causic~g ha~~n to Robert
            Houghtrrn. Dr. Durrani, CAST,and U'CI'West Chester Health intentionally
            nusled R.obez•t Ho~ighton. Robert Houghton        had the right to correct
            information,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 178 of 271 PAGEID #: 200




      14. The testimony, facts and exhibits of Brenda Shell's R~spai3se to IVloti~n for
          ~un~mary Judgment and Exhibi#s to same art ~pplicab~e to alb tl~e cl~.izxzs against
          West Chester Medical Cenfier (~JJCIvIC) and UC Health fog• all claims, 111CIU(~1I2~,
          negligent retei~tl0n and credei3tialin~; brou~lzt ley Piaii~tiff,

      15,     Based upon my review ofthe deposition testimony, ttte ~'CAHO regi~irenlet~ts,
         fhe MSC bylaws acid alI the infai7natic~~a provided to one, i am able to adopt the
         fa~lotivi~lg opinions relating to WCMC azld UC Health pe1•tail~ing to the claims
         against them. WCMC's antf UC Health's actions a~~d inactions detailed in this
         affidavit proximately caused ~xaxm to ~'laintiff: WCMC a~1d UC". HealtEi ase both
         being referenced when anl~~ WCMC is named. I hold fihe following opinions
         relative to WCMC and UC Health pertaining to their conduct acting tl~ougk~ heir
         admit~istrafiion and 1VIEC. The time period coveied is fiom the titne Dr, Du~rrani
         so~ight privileges priox to WCMC opening in May 2009 fihraugh May 2013 when
         he no longer had ~rivzleges. In addition to my opiniotls, I set faith facts I xely
         upon. T}vs includes all which I referenced ~hafi I reviewed. In addition to aXl of
         the above, I attest to the ~Q~lowing:

                                            FACTS

         1. AccordFng to West Chester's ~;rst Executive Vice President, Carol King,she
            did not explore the "rumors" about 1]x. ~]urrani's leaving Children's.

         2. According to Carol King, the hospital tracked prtibXenn issues yet'VVCMC
            have ~azled to produce the information under deer review pxntection.

         3. According ~o circulati~z~ nurse, Janet Snuth, presets were ehanged in the
            computer to indicate the procedure Ur. Durran~i perfQrtned after the ~rocedur~.

         4, .A.ccording to Janet Smith, despite no one at West Gkrestex never working with
            Dr, Duxz~2~ni before, WCMC never checked hiin out.

         ~. Ac~orclitig to f~riner University I~ospztal ~resid~nt {a UC I~eaith hospital},
            Arian Gilder, hospitals face financial challenges.

         6. Aacardizag to ~•isk z~~anag~c•, David Schwa~lie, risk management knew Durrani
            had issues.

         7. Acco~•clin~ to radiologist, Thomas Brown,theY•e were surgeons c~uestianing
            Durrani's decisions to perform si.tr~gery,

        $. Accorcii~lg to i~~edical stafFdirectar, P~t~ia Haw~C, a policy called "stop the
           lying" was implemented tie same year and month they kicked out Dr,
           Durrat~i. This infexs a poor environment of k~az~esty and disclosure before this
           pvlic~,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 179 of 271 PAGEID #: 201




          9. According to 1'aEila I~awk and as the direcfior of medical st~,f~, money is not
             supposed to trump patient safety.

          1 Q. Acco~•cling to Paula Hawk,she admits deer revie~~v is for hospitals to protect
               each other.

         ]X. Accoz`din~ to Paula H~wlc,she admzts hospxtais are interested in voh~me,
             something Z7x. Du~rani provided fox WCMC anti UG I~ealth.

         12. According to ~~kc Jeffers,the directox o~~~.a~ce,they tracked Dr. DL7I'TaIlI'S
            financi~,1 niunbers.

         13. t~ccorc~iug to Mike Jeffers, he admits Dr. J_7u~xani helped them in tlleit time of
            zieed.

         14. According to Mike Jeffers, Dr. Durrani was tie highest money generator.

         15. According to Mike J~ffErs, he knew Dx. T.~uz~ranr had more than ane surgical
             suite assigned at once.

         16. According to Mike Je~~ers, bonuses revere paid #0 liim and others based upon
             finances.

         ~ 7. According to .Dr, Peter stern, he knew Di. Dut~rani was only "satisfactflxy,"
              not a world class sine surgeon as West Chaster advertised.

         18. Dr. Steal doesn't duly adnu~ting UC Health Iooked the a~lieY way on Durrani
             because of money.

         ~ ~. According to credei~tialing manager, A~ul Shelly, there was plenty tip'"publzc
              knowledge" about Dr. Dui~ani to check before credentia~ing.

         20. According to Arai Shelly, WesE Chester relied an the NPDB they knew was
             protected by hospitals.

         21, Dr. EYic Schneeber~er, Dr. biurani's partner, was an the MEC at WCMC,

         22. Accarcling to EY-ic Schneabe~•~~r,~Wes~ Ck~ester ~x~.ew about DuY~rani
            scheduling surgeries long zz~ta the day and night,

         23. Accardizag to foxmex nursi~tg manager, Elaine K~mko,'WCMC knew about Dx.
             Dt~rrani not eompletiz~g records,

         Z4. According to Elaine KuY~lco,'~t~CMC knew Dr. Durraz~i would claim surgeries
             were emergency whets they tivere not.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 180 of 271 PAGEID #: 202




         25. ticcarain~ to Elaine IC~nko, WCMC`knew there was an issue with Ur.
             Dur7~ani not berg ~~. the roam doing surgezy on "lus"patient.

         2b. Accardin~ to ~lain~ K.iil~ko, even the C?R niu~ses knew'WCMC put up with
             T_7x. Diurranz fir money.

         27. According to Elaine Kunko, WCMC tracked Dr. Dur~ani's t"mancial numbers.

         28. According to periope~ativ~ director, Lisa I7~vis, WCMC knew Dut7~ani's
             office is supposed to get consents so WCMC had an abligatio~ tt~ make sure
            they did.

         29.1accorciing to J~11 Ste~;nla~1, the risk manager at 'West Chester, she knew
             Dux7ani had "issues."

         30. Ji11 ~te~man confirms Gerry Gooclrnan's complaints.

         31. According to Kathy Hays,'4~CTvIC laiew how Dx, Dut7rani used BMP-2 and
            PureGen.

         32. Dr. Tim I~remcl~elf, the Chief ofthe Orthopedic department,failed fio do his
            job under the N1EC bylaws as it related tv t ie supervision acid review ofDr.
             burrani.

         33. According to Dz~. '~'im Kt~mc:l~el~, he kne~r Dr. Durratu was "sloppy."

         34, Kevin Joseph, the CEO of WCMC,claims to know ~.othing about surgery
             operations in his hospital.

         35. I~.evin .~oseph, the CE4, claims a hospital must protect patients from
             unnecessary harnn "as much as they can."

         35. Kevin Tc~se~h, the CEO,claims"WCMC doesn't have oversight of su~~geons
             doi~ig what Plaintiff claims Durran.i was doing. (Despite what his bylaws
             state.)

         37. K.ev~xa Jt~sepki, the CE(7, denies the h~spit~.~ k~as any responsibility if Ax.
             Durrani did an unnecessary surgery.

         38. Kevin Joseph, fihe CEO, despite his finance office tacking it, denies any
             knowledge ofBMA'-2 use.

         39. Kevil~ Jose~~h, the CEO, de~.xes knor~ving about any complaints about Dr,
             Durrani.



                                                 ~7
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 181 of 271 PAGEID #: 203




         4Q. Kavin Joseph, the CEO,admits they benefiited financially from Dr. Durrani,
             inchiding his own pay.

         A~ 1. Mark Tromba, ~~e OR rnallager, ad2nits BMP-2 use as used by D:r. Du~rXani,

         42, According to Jeff Dt•a~alilc, the Senior Leat~ership team, including Joseph, rn~t
             weekly and reviewed ~aurnbers.

         43..Accordin~ to Jed'Drapal ~~., t ae CF4 of WCMC knew Dr, bturani was a high
             vOlu~~ TS1.ox1Ey ma~Cer.

         44. Lesley Gilbex-tson, a member ofthe MEC of WCMC,and anesthesiologist
             working with Dtu-rani, had a caneern abort Y aw ~an~ Dunani kepf patients
             under.

         45. According to materials inanagez•, Daiinis Robb, WCMC lc~iew the volumes of
             BMP-2 being used.

         46. Accordir~~ to Kaxen Ghaffaxi, WCIV~C ~CZ~ew tk~e chart docurnen~ation of Dr.
             Durrani was not in compliance w~tk~ t~.ei~ bylatras.

         47. Patrick Bakex, niu~sin~ Vk' at tiVCMG admits WCMC tracked the financial
             perfozxnance ~rf Dx. ~7u~rani.

         4$, According to nurse, Vicki Scoit, the administration of WCMC knew from the
             oE.ttse~ of West Chester all the serious issues pertaining to Dx. Du~ani.

         49. According eo Vicki Scott, West Chester's ~.sk manager began to ignore
             complaints from Ms. Scott.

         S~, Aceordiisg to Vicici Scott, sfiaf~was scared to speak out.

         S1. Accorcli~i~ to Vicki Scott, patients didn't ~no~ who did the surgeries—~ha~iti
             or Durrani.

         S2. According to Vicki Scott,records were not accurate who was in the OR at
            'what dime.

         53. According to Vicki Scott, ev~ryor~e ~t WCMC knew it was about money.

         54. According to ~ickx Scott, WCMC knew about Dr. Durrani's and West
             Chester's zl[ega~ use ofPureGen,

         SS, Acuordin~ to Vicki Scott, Dr. Durrani was a behavior problem.




                                              Ia
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 182 of 271 PAGEID #: 204




          56. Accorciin~ to patient representative, Fliz~.laetla Dean, WCMC tracked Dr.
              Du~~ani's volumes ~~rorn the outset a~xd the C~'4 loved what he saw.

          57. ~CGO.i~d~n~ #o Eliz~b~th Dean, WCMC knew Dr. Dui~ani had issues at
             C~zZdren's.

         5$. According to Elizabeth Dean, WCMC knew Dr. Durrani was performing
             unnecessary procedut~es by valt~mes and repeats.

         59. Accordi~i~ to nurse, Scott Rimer, WCMC knew Dr, J~uzxani waited until after
            surgeries to docutnent what procedures were pla~aned.

         60. Accordii~~ to Scott Ftinler, patients at'WCMC had procedures they did not
             consent to and WCM~ knew it.

         6I. Accardinb to Scott Rimer, sterile fields were nit protected.

         62. Acco~•ding to Scan Rirne~~, WCMC knew PureGe~ tivas being used by Dr.
             Dunani and allowed it,

         63. According to ThQ~~as Blank,PureGe~a was a ~ a~te~aative to BMP42,tivhich
            't~CMC turned ~o based upon insurance denials a~BM~-2. ~ addition, Ar.
            Durraiu operated an unethical POD of Al~hatech called E~alutio~ Medie~l to
            sell PureGen to West Chester.

         64, A.ccc~rding to Gerry Goodman,~CN1C tracked BMP-2 use by Dr. Dur~ai~i;
             patxe;~ts did ~~t gnaw who at times performed their surgery Dr. Shand or Dr.
             Diurani; electronic recaxds ~.ad tt~ be ck~araged after Dr. Durrani's s~~rgery; Dr.
            Dur~•ani and WCMC never obtained it~'o~~rned consents; Dr. Durrani's volume
            was a wa~~nulg sign of overutilizat~an. Gerry Goodman reported ail these
            concerns to VVCMC and there was na action, Gezry Goodman was told and
            concluded t~aat WCMC did not want to do ~.nything about Dr. Durrani because
            of money xewards.

                                 ADDITIONAL UPINIUNS

         6S. `~'he Center of Advanced Spine Technologies(CAST} negligently supervised
             and ~etaiz~~d D r. ~urrani, including by allowz~g Dr. Durrani to perform
            unnecessary ~aroeedutes anal suxgeries; use BMP-2 and/or 1'~treGen without
            appropriate consent; failing to disclose Dr. Shansi and others involvexz~ent in
            surgery; improper billing; changing t11e pre-op atad post-op reCO~'ds to coi~aeide
            when the surgery was not fihe surge7y disclosed; ~.nd all ot~ex conduct detailed
            in the documents Y reviewed.

        6b, WCMC,UC ~~~aalth anci CA~T's r.~~.otive fo~~ their actio~ls acid inactions
            tawarc~s :[~z, Duxrani was financial gain,

                                               ~1
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 183 of 271 PAGEID #: 205




         67. The MEC,adaninist~ation and Soaxds o£'WCivfC and UC Health failed to
            "govei7i the at'~airs ofthe Medical ~taf'£"

         68. The MEC,administration and Boards of WCMC and UC Health f~zled to
             enforce their rules upon Dr. Dui~rani as they were required to do.

         69. The MEC,administration ~tid Boards of WCMC and U'G ~Tealth failed to
             provide oversight of 17r. Dunani as they were required to do.

         70. The MEC,administration acid Boards of WCMC anct UC Health failed to
             properly evaluate br. Durrani,

         71. The Orthopedic and surgery DepaY~tments abdicated their res~ansibiiity under
            the IYf~C bylaws to review, investigate and supervise Dr. Durrani.

         72. The MEC,administration and Boards of W~MC mid UC Health failed to
             properly discipline Dr. Du~rani includiY~g sun~nary suspensions and
             revocation.

         ~3. The MSC,admi~ustration and Boards of WCMC and UC Health failed to
             properly discipline under the MEC bylaws as it pertains to Dr. Durra.~u.

         74. The MEC,administration and Boards of"4~CMC and ~[]rC Health ignored the
             Xn:Foxmat~oz~ xeadily available pertaining to Dr. Durrani before credentialing
             and. granting him. privileges.

         75. The MEC,admiY~istration and Boards of WCMC and UC Health failed to act
             an br. Durrani's disruptive behavior, unprofessional behavior and clinical
             performance placing Plaintiff at risk.

         76. The MEC,ac~xxi~,~stxatxo~. alad Boards of WC1vIC as~d UC health certified and
             approved the unnecessary ~r~o~edures of Dr. Durrani an Plaintiff knowing they
             were unnecessary a~~d I~iowingly allowing the impt~opel- use ofBMP-2 and/or
            PiireGen and knowing there was not proper informed consent.

         77. The MEC,administration and ~ioaxds of WCMC azld UC ~iealth failed to act
             on Dr. Durrani's failure in rneciical regard docur~aentatian,

         78. The MEC,administration atld Boards of WCMC artid UC Health failed to
             require Dr. Durrani to fallow the rules for offlabel experimental p~~acedures,

        79, The MEC,administration and Boards of WCMC and Y7C T~ealth allowed br.
            Dutxax►i to use undisclosed ~d unqualified suxgeons to perform his surgeries
            including Dr, Shaaiti.


                                             12
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 184 of 271 PAGEID #: 206




         80. Tha MEC,aci~l~inistratifln and Boards of WCMC and UC Health allowed Dx.
             Dut-rani to do multiple surgeries at ante.

         81. WCMC aid UC Health have refused to provide ~s privileged tl~e peer review
             i~afo~'m.ation from WCMC for Dr. Dunani to either me ox their own exert.
             Therefore, we have no knowledge of what action, if aa~y, was taken against
             him. However, based upon the facts here, it is obvious t~.ey failed to take
             action.

         82. Basad upon all ofthe above, xt's my opiz~~on that WCMC acid UC Health were
             negligent in their credentiali~.g, supez~viszz~g, disciplining anal retai~~ng Dr.
             Dur~ani on staff and allowing him to obtain. and keep privileges at WCMC
             under the standards of Ohia as detailed i~a tk~e Brenda Shell's Response to
             Motion for Summary Judgment and this pxa~imately caused harm to Plaintiff.

         83. The facts support lZobert Houghton.'s e~aznra :for neglige~ice, battexy, lack of
             consent and frond.

         84. As a result offlee negligence end ~o~duct of Dr. Durrani, CAST, West Chester
             and UC Health, Robert Houghton suffered damages proximately caused by
             them,including the folltiwing:

            A. Pei7nanent disabilaty
            B. physical deformity and scars
            C. fast, Cuz~rent and Future Physical and Mental fain and buffering
            D. LQSt ineo~me past, present and fiiture
            E. Loss o~enjoyment oflife
            F. Past medical expeizses
            G. Future medical expenses approximately in the amount of$SO,o40 to
               $250,Od0 depending on course oftreatment
            H. Aggravatzo~a of acre-existing canditioz~
            T. Decreased ability to earn income
            J. 3%increased risk ofcancer and £ear of cancer ifBMP-2 was used.

   A~`FIANT SA'YE'~`H FURTHER NAT



                                                KEI H D.       LI Y,M.D.


                                                NOTAR.X




                                               13
   Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 185 of 271 PAGEID #: 207




           SUBSCRTBEl~,SWORN TO AND ACKNOWLEDGED before me,a Notary Public, by

           Keith D, Wilkey, N1.D. an this   _ day of~t~~.



                                               NOT      PUBLIC
                                               My Con~iussion Exp.: ~'~ ~ I~ C~,,D~~J
  ~~ANGEI.A POIN5ETf                            ., ` ~ County
      NoiarY Nu~lic - Noiary Seal
          59~tte of Mfssourl
 Commissian~d for 9t. Charles County           State of _ r~.V4    .~►~~ i
My Commis~ic~i~ ~:Kpires; July i S,2015
CQ~1t111s..::;~ ht~•!~".•nr 11133613




                                              14
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 186 of 271 PAGEID #: 208
Jun, 30. X014 9;15AM        M A                                                            No. 1213      P, 10



                                          PA.7JL ~1'XA~SB~12I~.Y
                                         AF~'~.A.,VZT ~JF N1~~ZIT
                                            ~E~T C1~STE1~

               Y, K~~th b. ~N~llcey, N~,I~., af~~t being cI~ly sworn and c~ut~on~d states ~s ~'o11o~s:

           1. Z d~vo#~ at 1ea9t pn~h~l£o~my pmfessio~i~1 finis t~ the ~Cfi've cli►vcal ~r~Ctice in my
              ~ie1d ofli~~nsur~, or its in~tructian in ate ~aoreditett school. ~. am ~n. or~haped9.c
              surgeon ~uv~iose f~~us is on.spine surgery ~n(~ ~reafm~nt oft$ose with; spiny issues.

           2. Z vtrill supplement this affid~~it with ~nather, by a Iett~r or by testimnn~', based Capon
              axiy in~ormatian ~,rov~c~ed to me ai~arI e~cecut~ its

           3. My currAGU~um ~v}tae had been preciously provided ~ oppasin~;car~nsel ui these ~1r.
              I~urrani uses and can be pxovic~~ again ~~an req~~st. for zn~r revie'~, ~ rel~r upon
              my'educ~tio~, tratiiing and 8~perienC~.

           4. 7 have ~i~t coun.tecl but I Piave xe~i~we~l, O'ver ~Q or mole Cases i11~'Qlvilig Ih. Uurtani
              ~n~ the ~ipspitals ~1~exe h,e once l~a~ pi~v'ileg~es.

           5. X base my a~►~nions in pant can my re~i.~w of X11 t11e a~s~~ ~ hate ~revi~VV'ed wlaic~► ~~ve
              revealed similar candt~ct try I)x, S~urr~z~3. and t~~ hnspif~Xs w~ier~ he ~~d privileges,

           ~. Sam f~i~iiliar wikh applicable st~nd~~d of~a:re for aluo,Ker~hick~r aid the country
              f~►r ~n. ortI~opedic/s~pine suz~;eon suc~i as Z7r. Du~ani,

           7. Y ~n also f~n,~iliar wixh ap~lxcable st&~dard of~~re, pollens,rues and ~r~~ula~ions,
              inedil exeauki~+e comrnittee~b~laws, JCA~~7 x'~quuem,~nts, cred~ntialir~~,
              supervtisin~, retention a£zaaedie~l staff, grant~r►g ~d rej~c~ing pii'vil~ge~ ~n~ t~ep~er
              xe~view ~~or,~ss f~r'4~V'e~t ~he~t~r~as~pif~~, LT C, also refen.'ed to as ~U'es~ C~i~ster
              Hiaspital of West ~hest~r ~rledic~l Center snd RUC ~~alt~Y.
                                                                                                       s
            8, Y h~~e revi~'i~U'ed ail ~'~levant meciie~l records includuig radiol~~}r ofDx,Durrani'
               mecl~~al tresEment o~'Paul Mar~s~er~ grid the nnedic~3 tr~at~nen      t of~`~Y~. Marksl~e riy
               at'VV~st Chss~er.

            9, ~ have rer+iew~~. tf~e ~.esponse to ,~umm~~y Judgment in tk~s Tirer►da Shell case and
               all the exhibits ~tta~ehed to it,

            1~.'T'~ie Cent~~for Ad'v~nced mine ~'~chnologies, Ana Baas I~r. ~lumani's ~ractiC~ group
               and he was Che ~o1a owner, q~iree~or end offi~~r ofCAST as ~v'~11 as ~r~ em~lo~'s~.
               BAST as sucf~,is alga resp~n.~ible.for pr. T7urxani's negli~en~~ ~'►d foi~ their failure to
                also st~pervi5e, discipline anti retain Dx,I~urr~ni,

            11, T have a~sa ~~evi~vve~ the nursing summ~~ prepax~d by legal counsel's office fnr
                p~ul 1VI~tl~sberr,~'. Based upon the ~.mnbe~'ofc~s~s I've r~'vi~wed pertaining tc~ 17r.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 187 of 271 PAGEID #: 209
Jun. 3Q, 20i4 9;1~RM        MA                                                                 No. 1213         P. 11



               bu~:ani, legal counsel's office knows r~vhat mat~~,a1s T geed to review and pro'~~des
               m~ those materials, 7~i ~t~~ition, whip Chis affidavit Gantains case specif"sc
               ~n~~rmatiaz~; it ~tso cont~~ns information relevant to this G~se a~id/or m~~iy and/or
               mist ~d/or A~1 f~.e othei cases, It is ~rep~red ~'~r me b~ Counsel with m~'direction
               and &pproval lik8 fit ofthese 1ia~'e been.

           x2. used upan my review',the follov~ring ate the facts ~ rely u~ron:


           A. MEDTCA~,/~LT1~CxI~AY.,~IISTQ~'Y': pat~I Marks~exry is a naw 60 yew aId roan wha
               t3t~~erwent cr~'vo surgeries gerfvxrned bar Dr.Duzr~~i ~t West Chester Iviet~ic~~ tenter,
              Medical history is si~i~.cant fax baakpain ~ZS yews af~or beln~ involved in a motor
              v~hicl~ ~ecadan~, rIgf~k rotator cuf~te~r, obesity', d~aressian, at~ci~ty~ AllC~ C~OT1~C ]?dill
              syncirame, Surgical histaiy includes x~p~ir ofright shoulder roYatot cuf£(4/~5), left ~iln~r
              nerve anteraar transpasitxon(11/07), lap bind ~c2 (12!07,revision 9/~9}, fusit~n ofG5-~~
              (217), and fusion ofLS-S1(12107~. Med~catinn~ inciude~~r~ax, Z~naftex,'Vicod~n, an.~
              R.abaxiu, ?,!lergiea to morpYtfxt$ ~~d ~'erGOCek, Client ~3en{as alovhbl and i~li~it drag use,
               Wks a ~revi~us Smoker, smoked oig~rett~s ~'ox ~5~ year&, quit xn 1~~5. Client ~s single,
               li~'es alone,is ~~iemployed (~~~kin~ disabil~t~r}.

           R, SC.)'1VXMARYICON(~La~'Y': Paul Marksberry has bean experi~ncin~ baok pain ~inee
              1~$5. On G3i~~/p7, Mr.IYlazksbeny unde~~uvent ~n anterior discecCO~iy C4~S, CS-6;
              ~ntei7or arthrod~sis C4-5; 0546 ~~ith Gxa4~on Matrix and p~~~.Gags at bolo teve7s;
              s~Ce~ekal fixation ~4-~~, C~-6 with a platy C;4 to GG with screws st ~C4, 5, and 6
              performed by fir. H.Paul ~,euvis at ~etllesda North. Qn 1211212007, Mr. Mar~sberry
              undercrYent a re-sxploraGAOn ofY,5-S1 ~rxth ~ompi~te laminectomy, ~e~ facetect~my;
              a~pe~tt ~iisGectomy and insertion ofinterbo~y device L5=S1; post~riar lum~iar ~nterbady
              ,fusion ~,5~51 with ~3MP and autograft boz~~; pellicle screw fixation bola k~~[!y ~,5-51; and
              post~'aal~teral fusion with bo11e end $MP per~olzned h~'T)i'. Paul Sch~vetsc~eri~u at
              Bethesda T~nrth.

           C. On 07/06/10, Nit. Niazksberey ~svas invQiv~d in a matarvehicle acaids~.t that r~ag~rav~ted
              his beck and nacl~ pain: Ike was r~fetr~d to ~7r. Durc~ni by the E7t,p~ysician.

           p. Surgery ~l: Dr,7~ixn-ani has exaggerated f1~~ se~erit~ ofthe diagnasls. The gen~xal
              treatment for cerv%G~l dege~x~zative disc disease i~ l~rg~ly the same as £or dagen~rative
              disa disuse in the lumbar spine. ~'h~t i~, ca~servati~v~ eax~(uon-sur~ica()is
               recarmnended as t$e p~timary strategy and surgery is only considered ~f~ cancert~~i e~fa~t
               at aanservaCi~re care ~azls to ~,rovide ad~qu~te pain relief or a patient's daily aGkiv?ty hoe
               been sigt~ifi~~ntly ~omprbinise~.
               Cons~rv'~Yi~ve ca~~a: P~ti~nts mad fi~id relief~ay ~ppl~ing ie~ ox heat, u~in,~
               medica~i~~ns to contr~i ~~in anal inflammation, ~ta~ 8Y.8~CY3121~ ~1~~ I1CCl£ ~Il~
               shoulder areas(alone or 'tw'!th the help ofa ~ro#'es~io~al familipr vc~'ith nick
               conditions)fo z~Ixeve stifi~'z~~ss antl zn~in#aka £l~xibilik~', Iii addztzor~, z~eek
               appli~ncss or traetior~ inay be pre~cr~ibed.

                                                          2
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 188 of 271 PAGEID #: 210
Jun. 30. 2014 9.15AM        M A                                                             No, 1213     P. 12



               Exercise, ~~peci~c~~~y streCc~ang as m~~.~ climensians ofth,e deck ~s p~ssibl~, is
               essential to ~riaint~in flexibiiit~'in the necl~ and xe~i~~vs ~~axo~nic stiffi~ess, A
               spec~~ic set t~~'~xercises should be developed by n pk~~sician o~ ,pf~~si~~~ kherapist.
               Y7se o~'a ceivic~l collar, ~eaviosl pillows, ~r ~.eck tr~otip~ rr~tp also b~
               reGamna~nci~d to stabilize t~'ie r~eok a~~ impro~'e neck ~~ignment s~ the disc
               cam~ressipr~ is nod ~~cacerb~fed as ~ patient sl~~ps or rel~~tes at l~olne.
               ~u~`~eiy: I~'pain is i~nt reti~ved adequ~t~ly with six. craont~s of co~i~ervative oa~~
               ~~1 wily ~~~i~ities become tii#'~icu~t, s~z'gery mpy ~o consitlsred.
               Surgery #Z: Again, I~~, Dut~r~ni has exaggerated tI~e severity t~fthe ~3iagnasis.
               ~'or khase with tle~ener~Yi~e dish disease,lumbar surgery is indicated in ~►atier~t~
               with fi~'v~re s~i►aa1 steno~~s which Mr,Yvlarl~sbemy did not have, Sur~~ry ~~ also
               indicated in patiez~i~s in w~vrn'an appropriate b- to 12~n~onth nonopera~iv~ course
               p~tr~atm.enf fails. Mr. MarI~9beriy hats nod ~znder,~one ~n~'fauns 4~~onserv~tiwe
               tr~~frnent except ~ai~~ medic~CZOn p~es~xz~ed by his prrm~r~ care pro'~ider and
               epid~t~~1 injeCti~ns dc~r~~ by I~r. T~.yeb. "~~~x~;exy zs effective, except in the presence
               ofbn~vtre] and bladder symptoms az~ cauda egr~ina eyn~rome, v~thi~h Mx,
               NYa~k~b~rry was gat ex~~r~~ncing. Tn electiv'e ~~ses, otla~x cons~i'~~tive m~dslities
               should h~~ve been tz~e~ and absei~ved ea fail.

           ~. On IOtU7/09,1~~uI Marks4~ez~y undeYV~'ent an 1V1~I off' t1~e Ce~v3o~1 spine and ~n ~VIRT o£t~hs
              lumbar ~pin~, without and with cantr~st. Pe~~ br.~3yro~ Marls,ra~iolagist, khe 1VTTtC o~
              the Gervir,~I spine demonstrated mild degenei~kivo disk disease at C3-~4 ~itl~ mzld
              bil~cetal foraminat nan•Qwing andmi,nimal disc b~71g~ and at CS~CG with mild ra~ht
              for~rnit~al n~rra~uc~Ing. Af ~6-C7, the disc and foramina ire nUrm~l. PeA• br. uric I~Teils,
              rsdiblagIst, the MRI ofthe lumbar spiny dem4nstr~ted mild nar~A~'ing of tl~e left J.~~
              neural ~ora~~n and mild to moderate narrowing Qfthe right LS neural facamen due to
              ti~scQgen~c d~~~ase. Dr. Neils also nat~ Yria~nekic sensitivst~r ~tt~faa~ ~Y the ~5-SI le~ef
              eansi~kent r~t~itk~ posts~rg~G~l change, Also, ak tha Y,4-LS 1eve1,findings ~u~gest mild
              c~i~'~us~ disc buying With mild ventral flatt~ril~.~ ~f the the~fl! sic w~kh xruld to ~oc~~rate
              facet arthropath~, Tk~e ~}s~eurnl for~tn~na a~~e latent,

           F. On 0712 /10,l~r. l~urrani falsely dictates tli~rMr. MarI~sbeixyhes "ad,~scent le~+e~
              degenecat~on at CG-C7...h~ his foraznin~l sten~sis ak that le'v~l bil~tcral~y," fir. Durr~n~
              further falsely dicfates the 11~"shor~v8 biI$teral sever foraminal ste~iosis at the LS-Sl
              I~ve~ and Elsa bilatieral #'aramin~l sten~s3s ~t tha ~.4-L51eve1.°'

           CY. ~n lI/d9/1Q, Mr,lUlarfcsberry ur~dexvrent ~n M~ u~ the ltrmhar spine w/o G4ntt~st ~t
               MidTc~wn Yrn~ging. Per the r~dialogiat,.fix. Poaner~nz, ~`~o cantra~ canal stenasis or ne~va
               root o~m~ression" and "mild iz~ferlar ~or~mis~al nanovVing seCantl~fy to e~.dp~~k~
               spon~lylQsis" noted. Also toted was bord~rlin~xxuld multifactorial central c~taat stenosis
               T~4-5 ~ty,~'I.th shallow brn~d based c~3sc dis~la~e~ent with righk foramin~l annular xent,
               endplate spondylosis and mild facet ar~luop~thy resulting in mild left and mild to
               rnoder~t~ xight faxamir,xl narraw~ng and g~ntte abutment of t]le dese~nding L5 nerve
               ra4ts."
     Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 189 of 271 PAGEID #: 211
     Jun. 30. 2014 9:16AM        ~~ A                                                                  No. 1213      P. 13



                H. On 11/09I~0, Mr,~arksberry was s~~n bar Dr. I7t~rrar~i far a reheat ev~~uation at ~AS'~.
                   ~z.Durrani dictates,"ham Ivy shows that he is de~nirely has pseudo~rthrasis at the ~~-
                   SI l~v~l and he has significant £axarninal skenosis at both the ~A,LS and khe L5-S11e~ve1."

                ~, Dr,biurani ~~ecommendsd a lumbar surgery on tkae ~~'st vffioe ~risit and then
                   recolrnmended a aerviaal surgery ~t the s~COnd oftioe'vi8it.

                J', Can U7/20/2Q14,~'aul Mprk~ber~y wAS seen'by Tyr, l~~~zani at CST for an initial
                    c~vaivatlon. Dr,~]u~~a~i diek~tesr p~ul M~rksberry is "here tada~'for t~~va sepa~~ate i~su~$.
                    The first a~~ is s~~ver~ lo~rer Back pain with pain going db~wrn the 1~1~ leg ar~d numbness
                    and tingling going davvz~ t~~ lift tges. 'the see~nd is neokpain with pain ~haating down
                    the left arm and numbness and tir~lsn~ its the ~8 and.the TI distribution on the left ~i~~,
~.                 '~'1~is ~a~~ 1~e~n going on ftrr m~n~'~'~~fs lout x~cently it his cOZn~ to the paint that it is
                   becoming a si~mificant issue. fitting, sY~nding, vcrallring, long car rides all a .~avate the
                   pain, ~notAO~~11y ~e is limited in standing, liftzng, cQOkirtg, sf~apping, waiting,
                   hausehoId chores, oukdoox yard work,buttoning sfi~~s. Tie his tal~en anti-inflammatacAes,
                   pflin medication, muscle relaxants, w~i~h gaye him no relzef, ~hirdpr~cCie e re, ph~rsicaI
                   ~her~~y has girren him no relieft~f pain. He has gotten apidul~l steroids in tha past ~vhiCh
                   }IaV@ ~i'y~n lair► no xeliefo~p~iiY ~9'4V'~11,'° Dx. Durrani ~urtl~er dictates,`~Y
                   recomm~i~[~t~t~ot1 at this point for this ~'o~ng man is C~raPold. Fox the peak Z would like
                   him to get cervical ~pid«ra1 steroids. for the lor~v baet~ m~ r~camr~~en~ataan as t~ rya ~
                   lumber interbociy ~'uslaz~ ak ~~~s1 and also at T14-~,~. 'UU'e Fill ~Iso check his haxdwaxe ak
                   tl~e ~,5-S1 le~'~l and probably retl~ove t1~~ Screw pn the left aide whioh is zmpingirig On his
                   the~818aC.~~

               ~. Qn 4 /26/201 Q,Paul Marksbez~y was again s~erc b~'Dr.Durrani ~t CA,S`~.'~Qr a re,~e~t
                  e~valuafion. Z7r,I~urranf dictakes,"~Tis neck sy~npt4m~ and his arm s~Cnptoms have
                  significantly gotten worse. Zee was se~an~; our pain doctor anti it is his opinion ~s well
                  that his neck end arn~ sym~koms are ~dafinitely getting worse, ~Te has twc~ separate
                   syrr~ptarns going on, one in the ri,~tk ar~n, pne pn the left side. ~n tha left side he has
                   pares~hesias in the C7-C$ ~iatribution and ova tie xight szde it is in the C5 c3istributian,'°
                   pt. Aurx~ni f{uther dictates,"gi~v~n the fact that he has not responded to nanoperatiVa
                   tieatmet~t, anplut~ing pain treakinent end irij~etiorls, ~~1~ reCOtrilner~cl~ki~n pt khis ~au~t for
                   this yaunp minis to do an ACI~F ~t ~fi-C7 and a posterior oerv~c~l foraminotomy at C.~-
                   ~5-~6 ~n the ~~xghC side,'

               ~., ~1r, ~urrani perfarm~cl two sur~gerzes at'U~'~M~ tin the client;
                   DA.TL 10/0~/2U10 S~.Cx~~t~Y (t~M~/[J~ ~~a1~f~);
                   ~'~Ft 1NT.It~.OP ~C~~1
                   I'RO~BI7URE~; Cervical t5-7 anterior cervic~I disG~~torr~~ end ~sion, Cervical
                  bil~t~x~1 fbramin~tam~!and d~corri~rression
                  ~~C~PERATN~ T~~AGNOSES: De~enerat~ve I7isG T~iseas~-C~rvi~~X
                  ~'~S'~p~'~~A`~IVE I7ZA.~~QSES: dame

                  PER(~~'$~tATY`V'$ ~L~O~T

                                                               4
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 190 of 271 PAGEID #: 212
Jun, 30. 2014 9.16AM      M A                                                         No. 1213      P. 14




              p~t(7~~ED~'1~~5: L. Aiztezipr ce~~iGal discecfamy C6-~7, 2. E~nt~rior cervical
              fusion using autag~taf~ and a11~g~aft C6-C7. ~.~'1~cem~nt of anteMO~'~~tezbody
              cagy Cb~C7, 4. ~'l~~einent of anteizor Ge~~vical inst~`umentatian ~~r-C7. 5.
              ~"ast~rior cexvical lamit~~ctom~ CS-C6. 6, Posterior cerv~c~I ~'pxamir~~t~my,
              bilateral C5-C6.
              ~~4~'ETtAT~VE ~l'AGNOS~~; 1. begen~rative cez~vical dish disease ~~-C7.
              2. ~e~'v'~Ga1 s~tin~X stenosis C5~~6.
              ~OSTq~'E~tATNE bZA~xNO~~S: ~, I7e~ene~ative cervical disk disease ~6-C7.
              2. Caivi~~l spinal s~e~osis ~S-C6 and Gb~C7

              T~.A,'l.'E ]11I~/20I6 SUR.~'r~~i.'~(W.MC/UC I~ealth};
              p~R ~I~ITY2A(~P R~C4~tI7
              P~aC~DC.~T~S; Lurnb~~ Sy~acral X Axial I.,um~ar ~~#er~~dy F~rs~on
              PR$OP~R.A'TYV~ DTACxN~~~S: I7~generati~'~ Disc Dxs~ase ~~m~ar
              ~QuTOT~~RATY~'E DXA(~NC~~~~: ~arn~

              1?~R. C7P$~t.A'~IVL~ ~.E~aRT
              1'1~.(~~~D~~; 1. T,5-~X axial Iuz~ll~ax xnt~xbady di~cectamy ~r~cl fusion.
              PR~C1F~l~A~'SVE DrA.GrNOSE~: 1. ~S-~1 p~ettdoarthrosis.
              FQST(7~'~RATTV~ I7ZA('.xN'GuE~: 2. L5-~1 pseudoar~hzasis.               .
              ~E~2.'~V'C~UT.TG ~T~A,LT~ CON~E~~:
              T~umt~ar ~-~acr~l l Axial T~umb~z interbad~'~zsion,lumbar 5-S~cra11 F~sterior
              Spinal ~ision/A.~gmentatit~n o~~'ixsipn, bilateral ~or~.rninotam~ end
              I7ecoinpz~~sion L~tunbar 4-S, ~,umba_~ S~~acr~~ 1(addendum ~y p~.ti~nt: and
              at~just, remove,or ~~~xIitate lei lower screw in ~~:~r~ious peak ~a~~ installation),

              Surgery #~1(10I04/20~ Q)
              l'er Nursing rntit~ap ~teCOrd: C7n0(1} TVlecitr~~ic Xllc S4famor ~ix.~ Boni T~'fUSe
                   Sm (1,7mz.,.
              e'er ~3g~rative Tteport:"~'he inter-ve~-t~l~ral ~ag~ vas at t}~i~ saint size and pacl~ed
              vcrit~ auto and allo~taft."

              Surgery #2(~ 1/17/2010)
              1'er Nursing Tt~~raa~ ~e~prd: c7iz~(1) Medtxa:nic Tnc ~~farnar Tz~~iis het$one ~xraft
              Sm.
              pee dp~xativ~ Re~art;"ova BMA'~~,Qnge~ vcr~e inserted t~uou~h ~fi~ bang g~~aft
              im~aet~i~ until the~~ was e~~ellent fill in t1~e ~1is1~ space."

           Ivy, The following hard~~r~ ~~s xrn~lantet~:
               St~zg~~y #1(10/041241)
               der ~7ursing Zntraop R.eca~d: Ong(1) OrEk~~~vita ~oan~ Bioaot Vitoss p~~l~ ~~a,into
               certr')G~l spine; one(1)~Viedtranac Tnc Sof~mor ~xrt~ ~~ne Ynfuse      ~~ Q.7m~,,
               into cervical 8~ine; Clne {1)Synths Spiny ~~zn-I' 7m~rla~t 1Qmrn,info ~.exvical
               s~in~; ~ou~(4)Synthes spine ~.Omrn TT ~cre'vvs, siita ~eruical s~~~ne.

                ur~ery ~~(11117/2a10}
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 191 of 271 PAGEID #: 213
Jun. 30. 2014 9: ~6AM       M A                                                               No. 1213      P. 15



               Per pursing In~xaa~ ~.~caxd; One(Y) t~rthp'vita ~o~ ~i~act `Vitoss Pack 1000,
               into lumbar spin; Qne(X} M~dtron~c Tn~ ~pf~xnor Infus Set bane Gz~i t Sm,rota
               lumbar spine; c~n~ ~1)T~ans1 Inc Axialif Stabilization Sisk, into lum~~r spine;
               One ~IJ T~~ns1 Znc A~i~lifC7nivers~l Plug, i~ito Xurnbar spine.

            N. C~fF-label use;
               ~'~rger~ ~1
               Mr. Marksberry u~itlerwent ~r~ arYterior c~rv'ical fusion Yxsln~ autogr~~ anc~
               aliogra~ C~'4~7.
               .Ficcorciing to the PMA.submit~~d by ,ivredtront~ ~a the ~A,Cie device ~s
               anc3icatec~ ~`az spinal fusion procec~uxes in ske~ett~Ily rnat~ire p~~i~nts with
               d~generativ~ t~isc disease ~k one level ~tofn T14-S I.

               S~ur~ez~ #2
               1V.Cr. M~r~s~,eriy uiide~:r~vent Sul ~,5-31 axial rumbar i~nterbody discecf~rn~' and
               ~tision for ~5~51 pseudo~throsia. Per the o~et~~i~ve ~e~port, `°t'~~o ~M~'spQn~es
               v~t~ere insei~tecl ~txro~gh tl~e bone graft impactor until there wtts ~~~ellent 4'ill }~i t#~e
               dxs~ space,"
               According to the k'~1.A submitr~c~ by Ivlec~txc~nic to the ~I~A,the deice is
               indicated 'for s~in~l ~ttsian procedures in sl~~let~lly mature patients ~'ith
               ti~~~ner~t~~'~ disc ciis~~se. Also,Infuse was intended for ~ s~r~gle level interior
               l~amb~~r i~t~rb~~y fusion performed ~~tt~ all thr~~ components 9n a specYfic spinal
               region. The three cam,~onents that the Tnfiise device consists ofire T.) A ~neYallic
               spinal ~`usion c~g~(the ~.`~,~~ge), 2.~'rllB ~J(ltl8 ~CR~ S11b5~1~E~~ VVI7xC~?. CQ17.318~8 ~~
               liquid r~BM~'-~, anti 3,} A spongy cai~•ier or a~at`fold fc~r t~i~ protein t~iat resides in
               tie fiisibn Gape. 'i~ith. ~e except~o~. oftwo non-spinal ~s~s got relevan# k~ere, the
               ~,DA. has nt~t appravec~ any other use ciflnfusa, including the unapproved
               h~t~i~at•e com~iinatians ~~'~7r, burr~~►i~ Thy use o~'rhBYVI~'-2 ~'~t~out the
               expr~~s~d or vvrAt~en eonsenx end/or kna~Ied~;e ofEvelyn ~Teltan is a violation of
               st~nd~rt~s ofcars, ~s w~11 ~s ~ `~ialation of Che mannar ~n ~c~vhich AMP could b~
               used,in accordance wvith the FD,A~

            Q, ~~rgery #1 {1QI0412Q I U}
                 ur~~ry was ~~~forme~d az~ 10i~4l2~X~ by Dr. ~t~zrani. T'he ap~~ative rapor~ ~cvvas
               ~ictat~d oz~ 02/~3/~011 by~7r. Duix~nx end szgn,e~ b~']~r. T)urrat1i an 02(1~4/2Q11.
               I~r, riurrani's Q~.report was dict~Ced ~vel 3 months S~t~s, This is a r,.tunpl8te dx~regnrd
               fox t13e'UU'~st Chester SfaffRy~laws, Tile ~~aerating J,toamS~epart should h~~'e been
               dietaked withitY thirty days ofthe pracedur~. 'r'.his is ind~~a#ive a~lack of ~tt~ntion to
               ~3etail zequix•~ri of a spina surgeon, 'VVCH/LT~I~ failed to p~~aperl~ s~z~rervige ~lr, l~xarrani
               and the'UV~C~i ~}~,staff, and this fail~zre cawed blatant daoumanC~cian inac~ura~les, whioh
               caused harm to Paul MflrIzsberry~

            ~. ~urgery#2{11/17/~p1Q)
               ~~rg~ry was performed ~z~ 11/1712U~0, The aperaYi~v~ re,~ort't~v'~s dz~tated on
               11/~~12410 by Dr. Sh~nntY grid si~r►ed b~'~r> Shanti ~n 07/17120X z,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 192 of 271 PAGEID #: 214
Jun. 30. 2014 9:11AM       M A                                                              No. 1213      P, lb



           Q. Th~,cQ ha~~ been no npted hardW~e ~aih~res.

           R. der c1{~s~t, he has been seen Dx,Justin,Krug at Neuros~ienc~ Assooiates ofNoxthere
              T~entucky ,fir a~ronl~ pain s~mcit'ome,

           S. Pax alienY rcZ~~rt, h~ is experiencing more pain since being t►•e~tteti Uy I3X, burrar~i. Prior
              to surgery, Mr. MAr~sberry was ~~rea~y exp~r~e~cirig pain frequently butI~ad"mere good
               dais tin bad.°' x~e describes his pain ~~ A burning ~a~ut that oGCRUS Gonst~ntly, lVir.
               1Viarksba~-ry naw his pain in both arms and his cCecre~sed stren~~k1Y in his arms,

           T. lv1r, M~rksbe~~r continue$ to ~xparience constant, br~rr~ng pain on a daily basis. Client
              $tares that k~~ his °`binning pain on both side r~f~ze~l~ that wasn't the~'e b~orc~, less ~f
              st~~ngth in 1~#~ ann anti .eft 1$~." N,Cz•, M~xl~sbea~ry also stakes that he has no social oz
              family life. Prier to surgery, ~vtr. Mack~bezry ~uas woi~l~x►~ as a xaz~ra~d G~ar~ductar foe•
              ~5~. Tie nary x~aeiv~es medical disability.

           1~. Based up~i~, my revi~v~1', the ~allo'Uvin~ a~a m~'opinions based upat~ a reason~i~~~
               d egre~ ofmet~xaal c~rt~lnty perCairung to the d~r~iation iun ~t~ndard of pare or
               negligence, infaatmed cons~rit, batter'~.d ~xatxd c1~im~ aga~ns~ br. ~~zr~,BAST,
               `UV'est ~~ester and UC health which pra~imately caused ~anx~ to ~lainti~

               A, l~'eed to have additional surgery to rep~r ~►robl~~s created b~'Dr. l~urr~ni

               ~. Im~ilantatit~n ofT'tar~gen with~uY infaimet~ ~~nsent

              'C. Trnpiantation o~BM~'~2 wi#~zautin£o~~n~d consent

               ,L77, k'ailed f~~:dware

               ~. F~~fure to obtain proper infprm~d consent £or su~ger~ .

               F. ~ailW'e to pro'~lde ac~equa~ta tad thorough pry-4~erative anc~ post-operative
                  pati~r~~ surgiaa~ ~ducatior~

               t3-. Failure ~a pro~rerl~'fast-op monitor t3~~ patient

               ~. ~~iluze to ~raperly perform fa~1Q~ up,host-op carp

               Y. N~~1i~ent surgical tec~lini~ues

               7. rAiluz~ to rn~i~,faiM acaur~te and c~m~lete surgical records and surg[cal
                  conser~~ foams

               ~. Failure to c3isclos~ im~oi~taxxt h~a~th info~znatign to patient

               ~,. failure to ~n~intain end ~amplet~ d~schakg~ summary

                                                         7
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 193 of 271 PAGEID #: 215
Jun. 30. 2014 9.11AM         MR                                                             No, 1213   P. 17




              M. ~ailu~•~ to ~upeivise Dr. T~'~ri:a.~i

              ~l'. ~tegligent pry-surgical diagnosis

              Q, ~ail~xe to ~repar~ a ti~ne~y o~aerati've report ~r othez medical r~card

              ~'. Billing far ~e~vices not completed

              Q. Not itafvxt~in~ the patient an~~~r sur~~oz~ will be claing X11 p~ past of~h~
                 s~rg~ry

              R, Practicing autsitie Dr. ~L~~~~ni'S sCape a£txf~x~in~, ~dt~Gatian, e~sperience, end
                 ward ~~~i~eatie»s

              S. I}e'vi~tion in standard o~car~

              T.. T~aiIure fp ~rerfort~. thorou~l'i and ~oc~xrate pry-tip nons~r~iaal e'~sluation

              ~7. Failure l~~ A~. ~urr~hi to infaxir~ ~at~~nt of additzOnal/changed pro~~~Ure and
                  re~9Un

              V, Failure i~~ LA~'~'to clisolose additic~~aUch~nged ~raGetlure and ~~~son t~
                  ~iati~nt                .

              W. ~~~f~r~ by Dx~ Dur~:~n~ at CASE'to prope~I~ educ~t~ patiei3t x~garding
                  ~i~osis

              ~. Prior kn;c►~tr~~ed~~ of possible complication acid not acting pro~aerl~ r~~on same

              `Y'. ~'~il~are ~o disclose pertinent health i~'a~'mation to ~nather ~.ealth e~~~ provid~z

              Z. ~`r~t~dr~lent, ne~Iigent end ~eckles~ pre~vperative work ~p

              AA. ~rauduleut,lne~ligent a~'icl reckless surg~xy

              ~~.      Tnacct~rate,frar~dulent, ~~.d/ar ex~ggeratidn of diagnoses

              CC.      Failure xo properXy edua~t~ p~tien~ regarding dia~nases

              DD.            ~'ailuxe to a~teyn~it nan~st~rgical ~ons~rvatav'~ tre~tmer~r

              EE.      ~a~1ur~ to pei~'orzn thorough ~~d aceur~t~ pre-off n.~nsurgiCal avaludtxon

              ~~'.~'ailurs b~'Dr. Y7u~:'a~i at UCIW'est ~ln~st~r ~iospital to ~~rfoF~rn ~CCUrate end
                  complete preoper~ti~v~ teaching

                                                         8
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 194 of 271 PAGEID #: 216
Jun. 30, X014 9:17AM       ~M R             _                                            Na. 1213     P. 1$




               GC. Fail~ur~ fey Tyr. Au1~an~ at C~CIyVest ~laester Hospital to ~io~e~ly educate
                 patie~it ie~~t~ling diagnoses

               NTH,         Failure by i~r. I~u12an~ at T7C1West Chester S~aspit~l to ~~inCain
                     accusat~ end/or Gom~lete rr~e~ieal recp~•ds

               IT,      Failure o~xnfa~Yt'ied consent by Dr..17urrani ~t TJC!'VV~st Chester ~os~ital

               ~3~ ~ai~Ur~ ofU~IVV'est ~hest~~ I~ospit~l to inSUYe l~r. Uurra~li end ~A,ST had
                   abtaine~.proper infat~med co~s~nt

              .T~'.,      Failura o~ U'C/~~s~ Cl~~ster T~oapita~ to obtau-► groper
                   aGl~nawl~clgeman~ of aox~S~nt

               LL,Failuse ~y T~r~ Durrani at ~.TCNV'est Chester Hos~it~~ to disclose p~r~izi~r~t
                  k~ealtli~infarmation

               Nr1VY. Failure by ~JC/V(~'est ~~.ester ~i~aYth tc► disolas~ additionaUc~ha~'i~ed
                   p~acedur~ ~a'ir~ xe~spn to patient

               NN.       ~'~iXu~e b~'UCI'UVest ~i~~s~er T~ealth to stx~ervis~ staff

               0~,       Fpilt~re b~'~C/V~est Chester Metlica~ st~~'#a p~'gperly c~ocum~nt
                 abnannaliti~s and £411aw up carp

               ~~.I~Ton-a~prov~d hardvv'~x~ cam~ir~~tiax~s

               4Q.I~a, T~un~ni m~~l~ false ~nd.m~t~rial inisi~~►re~entation~ ofrn~rerial f~~~~
                  intezided to mislead ~~~.1 Marks~ien~r and aancealed m~ter~~l facts ~,e had a
                   ~.uty td disclose, C7C/W~st Chester ~ie~lth grad CAST concealed ~n~t~i-ial facts
                   tla~y hid a duty" to disalase. ~~.~~1 Maa:l~s~~riy vctas just~~x~d in x~l~rin~ on the ,
                   misrepresentation and ~iid rely p~'o~cirn~tely causing h~tm to ~~ul Marksberiy.
                   fir. Durrttn~, CA~'~, and U~/'S?~~`esY C~ast~r ~sAlth ~ntent~onaily misled Paul
                   M~tksbeiry~ Pau11l~arksbez~y had ~`ie izg~-~t #o co~t~ct inforrnalion,

            14:Thy testimpny,facts and exhibits ofT3r~nda Sh~1I's ~,t~s~onse tc► NZatic~n for
               S~tmtnary Tuc~~tn~nt and Exhibit$ to same are applicabke to ail tl~e claims against
               'V4r'$sr Clles~er h~ie~~~a~ ~snte~t('U~T~MC) ~i~.d CrC ~e~tth fog a1~ cl~itns, including
               ne~igont r~tentiort ~tul creclentialin~ b~ougk~t by Plaintiff:

            15,       ~~~ed upon ~r~y revi~vv a~th~ de~~sitinn festimaz~y, t~,e 7CA.HQ rec~uireme~its,
                  the MEN ~yl~~~ and X11 the i~ainn~txart pro'vicled t~ Mme, Y any able ~~ adapt Y1x~
                  fnllowirAg opinions rela~itag t~ WCNi~ and CJG I~ea1tl~ pertaining ~o the cleans
                  against th~rn.'t~1~Ivt~'s and YJ~ Health's ~ctiv~►~ anc~ inactions detailed in this
                  ~~~auit pt'o~cim~C~l~ caused h~i-m to plajntiff. WC1VI~ ~r,.d X3C Health ~~e both

                                                         0
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 195 of 271 PAGEID #: 217
Jun, 30. 2014 9.17AM      M R                                                             No. 1213     P. 19




              being refetez~ced ~uvhen only'Utl'~MC xs ~a~n~c~. Y hall the f~llowi~g opinions
              rel~~ive to ~'CMC and U~ Health perka~~ing to their cond~c~ ~~tin~ tYsrou~h their
              administration end MSC, Thy tijn~ period cta~'ered is from the time l~r. burr~ni,
              sought prx~vi~~,~~s ~xior td WCMC opening in .N~ta~'2U09 thxvugh M~~'2013 when
              ~e nv longee had ~rivi[~ges.. Ire aclditian to my opinzor~s, Y set ~oz~th facts Z rel~r
              upon, 'This includes all which.I ~re~'~r~ncecl that I r~'v'ier~v'ed, Yn adc~ftion ra a~i p~'
              t ie a~,oue, Y attest to the fallowing:

                                                   ~'A~~'~"

              1, Accbr~a~ig to ~Vtrest ~hest~~r's ~~st ~xecu~iv~ V~~~ P'~~siderzt~ C~ro~ King,shy
                 did not explore the "rumors" ~baut Tyr. bui~ani's ~ea~vit~~ children's.

              2. According to ~~~a~ King,the haspika~ fr~eked problem issues yet't~'CNIC
                 h~~e ~~iled to produce f~i~ infot~nation uz~d~r pier ~~eview prokectian.

              ~. According ~a circulating nurse, Jana ~znith, presets ~ve~e ohanget~ in Fhe
                 com~~ater to iza~icate the prore~ur$ Dr. Duixani p~x~pzmed after the prbced~~e~

              4. Ac~~rdit~;~ to 7an~t Sz~it~, ~es~ite np (~n~ at West ~~es~er never v►rarking with
                 Tyr. Dur~ani ~befoxe, WC~IC never cheol~e~. him gut.

              S, According to ~o~m~r C.Jrnivarsit~ ~QSpital T'resiclent(~ UC ~Tealt'h b,o5pit~1)~
                 Arian ~xibler, htispitals face fina~iGi~l G~~~lenges.

              6. ACCOrt~ing ~a risk mt~n~ger, David Sohw~lli~, ~~isk ~ztanagement ~rne'av L1ut~ani
                 had issues.

              7, According t0 r~diolo,~~~t, Thomas drawn,there wire suzgeons c~uestinning
                 ~t~i~ras~i's decisions tc~ perfoxzn sarg~x~,

              8. ACCO~ding to rn~dicaY sfa~.~dtr~ctor, Pa~l~ k~s~v~, a ~iolr4y c~~leC~ "stop the
                 lying" ~v~s imple~nente~~ti1~ same year anti zno~ith #fey ki~k~d auC Ur.
                 bu~~raru. '~~is infers a pot~~ er~~rironment ofhone~k~ a~~l disclosuz~ befo~~ this
                 policy.

             9, ,According to ~~~~~ Hawl~ and as the director of medial st~~`f, money i~ not
                su~ppsed to n~ump pa~iant safety.

              10. ACCbxt~in~ to Paula H~~a~, s~ie admits pear ~e~vicw is far hospi~~ls to protect
                  each over,

              1 Z. Accord~g to Pula ~Tawk, She admits haspitais art ~nt~rested iz~ volur~~,
                   s~m~thing I~r. UuiYani providetS for WCIv1~ and U~ ~a~lt~i.




                                                      10
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 196 of 271 PAGEID #: 218
JUn. 30. 2014 9.11AM       MA                                                            No, 1213        P. 20



              12. According t~ Mike Je~'fers, the director of~nan~e, they tracl~ed T)r. I~urrani's
                  ~Snancial nu~-nb~rs.

              13. ~4caording to Milo Jeffers, he admits ]fir. ~u~x'~i helped them 3n their tii~~ of
                  nQ~d.

              14. A.c~ording to Mike Je~~f`ers, fir. l7urrani was the highest money gene~~~tor.

              15, Accort~in~ to SY~ik~ reffexs, he kn~~v ]]r. lauriani hid more th~r'i one surgioal
                  suite a~s~~n~d at o~.ce.

              I b. AC~ording to Milo 7effers, bUnus~s wexs paid to hire ~ncl others basEd ~po~
                  fin~tz~Ges.

              17,.t~.ocor~ing to fir, T'etex Skern, he l~~ery br. T~uxrai~i vv~s only "satisfactaty,,,
                 nQt a world class spiny surgeon as West Chester advertised.

              iS.I~r. stern doesn't deny admitting '+U"C H~~lth labl~~d the of.~.er way oz~ D~i~rttnz
                 beo~use of m~rtey.

              1~. A.ccording t~ cr~dent~aling manager, Ann S~e~1y, there'c~as plenxy of"public
                 2~nor~vledg~" about Dr. ~Urr~ni to ch~C~ 1~+~forQ ~r~denti~li~~.

              2A. ~cc~rc~i~g to Ann Shelly,'UV'est Chester relied on tXie ~'l~I~ t1~ey knees was
                  protevt~d by hospitals.

              21. ~lz, Erio Sck~s~ee~~~ger, br. Uurr~ni's partner, bras on the MSC ~k W~MC~

              22. Ac~O~ding tc~ uric Sch~i~ebergex, VV'est Chester kr~e~v abouk Dur~ani
                  sclzedulin~ surgeries I~zig i~t4 the clay and zai~ht.

              2~. A.ccording to fonx~er nursing manager, Maine Kunko, W~MG knew aba~tt Dr.
                  DYU•rani not campleti~►g recarc~s,

              24. AG~ording to E1~ine bunko,WCMC k.~x~~c~r br, pt~r~ani vv't~u1d claim su~geri~s
                  were em~rg~ncy ~vh~r~ t~.ey were not.

              25, According to Elaine ~.unl~o,~VV~NlC kne~ly them vv'ss an ies~e ,Vvzth Tyr,
                 I~ui7ani t~4t being rn the room doing surg~ry~ on "his" patient.

              26. According fa ~l~a~n~ ~unlz0, even the OR .n~3rSes knee' WCMC put u~► with►
                  ~tx, I)~z~:~ni dos• in~c~~.ey.

              2'7. AoGOrding td Maine Kwnko, WC1V1~ tracked fir, S~unani's ~xnanci~l number,



                                                      1~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 197 of 271 PAGEID #: 219
J«~, 30, 2414 9.18AM      MA                                                           No. 12 i 3   P. 23




              59, Accoi~dYng to ai~rse, Scott Rimer,'W"CIVIC l~~e~sv Dr. burrani waited ~ntii ~~ei•
                  surgeries to dncum~r~t't~vf~at procedures were pl~~u'i,~~,

              60. Accbrdl~ig to Scott Riin~r, pati~~a~s ~~ WCYv1C had prnce~'~res they dt~ trot
                  co~asei~t to end ~UVCMC knew ifi.

              61 ~ Accarciing to Scott ~.imeY, sterile ~.elds were not protected.

              ~2, A.GC4rding to Scott Timer, WGMC knew ~'ur~t~~n't~v'~s being used by Tyr.
                 ]~urr~ni and ~1lowed it.

              ~~. According t~ 'Z'lx~mas dank,P.etre~ir~n'~~s ~n. alternative to ~IvIP-~,~uvhich
                  WCIt~C turned to based upon insurance ~en~als pfSMl'-2. Tn addition, Tex,
                  D~~x~i operated ~n un~thiGal P+DD of.Alpl~atech ca11~d Evolution ~viedic~l to
                  s~~l ~u~eQa~n to'(~t~'est Clze~tex,

              64. According to Merry Crondman,`l~'CMC tracked ~Mp-Z use by Dr.l~t~:ani;
                  patients did nit ~o~ ~~ho at times perfan-ned ~ieir surgery l~r. Sh~nti ox 1~r,
                  ~t~ir~t~i; efeetronin r~cozcls had to be cliax~g~d ~ft~x fir, Uurxa~i's surgerya I~t,
                 Durr~n~ ~d'UV'~MC ~et~~x abY~ined i~.fa~med consents; U~, Du~rani's volume
                  w~~ ~ r~varnin,~ sib of averutilization, Gerry t~aodman.x~poz~~d all these
                  concerns tb W~MC and there was no ~cki~n. C3er~y ~ooc3man rrr~s bald and
                  concluded that W~M~ did not want to do a~~'khing abut r3r, r3urrani bec~~tse
                 o~'inQney xewards.

                                      A~l~1Y~`YONA.L QPIIVYCl~S

              6S. The ~e~ter of A.t~`~~nced ~prn~ ~eohn~ingies(CAST)negligently super~ise~
                  end retained Tyr. 7~~txx~r►i, including by ~lltr~v'ii~g Ai, D~~ranz to ~~r~`orrn
                 t~r~~~e~sary procedures aid surge~.~s; usa ~1VIP-2 end/pr 1'ure~en witl~Q~t
                  appropriate consent; failing to ~isclase ~7r. Sh~nti anti ~~her~ in~vol~vernent in
                  surgery; irnprager billing; c~~nging ~~ie pre-op and post-op zecards to aaincide
                  when the suzgery was not the surgery disolose~; and all other ~oz~d~~Gt ci~~ailed
                  ~n tie doc~m~r~~s I rerri~wed,

              66. WCMC,~'~ health and ~AST's mati~r~ for ~~eir actions and i~.actions
                  t~rxr~rds br. Du~x~i was ~inanclal gain.

              ~7. Thy N EC, a~mi~istratinn ~ilcl ~o~r~s of't~"~1ViC and U~ ~~~.th failed to
                 "govern t~~ a~'ai:rs ofthe 1Vlediaal ~Yaff;"

              68. The 1V1~~, ~dn~inistration and ~oarcls o£W~MC and C.~~ ~Te~lEh £~ii~c~ Yo
                  eztforce their rules tlp~n Dr. ~urrani ~~ tf~~~'~~re rewired to da,

              6~.Tk~~ MEC,administr~~ion~ grid B~axds of~'CMC atx~ UC Health fared t~
                 pr~~v~i~le ~~versz~~t ofTyr; I~urxpn~ ~s #fey weie req~ti~ed ~o d~,

                                                     1q~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 198 of 271 PAGEID #: 220
Jun. 34. 2014 9.18AM       MA                                                              ~o, 121       P, 24




              70. Tk~e ~~C,administration end ~a~rds of'4~V'CM~ end ~C T'~ealth f~iXed to
                  properly ~valuak~ Dr. bulrani.

              71.'~he ~i~ihop~dic and surgery bepa~~tmeza~s ~bdicatecl their xe~~aonsibility under
                 the IYIkC 1~ylaws to re~'~~'W, investigate ~~(1 St~p~rvise Y7r. Dur~'~i,

              72. The 1VY~~, adrninistratioz~ end ~3~ards of`US~'Civ~'~ end T~'C ~~alth failed to
                 ~xage~~ly di~~~pline br. burr&ni i~iCluclin~ summ~~'suspensions ~n~
                 ~e~vacatian.

              7~. Thy MEC,administr~kt~n aticl wards of'W'CMC anc~ ~J~ I-~ealth failed to
                 ~roperI~' discipline und~x the N~L~ bylaw$ ~s it pertains to Dr. ~7urr~ni.

              7~4, The 1VI~C, ~dmi~iistration and ~Q~rds of"t7V'C11nC ~n~1 UC T~ealth ignored the
                   ir~fc~rmation re~dzl~ ~'v~ilable peif~ir~ing to A~. ~?urran~ b~fare o~~denti~ling
                   end ~antin~ him pri'~ileges.

             7S. T3i~ lU,CEC, ad~rii~aistiration ~nt~ Boards of~T~M~ ~'ic~ ~[.l'~ S~eultf~ ~~i1ec1 to act
                 pn br. I7u~~n~'s r~isruptive 6e1~a'v~4x, unprofessi4~~1 behavior a~.zd cIi~a~~~t
                 ~aQrformanae pl~oiz~g ~'laintiff at ii~l~.

              7~. T.he MSC,administration, Intl Boards ~~'WCMC and ~CJ~~ H~~lt~. certified acid
                  approved tk~e u~neees$ary procedures ofDr. I~urr~ni on 1'Iaintif~'lcn~~wi~n~ they
                  ~uy~re unn~Gessaf~► and knowingly'allpwing the irnp~'o~er use of~MF~2 and/or
                 Pureden aid lttio~vi~g there way nod pinp~r informed consent,

             77, Thy MEC,admiiustr~tion anti ~aard~ of WCMC and C7C ~-i'ealth failed to Aot
                 on Di, l~tY~~r~ni's failure in zne~ical xecort~ dQGYyzn~~.tation.

             7~, The MSC,t~dz~1inistratian end ~a~~ds af'VV'CMC Rnt~ UC ~Tealth failed to
                 x~gr~ire Dr. T~t~rr~ni to follow the rues fbr afFla6e1 e~pe~~tnental prd4edures.

             7~. ~'h~ MEC,administr~tipn and ~oard~ a£~4~'~1V~C and l(J'~ ~Iealth allowed I~r.
                 T~urraz~i to use undisclosed aa~ unqualified st~r~eons to per~t~rn~. his surgeries
                 incl~rding T>r, ~harzti.

              S0. The 1Vr~~, administration anti ~~axds o~`S~VCM~ and Y7C ~Tealtl~ ~.~lor~~~ br.
                  Durrani to do axi~ltiple surgeries ~t once.

              ~1. tiV~M~ and ~1~ I~e~.1t~i have refiz~e~i tp provide as pri'v~le~ed the peer r~~'~er~v
                  info~m~tion fiarn WCM~ for br.I~ur~~ni to either zne or k~~ir own expert.
                  ~`Iz~r~~'r~re, we have n~a 1~'r~p~vlcdge of vtvhax action, if an.~,'w~s taken a,~ainst
                  him. I-~a'uti+'e~ver, bas~d'~tppn the facts here, iC ~s ~1~~via~as they ~rai1~~ to t~l~e
                  act[on,


                                                       IS
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 199 of 271 PAGEID #: 221
dun, 3P, 2014 9;19AM            M A                                                           No. 1213   P. 25



                  82, used ~poa~ ali of the ~~b~ve, i#'s my ~~inion t~~k WCIVIC end UC health ~Vexe
                      negligent i~t Fheir cred~nt~alita~, s~apei~'~~ing, c~isaiplircit~~ aid r~t~~~ing br.
                      D~urani an sta£~'and alin~'i~g him to abt~in and lte~p.pri~vile~e,~ at WCMC
                      under tie standa~;~s offJhi~ ~s ~~t~ileci in t~.e Brenda Shell°s Response ~a
                     1V.tQtio~.for Summery ~udgm~nt end this pray;mataly c~us~d harm to Pl~i~itif£

                 S~, T.h~ faots suppvr~t T~~ttl ~arks6eiz~''s ~Iaim fvx r~egligenae, 6~ttei~, lack of
                     consent tend gaud.

                 84,As a r~s~lt Qftf~~ ne~iigenc~ ar~~ cond~ef ofDr. b~arrani, CA~~`,'West Chester
                    aild UC ~Sealth, P~~~l ~arksb~~y suffered damages praximatcly cause b~
                    thern,including xh~ ~`pl~owing:

                      A, ~erman~nt rlisabili#y
                      ~, Physival deformity and sears
                      ~. k'~sti, C%ui~~nC 2~t~c~ ~'utux~ k'hysica~ anCi ~Tenta~ ~'~in a~tt1 ~uffe~z~tg
                      Y7. ~,~~t income ~~st, present end Future
                      E. ~,ps~ ~~`enjoym~nt C►flife
                      k'. fast m~dipal exp~i3ses
                      fir. ~'atues medical expenses ~pg~~oximate~~ in the arr~ount of$50,000 t~
                           $2~p,000 depending o~~ ~aUrse a~t~e~tm~~t
                      ~, Ag~ravatian t~~'~ pre-misting condition
                      Y. I~eCr~ased ability t~ earn incb~~
                      3. 3%increased risk o~`G~cez a~~.t~ ~'~ar ofcaner 1~BM~'-2 vv~s used.

        A~~`IAI~IT SA'S~~T~ F~'~t.'~~IER N4T



                                                           KETTl~ Z7. WTLKE ,M.D.


                                                           N'QT,~R.Y`


        ~~BSC~IB,~U,~"~Vt~RN'mC} A~11.7 A~T~IVOWLE]7~EL~ ~e~'ar~ mss, z~ N'~t~ry ~ubli~, by

        Z~itf~.T1. Willcey, IL~.U, ont1~rs„          dad of~'un~, ~Olq,
                                                                                       5


               ANGE P91N9ETi
            Nola Pu6ti0 ~ Notary $8a{
                ~t~le 8i Mlasour3                          ~1QTA ~Y pUI~3L~~
        Gammi~aioned tar 5t, Chatles Co2Q
                                        ~
                         :11133~i3                              Commission Exp.:        ~J       'CSI~
       MyCommuseuqn~i~m~Da
                                                                        t   County

                                                           State of ~.,~'~           ~(,-~~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 200 of 271 PAGEID #: 222




                                    HIRAM MCC,A.CTLEY
                                   AFFIDAVIT QF MERIT
                                     WEST CHESTE~t

         I, Keith D. Wilkey,lVl.D., ai~er being duly s~woxn and cautioned states as fallaws:

      1. Y devote at least one-half ofmy professional time to the active clinical practice rn my
         field oflicensure, or its instruction in an accredited school. I am a~~ oi~tho~aedic
         surgeon whose ~oeus xs ova spire suxgezy and treatment ofthose with.sine issues.

     2. I ~rrill supplement this affidavit with another, by a lettex o~ by testimony, based upon
        any information provided to me after I execute it.

     3. My curriculum vitae has been previously provided to apposing cou~se~ i:~. these Dz'.
        I}urrani cases and can be provided again Ripon request. Fox may xevxew,I xely upa~.
        n1y ed~icatian, #raining and experience.

     4. I have not counted but I have reviewed, aver 200 or tnnre cases invalvznp Dr.
        Durrar~i and the hospitals where he once had privileges.

     5. I base my opinions in part on nsy review of ~ll the uses I ha~+e:reviewed which knave
        revealed similar conduct by Dr. Dturani and the hospitals whexe he had p rivileges. I
        have also reviewed binders pxovided by the Detexs Law Firm which they provided to
        defense counsel.

     6. Z am farniliax with applicable standard ~f ear~e for bhio,Kentucky azid the country
        fox a:~ a~tlaopedic/sine sw•geor~ such as Dr. Durrani.

     7. I am also familiar ~~itli applicable standaxd ofcare, policies, rules ~.nd xegu~~tibnS,
        medical executive conunittee bylaws, JCAH~ ~equirezzzents, crede~.tzaliz~g,
        supervising,retention o~z~.edical staff, gxanting and rejecting privileges and t~~e peer
        review process £ox West Chester Hospital, LLC,also,refe~~red to as West Chester
        Hospital ox West Chester Medical Center and rJC Health.

     8. I have reviewed alI relevant medical records i~acluding radiology ofI7r. Duxxa~ai's
        medical treahnent of Hiram McCauley and the medical treata~aezat of Hixam
        McCauley at West Ck~.estex,

     9. I have reviewed.the Res~aanse to Summary Judgment in the Brenda shell case and
        all the exhlbxts attached to it.

     10. TY~e Center for Adva~iced Spine Technologies, Inc. was Dr. Burrani's practise group
         and he vvas the sole owner, director and officer of CAST as well as an employee.
         CAST ~s such is also responsible fir 77r. Durrani's negligence and for their failure to
         also supervise, discipline and xetain Dr. Durrani.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 201 of 271 PAGEID #: 223




      X 1. I have also reviewed the fnirsing summary prepared by legal counsel's office for
           Hiram McCauley. Based u~an the number ofcases I've reviewed pertaining to Dr,
           I7urrani,legal counsel's office knows what materials I need to :review a.~d pxovides
           me those materials, In additzon, while this affidavit contains case specific
          infoi~rnation; it also contai~as information relevant fo this case and/or many andlor
           Yeast andlor all the other cases. It is pre~ar•ed far me by coluisel with my direction
          and approval life all ofthese have been.

      12. used upon my review, the t~ollawin~ are the facts I rely upon:

      A. Hiram McCauley ~1as a 42 year oId finale, married, f~.ther offour children on the
         day of Dr. Dunani's surgery on lU/4/~.0. Hiram's chief cv~n~laint was severe
         lower back fain radiating down the right leg with nwnbness atad t~~agling ita his
         toes increasing with activity. Pain score 6-7114. Dr. Du~~tani stated Hiram had
         flexion and exfierisian fain with ~orwa~'d e~tensxox~ being mope painful,

     B. ~MH:,Asthma, Depression,NIDDM,HeadacheslMigraines, GERD,HTN and
        Smoker 2ppdx20years.

     C. SUR.G H~:~'wo left knee surgeries

     D. Hiram had completed a high s~haol education and worked full time.as Suscl;i
        Cheffor 17 years and in a restauralit also for Amazon as a warehouse worker
        stocking shelves and is ~aroud to say he vvas ~e fastest stocl{er they had. Hiram
        h~.d always been an active person involved with playing softball, ~urx hunting
        along with frequent target practice all of which he can't do anymore. T-~iram was
        especially participative while raising his four children and their fofltball activities.

     E. ~Tiram stated that I3r. ~7iurani assured him that he could fix lum with this new
        surgical technique and Hiram would be better than i~ew, be able to retu~~n to ~t~vork
        without fain within a month's time. Dr. Dui7~ani ernphazised that Hu•am would
        need the Ivwer back surgery as soon. as possible. Hiram stated that he really
        tz~isted Dr, Duxxa:ni anal Veit as though he ~ea11y 1c~ier~v w~aat he r~vas doing. Dr.
        Durrani was actually a second opznior~ for Hiram,t1~e previous surgeon did not
        want to operate but only to medicate Hiram for the lest of his life.

     F. 7I20I0 — ~Tiram saw Dr. Durrani for the first time for lus lower back pain and
        severe right Ieg fain. Hiram states Dr. bturani never mentioned anything about
        using any type ofcement or pacing a cage and never spoke about this INFCIS~
        iticreasing the risk far cancex. Esseza~ia~Xy zoo patient education was given
        rega~•ding do's and don'ts, .i.e. staying hydrated post-Operatively.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 202 of 271 PAGEID #: 224




      G. Hirat~. stated lie only received ifljections post-operatively which really didn't do
         much for his pain. There were no conservative pr~~op treafim~nts prescribed.
         Hiram was not happy tk~at he did not see Dr. Tluz7ani post-operafiivel~ either.

      II. 7I27/1S} - In a letter fio Dr. Gary Shearer,PCP, Dr. D«rr~ni states he reviewed the
          x-rays and MRI that day showing decreased disk lieig}it between L4-LS and L5-
          S1 with atiterolisthesis ofL4 on I.,S and LS o~ S1,

      I. 9!23/10 — In a Ietter to Dr. Shearer, Dr, Durrani states ~-Iiraan was there forhis pre-
         ap evaluation for the u~comit~g L4-L5, LS-S~. AxiaLIF with posterior spinal
         instxumen#anon and fusion on 1014/2010.

      J. 10/18/10 — In. a Ietter to Dr. Shearer, Dr.17tu7•atu states Hiram's ;right leg pain is
         completely gone alotlg with kris severe dehydration and ~.ow taking a stool
         softener for his constipation. Hiram's pain score ranges between 6-!4110 and is
         still an ~~ycodone 30mg, Lyr~ea 75mg and Flexiril 1Q~ng for the severe muscle
         spasms. Hiram was to staxt physical therapy wprkx~.g ors ltambar stabilization and
         eQre strengthening with range of motion aid endurance.

     K. 1112/1 ~ — XR Lumbaa~ Sine AP and Lateral @ St. Elizabeth k'lorence
        Im~resszon: Post surgical changes: ;rx~etallic plates spanning the L4 through S 1
        levels seeur~d with a total of4 screws. A screw i~ also noted which extends
        superiorly from the level of S1 through. t~.e LS vertebral body a~.d into the mid to
        superiflr as peck aif the L4 vertebra[ body. E~ectxonic device hated wxt~x lead wires
        on the lateral view. Mild degenerative change, No fracture or dest~~uctive lesion.
       (~nclttded}
        _(Not sure where these lead wi~~es or when tjzese lead wires were placed sand. or
        what, unless they are the same uide~vfr~es used to measure/i~zsert the came as
        mentioned an the O era~ive Re oy~t
       Included

     L. 1118/!1— Iu a letk~r to ~.7r. Shearer, Dr. Durrani states Hiram had sign.i£icant
        progress since die ~aad reduced the amou7rt n~pain medications greatly, not like
        eating aaiady as he was doing. Hiram had just staz~ted endurance exercises, i.e.
        treadrn.i[1 and bicycle and making good progress towa~•d a c~rug free life.

     M. Hiram states all ofthe above paxa~rap~ is simply not t~~u.e. He is not able to walk
        ifhe dae~n't have all of his:medications because ofthe severe pain he has had
        since the surgery. In ~aet, his physiciaYi has increased his Oxycodox~e to 6Qmgrn
        cur~etitly. His ca~adition is sa bad that he received Social Secuxity Disability on
         the first application.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 203 of 271 PAGEID #: 225




      N. 4118111 — In a Letter to Dr, S~aeaz~er, pr. ~lurraxai states Hiram was ~aa~v six months
         host-op and tried to return to warlc far about three weeks bt~t the low bacl~ was
         more t~a~. he could endure with his pain rr►edication. Hiram's complaints were
         numbness and tingling in both ofhis feet, left leg a~1d law back pain,8/lf~. ~Iiram
         was also having trouble sieepin~ and trouble with his bowels nat being aware flf
         the forthcoming activity :resulting in several accidents..An urgernt MRS Lumbar
         was o~'dexed. Hiram was to retuY~ in one week.

      Q. 1 I/1/11— In a letter to Tar, Shearer, Dr. Diu-~ani states Hiram had retluned for the
         six month visit, not mentioning anything about the previous urgent Lwnbar MRT
         that was suppose to have bee~a done xn Apxil. Another 1V~~ti was ordexed.

      P. ~ X191X ~ —MRS Lumbar spine w/o Contrast w/3b cr Proscan Imaging,Paul
         Brawn Stadium.
         Conclusion: Status post A~xaL~F grad posterior spine fi~sxon ~4-S axad LS-S l
         utilizing solitary theeaded screw and transpedicular i~stru~e:~tationa Skaal]ow
         rigl~f ~aracer~tral ~arori~usion LS-
         SI gently abuts the descer~di~g ~rig~.t S1 nerve xoot sleeve without :ne:rve :root
         compression, dis~Iacetnent ox edema. ZVIiXd aright proximal foraminal narrowing
         without exiting
         2} Shallow noncompressi~ve disc displacement L4-S,
         3} Na compressive t~iscapathy ce~halad to the fusion.
         4} When comparison is made with previous written report and images dated
         4/25/11, the exiting LS nerve root is na longer being abutted. Remainder o~ the
         exam is similar.(Yncluded)


      Q. Dr. T)urrani's misinterpretation afthe pre-operative diagnostic:
         31311fl — MRI Ltunbar Spine w/o Contrast cx Proscan Radiology
         Cc~ncli~sion: L5-S 1 right-sided HNP ab~itting tkae descendang rig~it S1 nerve root.
         Facet arthrop~.thy in addition to more shallow protrusion. results X~a modex~te right
         forarninal stenosis with abutment ofthe exiting right LS nerve soot,
         2)L4-LS broad-based shaIlaw bulging disc. Facet arthropathy with mild
         narrowing ofthe in~eriar portion ofthe foramina bilaterally. Mii~zal flattening of
         the thecal sac is also present.(Included)

         ?!2711 Q - ~?~r. T~uzrani stags lac re viewed tt~e x-rays and MRS t~aat day showing
         decreased dxs~ .eight, Impression: Lumbar spinal stenosxs associated with lumbar
         spondylolistli~sis T~4 ora LS
         and L5 on S1,
            • Progressive and severe symptoms ofneu~•ogenic claudication
            • Back pai~a with severe radicul~~ pain an the ~ght side in floe ~5 and the S1
               distribution.
             + Very sigtaxficant fiinetional impairment,

                                               0
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 204 of 271 PAGEID #: 226




             • AtlteroZisthesis ofL4 on LS and L5 on S1.
             • Sevexe central stenosis
             ~ Severe lateral ~~ecess ste~aosis at the LS-S 1, moderate to severe at the I,4-
               LS ot~ the right side.
             • Failurre ofconservative treatment £or many years,

      R. Surgery was recommended by Dr, Durr~~i vri the first office visit.

      S. Dr. Durrani performed one s~~egeiry on this client:
         10/4/1fl — Surgery @West Chester Medical Center
                ~RE~P~RATIVE 8~ POSTQPE~ZATIVE DIAGNOSES:
            • Degenerative Lumbar Disk Dzsease L4-L5, LS-S 1
                Degenerative Lumbar SpinaX Stenosis L4-L5, L5-Sl

                PROCEDURES:
            •   Axial Lumbar ii~terbody fusio~a ~.4-LS using A.utograft and Allog-raft.
            •   Anterior Ltamba~r z~~erbody fusion L5-SI using Aufograft and Allograft
            •   Placement ofaxial lumbar interbody cage L4-L5 and LS-~ 1
            •   Fasteriar spirza~ i~.stentation L4- L5 and Y,5-S1
            •   Poste~riox spinal fission using aiitograft and aElagraft L4-15 and LS-S1
            •   Lurnbax ~arnxnectomy L5-S1
                Right~sided Foraminotomy LS-S1

         The CAST Informed Consent was the only Consent in fihe file and it was blank
         but signed by Hiram, The West Ch~st~r Medical Center consent was i~at
         available.

     T. The following hardware was iYn~lanted:
          • 1 — INFY.?'SE Set Bane Cn~aft -~ Medtronio
            •   ~. — ~`Qc3.tll ~IOAC~ V1tOSS PSCI{ 1 aCC --, dI~110VIfa

            •     4 —Set Screw ~'/G4 INT Hex — Medtronic
            •     1— Foa1n Bioact Vi~oss Pack Scc — (7rthovita
            •     1— Axi~.L,IF 2L Plus Stahilization System — Transi Inc
            •     1 — Fixation R.od 6Dmm — Transi me
            •     1— Distraction Rod 30n~n — Tratisi Tnc
            •    2 —Screw Cann Ma CDH 5.5 Leg 6.5X45 — Medtrot~xc
                 2 ~ Screw Carus MA CDH5.5 Leg 6.5X40 — M,edtxonic
            • 2 —Rod Pre-Bent M* S.SX65mmTi — Ivledtro~io
        ~1'ir•am states he was told thet•e would only be one Rod.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 205 of 271 PAGEID #: 227




      U. flff-T,abel ~Tse; It was A~iaLIF approach.

      V. Tlae Operative Report was dictafed by ~7x. Durxa~ai an 2/13111 (132 days ~at~r) and
         verified on 4/8111 (155 days later}.

      W. There was no failed hardwaY~e, However, about 5-10 days post-op he had one
         maul complicatio~i so,fo-speak, dram had become very dehydrafied arld muscle
         spasms of tivhich he was lxeated fox' in the St. Elizabeth's Etnexge~.cy Room with
        IV fluids, He also continued t~ have excruciating pain gust-operatively, to the
         poznt of screaming aloud and being treated with tiarcatics until tae pain decreased
         and was discl~ar~ect to harr~e. He resents St. Elizabeth's physicians thinking he
         was arz addict see~i~g drugs.

     X. Dr. Durrat~i was a second opinion for ~Tirarn because the previous physician
        didn't want to operate but oa~ly prescribe drugs to control the pain, Fort
        operatively, Hiram did see a Dr, Mu11en who stated after seeing Hiram's back
        "Qh my Cxvd" pou'~e :rzg~t", Dr. Dtu~r~.ni did chop tip your back as you(Hiram)
        stated. I~iram indicated Deu~ani wanted to da mare surgery and he refused, then
        Durrani sent him to Cincinnati Intervent[onaf Fain lVia~aagexnent i~ Newport. This
        physician put dim on M~thadane, which almost gave Hiranz a heart at#acl~ causing
        ck~est pains, he states. Finally Hiram saw a Dr. Dougherty who managed his pain.

     Y. I~iram says he has defcutely more pain now thaYi he lead before the surgery,
        Hiram says Dr. Durrani was blaming lzis severe fain on everything but the surgery
        i.e., lie had been talring top rnueh pain rnediGation or zt was kazs I7zabetes ox et was
        the physical therapist wk~o did~a't teach him x~~k~t,

     2. ~Iirarn is a very bitter young mall because ofthe pain and suffering he has to
        endure for the rest o~l~is life as a result of Z}r. Durra~ii's incompetence. Hiram
        says he essentially is not able to do much of anything exce~at to lay in bed all dad
        where he is most cornfai~tabie. Hira~n's current complaint remai~is pretty much
        the same as pie-op being lower back pain radiating down bath legs now, bladder
        and bowel pxoblems,right hip ~oekix~g up an ~aitxa, and now new upper back pain.
        ~Ie had been very stanched about rzo ti~ae tonehin~ his back ever agaiY~ but he is
        having second thoughts row that he is suffering more.

     ~.       Hiram is eery upset at the age of48 years he is in the eonditi~~ tae is in as
      a result ofthis surgery which has affected his personal relationships. The lass of
       bowel and bladder control is very embarrassing especially when it happefls t~ him
      in the middle ofthe grocery store.


                                               6
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 206 of 271 PAGEID #: 228




     B$.          ~Tirarn's ether limitations are:
        Walking was ~e~er a prablern but now lie has to walk with a cane anal mayUe he
        could make 3d xaainutes at ati~e.
        Si_ ttin~ — xs now limited to 1.5-2Q minutes at any given time.
        Laviiz~down — is preferable on his right side or~lyl
        S~ee~in~ — once he is able to achieve sleep with the help ofthree medicatio~.s ~.e
        continues to awakens every 2-3 hQUrs all night Ivng and on many nights is not
        able to get back to sleep.
       L1~II] 1~ imifi — is now reduced to less than a ~a~lon of milk, whereas before he was
        accustomed to lifting 50-~0 items at any given time.
       Household chores —are now the main xesponsibxZ~ty of his tivife because he is
       uTia61~ to help with anythri~g. His son Baas taXce~. aver the rnanjpbs of t1~e hQUSe
       i.e. garbage, cutting grass etc. Hiram states i~k~e goes along to do grcocery
       shopping ~.e lass to use one ofthe electxic casts. He has been embarrassed 3-4
       times in the grocery when he has IQSt control of his bowels. With the held of a
       stool, h,e continues to txy to nook at ties.
       Able to Driae -- k~e zs stzXX able to dr~zve an shot bx~e~ trip is and does not tolerate
       an~tbin~ over a~. kaour w~t~out getti~ag out a~ad stxetehing.
         F~e~xoz~ -~ he xs ~.ot abbe to bend over,should he drop something on the floor or
         ground,t~.at's where it stays because lie is nQt able to Iaend over without terrible
         pain. ~zra~~. states he is beginning to have upper back fain as well recenfily.
         Dressi~~ k~~mself — is generally not a ~aroblem except fvr tying his sloes and then
         he has to lift his pants leg u~rw~td so lie can reach his shoe stings.

     CC,        Hxxarn states he has never beep without pain since tl~e day Dr. Dtu~raiu
        aper~ted on him ruing his pain currently as 10/10. Hiram also considers 13is
        quality ofIife as very poor. He is vexy upset that the sur~e:ry has affected tl~e
        usability to lime sexual relations with his wife and that does not help the
       marriage.

     I]D.        Hiram plans to try to get an appointment with the Laser Spine Institute
        and/car the Mayfield Clinic to see ifthere is anything they can propflse for hirn.
        He is tired o~just lyiztg in bed all day everyday bt~t that posifion is the only one
        that gives hiz~~. any xelie~ ~xom the 24/7 paid he has to endure, Hirarn is a
        depressed young man resent~z~g that he is not able to word az~.d provide far his
        family as he once did.

     T 3. Based u~ot~ my review, the following acre my opznions based upon a re~sa~.able
          degiee o~'inedical certainty pertaining to the deviation in standard ofca~re or
          negligence,informed consent, battery and fraud chinas against Dr. DLuxani, CAST,
          Wesfi Chester and UC Health whick~ pz'oxirnatsly caused harm to Pl~inti~

         A. N'ead to have additi~azaal sux~er~ to repair problet~.s created by Dr, Dur~ani

         B. Implantation ofPuregen without informed consent
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 207 of 271 PAGEID #: 229




         C. Implantation ofBMP-2 withaiit informed consent

         D. Famed hardwire

         E. Failure to obtain proper x~a~oi~ned ca~se~~ for surgery

         F. Faihue to provide adequate axed thorough pre-operative and post-opexative
            patient s~gical education

         G. Failure to properly past-op monitor the patient

         H, Faxlu~'e to properly perfar-~n follow up, post-off care

         Z. Negligent ~t~rgical techniques

         J. Failure to maintain accurate and corn~lete surgical records and surgical
            ~ansent forms

         ~.. Faih~re to disclose in~portanfi healfih infoi~nation to patient

         L. Failure to maintain and complete discharge surrunary

         ~. Failure to supervise Dr. Durrani

         N. Neglzge~t pre-surgical diagnosis

         D. Failure to prepare a timely operative report or a#k~er xx~.edxca~ record

         P. ~3illing far services not completed

         Q. Not informing the patient another surgeon will be doing a1I or part ofthe
            surgexy

         R. Practicing outside Dr. Durrani's scope oftraining, education, e~periene~, and
            Board cei~ifications

         S. Deviation in standard of oaxe

         T, Failure to perform thorough and aecuxate pre-op nonsurgical evahiatian

         U. Failure b~ Dx, Durrani to inform patient of additional/chaxag~d procedure end
            reason

        "V. Faihue by CAST to disclose additional/changed procedure and reason to
            patient


                                                8
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 208 of 271 PAGEID #: 230




         W. Failure by Dr. Dtanani at CAST to properly educate patient re~ar~ding
            diagnosis

         X. Prior knowledge ofpassible complication and nod acting ~araperly upon s~.zne

         Y. Failure to disclose pertinent health information to another health care provider

         Z. Fraudulent, negligent and recl~less pre-operative word up

         AA.    ~xaudulen#, negligent and reak~ess surgery

         BB.    Inaccurate, fiaLidulent, and/oz' exaggeration of diagnoses

         CC.    Failure to properly educate patient regarding diagnoses

         DD.     Failure to attempt rionTsu~rgieal conservative treai~nent

        EE.     Faih~re to ~erfonn thorough and accurate pre-op nansutgical evaluation

        FF.Failure by Dr. Dur~rani at UC/West Chester Hospital to perfar7n accurate acid
           complete preoperative teaching

         GG. Failure by Dr. Duzran~ at UC/west C~.est~r Hospit,~.l to prflperly educate
           p~.tiertt regarding diagnoses

        HH,   failure by Dr. Durrani at UC/Wesfi Chester Hospital to maintain accurate
          and/or ~oznplete medial records

        IY.     Faihtre ofinformed oonsent by A~'. Duzxani at U'C/Nest Chester Hospital

        JJ. Failure of UC/West Chester Hosprtal to insure Dx. J~urrani and CAST had
            nbtazz~ed proper informed consent

        KK. Failure ofUC/West Chestex Hospital to obtain proper acknowledgement
          of canserit

        LL.Faihere by t]r. Durrani at U~/West Chester Hospital to disclose pertinent
           health in~orm~tion

        MM, Failure b~ UC/West Chester F~ea~tl~ to disclose additional/changed
          procedure ar~d reason to patient

        NN.    Failure Uy UC/~Ti~est C~xestex Health to supervise staff




                                              E
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 209 of 271 PAGEID #: 231




            00. Failure by UC/West Chesfer Medical staffto properly document
              abnoi~nali~ies and follow up caxe

            PP.Nvn-approved hardware combinations

            QQ. Dr. Durra~li made false and material misrepxesentatio~s of material facts
              intended to mislead Hiram McCauley and co~aceaXeti material facts he had a
              duty to disclose. UCIWest Chester Healtl~t and CAST concealed material facts
              they Iiad a duty to disclose. Hiram McCauley was justified in relying an the
              misrepresentation and did rely pr~ximate~y causing harm to dram
              McCauley, Dz'. ~7urrani, CAST,and UC/West Chester Health intenti~anally
              misled Hiram McCauley. Hiram ~V,teCauley had the right to coi7~ect
              info~~nat~iflza.

      14. The testi~x~c~ny, facts and e~iibits of Brenda ShelPs Response to Motion ~'or
          5t~minary Ji~~gn~ent and Exhibits to s~m~ are applicable to all the c~ai~as against
          West Chester Medical Center (V4rCMC} and UG Health for aII claims, 1I1CIlIC~I11~
        . ~legli~etxt retention and credentialing bxoi~ght by Plaintiff

      15.    Based upon my review of t ie deposition testimony, the JCAHQ rec~u.ireinents,
         the MSC byia~vs ai~ci all the information.provided to me,I am able to adapt the
         fallowing opinions relating to WCMC end UC Hea1tl~ pertaining to tl~e c].ainls
         against then. WCMC's and UC Health's actions and ii~actioi~s detailed in this
         af~daait praxin~ately caused hat~n L'o Pl~,iz~#if£ WCMC and UC Health axe bot11
         being; refeze~c~d whei3 only WCMC is named, I hold the following opiruo~as
         relative to WCMC and IJC Health pei~taitung to t~.eir conduct acting through their
         administration aid MEC, The time period cpvered is from the time Dr. Durrani
         soughfi privileges p~'ior to WCM~ opening in May 20Q9 tkurough May 2013 when
         he no 1Qnger had ~ri~vileges. ~n addition to my opinions, I set forth facts I rely
         upon. This i~icludes all wi~ich I re~exenced that 7 reviewed. In addition to all of
         the above, I attest to the following:

                                            FACTS

            1. According to West Chester's £~xst Executive Vice Preszdez~t, Carol King, she
               did not explore the "rumors" about Dr. Durrani's leaving Childxen's.

            ~. A,ccoxding to Carol King,the hospital tr~.cked pxoblem issues yet WCMC
               lave #'azled to produce the infor~Ylation under peer review protection,

         3. According to eirculatin~ nurse,.~anefi SYni~l, presets were changed i~l the
            coYnputer to xz~dicate t ae procedure Dr. Durrani ~e~r~ozmed after the procedure,

         4. According tQ Janet Smith, despite no one at West Chestez'zaever working with
            Dr. Diurani before, WCMC never checl~ed hinl out.



                                               ~~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 210 of 271 PAGEID #: 232




         5. Ac~orttin~ to faxmer University Hospital President(a LJC IIealth l~os~ital),
            ~riata Gibl~r, hospitals face ~inar~cial challenges.

         6. AccUrdit7g to risk ma~lager, David Schwal]ie, risk managemenfi lrne~ J~urra;~z
            had zssues.

         7. According to radiologist, Thomas Bro~+;vn, tk~ez'e ~vera surgeons questioning
            Durralu's decisions to perform suxgery,

         8. According to ~t~edi~al staff dire~to~, Paula IIaw~C, a poXiey called "stop the
            lying" was irnplerr~ented the same year ~.nd month they kicked out T)r.
            Duc~atii, ''his infers a poor environt~ez~t of honesty acid disclosure before this
            policy,

         9. Acec~~•dizag to Paula Hawk and as ~k~e director of medical staff, money is not
            supposed to trump patient safefy,

         10, According to ~'au3a Ha~vl{, she adr~tits peer review is far has~it~ls to protect
             eae~. other.

         2 7. Accoxc~~z~~ to ~'aul~ Hawk,she admits .hospitals a..re interested in vfllume,
              som.ethi~ng Dr. Durrani provided for W~MC and UC Health.

         12. Accordin~~ to Mike Jeffers, the director offinance, t~iey tracked Dr. D~urani's
            financial numbexs,

         13. According to Milce Jeffers, he admits fir. T)urrani helped them in thezx tz~x~,e of
             need.

         ~4. Accoxdxng to Mike Jeffe~•s, Dr. I~ui~ra~~i was the highest money generator.

         15. Accc~rdin~; to Mike J~~'f~rs, he Knew ~}r. Durraiu had More tk~a:~. ore surgical
             suYte assigned at once.

         16. According to Mike Jeffers, bonuses'were laid to him and others based upon
            finastces.

         17. Accprc~i~~~; to L}r. Peter S~crn, he knew Dr. Di~rrani was a~nly "satis~~.cto~ry,"
             not a world class spine surgeon as West C~aester adve~~tised,

         18. Dr. Stern doesn't deny admitting TJC Health looked the other way oti Durrar~i
             because of money.

         19. According to cred~ntialing manager, ~m~ Shelly,there was plenty of"public
            knowledge" abo~.it Dr. Durrani to check before credenti~,ling.



                                                11
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 211 of 271 PAGEID #: 233




        20. Acco~•t~ing to ~•Lni~ S1~telly, West Chester relied on tl~e NFDB they l~new was
            protected b~ k~ospitals.

        Zl. Dr. ~ri~ Sclule~b~rger, ~7r. Durrani's partner, was on t~~e MEC at WCMC.

        22. Aecordin~ to uric ~ch~ieeberge~~, Wesfi Cl~estar luxew about T}t~xxa~i
            scheduling surgeries long into the day and night.

        23, AccUrding to formeY~ nursing n~an~.ger, Elaine I~u~iko,'4~CMC knew about Dr,
            Uuxraaai n.ot cornpletzn.g records.

        24. Ac~o:rdzn~ to Elaine ~.t~~ko, WCMC l~xaew Ar, Du~7ani wal~Id claim surgeries
            were emergency when they were not.

        25. Accol'Clfrig t0 EIc~lI1~ Kl1TE~CO3 WCMC kr~.ew tk~exe was an issue with I7r.
            T~urrani not being in the room doing surgery ova "his" patienfi.           .

        26. According to Elaine ICunko, even the OR nuxses knew WCMC put up with
           Dr. Durlani far money.

        27. ACGOI'CIEIi~ tD ~IZ1I1~ KUItICO~ WC1V~C txaeked Dr, Duz~ani's financial numbers.

        2$. Accor~iug to periaper~ttiv~ direotar, Lisa Davis, WCMC knew Durrani's
            office is supposed to get consents so WCMC had an obligation to make sure
           they did.

        29, According to JiII Stegman,the risk manager at West Chester, she knew
           Durrani had "issues."

        30. Jill Ste~in~n confirms Geixy Gaodman's complaints,

        31. According to I~.athy Heys, WGMC knew haw Dr. Durr~,ni used BMP-2 and
            ~uxeG~~..

        32. Dr. Tire Kremchek,the Chie~c~~tla~ Orthopedic dep~'tment, failed to do his
           job under the MEC bylaws as it related to the supervision and review of Dr.
            Durrani.

        33. Acc~~•dzz~g to fix. Tim Kremchek, he knew Dr. Durrani was "soppy."

        34. Kevin Joseph, the CEO of'V~1CMC, claims to know nothing about surgery
            operations in his hospital.

        ~5. KeviYi Joseph,the CEO,elazttts a hospital must protect ~ratients fiom
            unnecessary harm "as rniuGh as they carp."



                                              12
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 212 of 271 PAGEID #: 234




         36. T~e~in Joseph,the GEC,claims V~ICMC doesn't have oversight o~'surgeo~s
             doing what plaintiff claims D~u~ani was doing. {Despifie what his by~~.ws
            state.}

         37,I~evi~~ Joseph,the CEO,denies t~xe hospital has arty respo~sxbz~zty if Dr.
            Durrani did an unnecessary surgezy.

         38. Kevin Joseph, the CEO, despite his finance office tracking it, deices any
            knowledge of BMA'-2 use,

         39. Kevin Joseph, tlae CEO,denies knowing about any complaints about Dr.
             DuY7ani,

         40. Kevin Joseph,the CEO,admits they benefited financially fi•om Dr. Durrani,
             z~.cluding his awn day.

        41, Nark Troniba,the C~1~ manager, admits BMP-2 use as used by Dr, Dur;rax~i.

        42. According to Jeff Drapatik, the Senior Leadership team, including Joseph, met
            weekly end reviewed numbers.

        43. According to Jeff Dr~~~lik,the CFO of WCMC knew Dr. Du~rani was a high
            volwne money maker.

        44, Lesley Gilt~extson, a member ofthe MEC of WCMC,and anesthesiologist
            working rrvi~lz Durrani, load a concern abort how long Durrani kept patients
            under,

        45. Accordiii~ to materials manager, Dennis Robb, WCMC knew tb.e voiuxr~~s of
           $Ml'-2 being used.

        46. Acco~~din~; to Karen G1t~fiFari, WCMC knew the chart documentation of Dr.
            Durrani was not incompliance with. ~he~r bylaws.

        47. Patrick Saber, i~tusii~g VP at WCMC admits ~VCMC tracked the ~~.a~acaaX
            perfflrmance flf Dr. Durraru.

        48, Accardin~; to ~iurse, Vic~Ci Scott, the adm~~istratxon of ~CNFC l~new from the
            outset a~ West Chester all t~.e serious issues pertaining to Dr. Durrani.

        49. According to Vicki Scott, West Chester's risk ivanager began to ignore
            complaints from Ms,Scott.

        50. According to Vicki Scott, staff way scared to speak out.




                                             13
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 213 of 271 PAGEID #: 235




        51. According to Vicki Scott, patients didn't tcnow ~vlzo t~id the surgeries--S~a~ti
            or Dt~rrani.

        52. Accoi'C~lIl~ t~ VIC~i SCO~f, records were not accura#e who was in the OR at
            what tune.

        53. t~ccflrdin~ to Vicki Scott, everyone at V~CMC knew it was about money.

        54. Accoxdi~g to Vicki Scott, WCMC knew about Dr. Durrani's anal West
            Chester's illegal use ofPL~reGen.

        55. Accordil~g to Vicki Scote, Dr, Dut:ra~.i was a be~a~vio~ p~obl~m.

        56. According to ~afient represeEitative, ~~izabeth Dean, WCMC tracked Dr.
            Durrani's volumes from the outset and the CFO loved what he saw.

        57. According; to Elizabeth D~a~x, WC1V~C knew Dr. T7i~rani had iss~ies at
            Children's.

        58. According to Elizabeth Dean, WCIv~C ~nevv Dr. Aturaru was perfartning
            ~umecessary procedures b~ volumes anal repeats.

        59. Accordiii~;to nurse, Scott Rimer, WCMC knew J.7r. Duxxani waited until after
           surgeries to document what ~rooedures were Manned.

        60. According to Scott Rimer, patients at WCMC had ~racedures they did not
            consent to and WCMC kTle~~v it.

        61, Accarc~ilig to Scott Rimer, sterile fields were not protected.

        62. According to Scott Rime~~, WCMC ltriew PureCxe~. was bez~.g used by Dr.
            Durrani and allowed it,

        63. Accordx~g #o Thomas $lank, PureGen was an alternative to BMF-2, wluch
            WCMC tu~r~r.ed t~ based upon insurance denims ofB1VIP-2. In addition, Dr.
            Durrani operated an unethical FaD of Alphatech called Evolution Medical to
            sell PureCren to West Chester.

        64. According to Gerry Goodman, WCMC tracked BMP-2 use by Dr. Durra~.i;
            patients did not know who at times performed their surgeiy Dr. Shand ar D;r,
            Durrani; electronic records had to be changed after Dr. Dui~a~li's surgery; Dr,
            Durxaxai and WCMC never obt~ir~ed ~~a£ozmed consents; Dr. llurrani's volume
            was a warning sign of overutxlizatio~., Gez7ry Goodman reported all these
           concerns to WCMC and tk~ere was na actio~a. Gerry Goodman was told and
           ccanclu.ded tk~at WCMC did not want to do anything about 17r. ~h~rrani because
           of money ~ew'ards,


                                             14
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 214 of 271 PAGEID #: 236




                                  ADDIT70NAT1 OPIN~4NS

          65, The Ce~ater of Advancet~ Spine Technologies(EAST} negligently supervised
              anal retained Dr. Durra~.z, including by allowing Dr. Dur~ani to perform
              u~xiece~sary proceduxes and surgeries; use BMA'-Z aiidlor PureGen without
              appropriate consent; failing to disclose Dr, Slaanti and ot~exs involvement in
              surgery; improper billing; changing the pxe-op azld post-op z~ecort~s t~ coincide
              when the surgery was not the surgery disclosed; at~d all other conduct detailed
             in the documents I reviewed.

         66. WCMC,UC I~ealtli anc3 CAST's motive far theix actiai~s and inactions
             to~varcis 13r. Diti7~ani was finatnc~al gain.

         d7, The MSC,administ~atipn and Boaa'ds of WCMC acid CrC Health failed to
            "gaverin the affairs ofthe Medzca~ Staff,"

         68. Tk~e MEC,ad~i~inistration and hoards of WCMC and r7C Health failed to
             e~a£oxce their r«les upon Dr, Dwrra~i ~s they were reglured to do.

         b9, The MEC,administration and Boaxds of WCMC and CSC Health failed to
             provide oversight ofI]r. Durrani as they were required to da.

         '70. T1ne MEC,admiiustration and Boards of WCMC grad UC Heattl~ failed to
              properly evaluate Dr. Durrani.

         7I.The ~rtlzapedic arxd Surgery Depai~tinei~ts abdicated their responsibility ~.u~►der
             the MEC b~lavUS to xevi~w, investigate and supervise Dr. Du~ra.~i.

         72. The MSC,administration and Boaxds o~ WCMC and ~tl~C Health failed to
             p:raperly discipline Dr. Dur~ani including sutmnary suspensions and
            revocation.

         73. The MEC,adtnirustratin~. end Boards of WCl'VIC and UC Health failed to
             properly disci~aline under the MEC bylaws as it pertains to Dr. Duxxa~ai,

         74, The MEC,administration and Boards ofWCiVIC ~,nd UC Health ignored the
             infazxnatian readily a~ai~able pe~~taining to Dr. I7uzraaai before credetitialin~
             and ~xanting him privileges.

         75. The MEC,at~x~inistration and Boards of WCMC and UC Health failed to act
             on Dr. Durranx's disruptive behavior, t~npxo~essiQnal behavior and clinical
             perfoi7nance placing Plaint~£~at risl~.

         76. The MEC,admi~ustratian and Boaxda o~ WCMC grad UC Health ce~ti~ed and
             approved the unnecessary procedures of Dr. Dui~arai on Plaintiff knowir~~ they


                                                JS
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 215 of 271 PAGEID #: 237




            were uiulecessaxy and l~nowingXy allowing the improper use ofBMP-2 and/or
            PureCen a~ad meowing there ~ntas not groper informed consent.

         77. TY~e MEC,administration anal Boards of WCMC and UC Health Failed to act
             ova ]ar. Durrani's faile~e ire medical record doou~nentation,

         78. The MEC,administratia~ and hoards ofV►WCMC and U~ ~Ie~.lth failed to
             require Dr. Dw~ani to ~ollaw the rules for off Label e~tperimen#a1 procedures.

         79. The MEC,aclmiz~~stration and Boards of WCMC and UC Health allowed Dr.
             Dw~rani to use undisclosed and unqualified surgeons to perform his su1•geries
             including D;r. S~anti.

         84. The 11~EC, administration and Baards of WCMC and U~C Health allowed Dr,
             Dur~raru to do multiple surgeries at once.

         S1. WCIv~C and UC health have ~e~used to provide as privileged the peer review
            infoxmatian from ~CMC for Dr, Durrani to either nla or their own expert,
             The:re£oxe, we have no knowledge of what action, if any, was taken against
             him. However, based upon the facts hexe, it is obvious they failed to take
             actzon.

        82. Based upon all ofthe above, it's my opinion that WCMC and UC HeaLth were
            negligent in their credentialing, supervising, disciplining and retaining Dr.
            Durrani. oil staff and allowing him to obtain and l~~ep privileges at '4'~CMG
            ar~der flee standards t~f Ohio as detailed in t1Ze BY•encla Shell's Response to
            Motion ~~r ~urr~naty Judgment and this proximately caused laarn~ to Plaintiff.

        83. The facts support Hiram McCaule~'s claim for negligence, battery, lack o~
            ca~xsex~t end fraud.

        BA~. As a result oftae negligence and conduct of Dr. Duzx~.ni, CAST,'4'S~est Chesfier
             and UC Health, Hi~azr~ McCauley suffered damages pro~zmate~y caused by
            them,including the ~'ollowin~:

            ,A.. ~ezxz~anent disability
            B. Physical deformity and scars
            C, Fast, Curxent and Future Physical and Mental Pafz~ and Suffering
            D. Lost incatne past, present and future
            E. Loss of enjoy:nr~ent of life
            F. fast medical expenses
            G. Future medical expenses approximately z~, the amount off'$SD,gDO to
                 $25~,Q00 defending o~. caursa of treatment
            H. Aggravation of adore-existing condition
            I. Decreased ability to ea~7i incarne
            J. 3% x~cre~sed risk of cancer and fear of cancer if BMP-2 was used.


                                             15
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 216 of 271 PAGEID #: 238




   AFFIANT S,A.YET~I FURTHER NQ'I'




                                               KEI         b. WTLKE ,M.D.


                                               NOTARY


   ~UBSC~BED,S~'ORN TQ AND ACKN~~Ni.EDGED before me,aNfl~~ry Public, by

   Keith D, Wil~Cey, M.D. an this       1 a day of Marc,2Q15.
                                                           ~~


                                               NOT       FUBLIC
                                               1VIy Commission Exp.: a      ~   chi Q~~
          Ay~,E4A p04N5~1'fSeal                    ~   ~
                     - Natan!
       Nota~Y 4ubl(eMlssour~
            State of               ty                       ~... County
     Comm4ssian~~Expices~July i8~20i5                        ~ 1
   MY~nmmissbn ~Umb~r;11i33613                 State of Jam, ~ ~~~,t~ i




                                              17
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 217 of 271 PAGEID #: 239




                                     .~~~~~a~.v~~ o~ m«~z~r
                                       Foy.cauo~.,Ross

       ~, Keith Wilkey, MD,after beitYg duly sworn and cautiane~i state as follows:

   ~. I have made a prelimz~aaxy xeview of a~I relevaa~t medicaX ~re~o:rds and other information.
      provided to me regaxtfing the above named patient concerning the al~egatxo~s zn k~ex
      lawsuit filed or to be filed. (I'm fully aware of the lawsuits and claims bEing fled in
      what is referred to as the Durrani litigation.)

   2. Based upon zny prelirni~iary review ofthe medical records and other information
      provided to me, my education, training and experience,it is my opinion, based upon a
       reaso~aab~e degree ofmedical probability that the Defendants, Tyr. Durrani, CAST anc~
       West Chester Medical Center deviated from the standard of care for the care and
       treatment ofthe above named patient, including lack ofinfoi~ned consen#, and that
       deviation proximately caused harm and damages to the above maned patient,

   3. I devote at least one Half ofmy professional time to the acfiiae clinical practice in my field
      oflicensure, or its instruction to an accredited school.

   4. I will supp~em~nt this affidavifi with another, by a letter or by testunony, based upon any
      information pxovided to me after I execute it.

   S. I am familiar with applicable standard Qf care for Ohio, Kentucky and the cvunt3ry fox aza
      or~hopediclspine surgeon such as Dr. Durrani.

   6. The £acts support ilia patient's claim for negligence, battery, lack o~ consent and fiaud.

   7. As a result o£ the negligence and conduct,the patient suffered damages proximately
      caused by them, i~;eluding the following:

          ,A..   Permanent disability
          B,     ~~.ysical deformity and scars
          C.     Past, Current and Fut~~re 1'nysical and Mental Pain and Suffering
          D.     Lost ineo~ae past, present and fixture
          ~. Lass ofenjoyr~e~.t o:f lz~e
          F. fast medical expenses
          G. Future medical expenses a~~Y•oximately in the amount of $50,000 to $25Q,400
             depending on course oftrea~nent
          H. Aggravation of apre-existing condition
          I; ]decreased ability to earn income
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 218 of 271 PAGEID #: 240




 AFFIANT SAYETH ~URT~R.NOT


                                             ~~ ~ _ ~~-
                                           KEITH WIL     Y, M.D.


                                           NOTARY


 SUBSCRI$ED,~WOR~t TQ AND ACKNOWLEDGED before one, allotary ~'ubl~ic, by ~~eith

 Wilkey, N .D. on this _~~~day of _~~~Q,Y~,201S.



                                           NGT Y PUBLIC
                                             y onuniss~on Exp.;
                                            `~    i~~- County

                                           State o~    !~~~i'+l
           ...,~~
             ANGELA ~OiNS~fT
        Notary ~u~tic •Notary 8eai
  'SifltB of Missouri, St Charles Cnunty
         Commission ~ 15i3~813
  iV1y Commission ~xpi~8s du118, 2419
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 219 of 271 PAGEID #: 241




                                      MIC~TAEL SANDER
                                     AFFIDAVIT QF MERIT
                                       WEST CI~ESTER

          I, Keith D, Wilkey, lVl.b., after being duly sworn and cautioned sates as ~o~lows;

      1. I devote at least one-halt'of7n~ professional tinxe to the ac~iae clinical practice ~~. my
         field cif]icensure, or its instt`uctian in an accredited school. I am ate, orthopedic
         surgeon whose focus is on spine surgery and tre~t~ent of those with► spine issues.

      2. ~ will supplement this affidavit with ai-►ather, by a ~e#ter or by testimony, based upon
         any information provided fo me ai~er I execute it.

      3. My cui~iculum vitae has been previously pro~vzd~~ to opposing counsel iii these Dr.
         Durratu cases and can b~ provided again upon request. Ft~r xny review,7 rely upon
         my education, training ~d experience.

      4. I have not counted but Z have revietived, over 200 or more cases involvuig Dr.
         DurraTU and the hospitals where he once had ~ari~vil~ges.

      5. I base my opinions in paxt on my review of all the cases I have z'eviewed whioh have
         revealed similar conduct ~Sy Dr. L}turani and ~l~e hospitals were ~~e lead privileges. I
         have also reviewed binders provided by the Deters Law Firm. which they provided to
         defense counsel.

      b. I am £axr~.x~iar with applicable stanc~.ard of cax~ for Dhio, T~entucky and the courxtry
         far an o1~hopec~ic/spine stu~geon such as Dr, Du~rani,

      7. I a~n also farr~iliar with applicable standard ofc~e, policies, ~u~es and regulations,
         medical executive committee bylaws,JCAHO regturements, credent~aling,
         supervising,retention of mec~ica~ staff, granting and rejecting ~i7vil~ges alad the peer
         xev~ew p~racess far ~7~1'est Chester Hospital,LLC,also referred to as West Chester
         Hospital ar West Chester Medical Center and UC Health.

      8. T have reviewed all relevant medical records including radia~ogy of Dx. T.~iu~rani's
         medical treatment of Michael Sander and t,~e medical treatment a~MiohaeZ Sander
         at West Ck~ester.

      9. I have reviewed tlae Response to Summary Judgment in the Brenda Shell case atad
         all the e~iUits attac~aed to it.

      10. The Center for Advat~oed Spiny Technologies,Inc, was Dr, Aurratu's practice group
          and he way the sole owner, dixector and o~'icer cif CAST as we11 as an ~rnployee.
          CAST as such is also responsible for Dr, Duz~ratai's negligence and for theiz~ failure to
          also supervise, discipline aid retain fir. D~u7rani,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 220 of 271 PAGEID #: 242




      11. I have also reviewed t ae x~cursing summary prepared by 1ega1 counsel's office :Fo:r
          1Vlichael Sander, Based upon the number of cases Pve reviewed pertaining to I7r.
          Dw7ani,legal counsel's office knows what materials I need to review anal provides
          me those materials. In addition, while this a~E'fidavit contains case speci~xc
          information; it also contains infoi7nat~on relevant to this case and/or rna~y and/or
          rn.ost andlor ail the other cases. It is prepared for ine by counsel with ~y direction
          axed approval like all ofthese have been.

      X2. Based upon. my review,the follaw~ng are the facts I rely upon:

      A, Iv~ichael Sa~idex was a 58 year old male, married, father of two childre~a ax►d one
         graa~dchild on the day of ~l~e first Dx. Dt~rrar~i surgery an 7/19/10, Michael's chief
         complaint was severe lovve~r back pain radiating down bout leis mare
         predominant can the right constantly, He describes his Ieg pain as on the infier
         side o~th~ thigh and into the groin area and the other shooting pain dotivti to his
         toes with n~inbness and paraesthesia iu both begs. Michael believes his bac1~
         problem sta~.~ted fiom shaveling si~o~txr, Pain score $/10.

         PMH:Non-srno~e~, no signifcant rnedzcal pxoblerns.
         SURG HX; Append~ctamy

      B. Michael states ~.e had ~, pretty active life pxiax to the surgeries. He says he like to
         ash and go on bikes for four to £eve hours at a time with his kids. He nse to coach
         ~ootbalI, baseball and soccex with his kids as well acid ~.ow he is tuiable to do any
         ofthat much less repeat this activity with his grandchild.

      C, Michael states Dr. I]urra~i assured him he could fix him and make him like bxand
         new and he r~vould be able to do whatever and vvou~d be no~~nal ~wxt~ix~ six months.
         Needless to sad none of that happened, Michael states Dr. Durxax~.i hollered at
         hirn ~'o~ eo~.tx~auing to use t13e walker after one month post-op but he still continues
         to use it for lo~a~ distance walking to ~ze~p ~a~zxx xzlaintain his balance.

     D, Michael says Dr. I}urrani did nvt educate dim as to the ~rzs~s of «sing INFUSE ar
        piecing any tyke of cage. Dr. Dx.urxani told hirn he needed a second surgery
        because scar tissue had fanned and was pressing on tk~e nerve, so the stugely was
        done. When it came time ~vx the third surgery Michael says Dr. Du~rani stated
        the other tt~vv surgeries has caused his problem and now he needed ~ third surgery
        tc~ ~el~eve tk~e nerve that was being compressed.

     E. Michael states J7r. Durrani insistec~ he lcriew ~vlaat he was doing because he
        operated on people around the countxy, ~~ke same ofthe movie sta~•s and Dur~atax
        had even ui~ited him to die Play boy Mansion. Dui~r~t~i had also told him how he


                                                2
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 221 of 271 PAGEID #: 243




          did tk~is charitable surgery for people back in Pa~Cistan because he was world
          renowi7ed.

      F, Mich~.eX says Durrani sever sent him for physical therapy or aquatics Qr anything
         else before he kaad operafiecl an liim despite what he m.a~ have dictated in his
         dotes. Michael says his low b2tck and leg pain have never ceased since the fiirst
         day oft ae first sut'gery regardless that fihe Duxrani's notes that state his sympto~rrzs
         have ceased.

      G. 3/~~/i0 — MRI Lumbar Spine without Contrast cr St. Elizabeth Edge~tY,rood
         Impression. Discogenic and dege~.erative disease, greater at LS~SI than at L4-Y,S.
         There is moderate right ~aramin~l stenosis at LS-S1. Mare mild tiarrowin# ofthe
         lateral recesses at these le~eis, as well as mild ~bxXateral Yleurofo~ami~al narrowing
         at L4-L5 and mild left neuro~araminal narrowing at L5-Sl are of questionable
         arclutecitival sig~i~xcance . Please refer to the Endings section for 1e~veX by level
         details.                                (Inclut~ed}

     H. 3/30/10 — In a letter tv Dr, Michael Gieske,PCP,Dr. Diu~rani states Michael's
        MRI and ~-rays were reviewed that day see Dut~alu's details in question #2
        below, Tar. D~irrani's T~i~Uression:
     • Lwnbax spinal stenosis associated with lumbar spont~ylolisthesxs at L4~L5, L5-S1,
        aid L1-L2.
     • Diskogenic disease L~-L5,L5-S1 and L1-L2.
        Progressive sytr~ptolns ofi~euragenie c~a~.dzcat~on
     • Back pain with. severe radicular pain in ~otl~ lower extremities, right is mare
        marked in the LS and the S1 distx~bution.
     • Absent ankle reflex an the right side.
     • 'V'ery significant functional impairrx~e~at
        A~nterolisthesis ofLS on S1
     ~ Central and foraminal stenosis, severe at YS-S 1, tnod~rate at 14-L5 and Ll-L2.
     • failure of conservative treatment foY• many Ynanths at this paint.

     I. T_7x. ]~urrani states he had a long chat with 1Vlichael and recommended a huJibar
        decompression at LS-S1 with bilateral Forarniriotamy, Transforaminal hun~bar
        interbody fusion. at LS,S1,uvith posterior spinal ixastrumenta~ion at~d fission as well
        as bilateral ~aminotoxzazes at ~.4-L5.

      J. 7/1S/10 -- ~n a letter to l]r. Gieske, Dr. Durrani states Michael needed Cardiology
         Clsaxamce for tie upcoming surgery of which they will obtain.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 222 of 271 PAGEID #: 244




      K. 8/2/1Q - In a letter to Dr, Cxies~Ce, Dr. Duxxaaai/Jamie iYloor PA Mates Mic~aael had
         ret~irned fox his twa week evaluation stating his rigiat leg pain that Y~adiated down
         the inside oflvs tlugli acid dovtm t~ kris calf, was the same as pre~op but his back
         pain was better although he had to utilize a walker for stability, Rating his Ieg
         pain 8/10 and back 6110. Mick~ael ~vvill start aquatic therapy.

      L. 8/6114 — Physics Tk~erapy Initial Evahiation by Paul Boys PT, MHS
         Assessment: IVlichael's mein limitations were pain anti weakness. He would
         benefit from a postoperative program focusing on pain control rrvith soft tissue
         massage,electrical stimulation and range of motion followed by a posto~aerative
         strengthening grogram to help increase lvs lower extremity aid his abdominal
         strengfih.
         Goals are for Michael to be independent with the bonne exexcise program within
         six weeks with correct body mechanics,posture and his pain will have decreased
         and be able to tolerate ambulation activity for 20 minutes. Ibis treatment that day
         included an education of calfstretch, a pirifarmis stretch and soft tissue massage
         to his right pirifarmis, cold packs and electrical stinn~lation to his side for twenty
         minutes.
         Lon t~er~n: Michael's Oswestry score to improve to a 28, i:~dicatXng increased
         function
            • Low Back Pain level will decrease to 4/10
            • Right quadrice~as stxength will increase to 515
             • Will tae independent with a progressive resistive rat~tzne as appropriate
             + W~XI be able to lift 301bs from az~lcle to waist with proper form.
         Michael ~i11 be treated far 2-3 times a week far 2-3 months with a focus orgy
         therapeutic exercise, neurological reeducation axed joint mobiXzza~ions along with
         cold packs and electrical stimulation to help reduce his pain,

      M. $/9/10 — 9/x/10 — Michael's PT thexapy had not been as beneficial as they had
         hoped. He was scheduled for a CT Scau~ the following week. Very gentle and
         mild rotational mobilizations thxoug~. kzxs pelvis neither woxseried or reduced his
         symptoms, k'xe-modulated electrical stimulation to leis calf aIon~ with the
         electraga~vanze stimulation to his law back were continued.

     l~F. 9/71].0 — C'T~' Lumbar Spine wo Contrast @fit. Elizabeth Edge~vood
          Impression; Postsurgical changes L5-SI as des~xibed with appropxxat~ly
          positioned hardware. There is some mx~d Zucenc~ about t ae proxiYnal tip ofthe
          surgical bolt within the T~5 ve:retbra thaugii this is likely pastsuY'gical. Discogenic
          and facet degeneration with. disc bulging results in a znoc~erate central canal
          stenosis at L4-T~5 and right greater than Left lateral recess ~tenosis which could
          conceivably involve the xight LS nerve root, There also is potentially clinically
          significant right LS fora~riinal narrowing as detailed above. N'o other evidence of
          ne~~ral ~ompxession. Ift~iere is an unexplained radiculopathy, consider MR.I, or a
          IV~yelvgxaxn for fiu~her evaluation.(Ir~ciuded)
                                                n
                                                u
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 223 of 271 PAGEID #: 245




      O, 9191~4 - In a letter to fir, Gieske, Dr, Durrani states Michael had returned two
         months host-op and because he had developed right lei pain with numbness and
         ~arestl~esias . Michael's CT Scare result showed the level above the ,A.~~aLIF
         surgery, which is doing great, has a severe ste~asis on the right side ofL4-L5.

      P, 1d/6/X~ - Zia a letter to Dr. Gieske, Dr. Dlurani(3amie Maor PA states Iv~xchael had
         returned for his two weed post-op visit still complai»i:~g righfi residual leg pain
         just as much as it was preoperatively. Aqua therapy has beep lcnawn to help be
         beneficial after a discec~omy and. Larninectomy for leg gain. Michael will be
         doing aqua therapy for the next6-8 tiveeks to help reduce t~.e ner've pain since it is
         totally clecompressed. A Medral Dosepak was liven along with the Pe~rcace# and
         Lyrica.

      C~, ~ 1/4/X 0 T In a letter to Dr. Gieske, Dr. Durirani states Michael had xeturned for his
          two month visit s/p L4-LS Laininectomy and diseectomy. Tie has done physical
          therapy paid rehab and h.is deg pain is no better than pie-op ofthe first surgery i~
          July 2010. Saulg dissatisfied with. tk~e results Dr. Durrani had decided that
          Michael still had same nerve compression left and that an MRY would be ~.eeded.

      R. 1 111 1/10 - In a letter to Dr. Crieske, Dr. Dt~rrani states Michael returned for tk~e
         MRI results which showed k~e had developed a Iaxge dish herniation at filie L4-LS
         level and anterolisthesis of L4 ova LS causing severe stenoszs aXong with complete
         ~o;raminal stenasis bilaterally with. tk~e righfi 10d%blocked and t~.e left 90°/a
         blocked. Dx, Durrani recommended ~.third surgery being a himbar intexbod~
         fusion at L4-LS with right sided Forami~atomy, decom~aression and an extended
         fusion from L4 to S1. Michael was to be sc~ieduled,

      S. There is no MRI results during this time period iii this file.

      T. 12128!10 - In a Xettex to DY•. Gieske, T)r. Durtani states Michael had returned fax
         his two week post-op v~szt stating he was doing very well and most of his
         syin~atoms have resolved. Michael was td start ,physical tkaerap~ and rehab three
         times a week.
         This is the last Dr•. Dur~rani note an thefile.

      U. IV~ichae~ tied not see Ur. Durrani after the last visit and turn his care over to the
         Veterans Adrnirustration in Cin~i~at~ati, Ohio where he is currently being treated
         with physical therapy and seeing the NeuralogistlNeur4surgeon who feel there is
         not much more they oan do for him si~ace the EEG had demonstrated permanezat
         ~.exve damage in both legs. Michael does not knew tYxe results of t11e MRI the V'A
         did.
                                                 5
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 224 of 271 PAGEID #: 246




      V. Dr. Dturani's tnisinterpretatian ~fthe pre-operative dia~n.astic:
         3/22!10 — MRI Lunzb~r Spine w~t~oi~t Contrast@ St, E~xzabeth Edgewaod
         Impression: Discogenic and degenerative disease, greater at LS~~ 1 than at L4-LS.
         There is madexate right foramina! stenosis at LS-S1. More ~7i1d na~;rowint o~t~ae
         lateral recesses at these Ievels, as well as mild bilateral nei~roforaminal narrowing
         at L4-LS az~d mild left nel~roforaminal nai~pwing of L5-SI are of questionable
         ~r:'ek~itectural significance .Please refer fio the fndzngs section for Ievel by level
         details.                                 (Included)

         3/30110 — In a letter to Dr, Michael Gieske,PCP,Dr. Durraiv states 1Vlichael's
         MRI and x-rays weY•e reviewed that day shor~vxng he had 90% of disk height loss
         at L5-S1 level, 50% disk height loss at L4-LS aid anteY•olisthesis ot~LS an ~I.
         Also there is significant disk heig}rt lass at LI-L2
         The MRI confii7ns discogenic disease at L1~L2,L4-LS and LS-S1. The
         discogenic disease at L5-S1 is ~eYy very severe ~vith advanced facet ar~llro~athy
         causing severe foramina! stenosis bilaterally with right serve root corn~ression.

      W.Dr. Dur~rani recomYnended sur~er~ on the ~:rst office visit.

      X. Dr. Du1.7•ani perfoz7ned three siu~geries on tivs client:
         #1— Surgery - 7119110 - @West Chester Medical Center
                PREQPERATIVB 8c FOSTOPERATNE DIACrNOSES: SAME
             • Degenerative Disc Disease L4-LS & L5-S1
             • Degenerative ~~ina1 Stenasis L4-L5 & S 1
                PROCEDi.TRES
             • Axial Lumbar Interbody Fusion LS-Sl using auto and allograf~.
                Placement of Axial lurnbaa~ interbody cage LS-S1
             ~ Posterior spinal instr~unentation LS-~1
             * Posterior spinal fi.ising using auto and allograft L5-~1
             ~ LS-S1 Lumbar T.aminectoiny
             • L5-S1 bilateral foramina! decompression
             • Rig}it-sided~henzilaminotomy L~--~,5
             • Fflramir~al decompression right side L4-LS.
          Need Y~~st Chester• Medical Center's(WCMC}Infoi~tned ~ansent to compare tf
          Consent had been obtainedfar the proceduj•es t~Zat were petfo~med.

         #2 Surgery — 9122!10 @West C~aestex medical Centex(WCMC)
                PREO~'E~tAT~VE Qi P~STOPERA.TZVE DIAGNOSES:SAME
                 Lumbar Disc He~aiation
                 PRUCEDU'RES:
             • Endosco~ic DiscectQmy L4-LS Right-sided

                                                D
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 225 of 271 PAGEID #: 247




         No {WCMC)Infot°naed Consent or 4R Log available in thisfilefor comparison.

         #3 Suxg~~r~- X2/13/10 - @West Chester Medical Center
                PREQPERATIVE &POSTOPERATIVE DIAGNOSES: SAME
             • Degenerative Disc Disease Lumbar T~4-L5
             • Degenerative Lumbar spinal Steriosis L~-L~
                PROCEDURES:
             • DLIF L4-L~ using A~ito & Allograft
             • Placement Lateral Interbody Cage Y,4-LS
             • Posterior Spinal Instrumentation L4-LS vvx~l~ Extension k'usio~.itsi~g auto
                & allograft
             ~ ~,utnbar Laminectomy L4-L5
             • Lumbar Foraminotomy fight side L4-L~
         1Vo {WCMC)Info3°rraed Consent avaflc~ble rn this,foiefar ca~npa~rsan. The CASE`
         Cr~nsent is signed but blank.

      Y. For #1 anal #3 surgeries, INFUSE was utilized.

      Z. The following hardware vas implanted:
         #1 Surgery - * 1 -Foarn Bzacot Vitoss Pack Scc- ~rthovita
            • 1-INFUSE Set Bone Graft Laxge TX - Medtronic Inc
            • 1- AxiaLIF Stabilization ~ystern -T~a.~si Inc
            • 1- AxiaLIF Uriive~sa~ ~'~ug --'~'x~.rasi Inc
            • 1 -Rod Spine 3D A~ 9~12~4Smm,-T~ansi Inc
            • 4 -Screw CANN MA CDH 5.51eg 6,5 ~ 45 - Medtronic Inc
            • 1 -Rod Fre-Bent M8 S,Sx4Qrnm T~ ~ Medtronic Inc
            • 1 -Rod Pre-Be1~t M8 5.Sx35rnm Tl - Medtronic Inc
            • 4- Sefi Screw F/G4 Int Hex - Medtronic Inc

         #3 Surgery - * 1 - Vitass 2.5m1-(~rthavita
            • 1 -INFUSE Set Sane Cr~ra~t Srn - Medtronic I~3c
            • 1-~ Cage Clydesdal Peek ZB 5 12x50 - Medtraiuc Inc
                2-Set Screw F/G4 ~N`~' Hex - Medtronic Inc
            • A~ -Set Screw ~r~off Hex 5.5 M8 Tl - ~M. ~dtronic Inc
            • 2- Ser CANN Iv~A CDH 5.5 Leg 6.S x 45 - Medtronic Inc
                2-6S       Rod - ~Mec~.tronic Inc

      AA,       Off-Label CJ~se:
                #1 Surgery it was an A.L~~ approach.
                #~ Surgery it was a DL IF appxoach.


                                             7
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 226 of 271 PAGEID #: 248




      X13.       Operative Report Dictatians;
         #I Surgery — 7/191 0 -the ~peratxve Report was dictated by Dr. Durr~ni on
          10/3I/14(104 days later) and verified on 11J12/10(116 days later}.
         #2 Surgery — 9!22/10 -the Operative Report was dictated by Dr. Durraru an
          1Q131110(39 days later) and verified on 11/12/1 (5~ days later).
         #3 Surgery — I~113114 -- the Qperative Report vvas dictated Y~y Dr, Dur~ax~i on
         2/3/11 (58 days later) and verzfied on ~/1D/11 {175 days later}.

      CC.       The following consisted offailed hardware: ''here is some mild lucency
         about die proxi~zaal tip ofthe s~ugical ~ioXt within the L5 vertebra thaugla this is
        likely postsurgical according fio the ~'adiology report..

      DJ~.         Michael did uat see. Der. Durrani after the last visit and turn his care over to
         the Veteraxas ,A.drn.inistr~,tion~in Cincinnati, Ohio where he is currently being
         treated with ~ohysical therapy and seeing the Nei~rologistlNeurosurgeotl wha feel
         there is nat much more tkxey can do far liiin since the EEG had demonstrated
         per~nane~t ~erv~ damage in both legs. MichaeX does riot know the results ofthe
         1V~~t.Z the VA did. He says the VA ~h~s~cia~as did nit say whether he actually
         neaded the surgeries ar ~.ot,

      EE.Michael says lae definitely has more pain and consta~rt low back and Xeg pain than
         he had prior to any ofthe surgeries.

      FF,Mick~ael says he has been approved by Social Security Disability Insurance of
         which he has been receiving far the last four years. Michael says his life has
         totally changed and he is nod able to dv ~xaxdly anything because ofthe low bacl~
         and leg pain. Michael says k~e was always the handyman around the house when
         it came to fixing things i,e, caxpentry, painting, cutting the grass etc aid around he
         is not af~le to do those things and has to pay someone no~v to do t~.ese thi~ags. His
         chief co~p~aint these days is pretty much fine same as it was preoperatively being
         low bacl~ pain radiating all the way down the right leg and only half down the lef#
         leg along with numbness oftwo right and ane left toe. Michael's pain score 7-
         8/IO cturently.

      GG.        Michael's atlier limitations are;
        ~allcin~ — never a problem pre-vp, but naw has beets reduced to a maximum of
        ten minutes with his cape for short trips and has to resort to the wa3ker fflr support
        for Ionger txips.
        ~ittin --- is ~xmited to about 30 minutes then he has to get up and walk about.
        Standi~ag — is tolerated for about 5-6 minutes especialXy iz~ a grocery 1iz~~ needing a
        caxt to lean an to steady himself.
        Lavin do~_~ — is tolerated on his beck ~d both sides but oily for short pexiods of
        time.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 227 of 271 PAGEID #: 249




         Sleep~rag — is accorrxplis~ed by taking his usual rneds then he awakens every 2-3
         hours because ofthe pain ~.r~.d discomfort.
         Lifting —has been 1znlited as we11, he caiuiQt bend over and pick np anything off
         the floor bttt lae pan Lift it if it's at table heig~~t to begin witYi.
         Household chores — he is only able to help his ,vaife with some ofthese chores.
         Abilit~to_cl~ive — he is still able to do this a~zd even though he ca~i't move his neck
         Iike usual he learned #o use lus n~ir~rors since k~e was a Muck driver at one time,
         He leas rninizx~,al problem seeing Mlle oncarning traffic. He tolerates shot car texps
         under a k~alf ~.ati~r.
         Flexion — anc~ betldi~~g is his biggest problem because ofthe increased pain he has
         to tolerate when he especially tries to be~.d over. Michael finds tk~at he needs to
         sit on more firm cushion type ftu~iture using pillows fox support because anything
         softer he would held to get out ofthe ohaix or couch.
         Dressinghimself-~ can be a p~oblezn at tzxnes especially getting his socks on and
         his shoes tied. He does ;nonage to get his long pants on by doing one leg at a time
         from a sitting position, He does ~a~e problems getting his leg over the bathhib
         wall into the shower and he does this very cautiously so he doesn't fall.
         Needless to say according to Mic~.aeX tkais constant low back pain does puf a strain
         on one's intimate relationship r~vith their wide.

      NTH.        Michael says Sae has ~.ot had one day without pain since Dr. Dunani
         operated tie first time. He said he finds himself getting very irritated when he
         aClows himself to tlunk about what Dr. DEUtani has done to hirn. He seetxzs to be ~.
         little depressed aver the whole situatia~.. Mic~aael states his quality of Iife is poor
         cut~ently because o~ Dr. Uu~rani.

      13. Based upon my review,the foXlowing axe my opuxians based upon a reasonable
          degree ofrnedieal oer~ainty per~init~g to the deviation in standard of cate or
          negligence,informed consent, battery and fraud claijns against Dr. Durrani, CAST,
          V`>>est Chester and UC ~Tealth ~vhicl~ proximately caused harm to plaintiff:

         A, Need to have addxtio~aa~ surgery to repair problems created by Dr, I7urrani

         B. I~nplat~tation Qf Furegen without ir~ormed cpnsent

         C. Implantation of BMP-2 withoufi it~o~r►ed consent

         D. failed hardware

         E. Failure to obtain proper informed consent for surgery

         F. Failure to provide adequate acid thorough pre-ope~•ative end post-operative
            patient surgical education

         G. Failure to properly post-op moni#or the patient


                                                D
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 228 of 271 PAGEID #: 250




         H. Failure to properly perform fallow tip, post-a~ care

         I. Negligent surgical techniques

         ~. Failure to ~aaintain acc~uate and complete surgical reeaxds and surgical
            consent forms

         K. Failure to disclose impoz~taa~t health information to patient

         L. Fail~.ue to maintain and coznplete discharge stunlnary

         Ni. Failure to supervise Dr. Durrar~x

         N. Negligent ire-stugical diagnosis

         a. Failuxe to prepare a timely aperati~ve report or oilier medical recoxd

         P. Billing far services not completed

         Q. Nat x~for~nitig the patient a~Qtk~er surgeon will be doing all or paxt of the
            suxgery

         R. Practicing outside Dr. T~urrani's scope of training, education, experience, and
            Board certifcations

         S, Deviation in standard of care

         T. Failure to p~rfa~~n thorough at~d accurate pre-op nonsurgical evaluation

         U. Failure by Dr. Durrani to inform patient of additionallchanged procedure and
            :reason

         V. Faihue by C.A.ST to disclose additional/changed pxoaedure and reason to
            patient

         W. Failure by Dr. Durra~i at CAST to properly educate patient xegardin~
            diagnosis

         X. Prior l~nowled~e of possible complication anal not acting properly upon same

         Y. ~'ailuxe to discivse pertinent health inforr~atioYl to another health oaxe prQVider

         Z. Fxauduient, negligent and reckless pre-operative work up

         A,A„    Fraudulent, neg~xgei~t and reckless surgery



                                                 10
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 229 of 271 PAGEID #: 251




         BB.    Inaccurate,fraudulent, andlar exaggeration of diagnoses

         GC.    ~'aih~re to properly educate patient regarding diagnase~

         DD.    Failure to attempt nog.-suxgical vonsezvative treafnient

         EE,    Failure tQ perfoi~n thorough axad accuxate pre-op nonsurgical evaluation

         Fk'.Failure by D r. Du7~ani at UC/West Chestex Hospital to perform. accurate and
             co~mpXete preoperative teaching

         GG. Failure by Dr. Dur7ani of UC/West Chester Hospital to properly educate
           patient regarding diagnoses

         HH.   Failure by ~7r. Durralli at UC/West Chester I-~ospita~ to maintain accurate
           and/or complete m~dicai records

         II.    Failure ofz~.formed consent by Dr. Durrani. at UC/W~st Chester Hospital

         JJ. Faih~re of UC/West Chester Hospital to insure Dr. Durrazai and CAST had
             obtained proper i~ifar~ned consent

         KK. FaiXuxe of LTC1West Chester Hospital to obtain proper acknowladgement
           of consent

         LL.Faxlure by Dr. Durrani at UC/West Chestex ~Iospital to disclose pertinent
            health information

         MM. Failure by UC/West Chester Health to disclose additiana.11changed
           procedure and reason to patie~.t

         NN.    Failure by U'C/West Chester Health to supervise staff'

         ~0, FaiIure by UC/West Chester Medical staffto properly document
           abnormalities and follow up cane

         Pl'.Nnn-approved hardware combinations

         QQ, Dr. Durra.z~i zxtade false and material misrepresentations of material facts
           intended tt~ mislead Michael Sander and concealed izlaterial facts ~e had a
           duty to disclose, UC/West Chester Health and CAST concealed material facts
           they had a duty to disclose. Ivlichael Sander      vvas justified in Y~elying on
           the rnisrepresentatian and did rely proximately causing harm.~o Michael
           Sander. Dr. Dui~rani, CAST,and TJC/West Chester I~ealth #ntentionally
           misled Michael Sander. 1V~i~hael Sander had the right to correct infarmatio~.,



                                             11
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 230 of 271 PAGEID #: 252




      1~. The testin~oii~~, Facts acid exhibits of Brenda Shell's Response to Motion for
          Siulln~aiy .~ud~me~it and ~xi~ibits to same are ~pplicahle to all the claims against
          West Chester Medical Ce~lter(WCMC)end UC Health far all claims, aracluding
          negligent retention acid cY•edenti~ling brought by Plaintiff,

      1S.        Based upon my review oft~~e deposition testicnoz~y, tie JCAH~ rec~uireir~~nts,
            the MEC bylaws and a1X tie inforia~ation ~rovideci to ine, I a~n able to adopt the
            follotivin~ opinions zeiattng fo WCMC anal UC Health pert~inin~ to the claims
            against t1~em. WCMC's and UC H.eal~I~'s actions and inactions detailed in €leis
            affidavit praxirnately caused harm to Plaintiff, ~CMC ai d UC Health are both
            bei~ig refarencecl when only ~W'CMC is named. I hold the fo~lowi~ag opinions
            relative to 'L~VCMC and UC Health pertaining to their conduct actzng tk~xough their
            administration and MEC. The time period covered is from the time Dr, ~ui~ani
            sought privileges prior to '~JCIVIC opening in. Mai 2049 through May 2013 't~vhen
            lie no longer had privileges. 7n addition t~ my opinions,I set forth facts I ~'e~~
            upon, This includes all which ~ referenced that I xeviewed. 7n addition to all of
            fhe above,I attest to fhe following:

                                             FACTS

            1, According to ~V'est Chester's first Executive Vice President, Carol King, she
               did not explore the "rumors" about Dr. Durrani's leaving Children's.

            2. According to Carol King,the hospital tracked problem issues yet WCMC
               haae failed to produce the x~~arma~ian under peer review protection,

            3. According to circulating nwse, Janet Sr~lith, presets wexe changed in fhe
               compater to x~dicate the procedure Dr. Duzxa1ai performed after the procedure.

            4, According to Janet Smith, despite no one at West Chester never working with
               Dr. Durrani before, WCMC ~e~ver checked him out.

            5. According to .former University Hospital ~'~resident(a UC Health hospital),
               $rian Giblet, hospitals face financial challenges,

            6, According to risk manager,David Sehwallie, risk management knew Durira~.i
               had issues.

            '7. According to rad~alp~ist, Thofnas Brown,tk~exe were suegeons questit~ning
                Durrani°s decisions to perform surgery.

            8. ,A.ccoxding to medical staff di.~•~ctor, Paula Hawk, a policy called "stop t11e
               lyzzag" was implemented the same yeax and month they f~icl~ed out Dr.
               Durrani. Tl-►is infers a poor en~~ronrnent ofhonesty and disclosure before this
               policy.



                                                 12
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 231 of 271 PAGEID #: 253




         9. According tc~ Pau1a Haw~C anc~ as the director of medical staff, rno~iey is not
            supposed ~o grump patient safety.

         10. According to Paula Hawk, she admits peer review is for k~ospitals to prated
             each other.

         ~ X. Accordi~ig to Paula Hawk,she admits hospitals are interested in volume,
              something Dr. Dutraru provided for WCMC a!~d UC Health.

         12. According; to Mike Jeffers, the director Q~~x~aance, they tracked Di. Durrani's
            financial i~urnbers.

         13. According to Mike Jeffers, he admits Dx, J7uz~'ani helped them in their time of
             reed.

         14. ~lcca~•din~ #o Mike Jeffers, Dr, Durrani was tie highest money generator.

         15. According to Mike Jeffers, lle knew Dr, Dtu~rani had moY•e than one surgical
             suite assigned at once.

         16. ~1cco1•ding to Milce Jeffers, bonuses were paid to him and otl~er~ based upon
            finances.

         17. AccaY•ding to Dr. Peter Stern, he knew br. Durrani was only "satisfactory,"
             not a world class sine surgeon as 'trVest Chester advertised.

         18. Dr. Stern doesn't deny admitting UC Heaith 1oo~ed t~a~ other way o~ Durrani
             because o~rnoney,

         19, Accorciin~ to crec~entiali~7g manager, Anrz Shelly, there was plenty of"public
             knowledge" about Dr. Dturani to check before credentialing.

         20. According to Ann 511~~~y, West Chester relied on t~.e NPDB they lctaew was
             protected by hQS~itals,

         21, Dr, Eric Schi~eebetger, Dr. D~urani's partrae~r, was on the MEC at WCMC.

         22. According to Eric ~chneeberger, West Chester ~aew a6aut Durrani
             schedulzr~g surgeries Xo~.g into the day and night,

         23.,According to foi7ner nursing tnai~cager, E~aii~e Kunko,WCMC kuevv about Dr.
            ]~uxrat~i not completing records.

         24. According to Elaine K~.uilso, WCMG knew Dr, Durraiu would claim surgeries
             weze emergency when they were riot.



                                              13
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 232 of 271 PAGEID #: 254




         25. According to Eiain~ K.EUtko, WCMG knew there was a~n issue with Dr.
             Dut~ani not being in the room.doing sur~eiy on "~.is" patient,

         26. According to El~.ine Kt~nko, even the OR nu1'ses knew WCIv~G put u~ with
             Dr. Dut7ani for money.

         27. According to Elaine bunko, WCMC tracked Dr, Durrani's financzaX numbers.

         28..Accoxdin~ to perio~e~a~ive di~ectoi•, Lisa Davis, WCMC knew Durrar~i's
            office is supposed to get consents so '~ICMC had an obligation to make sure
            they did.

         29. According to Jill Stegmaza, the risk manager at West Chester, she knew
             Dtzrrani had "issues."

         3d. Jill Stegman confirms GErry Croodman's compiair~ts,

         31. According to Katta.y I•Iays, V+rCMC knew how Dr. Durrani used BMP-2 and
             FureGen.

         32. Dr. Titn Kremc~ae.~c, the Chief ofthe Orthopedic department, failed to do his
            job under the MEC bylaws as it related to the supervision and revietiv cif Dr.
             Dturani.

         33. According to Dr, Tim Ki•en~chek, he knew Dr. Durrani was "sloppy."

         34. Kevin Jase~li, the CEO of WCMC,claims to know nothing about surgery
             operations in leis h~s~ital,

         35. Kevin Joseph,the CEO,claims a hospital must p~ateat patients from
             unnecessary haz:m "as much as they cap."

         3b. Kevin Jase~h,the CEO,claims WCMC doesn't have oversight a£surgeons
             doing what Plaintiff claims Durrani was doing. {Despite what his byYaws
             state.}

         37. Kevin Joseph,the CE4,denies tie hospital has atiy responsibility if Dr.
             Duz7'ani did an u~tviecessary surgery.

         38. Kevin Joseph, the CEO, despite his finance affce tracking it, denies any
             knowledge o~BMP-2 use,

         3~, Kevin Ja~e~h,the CEO,detues knowing about any complaints about Dr.
            ~L1I~'A111.




                                             14
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 233 of 271 PAGEID #: 255




         56. Accardin~ to patient z~e~resentative, Elizabeth De~rt, WCMC tracked Dr.
             Dut7ani's volumes from the outset a7id the Ck'Q loved what he saw.

         57. According to ~lizab~th Dean, WCMC knew T_7r. T~urrani haci issues at
             ChiXdren's.

         58. According to Elizabeth Dean, WCMC knew Dr. Durrani was ~erfor~ning
             unnecessary procedures by volumes aid repeats.

         59. Acc~rdilig to niu~se, Scott Rirn~r, W~MC knew Dr. Durrani waitEd until after
             surgeries to document what procedures were pla~uied.

         6p. According ~o Seatt Rimer, patients at WCMC had procedures they did not
             ca~isent to and WCMC knew it.

         61.. AceordiYig to Scatt Rirne~•, sterile fields were natpxotected.

         62. According to Scott Rinser, WCMC lmew P«reGen r7vas being used by Dr.
             Dut'~'ani and allowed it.

         63, According to Thomas I31ank, pureGen, was a~ alteimative to B1VIP-2, which
             WCMC tut~ned to based upon insurance denials ofBMF-2. Tn addition, Dr.
             DurraY~i operated an iu-~ethicaI POI7 of Alphatech called Evoh~tian Medical to
             se11 PureGen to West Chester.

         6~F. According to Gerry Goodman, WCMC tracked BMP-2 usa by Dz'. Durrani;
              patients did not mow who at times performed theix surgezy Dx. Shanti or Dr.
              Durrani; electronic records had to be chaaxged after I7r, Durrani's surgery; L7r.
              Dur~rani and WCMC never obtained zn.£ormed consents; Dr. Durrani's volume
              was a ~vai~ing sign of overutilization. Gerry Goodman reported all these
              concerns to WCMC and thexe was no action. Gerry Goodman was told a~.d
              concluded that WCMC did not want to do anything about Dr. Durra~i because
              of money rewaxds,

                                ,ADTlITIDNAL OPIl~l~C?N~

         65, The Center of Advanced Spine Technal~gies(CAST)negligently supez~vised
             and retainad Dx. ~lurxani, including by allowing ]fix, Durrani to pex~oz~m
             unnecessary procedures a7id surgeries; use BMP-2 andla~ PtureGezl without
             appropri~.~e consent; failing to disclose Dr. Shantz a~ad others invalvetnent in
             surgery; x~rnprQper billing; changing t~.e pre-ap and post-op recoY'ds fio coincide
             when the surgery was not the sur~exy clisclased; and all other conduct detailed
             i~.the documents I reviewed.

         6b, WGIVIC, UC ~.ealt[i and Ct1ST's rtiative fox #hest• actions and inactio~~s
            towards Dr. bux~ani was financial gain.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 234 of 271 PAGEID #: 256




         67. The MEC,aci~ninistration and Boards of WCMC a~►d UC Health failed to
            "govern t~~e affairs o~the Medical Staff."

         fib. The MEC,adminxstratian and Boards of'WCIYIC and UC I~ealth failed to
              eiifi'orce their rules upon Dr. Du~~rani as they wexe requix~d to do.

         C9. The MEC,administxati.on and Boards of'UVCMC and UC Hea~.th failed ~o
             provide oversight of ~7r. ~ut7rani as they were required to do.

         7~, The MEC,administration and Boards of WCMC and UC Health failed to
             pxoperly evaluate Dr. Durrani.

         71. `~'he Orthopedic acid Surgery Departmetlts abdicated their responsibility under
             the MEC bylaws to review,investigate and supervise Dr. Dtu~ra.nx.

         72. The Iv~EC, administration and hoards of WCMC and UC Health failed to
             properly discipline Dr. Duxra~x including summazy suspensions ~.nd
             revocation.

         73. T'k~e MEC,administration and Boards of WCIY~C and UC ~Iea1t~. failed to
             properly discipline tandex the MEC bylaws as it pertains to Dr. Aurra~ii.

          74. Tkie MEC,adrninistratxon and Boards n£ WCMC acid TIC I~Ealth ignored the
             infannation readily available pertaining to Dr. Durrani be~are credentialing
             and granting him ~xi~vileges.

          75. The MEC,administration ~.nd Bvards of'~JCMC a~.d UC Health faiI~d to act
              on Ux. Dur~'ani's disruptive behavior, unpro~essinnal behavior and clinical
              performance placing Pia~n~iff at risk.

          76. The MSC,admix~xstration and Boa.~rds of WCMC and UC Health certified and
              approved the unnecessary procedures Qf T7r. Durrani an Plai~~tiff knowing they
              were unnecessary and knowingly allowing tY~e impxoper use ofBIV~k'-2 and/o~'
              Pu:reGen acid knflwing there was not proper informed consent.

          77. The MEC,administration and Boards of WCMC and UC ~ealtl~.failed to act
              on Dr. Durrani.'s £aili.ue in medical record documentation.

          78. The Iv~C, administration and Boards of WCIv~C and UC Health failed to
              require I7r, Durrani to follow the rules fog' off label experimental procedures.

          79. The MEC,adYninistr~tion alid Bo~.rds ofWCMC and LFC Health. allowed Dr.
              Du~ani to use undisclosed and uz~.qualified surgeons to perfoxrri his surgeries
              including Dr. Shanti.



                                                I7
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 235 of 271 PAGEID #: 257




         80. T~.e MEC,administration and Baar~s of WCMC and CJC Hea~t~x aiiowed Dr.
             Durrani to do nn~Itiple surgeries at once.

         81. WCMC and CJ'C Health have refused to provide as privileged the peer review
            information from jJVCMC for Dr. Durraiu to eifiher me or their own expert.
             Therefore, we have na knowledge of what action., i~'atiy, was taken against
             hirn. However, based upon the facts here,it is obvious they failed to take
             action,

         82. Based upon all ofthe above, it's my v~i~~ian that WCMC and UC Health were
             negligent i~. their eredentialir~g, supervisi~ig, disciplining aid retaining Dr.
             Durrani on staff and allowing hirn to obtain and keep privileges at WCMC
             under the standards of Ohio as detailed in ~lte Brenda She11's Response to
             Motion for Summary Judg,~x~.e~t aa~d this proximately caused farm to Plaintiff.

         83. The facts support Michael Sa~.der°s eXaim for negligence, battery, lae~ o~
             cflnsent and fraud.

         84. As a result ofthe negligence and conduct ofDr. Duna~u,CAST, West C~.ester
             and U'C ~-Iealth, Michael Sander suffered damages proximately caused by
             them,including the foZ~owing;

            A. Pern~anent disability
            B. Physical defozmity and scaxs
            C. Past, Cn~-x'e~t anc~ Future Physical and Mental Pain and Suffering
            D. Lost income past, present and fiiture
            ~. Loss of enjoymant oflife
            F, Past medical expenses
            G. Future medical exp~z~ses approximately in the aJnount of$54,000 to
                $254,000 depex~dXng on course of treatment
            T~. Aggravation ofapre-existing condiiiQn
            I. Decreased ability to earn income
            J. 3% x~.c~'eased risk of cancer ar~d ~'e~x of cancer ifBMP-2 was used.

   AFFIANT SAYETH FURTHER NOT



                                               KEITH D. WTLKE ,M.D.


                                               NOTARY




                                              18
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 236 of 271 PAGEID #: 258




   SUBSCRIBED,SWdRN TO AND ACKNQV~L,EDG~Ta before me,a Notary Public,by

   Keith D. Willey, M.D. an this~~day of May,201S.



                                       N4T Y FUB~,~C
                                       M~ commission.Epp.; ~                      '~015

                                            ~~(~County

                                       State o£         i          Y~




                                                        NQrry Pubclf p~Na!ry
                                                                             Seat
                                                   Cammissinedt~nrSt
                                                                       C~rarles Cou~'
                                                  M ~mmissfon~Numbr~es; ~jfi33~ 2~'~




                                       19
                     Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 237 of 271 PAGEID #: 259




                                                           AA,VID S~EN~'E~~'
                                                         AFFIDA'VY'T` ClF MEAT
                                                            WEST CHESTER

                               I, Keith D. Wfllcey, M.I7., after being duly sworn end cautioned states as foltflws:

                           1. ~ devote at Ieast one-half of my professional time to tl~e a~t~ve cXx~.ica1 practice in my
                              field oflicensure, or its uistr~.ctio~ in an accredited school. I axn are orthopedic
                              surgeon whose focus is on spine surgery and ~~eatment ofthose with spine issues.

                           2. 7 will supplement this affidavit tivith a.~lother, by a letter or by testimony, based upon
                              any informat~o:~ pxov~det~ to me after I execute it.

                           3. My currictalum vitae has been previously provided to opposing counsel in these Dr.
                              Durra~~i uses and can be provided again upon request. Far my review, I rely upon
                              my education,training and experience.

                           4, I have got Cotuited but I have reviewed, over 50 or mare cases i~i~oltring Dr. Durrani
                              and t~xe hospitals ~~vhere he once had privileges,

                           5, I base my opinions in part on my reeiew of alI t11e cases I have reviewed which have
                              re~veated similar conduct by Dr. Durrani and the hospitals where lie had pr7vileges.

                           6. I am f~niliar with applicable standard of care for Ohio, Kent~icl~y and the country
                              far an orthopedic/spine surget~~. such a.s Dr. Diurrani.

..                         7. T any also familiar with applicable standard of care, policies, rules and regulations,
                              medical executive etiirunittee bylaws, JCAH~ requirements, cxedez~tza~i~.g,
                              supervising, retention of medical staff, granting and rejecting privileges acid the peer
                              review pxocess for West Chester Hospital,LLC,also refei7ed to as West Chester
                   ~'`        Hospital or West Chester Medical Center axzd UC wealth.
::::.>;:z;;.
        "~~    ~          _ 8. ~ have reviewed all relevant medical records including radiology off'Ax. Z.}u~ratai's
                               medical treatment of T]avid Shemper~t and the medical treatment ofDavid S1~em~ert
                               at West Chester.

                           9. I have reviewed the Response to Sumz~nary Judgment in tha Brenda Shell case and
                              all the e~ubits attached to it,

                           10. The Center for Advanced Spine Technologies,fie. was Dr, Duxxani's praetioe groin
                               and he vas tha sole owner, director alid afficex of CAST as well as ati employee,
                               C~1.S'T as such is also responsible for Dr. Durrani's negii~enae and for their failtue to
                               also supervise, ~iseip~i~ae and retain r7r. Duxrat~i.

                           ~ 1. I gave also revie~vved the ~uursimg suzrurnaty prepared b~ legal counsel'S O~1C~ f4T
                                David Shernpet~. Based upon the nux~nber ofcases I've xeviewed pertaining to Jar.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 238 of 271 PAGEID #: 260




         Dln7ani, legal cfllu~sel's af~'tce knows what materials i need to review and provides
         me those materials. In addition, while thus af£~davit contains case specific
         iY~o~nation; it also oo~.tains information reler~~nt to this case and/or ma~iy and/ar
         Ynost andlor alI the other cases. rt i~ prepared far me by catu~sel with my direcfian
         and approval like all ofthese have been,

      12. Based upon my review,the fallowing are the facts I xely upon:

      A. Su~•ge7y was not necessary at t~~e time based on preview o~cli~nt's xecords acid
         imaging.'I`he client a 43 y.o. male at the time, with a history significant for
         hy~ei~tens~t►~. Was seen by Dr, ~3~~zrani for complaints Qflower back pain ~vifi1Z
         ]eft leg radiculo~athy which had been going on since 2009. Dr. Dur~•a1u
         recommended surgery on his first visit dated 05/25/2010 stating in his review the
         client tad done anfii-inflarnm.atarxes, muscle relaxants, pain medications, physical
         therapy, chiropY•actic care and has had little relief. On client visit dated 06/
         15/2x10 while being evaluafied at CAST'by ~}r. Zeeshan Tayeb. Dr. Tayeb notes
         the clie~at has not done active p~aysieal therapy. Injectivn strategies have not been
         tried. His response to previous treatment lies not beep. adequately assessed to this
         point. He Ytas not been seen by a chiropractor far this problem. Aside fi•om the
        fact Dr. Durxani's interpretation of t1~e iriaaging is different in severity from the
        radiologist. Dr. T7urrani should l~av~ reviewed the clients records Foxe
         ~lioxou~hly, notitlg all conservative treatments fil~at had been tried and failed
         before moving a~x to more aggressive treatment such as surgery. Dr. Durrani ~ax~s
         to educate the client on the unpoY`tance of reasonable outcomes, physical t~er~py
         and co~npZiance with it. t~s well as pain m~n.~gement through medications and
         other conservative fixeat~nents. Dr, Du;rxani further fails to educated the client on
        his increased siugical risk with the passibility ofimpaired healita~ due to his
        history ~f hypertension. Dr. Duxxani should have attemptied to educated the client
        more thoroughly on the impoz~tan.ce ofexhausting all conse~rvati~e means of
        treatment with surgery being the final option.

     B, Dr. Durrani's misinterpretation of tie pre-operative diagnostic:
        T7r. Di.urani states on client visit dated OS/25/201 Q. Tie MRI shows a Iarge disk
        het~iativri at the LS-S X level with severe degenerative disk disease causing cent~a~
        and ~oxaminal stenasis. The MRI also shows he has a foraminal disk herniation at
        the L4-L51evel on the left side which is obliteratzx~g die left foxamina by over
        80%.
        The radiologist Y~eview of MRS impression: T7isc protrusion at L5-S1 with left
        paraznedian pxef~Y•ence a~ad displacement, jniriitnal, ofthe left S1 nerve goat
        centrally. Brad-based degenerative cl~ax~ges elsewhere of questionable
        architectural significance,


                                              2
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 239 of 271 PAGEID #: 261




          Na 'where in his review does the radiologist st~~.tes obliteration ofthe Zest ~az'~zraina
          at the L4-LS le~veX of over 8a%,

      C. Dr. bur~ani recommended surgery on the ~lienfs ~"ixst office visi# at CAST'dated
          os~2S~zoZO.
      D. The ali~nt had one surgery by Dr. Duz7ani dated 09/10/2010 at Vi~'est Chester
         hospital.
         P120CEDUR~S: LS-Sl AxiaLIF and posterior spinal fusion instr~imer~tatian wi~li
         allflgraft and autograft and BMP use.

          ~'REQPER_A,TIVE AND FpS'~`OPERATIVE DIA~rNQSES:
                        LS-~ 1 degenerative disk disease anc~ foranunal stenosis,

      E. BMP-2 was used during surgery. As noted on the ape;rative report under
         pz'acedi~re. LS-S7 Axxa~IF and posterior spi~.a~ fusion inst~•uinentation wit~i
         allagraft acid autograft and BMP use, A.Zso noted on nursing infra-operative
         record, It~~iise set bane ~nft srn ~ 1.

     F. Tlie following hardware rxras implanted:
        ~r~~use set bone grft sm x 1 Medtronic inc sofarnar,
        Foa!rrx bioact vifioss pac~C 1D cc x 1 ~rtliavita.
        Rod spine 3d ax 9 ~ 12 ~ 45 nun x 1 Transi inc.
        ~iaTlY~ stabilizatxox~ cyst x 1 Transi ins.
        Axialif universal plug x 1 Transi inc.
        Set scr f/g4 i~t hex x 4 Medtronic inc sofamor.
        Scr canr~ rna cdh 5.S leg 6.5 x 45 x 2 Medtrozaic inc sofalnor.
        Scr cann m.a cdh 5.51eg 6.5 x ~}0 x 2 Medtxor~i~ inc sofamor,
        Rod axe-bent in8 S,5 x 45 rnm ti x 2 Medtronic inc sofaxnor.

     ~. 4ff-Label ~Jse: Aceardxr~~ to t~.e PMA slFbmitfied by Medtronic to the FDA,
        Infuse was inten~.ed fox a single level anterior lumbar interbody fiisioa~ singly
        performed with alb three components in a specific spinal region. The three
        components that the infuse device consist of are. A xnetailic spinal fusion cage
       (The LT cage}. The bone graft substitute, which consists ofliquid rhBlv~~-2, Arid
        a spongy caxxier or scaffold for the protein that ~'esides in the fusiar~ cafe. 'L~itl~
        the exception o~two non-spinal uses not relevant het~e, The FD,A. has not a~~aroved
        a~.y other use ofinfuse i~clu.dirig the posterior approack~ used on the client by Dr.
        Durrani, br. Durrani failed to use the approved cafe, opting for an ~ialiF cage.
        ~-Te failed to use the approved spongy carrier or scaffold. Dr. T~urrani's use of
        BM}.' was off-label in the client's procedure. T~.e off1abe1 use ofBMP without

                                                3
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 240 of 271 PAGEID #: 262




          the expressed or written consent and or knowledge ofthe client is a viola~~on of
          standards ofcare, as we11 as a violation oftl~.~ manner in whzch BMA could be
          used, in accordazaCe wit~i the FDA,

      H. The operative report was dictated on 09!1.4/2010 at 1 1:03 ~y Dr. N'ael ~hanti,

      I, No noted hardware ~~ilures.

      J. The client is seeing Dr, N[~c~.ael Walls pain specialist 2845 ~~ia~ceXlar Dr.
         Crestview Hi11s, Ii.Y 41017 859-341-3 12, Ur. walls told him he has artiv~itis i~a
         his Iower b~.ek and prescribed pain medicine Karoo and Meloxic~rn, He is also
         seen by hip PCP Dr. Jospeph 1V~arGin.

      K. T}ie client co~itinu~s to complain ofsevere p~.in to his low back. He is on paid
         medicatio:~ just to get ~1~ough the day. The client stated he had Yio Belief ~t'on1 the
         surgery wi~i Dr. Duxxani.

      T,. The client is xzov~r unable t~ etijay activities he did prior to surgery. He used to
          enjoy ~.unting and fishing, now the pain. he has in leis back keeps him £xom doing
          ~h~se activities. He is unable to enjoy tame with 1us grandson as much because he
          is unable to keep up with him and play with him ~.ue to laxs pain. The client has
          trouble with bendxr~g, bong car rides, sfiandil~g, sit~ir~g ~'or any length oftime. As
          well as needzng to contim~e on pain rnedica~on just to get through the day,

      13. Based upon ~y review,the following ai•e my a~inio~s based upon a reasonable
          degree of medical certainty pertaining to die deviation in standard of care or
          negligence, infoi7ned consent, battery and fraud claims against Ar. Durrani, CAST,
          West Chester and UC Health ~whioh proximately caused harm to Plaintiff:

         A. Need to ~aave additional surgery to ~•epair problems created by Dr, Durrani

         B. Implan#anon ofPurege~. without informed consent

         C. Implantation ofBMP-2 without infoxmed consent

         D. Failed ~axdware

         E. Failure to obtain proper informed consent for surgery

         F, Failure to ~~•QVide adequate atad tharflugh pre-operative atad pnst-operative
            patient surgical edncatron

         G. ~~ilure to properly post-op monitor the patient

                                                4
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 241 of 271 PAGEID #: 263




        H, Failure to properly perform follow up, post-op care

        Z. Negligent surgival techniques

        J. Failure to n~aintax~a accurate attd co:r~.plete surgical xecoxds and surgical
           consent forms

        K. Failure to disclose important health in~ar~natian to patient

        L, Failure to maintain and complete discharge summary

        M. ~ailuxe to supervise Dr. Durrani

        N. Negligent pre-surgical diagnosis

        O. Failuxe to prepare a #i~nely operative report oar other medical record

        P. Billing for services not completed

        Q. Not i~x~'or~ning the patient another suxgeon wi11 be doing aIt or pert of tkze
           suxgery

        R. Practicing outside I7r. Durratli's scale of training, education, experience, and
           Bated certifications

        S. Deviation in standax'd 4f care

        T. Failure to perfaY~n thorough and accurate ire-op nonsurgical evaluatio~a

        U. Failure by Dr. Durrani to infoa~n patient of additionallchaan.~ed procedure and
           reason

        V. Failure by CAST to disclose additianallchanged ~arocedt~re and reasa~ to
           patient

        W.Failure by Dr. Durrar~x at CAST to properly educate patient regarding
          diagnosis

        X. Prior knowledge of ~ossihle complication and not acting properly lrpon sar~rz~

        ~Y. Failure to disclose pertinent health information to another health care provider

        Z. k'xaudulent, negligent axed reckless pre-operative work up

        AA,    Fraudulent, negligent and reckless surgery

                                              S
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 242 of 271 PAGEID #: 264




         BB,    Inaccurate, fraudulent, and/or eYaggeratioti of diaglaoses

         CC.    Faihue to properly educate patient regarding diagnoses

         DD.     Faillue to attempt non-si.ergica~ c4nsexvative treatment

         EE.    Failtue Co ~erfo~~n thorough and accurate pre-off nonsurgical evaluation

         FF.Fai~uxe by Z7r. Du~rxani at UGIWest Ch~stex Hospital to perform accurate and
            cQZZ~.plete preoperative teaching

         GG. FaiIure by Dr. Diurani at UC/West Chester Hospital to propeY•ly educafie
           patient regarding diagnr~ses

         HH.   Failure by Dr. Durrani at UCIWest Chester Hospital to maintain accurate
           and/or cc~m~lete medical records

         II.    Faihire ofinformed consent by Dr. Duz`xa;~i at ~.TC/West Chester Hospital

         JJ. Faih~re of UC/West Chester Haspita~ to insure Dr, Dw~ani and CAST had
             obtained propex in£o~med consent

         KK.. ~aiXuxe of UC/West Chester Hospital to obtain proper acknowledgement
            ofconsent

         LL.Failure by Dr. Durrani at ~ClWest Chester Hospital to disclose pertinent
            health information

         MM. Failure b~ UC/West Chester Health to disclose additionallchanged
           procedure and reason to patient

         NN.    Failure by ~U'C/West Chester Health to su~aervxse sfaf£

         00. Failure b~ UC/West Chester Medical staff to properly document
           ahz~oxm.alities and follow up care

         PP,Nori-a~praved hardware combinations

         gq.Dr. Durrani made false ax~.d material rnisrepresentatiails of material facts
            intended.to~~nislead David ~hernpert and concealed material facts he had a
            duty to c~isciose. UC1V~est Chester Health and CAST concealed x~rxaterxa~ facts
            they had a duty to disclose. 77avi~ Shernpert was justified in relying on tkle
            rnisre~resentation and did rely proximately causing hazm to T_7avid Shempert,
            Dr. Durrani, CAST,and UC/West Chester ~-Iealtk~ inte~.ti~nall~ misled David
            Shempert. David Shempert kzad the right to correct infozmation.


                                             D
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 243 of 271 PAGEID #: 265




      14. Ti~.e testimony,facts ~icl exhibits of Brenda Shell's Re~pot~se fc~ Motic~rz i'ox
          Summary rudgn~ei~t and Exhibits to sam.~ are applicable to X11 tine claims against
          West Chester Medical Center{WGMC} anct UC Health for all claims, iixcludit~g
          negligent retet~tian a~.ti e~~edentialin~; brought by Plaintiff.

      15.        Based upon. my r~vi~w of the de13ositian festiimvny, the JCAHO requirements,
            ~11e MEC by~~ws and all tl~e iilfoi~natiall pro~id~tl to me,I am able to adopt the
            follow~izg opinions relating to ViTCM~ ~~d UC Health ~et~ainin~ to the claims
            against th~t~. WGMC's and UC Health's actions a~ad inactions detailed in this
            affidavit proximately caused l~ai7n to Plaintiff: WCMC a11d UC He~lt~h ire both
            being referenced when only WCMC is na~r~ed. I hold the ~o~lowin~ opinions
            relative to '4~CMC acid UC Health pet~taini~g to tl~ez~r conduct acing t1~t~ough ~.eir
            administration and MEC. Tne time period covered is from tie tz~rze Dx. Du~ani
            sought privileges prior to WCMC openi:~g i:~ May 2009 tfaz'oug~ May 2013 when
            he no longer had ~Y7vileges. In addition to my opinia~s, I set ~oxth ~aets I rely
            upon. This includes all which I ~efere~ced that I reviewed. In addxtxa~.to all flf
            the above,I attest to the following;

                                              FACTS

            1. According to West Chester's first Executive Vice President, CaroX K.i~g, sloe
               did not explore the "rumois" about Dr. Dun~ani's leaving Children's.

         2. According to Carol King,the hospital hacked problem issues yet WCMC
            have failed to produce the information under peer review protection.

         3,    ACCO~'Cl~rig to CirGUlatitlg C1uxS~, 7a~zet Szzr.atka, p~'esets were changed in the
               computer to indicate the ~arocedure Dr, Durrani performed £ter the procedure.

         4. According to Janet Smith, despite no one at ~JVest Chester• never working with
            Dr. Durrani before, WCMC never checked him out.

         5. Aeca~~ding to former Uni~vei•sity Hospital President (~. UC ~-Iealtl~ hospital},
            Brian Gibler, hospitals face financial challenges,

               Accor'Clill~ t0 T15~C 17J~T1c~~~T~ David Schwalli~, risk management knew Durra~ii
               had iss~ies.

         7. According tc~ radiolo~is~, Thomas Bxowi1,there were suxgeons questioning
            Durrani's decisions to perfol7n surgery.

         8. According to medical staff ciirecEor, Pa~ila Hawk,a policy ~al~ed "stop the
            lying" was implemented the same year and xr~.onth they kicked out Dr.
            Dturani. Tlus ir~fexs a poor environment o~ k~onesty and disclosure before this
            policy.

                                                 7
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 244 of 271 PAGEID #: 266




         9. According to Paula Hawk mid as the director• of medical staff, money is not
            supposed to trun~p patient safety.

         14. According to Paula Hawlc, she admits peer :review is for hospitals to prateet
             each other,

         11. Ac;Garc~zr~~ to Paula Hawk,she admits ~aaspitals axe interested in volume,
             so:r~aething Dr. Diurani ~rovzded fox WCMC and UC Heal#h.

         X 2..Accord'€rig to Mike Jeffers, t~.e director offinaalce, they firacked Dr. Durrai~i's
             financial nu17~6ers.

         13. According to Mike Jef~ez~s, he admits Dr. Dur7ar~i helped their in their trm.e of
             need.

         14. According; to Mike Je#'fexs, Dr. I7urrani was fil~te highest money generataz~.

         15. According to Mike Jef'fexs, he knew Dr.17ui7ani had more than one s~rgxeal
             suite assigned at or~Ge.

         1 b. Accordi~i~ to Mi~Ce Tef~ers, bonuses were paid to hiin and afihers iaased upon
              finances.

         ~ 7.,According to Dr. Peter Siern, he knew I7r, Duzrani was only "satist'acfiary,"
             not a world class spine stu~geoti as West Chester advertised.

         18. Dr. Stern, doesn't deny admitting UC Heard looked the other way on. Dunani
             because of money.

         19. According to credentialiYi~ manager, A»n Shelly, there was plenty of"public
             ~~awledge" about L}r. Durraiu to check before credentxaZzx~g.

         ~0. Accordin.g to A.un Shelly, West Chester relied on the NFDS they Xcnew was
             protected by hospitals.

         2~. ~7r. Eric Scilt~eebergei•, Dr. Durra~li's partner, was oz~ ~tkze MEC at W~MC.

         22, Aecordzz~g to ~~ic Scl-~z~~ebergEr,'West Chester knew about Duz7rani
             schedu~i~g surgeries long into the day and fight.

         23. According to former nursing m~1a~~r, ~l~.in~ K.unkc~, WCMC kner~ about Dr.
             T']urrani not completing records.

         24. According to Elaine Kunko, VJCMC l~t~ew Dr. Durxarii would claim surgeries
             were emergency when they were not.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 245 of 271 PAGEID #: 267




         25, According to Elaine Ktu7kc}, ~7iJ'CNIC knew there was an issue with I.7~.
            Durrani not beuig in the zoom doing surgery on "his" patient.

         26. Acco~c~ing to Elaine I~.u~~ko, even the OR ~aurses knew WCMC put up with
            Dr. Duj7ani for rno~ey.

         27. ~cc~rdin~; to Elaine K~.u~lco, WCMC tracked I7r. Durrani's financial nurnbers.

         2$. ~lccardin~ to p~rioperative di~•ector, Lisa Davis, WCMC knew D~a7•ani's
             o~£~ce is supposed to get consents so WCMC had an ohligatian to make sure
            they dick.

         29. According to Jill ~teg~nan, the risk manager at West Chester, she knew
             Durrani had "issues."

         30. Jill Stegrn~~ cot~irms Cre~xy Gaodman's complaints.

         31, According to Kathy Hays, WCIYIC knew how Dr. Durral~i used BMP-2 a~.d
            PureGen.

         ~2. Dr. Tiny Kremclielc, the Chief o~the Oz~thopedic department,failed to do his
            job under the MSC bylaws as it reIate~. to the supervision and review Qf Dr,
             Durra~i.

         33. Accordi~i~; to Dr. Tii~l Kremchek, he knew Dr, Durxa~ax vv~s "sloppy."

         34. Kevin Tosepl~, the CEQ of WCMC,claims to l~now nothing about surgery
             operations in his hospital,

         3S. Kevin Joseph,, the CEO,claims a hospital must protect patients from
             unnecessary k~axzx~ "as much as they can."

         36. Kevin .~oseph, the CBQ,claims WCZvIG doesn't have o~ersi~ht ofsurgeons
             doing what ptainti~f claiYns Durrani was doi~ag, (Despite what his bylaws
             state.)

         37. ICe~vin Joseph, tlZe CEO,denies the hospital has any responsibility if Dr.
             Durr~ii did an ~.nnec~ssary surge~`y,

         3$. I~evin Joseph,the CEQ, despite his finance o~~ice tracking it, denies any
             knowledge ofBMF-2 use.

         39. I~evin Jc~s~ph, the CBO,denies knt~wing about any cozr~plaints about Dr.
             Uurxa~ni.



                                              ~~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 246 of 271 PAGEID #: 268




         40, Kevin Jpseph, the CEO,admits they benet"ited financially from Dr. Duzrani,
             including his own ~a~.

         ~1, Mark Troulba, the QR manager, admits BMP-2 use as used by Dr. Durra~i,

         42. Accarciing to Jeff Dz•~pa.lz`l~, the Senior Leadership team,including Joseph, nlet
            tiveekly and re~riewed numbers.

         43. According to Jiff ~}rapalik, the CFO of WCMC knew Dx. J~un'ani was a high
             volume money mal~er.

         ~44. Lesley Gilbertson, a member ofthe MEC af'UVCMC, and anesthesiologist
              wor~Ciz~g with Dw~a~1i, had a concern about how long Durrani kept patients
             ur~dex.

         4S, Accord.ing to materials ~nailager, De~anis Robb, WCMC knew the volumes of
             BNB'-2 beuzg used.

         46, A,ce~rding to Ka~~en Glia~ari, WC~VIC tcr~ew the chart documentation ofI3r.
             J_7uz•rani was not in compliance with their bylaws.

         47. Patrick Baker, musing VP a1: V~TCMC ac~tnx#s WCN~C tacked the financial
             per£ozmance ofDr. Durrani.

         48. ~ccorc~ing to nuxs~, Vicki Scott, the administratio~~ Qf WCMC mew from the
             outset of West Chester all the serious issues pertauung to Dr, Duz~ran.i.

         49. Accofditl~; to Vicki Scoff, West Gk~~ster's risk manager began to ignore
             complauits from Ms. Scott.

         54. Accord~z~g to VicIci Scott, staff was scaxed to speak out.

         51. According fio Vicki Scott, patients didn't ~.ow who did the surgeries—Slaanti
             or T]urraru.

         52, ACG4tZ~7rig ~O ViC.k1. ~CO$t, records wera not ac~~~rate v✓Ixa was in the DR at
             W~1Fi~ t1XT1~,


         53. Accordi~~g to Vicki Scott, e~veryane at WCMC knew it was about rrtoney.

         54. According to Vicki Scott, WCIv~C knew at~aut br. Duzrani's and West
             Chester's illegal use ofPureGefi.

         SS, Accaxdin~ to Vicki Scott, Dr. Durrani was a behavior pra6lezn.




                                               I~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 247 of 271 PAGEID #: 269




         56, According to patient representative, ~lizabet}~ Dean, WCM~ tracked Dr.
             Dui7ani's volumes from tk~~ outset and the CFO loved what he saw.

         S7. Accafdin.g t~ El.~zttbetla Dean, WCIVIC knew Dr. Du~;rani ~~ad issues at
             Children's.

         5$. According to Elizabeth Dean, WCMC knew Dr. Tlurrani was perFartning
             unnecessary prooedi~res by voluYnes and 7e~eats.

         59. ~lccarding to nurse, Scutt Rimer, WCMC kYiew Dr. Dur~aTV waited ~urtil after
             surgeries to document what p~oceduxes were planned.

         60, Accorc~itz~ tc, Scott Ri~x~e~r, patiorats at ~VCN~C had procedures they did not
             co~.se~t to anal WCMC ~Cnew i~

         61. A.cco~'CI.iTI.a tq SCQY~ Rl,lt17~1, sterile fields wire z~at protected.

         62. Accordyz~g to Scott ~a.xx~~r, WCMC knew PuxeGen was being used by Dr.
             Duzxani at~c~ allowed it.

         63. A.ccdzding to Thoz~~as Bla~a~, PuxeGer~ was an alteniative tv BMF-2, which
             WCMG tined to based upon i~.surance d~nia[s ofBMP-2. In addition, Dr.
             Duzx'ani opexated axx u.taetk~zcal ~'~D of Alphatecli called Evolution Medical to
             sell PureCeti to West Chester.

         64. AccoY~ding to Gei7y GoadTnan, WCMC tracked BMP-2 use by I3r. Durrani;
             patients did not know who at times performed their surgery Dr. Shanti ox Dr.
             Durrani; electroYUC retards had to be changed after Dr. Du:r~'ani's surgery; Dr,
             b~urani and WCMC never obtained zn~ozmed consents; Dr, D~u7ani's v4lurne
             was a warni~ag sign of ov~~'utilizati~n, Gerry Goodman reported all these
             concerns to WCMC and there was Yio action. Gerry Goodr~lan was told and
             cancluc~ed that WCMC did not ~~ant to do anything about Dr. Du~a~.i because
             of Fnoney rewards.

                                   ADDITIONAL OPINIONS

         GS,'T'l~e Center ofAdvanced Spine Technolflgies {CAST} negligently supervised
            and retained I7r. Durrani, including by allowing L}r. Durrani to perf'arm
            unnecessary procedures and surgeries; use BMP-2 and/or Pur~Gen witlaai~t
            appropriate consent; failing tc~ disclose Dr, 5hat~ti a:~d others involvement i~
            s~ugery; improper billing; c~.angit~g the ire-ap and post-op ~ecards t~ cvineide
            when the surgery was not the sux~ery disclosed; and all other conduct detailed
            in the documents I reviewed.

         66. ~VCMG,UC Health and CAST's rnoti~~ fox' heir acfiions and inactions
             towa~'ds Dr, Dur7ani was financial gain,

                                                   ~l
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 248 of 271 PAGEID #: 270




         67. The MEC,administration and Boards of WCMC aid UC Health failed to
            "govern the a.~'t~airs ofthe Medical StafF"

         6$. The MEC,adzninist~a~ion and Bo~r•ds of WCMC and UC ~ea~t~a ~aiXed to
             enforce their rtiXes upon Dr. DuY~ani as they were requixed to do.

         &9. '~'he MEC,atinlinist~ati~n anc~ Boards o£ WC11~C and UC Health failed to
             provide oversight of Dr. l~~urra~ai as t1a~y were xequired to do.

         ~0,fihe MEC,administration anti hoards of WCMC and UC Health failed to
            properly evaluate Tyr. Durrani.

         ?1. The Orthopedic and Surgery Departments abdicated their respansibiIity under
             the MEC bylaws to review,investigate and supervise Dr. Dw7ani.

         72. The MEC,administration and Boards of WCMC and UC Health failed to
             properly discipluie br. Durrani inchiding summary suspensions and
             revocation.

         73. The MEC,administration and Boards o~ WCMC and UC Health wiled to
             properly discipline under the Iv~EC byXaws as it pertains to Dr. Du~~ani.

         74. The MEG,administxatio~x amd Boards of WCMC and UC health ignored th.e
             information readily available per~ait~ing to Dr. Durrani before credentialin.g
             and granting Haim privileges.

         7S. The MEC,adrninist~ation and Boards o~ WCMC and UC Health failed to act
             on Dr. Du~~a7u's disruptive beh~vio~, unp;afessional ~e~aviai a~ld clinical
             pei~oi7nance placing Plaintiff at Brisk.

         76. The MEC,~dministtatiQn and Boards of WCMC and UC He~.lth eexti~"ied acid
             approved the uru~ecessary procedures o~Dr, Dwxani on PlaintifFktiowing they
             wire unnecessary azld knowingly allowing the impro~aer use ofBMP-2 and/or
             PureGen and knowing there was not proper infotrned consent.

         77. The MEC,administ~atio~i and Boards o£ WC~vIC and UC Health fazed to act
             on Dr. Aurrani's failure in medical record documentatxo~.

        '~8.'~'k~e MEC,administration and Boards of WCMC and UC Health failed to
            require Dr. Durrani to ft~~law tk~e rules for off Iabel experimental procedures.

         79. The MEC,ad~x~isfratian and Boards of WCMC and UC Health a1low~d Ar,
             Durrai2i to t~se undisclosed and unquaIi£~ed st~rge~ns to perform his su~'geries
            including Dr. Shanti.



                                              12
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 249 of 271 PAGEID #: 271




         80. The MEC,administration and Bt~ards of WCMC and LJC Health allowed Dr.
             Durrani to do multiple surgeries at once,

         81. WC1VTC and U'C Health have refitsed to pz~o~vide as privileged the deer review
             infoi~nation fiom WCMC £or Dr. L7urrani to eztlier rn~ ax t~ier~ own exert.
             Therefore, we have tiQ knowledge of what actiozl, xfa~n~, was taken agai~ist
             him, Ho~c~vever, based upon the facts here, it is obvious they failed to take
             act~o~a.

         82. Based upon all cif the above, ifi's my opinion that WCMC and UC Health wexe
             negligent in their credentialing, supervising, discipliiung and retaining Dr.
             T~tiurani on staff and allowing him to obtain and keep pi7vileges at WCMC
            lulder the standards of Ohio as detailed in the Brenda Sheli's 12esponse to
             Motion for Stuntnary Judgment and this proximately caused Karin to Plaintiff:

         83. The t'acts suppo~~ David Sl~empe7~t's claim for negligence, battery, hack of
             consent and fraud.

         84. As a result ofthe negligence ~.nd conduct of Dr. Dut~rani, CAST, West Chester
             and UC Healfih, David Shempez~ suffered damages proximately caused by
             thei7~, including the follawi~ig:

            A. 1'ennanent disability
            B. Physical defor~2~ity atZd scars
            C. Past, C~u~rent and Future Physical and Mental Pain and Suffering
            I). Lost income past, present and fiatu~re
            ~. Loss of ezajoyrrae~.t a~ tzfe
            F, Past medical expenses
            C'x. Future medical expenses approximately in the amount of$50,000 to
                 $250,000 depending on course oftreatment
            H. Aggravation of apre-existing condition
            I. Decreased ability to e~zxa zneozn.E
            J. 3% inc:reas~d ris~C o~ cancer and fear Qf cancer if BMP-2 was used.

  AFFIANT SAYE'I'H FURTHER NO"~
                                                                      ~"~.

                                              ~~
                                              KEITH D, WILKE ,M.D.


                                              NOTARY




                                             13
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 250 of 271 PAGEID #: 272




   SUBSCRI$EI7, S'~irORN TO AND ACKNaWLEDGED before me,a Notary Public, b~
                                                 1~.~~
   Keith D, Willcey, M.D. on this ~       day af'6~~~,2Q14.
                                                                                ..            ~J




                                              NOTARY PUBLIC
                                                  y Catnrtnissian Exp.; ~            ~   ~~
                                              ~~r ,~       '~' County
            11f~GELA Pt}INS~T~
         Notary Puhlic - Nofary Seal
             51ata of Missouri                Mate of    ~~~ ~ `~'~~'.~y~ ~!~'r'i
    Gommissioned for St. Charles County
   My Commission Expires: duty f8.2015
      Commission Number: i 1133613




                                            14
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 251 of 271 PAGEID #: 273




                                     RIC~IARb STAN~FIELD
                                     A,FFIDA,VIT OF MERI'!'
                                        WEST CHCSTER

          Z, Keith D, Wilkey, M.D,, after being duly swoj~.atad cautioned states as follows:

      1. r devote at feast one-half of rzay professional time to tie active elini~al practice iu my
         ~xatd oflice~.sure, ar its instruction in an accredited school. I am au ox~oped~G
         surgeon whale focus is on spine suxgery and treatment ofthose wz~kx spire issues.

      2. X wi11 s~pplet~ent t~.is affidavit with ana~thex~, by a letter or by testir►iany, b~.sed upon.
         any information provided to me after ~ execute it.

      3. 1VYy cuz~iauliam vitae has been previousXy provided to opposing cawnsel in these Dr.
         T~urrat~.i. cases and cats be provided again upon rec~ue~t. For my preview,I rely upon
         my educa#~on, trainitag and ex~ae~ience.

      A~. Z have not counted butI have zeviewec~, over 240 or mo~•e cases involving Dr.
          Ih~rrani and ~1ae hospitals whew tae once had privileges.

      5. I base my opinions in part on my review ofall the cases Z have reviewed which l:aave
         revealed szmil~r conduct by Dr. Durrani and the hospitals where he had ~i7vilege~. Z
         have also ~e~iewed binders pxovided by the Deters Law ~xz'~n which they provided to
         defense cottns~l.

      6. I am fat~iliar with applicable standard o~ care for Ohio,Kentucky and the co~ntty
         far an artho~edic/spine ~urgean such as Dx. Durt'ani.

      7. I am also familiar with applicable standard of care, policies, rules and regulations,
         z~edical executive committee byXaws, JCAHO requirements, credentiaXin~,
         supe~tr~si~ag, retenfian pf~ned~ca~ staff', granting and rejecting privileges ~nc1 the peer
         review pxocess for West C~iester Hospital, LLC,also referred to as '4'U'est Chester
         ~~spita~ ar West Chester Medical Centex an►d UC HeaEtk~,

      8, I have reviewed alb. rele~at~t Medical records including radiology o£Dr. DurraJU's
         medical ~rea~nent ofRichard Stanfield old the medical treatment of k~chard
         Stanfield at west Ck~est~r,

      9. ~ ~.a~ve reviewed the Respo~~se to Sunr~tz~ary Ji~d~tnent in the Brenda ~he~l case and
         a1I trig exhibits attaclie~ to it.

      10. Thy Center for Advanced Spine Tecimoiogies, Tree. was Dr. D~.n~u's practice groin
          and he was floe sole owner, director and offi.eez a~CAST as well as a~i emplay~e.
          CAST as such xs also responsible for Dr. Du~at~i.'s negligence arad fai #heir failure ~o
          also s~pe:rvise, discipline and retain Dr. Durrani.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 252 of 271 PAGEID #: 274




      11, ~ have also ~'eviewed the nursing sttmtnary prepared Uy legal counsel's office for
          Richard Stanfield. used upon the number o~ cases I've reviewed pertaining to Dr,
          Durz~ani,legal coculse~'s office 1~ows what r~atez~a~s ~ need to review a~.d provides
          me those mate~.~.ls. In addz~.on, while this ~t~avit contains case specie
         inforn~.ation; it also contaix►s u~o~nn.a~ion relevant to thus case a~idlor many and/ox
          most and/or all fihe other cases. It is prepared for zne b~ counsel wi.t~ any dixeetion
          aid approval like all ofthese have beer.

      Y2. Based upon my review,the follavv~ing are the facts T rely upon;


      A. Ric~~arcl Stanfield was a 44 year odd male, divorced, an the day o~ t~.e Dr, Ataxrani
         st~tgery o~ 8113/10. Aick~ard's chief eatnp~aint was ~o~wer back fain radiating
         down the right leg and into ~.e boat. Richard described this type of pain as ~.
          sharp, stabbing, shooting, cramping, gnawi~ag axed btu~i~g along with nuivbness
          and tingling. His xnittial injury o~i$ir~at~d from Iifting fiu~ufiure when he felt
          somethit~~ pop in his bac~C aid cot~d barely walk at the time in 2008. Richard
          was xating his fain $-9/XO and an bad clays it vvas 1011 d.

      ~i. Richard has taker anti-int7arnmatories, seen a chiropractor and ph~siaal therapy
          ~Qr sevexal months and two epi-steroids uzjections without n~.uCh relieffrom tie
          pain, ~Iis PGP,D~•. Michelle Willoughby recommended I}r. DEirrani to see
          Richard for evaluation.

      C. PMI-~: T]M,HTN,TILD, AT~I1Tl~l5~ Ltunba~~, Depression and a S~no~e~r ~ppd x
         20years.

      D. Richard states he had always been very active playing ~ol~ azad softball
         t~a~'ot~~hout his younger gears and now he is ba~~ely abXe tQ walk as a result o£ Dr.
         Z7urrarii's surgery and ~.~w he is only 48 yea~~s of age.

      E, 4120/1d - Richard stags th~.t Tax. Durrazu assured hi~n "he could fix hitn and he
         would be able to xetum to work within 5 weeks without fain". After 4 mont~is,
         Richard had to z'ett~rn to work or else he would dose hrs Job despite tl~.e Fact he was
         still in pai~a. Richard stakes br. Durrani told him. he would go tk~rough stages o~
         depxessian.

     F. 4/201).D - In a Letter to Z];r, Xvliche~le ~xX~oughby, PCF,Dr. Durrani states
        Richard's MRi.vsrere reviewed that day and showed he had SD%loss o~'disk
        height at the LS-S1 disk level. MRI also confii~ned end-stage degeneration at~d
        dish ~ieriaxatian at LS-Sl causing very advanced central az~.t~ complete abliteratzon
        ofthe right foraix~.ina includx~g advanced facet ar~hxflsis indicating testability at
        this level. See Ax, Durrani's irx~.pression belotiv in questio~i #2,

                                                 ra
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 253 of 271 PAGEID #: 275




       G. 5/4110 — In a letter to Dr. Willoughby, a Pain Mailageinent physician, br, Tayeb,
          at Dr. Diu7aru's office ~xoted states R~,ck~~rd's Haan was 3d% i~z lais hack,'~0% ui
          his Iegs and 100°lo goes beXo,w the knee. ~t is noted that Dr. K;zltevich had fried
          za~~suceessfuily epidural steroid injectiafis. Richard rated his pain as X110 a~ad
          10/10 at zts worst. Yt was recommended the usage of a bacl~ brace, pain creams
          and ~z~i~romuscu.Xar electrical stimulation, o£r~vhich Richard vvas uiterested in
          while waiting for the s~irgery to be done.

      H. 8123I~0 - ~n a Letter to Dx, WxlIaughby,Dr. Dlurani states that R.zehard had
         re    ed far a post-op visit stating his legs were fain free and some back pair yet,
         gating it 6!~ 0. Dur~ani also ~'i.e~2tioned that RieY~ard vas sleep~~ag well with pain
         medr.cation and not having any issues wi.~h bowel niavements and denies atly
         nausea or vomiting. 'The Galan was for Richard to sta~~t physical tlaexapy focusing
         on luambar stabilization aa~.d care strengtheni~.g,

      I, 11/30/14 — I~. a letter to br. Willoughby, Dr. Diu7ani states Richard xs t~iree
         months post-off and that he is daulg awesome i~zdicating his bask pain is pretty
         much gone,t~~e ~rxght leg pain does mot e~xst anymore and he has a great ~ra~ge o~
         motion ofthe lumbar spine.

      J. ~Ric~a~.rd fell this good at this tune, why didn't he go back to work at this time
         ixastead of waiting for another month and being forced to because hisjob was in
         ~eapardy despite tl~e fact he says be was still ui a lotofp~in.
         There are no D:r. J~u~a~i office Hates far 2 11 in dais file.

      K. ~2,%chard states he was not.xn~oxmed about the auto,al~ograft(INF~U'S~) or the cage
         per se' and he vvc~uld actua.Xly like to know exactly what does he have ~n his spine
         because recently he has beep having problems wi~fi bus s#omach, sore tbxoat,
         bloating anal so:~a.~ b~~athing issues.

      L. 3/27112 — In a litter to Tyr. Willoughby, Dr. Durrani states Richard xetum~et~ for a
         visa i~dzcatiz~~ he vas doing absolutely awesome frorn his lower back . Richard
         dad hurt his neck at worle several moms ago resuXtittg in pain radiating down the
         left az7n in the C~-C7 dis~r~bution with decreased grip strength. br, Durrai~i state
         he reviewed leis eex~v~cal x-gays that day which showed a listhesis o:F CS on C6 in
         flexion w~a.c~. goes to about 2:4mm and in extension fogs dovv~n to lmm. there is
         also intra~disk angle inflexion.and extension between CS and C6 indicating
         segmental instability. Rieliarc~ was to get a Cervical MRI,an epidural injection.
         and Y•eturn to tl~e o~fzce,



                                               3
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 254 of 271 PAGEID #: 276




       M. 411 ~/]2 — M1tI Ce~~vzcal Spine without Con.~east @pioscan ~tnaging at haul
         frown Stadiurt~ Conclusiv~a: Left paracentral p~otr~isior~ at the CS-6 level Results
          in light contou7:ir~g Qfthe ventzal cord. There is also a ce~tr~l salt pratrusian at
          the C6-7 level resulting in Iight car~touring o~the ventral cord. N~o evidence afi
          pi~io~ osseous injury or fiact~~re is a~~reciated. (included}

       N. 4/2A~/12 -- In a fetter to r}r, ~Tx11c~~ighby, Dx, Dtu-~ani states ~tichard got the
          Cervical MRI tivk~xch showed a ce~vxcal disk herniation at C5-~& Xe~el which is
          causing i~np~ngement an tk~e nerve roo#. ~2.ichard hats received temparat~y ~a~1 the
          injections. Richard not able to take ~zarcotics because he zs a tx~tc~ driver so }~e
          tales Aleve. Richard WF3.5 to xeh~rn in s2X Weeks.

       0. 9I18/~2 -- I;1 a letter to Dr. Wi~lvu.ghby, Dr. Du~ta~i states Richard had returned
          ~o~ a repeat evaluation o~'his neck indicating he had CS-C6 cervical dis~C
          herni.a~ion with cez~vical faratninal stenosis predominanEly oil the ~~£~ side at CS-
          C6explaining the C6 radicuXopathy he has been ~.avan~ on the right side,
          Richard had contx~t~ed to work des~i-te being symptorna~ic. Richard's op~ioi~s
          wexe discussed that day.with Richard being scheduled for a CS-C6 Anteriax
          Cervical ~?iscectomy •~t1d Ft~slon. Apparently this st~xgery was never completed.
          This was the last Durr~ni note in the file,

      P. br,Durrani's r~xszz~terpretatian ofthe p:re-operative diagnostic:
         4/3(10 — MRI Lumbar Spine without Contrast                                        .
         F'nt~i.n s: Exat~n.xnation demonst~at~s ~a ~irachaxes. There is s~'aightening oftl~e
         no~rxra.al lardosis o:f tie hinibar spine but pia evzt~ence offi~au1L rnaIaligiunent. ~arl~
         disc desiccation, spo~dylosis and facet disease aye seen at L1-Z.,2. Tha gross
         ~apacxty of tl~e central canal end foramina is ma~nt~ined, however, at this level.
         The L2-~,3 level is intact..A.t L3-L4 there is spondylosis, disc-bulging end facet
         disaase, of questionable architectuz'a1 signi~i~~nce. Slightly more pro~ni~ent
         disease is seen ~t L4-L5. Here,thexe appears to be sigtv.fcant foraminal
         narrowl~g with right-sided symptoms. Severe disease is seen at the LS-S X level.
         Here there is rat~iog~raphically significant disease causing stenosis on tl~e nigh#.

          Impression: Degei~eY~ative ehange~ most prominent at LS-S ~ o~ the right greater
          Sian L4-L5 on the left, {~~aoluded}

          4/20/X0 — In a letter to Dr,~xXXoughb~, ~3 r. Dut'xani stated lus Itr~pxession:
             e L ba;r spinal stenosis associated with Iumba~ spo~dylolistheszs LS on ~1
             • Progressive and se~vexe syniptnms of~aeurogenic claudication
               Back pain with radicular pain vn the right side itz t~~e LS and S1
               dis~ributian.
             + Very significant functional i~pax~znent
             ■ Anterol~sthesis a£'L5 on S1

                                                 D
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 255 of 271 PAGEID #: 277




              aCentral as~d lateral recess sternosis, especially an the xig~.t side, witk~
               complete t'vrazz~znal narrowing.
             • failure o~ conservative treatment fox over twQ dears.
             • ~`~.ilure a£physical therapy, chiropractic care, pai~a medication, r~auscle
               relaxants and epic3t7ra1 steroids,

      Q. Dr. Durrani recommended surgery on t~.e First office visit,

      R. Dr. Durrani ~ez~ax~m.ed one siugeiy flr~ the client:
         $/13/x0 — ~i~rgery @'West Chestex Medical Center
                PREOFERAT~V~ &POSTOPERATIVE ATAGNOSES: dame
            • L5-Sl Deger~~rative Disk Disease                .
             o L5-SI ~.?egenexat~v~ Spondylolisthesis
            ~ L5-SI Spinal SfienQSis

                  ~'ROCEDURES:
              o   L5-S1 Axate~or Lumbar Interbady ~usian
              ~   LS~S ~ .Anterior Lumbar Discectomy
              6   L5-S1 Placement o£.A,nterior Interbody cage,(AXIALr~')
              ~   ~S-S1 Posterior Spuial T~strur~.e~itation
                  LS-S1 Posterior Spinal fusion using Auto & Allagraft

          The Informed consent does noY xr~.ention using ,A,.uta & Allograft or the placement
          of ~. cage.
          Richard states he was not informed about Elie auto, a~lo~raft ox the ca~~.per se'
          and he wr~uld actually Iika to know exactly what does have in ~►rs spi~,e,

      S. INFUSE was used duxi~.g suxgery.

      T. The following ~a~rd~ware vvas itx~plante~;
         * ~ — ,A.xxa~~F St~.~ilizatio~. System --- Tra~.sx Inc
             • 1 --~ Rod ~~ine 3D AX 10x12x5Q ~- Tralv~i Inc
             • ~ — A.~ziaLI~' Universal Plug -- T~at~sx T.~c
               ~ — TI'~~'USE Sefi bane Graft Small — Medtronic In.c
             ~ X — ~~GC Foam Bxoact Vztass — Q~hovxtia
             • 4 —Set Crew FJG4 ~ Medtronic Inc
               4 —Screw Gann MA CDH 5.5 Leg 6.x45
             • 2 —Rod Pre~Bent MS 5.Sx45m~m 'Z'i — Med~•o~nic Inc

      U, ~~~T~abel Use: It was Axia~,Z~ appxaaeh.
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 256 of 271 PAGEID #: 278




      V, `~'he Operatx~vE Report was dictated by Dr. l7ui~atxi an. 8113110, there was zoo
         verification date,

      W.'here was no failed hardtivaxe.

      ~. R.i.chard has seen his PCP and an Orthopedic stugeon, Dr. K~karla~udi, since the
         stugery and he gat the impression that Ius back was really finessed i~p without
         them saying ~~tac~Iy what.

     'Y. Rich~.rd says he his more pair,t.~an befiore the surgery and that he has never really
         been without pawl regalt~~ess of what Dx. J7urrani has sated in his letters to other
         physicians. ~.ichard has been on lo~1g te~7n disability fr~orza his company suice
         Mata~ 2013. He has a~~lied for Sacxa~ Security Dis~.bility but has yet`~o ~be
         approeed, ~o:rke~'s Com~ens~.t~on was i~l~olved regarding a neck injury at wo~I~
         butjust sent hirn back to Dx. Dt~ani.

     Z. Richard con#roues to be pretty debilitated as a. result ofthe surgery. Hzs
        Iimitations regarding:
        Wall~in~ — zs his biggest problem, before the surgery tae could walk for 5-6 lioues
        and Yio~w ~e xs h~cky if lie can toXerate 2~3 n~iutes at at~y given tine.
        SitCi~1~.— is a[so a big ~rablern., where pre~op he could sit fox 8 hours at a time and
        now post-op maybe 1 hour at a time, When you are a #yuck diver, being able to
        sit is un~ortant.
        Standing —had ~aever been a problem before surgery and ~avtt he ~xmx~ed to 5-~0
        xxiinutes at a time,t~.at's why he makes quick tips to the grocery ~zsing tie electric
        caxts.
        La~p~ down — is pre~exable on h.is lift side. He can tolerate Ius right side anc~
        back but not for very Xong pexzods o~ tirne.
         Slee~ai~ag}— betting to sleep is very dif~f"icult at times and t~.~n he awakens every 3-
         4hours c~~.e to the pain.
         Liftin l~ ~ ~.as diminished frain always lifting heavy ob~ecYs tQ maybe a
         gallon ofr~k.                                   _
         ~Iousehold chores -are mainly done by girlfriend or his room, he does ~xocery
         shopping one or two bags at a tzzx~.~,
         ,A.~~e tv Drive ,lie can and sti~X dxXVes but only on very briet'trip~. ~Ie does not
         talexate car rides longer thank ~1 hour, He is also very cautious when tiuni~.g his
         ~.ec~ £ox the oncoming tra~'~c•due to the pair. he has an flexion.
         Fle~io~ — is another p;rablem especially if U~ drops somet~iing on the floor, he has
         to go down to one knee to pick it u~ and then needs somet~ung s~ippa~-~ive to help
         I~xm het tip again and keeping his back s~~aiglat,
         Dx_ ens rig s~If — is manageable excepfi tying iris shoes of which requires lum to sit
         down pullx~g his ieg upward fio reach the shoestz'ings.

                                                  0
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 257 of 271 PAGEID #: 279




      AA„         Kichard describes his quality v~ lxfe as berg poor. ~e says the mental
         anguish he has gone throfigh a~~d shill does xs as bad the fain he has had to endure.
        .dust txx:ying to waX~ to his mailbox down the laa~l in bis apat~tment coni~lex is a
        very difficult and painful task far hun to accomplish, He finds it hard to believe
        k~zs life has tu;r;led into a pa~iful oxdeal on 2417 basis wztliout any reJ.zef and it
        tends to wear on him after awhile. Tie seenZed to be a little depressed.

      13. Ba$ed upon my revite~v, trie following axe my minions based upon a reas~i~ab~~
          degxee ofmedicaX certainty pei-~ai~u~.g ~a the devxa#~fln i~ statzdard ofcare ~x
          negligence,i~~ormed consent, battery and fiaud claims agai~stDr. Durraxii, CAST,
          We~fi Chester and UC ~Tealtlx which ~roximatelq cal~sed harms to ~'X~.int~ff:

         A. Need to have addztzanal siugery ~o repair problems created by Dr. L7ui7ani

         B. Implanfiation of Puregen without znformed consent

         C. Implantation ofBMP-2 without informed consent.

         D. Failed ~.axciware

         E. Failure to obtain proper informed consent for surgery

         F. Failure to provide adequate and tt~o:rough pre~operat~ve and ~vst-operative
            patient surgical education

         G. Faillue to ~ropexX~ post-op monitor the ~at~ent

         H, Failure to pra~erly ~erfor~n ~ollaw up, post-op care

         I, Negligent surgical techniques

         J. Failtue to t~ai~,t~,in ac~i~rate and complete surgical records and sur~zcaX
            consent f4znas

         K. Failw~e to disclose impoz~atat health information to patient

         L. Failure to maintain and campXete discharge sua~oma~y

         ~. F~.ilure to supervise Dr. Dui7•ani

         ~I, Negligent pre-surgical diagnosis

         0. Failure to p repare a timely operative repa~~ or other ~ed:ical record

         P, BiX~zng fox services not completed

                                                 F
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 258 of 271 PAGEID #: 280




          Q. Not infoxr~ni~g the patiez~ti another suxgean wzll ba doing aZl o~ part ofthe
             su~~ge~y

          R. Practicing oirtside Tar. Duxrani's scope oftraining, educa~iotl, e~~erier~e~, alid
             Baaxd certifications

          S. Deviatio~a in standard o~ Dare

         T, k'aiXure to ~ae~~ozm thorough and aaaurate pre-op nonsurgical evahiation

         U. Fai~u~e by Dr. Durraru to infoz'z~ patient of atl~.itionallcha7iged p:rocec~ure and
            reason

         ,V, Failure by GA,S'~'to disclose addi~io~.al/changed pxocetlEire and reason to              ,
               patient                                                                            ~

         W.Failtue ~y Dr. Durrani at CAST tt~ pxoperly edl~cate patient regarding
           diagnosis

         ~. Prior ktaawledge of passible camp~ic~tion and not acting ~roperl~ upon same

         Y~. Fai~uxe to disclose pertinent Health.information to ano~er healfh care provider

         z. Ft~audulent, negligent and reckless pxe-operative work tip

         AA.      Fraudulent, negligent and reckless surgery

         BB.      Inaccurate, fr~.udulex~~, andlar exaggeration of diagnoses

         CG       Faihue to properly educate patient regaz~ding diagnoses

         DD.       Fa.iIt~re to attempt non-~uy~gical conservative treatment

         EE.      Failure to ~aerform thorough and acc~~rate pxe-ap nonsurgical evatuatian

         FF.~'ailiue ~by Der, Durrat~, a~ UC/West Chester Hospital to perfoi~n accu~•ate and
            cor~iplete preoperative teachx~ag

         GC.      Faihu~e by Dr. Durrat~i at UC/West C~iester ITospital to properly educate
               patient regarding diagnose

         HH.    ~'aih~re by Dr. Durrani at UC/West Chester Hospital to maintain accl~rate
           andlar complete medical retards

         ZZ.      Failure ofinformed consent by Dr. 1)urrani at UCIWest Chester Hospital


                                                 E:~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 259 of 271 PAGEID #: 281




            JJ. Failure of UC/West Ck~ester Hospital to ~n.sure Dr, Ditrrani and CAST had
                obtained proper infozmed co~~s~nt

            ILK. Failure of UCl'W'es# Chester Hospital to obtain proper acicnowledge;ncae~t
               of consent

            LL.Faiture by Dr. Diu7•ani at UC/West Chester Hospital to disclose pe~tzne~.t
               health information

            MM. Failure by UCIWest Chestex Health to disclose additional/charged
              procedure and reason to patient

            NN.     Faih~re by UC/~Vest Chester Hrealth to supervise staff

            ~O. ~'ailt~e by UC/West Chester Medical sta~to properly docwnent
              abx~or~ma~ities and follow u~ cage

            P~.Non-approved hardware com~binatio~s

            QQ.I~r. Du~ani made false and material misre~resentatians of n~atei~ial facts
               zn#e~.ded to rnislead~Richard Stanfield and concealed material facts he had a
                duty to disclose. UC/West Chester Health and CAST concealed ma#erial facts
               ~1~~ ~7l~iC~. &. C~.11~ t0 C~1SC105~. Richard Stanfield was justified in relying on die
                ~nisr~p~esen~atian and did rely proximately pausing harm to Richard
               S#aufiel~., Dr. Durz'ami, CAST,and UC/West Chester ~Iealth intentionally
                misled Rickard ~ta~"ield. Ri.chaxd Star►field had the right to correct
                ~~armation.

      14. The testimony; facts a~xi exhibits of Brenda Shell's Response to Mo~it~n fox
          ~w~.rra~z~~ Judgt~3ent and exhibits to same are applicable to all the claims ~agai~st
           ]Vest Ch~st~r 1Vl~dical Centc~~(WCMC)and UC health for all claims, including
          negligent r~tentxon end cr~d~z~.tialirtg b~oug~it key Plaintiff.

      15.       Based u~aon 1ny ze~view aftlie deposition testi€7iony, tl~e J~AH~ r~:gt~irements,
            the N1EC bylaws and all the information pr~vicled to xne, I a~n. able ~o adopt the
            following apituot~s relating to 'GVCIVIC ai d T.JG Health ~ex~aii~i~~g to Y11e c~~irns
            against ther~i.'WCMC's and CJ'C Health's act~ans end inactions detaited in taxis
            af'fdavit proximately caused l~a;rtxt to ~'~azt~~if£ WCMC ai d ~l'C Health are ~otk~
            being referenced when only WCMC is na.~.ned. Z ~aold the following o~ituo~s
            relative t~ WCMC and UC I~ealth pertaining to their cozidiict acting ~uaug~.t~ei~'
            administration and MSC. The time ~erioc~ covered is from the time br. Dut~rani
            sought privileges prior to WCMC opening ui May 2009 ~luaugh May 2013 when
            he no langax had privileges. In addition to my opinions, T set forth facts I rely
            upon, This zz~chides all wkazch I referenced that I reviewed. In addition to aII o~
            tlae above,~ ~~~St t~ t~.E ~DL~IOWll1g:

                                                      D
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 260 of 271 PAGEID #: 282




                                               FACT

          1. Accardi~g to tiVest Chester's first Executive 'Vice Presxclent, Carol King, she
             did not explore the "Y~moxs" about br. Dui~.~a~ai's leaving Chilciren~'s,

         2, According to CaxoX King,the hospital tracked ~robXem. issues yet'WCMC
            have ~axled ~o produce-the a~'ormation iu~der peer review protection.

         3. According to ci~cu~a~ing muse, Janet Srn~~.a, presets were cha~.ged in the
            computer to indicate the procec~uxe Dr. Diu~rani pex~a~aned after the procedure.

         4. Accaxding to Janet Smith, ~~spite na one at 'UVest Chester never working wi~i
              Dr. Durrani before, WCMC never checked him out.

         5.   ACCOTCI]Ilg t0 ~C1T[i~e.T UT1IVt;TSlfiy I~OSJ~lfa~ President(a UC Health   hospital),
              Brian Cribler, i~ospitals face fiinancial challe~zges.

         b. According tv xisl~ manager, David Sch.~wa~Xie, xzsl~ ma.~agement knew Dunani
            had issues.

         7. Acco~d~z~g tb radiologist:, Thomas Bt'uwll, there wexe si~rgeflns questioning
            Durrani's decisions to pe~~'ar~n surget'~,

         8. t~ecording to tx~edical staf~'clirectoY, Paula Hawk, a policy called "stop the
            lying" was zxa~.plemented tine seine year and n-cont?~ they ~xc~ed out I}r.
            Durrani. This z~.f'ers a poor environslent oflaoiiesty at~.d disolosux~ before this
            policy.

         9. According to Paula Hativ1~ and as the director of medical staf't', money is got
            supposed to trur~~ ~aatient safety.

         IQ, Aaeoxdit~g to Paula Hawlc, she admits peer review is fix hospitals to protect
            each otl~ex,

         11. According to Fa~.tla Hav~rk, she ad~m~ts ~.ospxtals a~'e interested ~a ~o~ume,
             some~luig Dr. Du~ani pz~ovidecl for WCMC and UC Healt~i.

         12. Accaxditlg to Mike Jeffers, the director offinance,they tracked Dr. Du~ani's
            financial numbers.

         ~3. Acca~rc~zn~ to Mike ~et'fers, he admits br. Dui~ani helped them in ~IYeir tixx~.e of
             need.

         I4. Accoxdi~g to Mike 1ef~ers, Dx. Durrani was the highest money generator,



                                                 10
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 261 of 271 PAGEID #: 283




         15. According xo Mire Jeffers, he knew Dr.I~i~nan~ had more than one surgical
             suite assigned at once,

         16. Accoxtling to Milo Jeffers, bo~.uses were ~ai~. to him and others based uptin
            finances.              _

         17. According to Dr,Peter Stern, he ~x~.e~v Dr. but7a~u was only "satisfactar~',"
             not a world class spine surgeon as Vi~est Chester adve~~ised.

         18.:Dr. Stez~. doesn't deny admitting UC Health looted tXae othex way on I7ttrrani
             because ofmoney,

         19. According to c~r~dennti~.ling z~na~ager, Ant? Shelly, there was plenty a~"public
            ~i1bWIeC~~~" about D~. Duxrani to check before credentialing,


        20. Accord~~g to A~ui S~.eX1y, West Chester reZxed on the N~'DB they knew was
            prateoted by hospitals.

        21. Dr, ~z~ie Scl~tieeberger, Dr. r?uxrani's paz~tner, was a~ the MEG at WCMC.

        22. AGCOrding to Erie ~c~eeberger, west C~.estex Ittaew about ~lurani
            scheduling suirge~'xes long i~ito the day at~d night.

        23. Aecorcling to formes ~~lrsi~ig nzanage~•, Ela~ze Kut~ktr, WCMC I~iew about ]]~.
           Duxrani not corn~leting records.

        24. Accc~xtiing to Elaine Ifutat~o, WCMC kr~ew Dr. Durrani would claim s~geries
            were eax~.ergency when they ~vve:r~ net.

        25. Acco~~cling to Elaine Kni~ko, WCMC knew there was an issue wifh ~7r.
           Durratu not berg in the room doing s~a.rgery oii "his" patient.

        2f.According to Elaine ~ur~~~o, even the OR muses knew WCN~C put u~ with
           Dx. Dt►rrani for money.

        ~7. A~corc~i~g to Elaine Kiu~ko, WCMC ~rackecl Dx. bu~~rani's ~i~ancial niunbers.

        28. Accorc~..i~1g to pe~xciperative c~irecto~,~Lisa bavis, WCMC ttrie~c~v T~LU;rani's
            office is supposed to get consents so V~CMC had an abli~ation to make sure
           they did,

        29. ACGQTC11Ilg to ,TIII St~~~71~1~, tie risk inanagex at'West Chester, s1~e lctaew
            Durratu had "issues,"

        30. Jill ~tegma.~l aoi~c~ms Grerry Goodrn~.n'~ ca~nplax~ts.



                                                11
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 262 of 271 PAGEID #: 284




         3~, According to Kathy Hays, WCMC knew l aw Dr. burt'ani used BMP-2 and
            PureGan.

         32. Dx,`~'zm I~remc~lek, the Chief of the Ortho~ed~c department,failed to do iris
            job under the M:EC byXaws as it related to the supei~vzsion and ~~eview of Dx,
             Dlu-rani.

         33,.Accorclillg to D~•, Tiro Kz•E~~che~, he knevr Dz, Durran:i vas "sloppy."

         34. Sevin Joseph, the C~4 of WCMC,claims to knave nothing abort surgery
             ope~ations~in Ius hospital.

         35. Kevin .~oseph, tie CEO,cXazrns ~. ht~spital must ~rofiect patie~its from
             unnecessary harm "as znueh as they can."

         36. Z~.e~rz~ Joseph,the CEO,ciauns'WCMC doesn't knave oversight ofsurgeons
             doing what Plaintiff'claims Tlut~anz was doing. (T?espite what his bylaws
             state.}

         37. Kevin Joseph,the CEO,denies tote ~aaspital has any respansibili~ly if Dx,
             D~urazu did a~n, unnecessary su~.~ge~y.

         38. Sevin Joseph,the CEQ,despite hzs ~x~.a~ee office tracking it, denies ar~y
             I~iowledge ofBMP-2 use.

         39. T~evi~i ~ase~h, tine CEO,denies knq~vixzg about any complaints about Dx.
             Durrani.

         40. ~.~vin Joseph,the CEO,admits they bene~~ed fir~atzczal~y franc Dr. Durrani,
             3~zc~uding his own day.

         41. Mari Ttomba,the'OR manager,admits ~3Iv1~'-2 use as used by Dr. Durrani.

         4~. According fo .Feff Drapalik,the Seivar Leadership team, including Joseph, met
             weel~ly and revze~v'ed txt~tz~.b~rs.

         43. According to Jeff Drapa[ik, t'1ae CFO of'~JCMC ~rx3ew Dr. D~urani was a }iigh
             volume money Ynake~•.

         ~~. ~,esl~y Gilberfison, a member a~t ae 1V~EC o~ VJCZVIC, and anesthesiologist
             working with Dur~•ani, had a co~.cez~n. a~aut k~o~v long bunani kept patients
             u~.c~ex.

         A~S. Aeeordzng to materials mana~e~•, Dennis Rabb,'WCNiC luiew the vol~unes of
              BMA'-2 being used.



                                              12
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 263 of 271 PAGEID #: 285




         ~6, Accordz11g to Karen Gh~~.ri, WCMC knew the chart documentation of Dr.
             Duit~ani was i~,ot x~ compliance wifil~ fh~i~ byla~vs.

         47, ~'~~~ick Baker, ziursizig V~ at WCMC admits WC~VIC txacked the financial.
             perfa~nance ofDz~, pu~rani.

         48, According to nurse, Vicki Sca##, the admirvst~ation of~VCMC knew fec~m the
             outset +~£ West Chester all the se~~~ous issues pei~a~ning to Dr. Durra~.~.

         ~~. A.CCOf'C~111~ ~(7 V1C~t SC4Lt, West Chester's zisk   manager be~ari,to ignore
             complaints tom IVIs. Scott,

         S0. AccQrd~~g to 'Vicki Scott, staff was scared to spew oYrt.

         51. According to Vxc~i Scatt, pa~e~ts didn't know who did fihe suargerzes—,Shartti
             ax I7urrani,                               .

         52. According tt~ Vicki Scott, records were not accut~ate who was in the UT-t. at
             what time.

         S3. ACCOT(~lri~ t0 ViC~Ll SGO~, e~veryane at WCMC knew it v~ras about money.

         54. According ttr Vicki Scott, WCMC knew about Dr. Du~ra~.i's and 'West
             Cliesfier's illegal use ofPureGre~, ~              .

         S5. According to Victci 5coi~, Dr. Dut7a~i was a behavior probXern..

         S6, A.ccording to pat~e~~t representative, Elizabeth Dean,'t~V`CMC tracl~ed I)x,
             Uurrani's volumes from the outset and the CFO Ioved what he saw,

         57, AcGOxding to Elizabeth Dean, WCNTC knew Dr. Dut~z~ani had issues at
             Children's.

         58. According ~o ~Iizabeth Dean,"t~i~C1VIC knew Dr.]~~nrani was performing
            ur~necessaty procedures by volun~e~ and repeats.

         59. A.eGarcling to nurse, Scott R.i~a~€e~, WCMC Xa~.ei~ Dx. L}~u~ani waitecl until after
            suxgexxes to doc~unent what pxocedures were planned.

        6Q,.Accazd~z~g t~ Stott Rimer, patients at'VirCMC had proeedtues they did got
           consent to a~.d WCNfC knew it.

        61. AGCOrdil~g to ~cot~ Runer, sterile fields were not ~arQtected.

         d2. According to Scott.Rinaer, WCMC knew PZUeGen was being used by Dr,
             Du~a~i and allowed i~.


                                                13
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 264 of 271 PAGEID #: 286




         63. Accordxztg to Thomas Bla~1k,~'ureGen was ~.n alternative to BlY~P~2, w~ar.ch.
             VITCMC tu~~ied to ~6ased upon instuance denials ofBMP-2. In addition, Dr.
            D~~rrani operated an unethical PQD of Alphatec}~ called Evah~tion Medical to
             sell Pu~~eGen to West Chester.

         64. According to Gerry Goodman,'WCMG tracked BMP~2 use by Dr. Durr~ni;
             pafiiex~.ts slid not.kno~v who at times performed t~ei~ stugery br. Shand or br.
             Du~r~ni; elect~•v~uc records had to be changed aftex Dz', Duzxa~x's surgexy; Dx~.
             Durraiu and WCIV~C ~.e~er obtained infor~rned co~asents; Dr. Durra~i's ~alume
             was a wat~ni~g sign of averutilizafion. Ge~rz~y Goodman reported all these
             coneez~.s to WCMC and there was no aotion. Gerry Goodman was told a~ld
             co~.clt~ded that ~'CMC did not wait to do anything about Dr. Du~7ani because
            of money rewards.

                                  A.DDIT~Ol~(A.L OP~IVY~N~

         65, The Centex of Advanced Spine Technolflgies(CAST)negligently supervised
             and retained Dr. Diurani,including by allowiYlg Dr. Durrani to perform
             unnecessary procedures asld siugei7es; use SMP-2 andlor ~'ureGen without
             appxopriate consent; failit;g to disclose Dr. Shanti and otlier~ involvement in
            surgery; zm~roper billuig; changing tha pre-op and post-ap records ~ta coincide
             ~v~.en the surgery was not the surgery disclosed; and all other co~iciuct defaileci
             x~a t,~ae documents I reviewed.

         ~6, WCMC,CTC Health ~i~d CAST's motive far their actions aa~d inactions
            tow~~ds Dr, J~u~~ra~.~ was financial gain.,

         67. The MEC,adrninisi~atio~ and Boards of WCMC and UC HeaXth ~faiXed tc~
            "go~et~ the affairs oFthe Medical St~fif"

         68. The MEC,adminis#ra~iai~ and Boards of WCMC and. UC Health Failed to
             enforce their riles upon Dr. Diurani as ~.e~ ~'vere requiiued to do.

         69. The MEC,adz~ni~.istration az~d Bva~ds ofj1VCMC and U'C HeaIth failed to
             ~aravfde oversight o~'Dr, Durrani as they were raquxr~d to do.

         70. The 1VIEC, administ~atian a~.d Boards of WCMC anti UC Health. failed tv
             properly evaluate Dr. Durrani.

         71. The Orthopedic and Surgery Departme~fs abdicated thew responsibility ~.u~c~er
             the MEC bylaws to review, investigate and sup~~vise I]x. Dlu.7ani,

         72. The MEC,administration and Boards o~ WCMC and LTC Heal~Yi wiled to
             properly discipline Dr. I~ilTTa171 111C1UC~.1tlg SLll17tT1~ SUS~}~I1510I15 ~T1C~
             T'eV~C~.$10i1.



                                                14
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 265 of 271 PAGEID #: 287




         73. The MEC,adn~inist~a~ion and Boards of WCMC and UC Health failed #o
             properly discipline uric~er the MEC bylaws as it pertaz~ to Dr. I]iu~ai~i,

         74. The MEC,adininis~:atxor~ and Boards of WCMC and rJC Health ignaret~ the
            in~ormatio~z xeadily available ~e~fiaitung to Dr. Du1~xa~zi befaxe c~edentialing
             a~c~ granting hint privileges.

         ?~. The MEC,ad~n~nzst~ation and Boards of W~:MC and UC ~Tealt}i failed to act
             a~i Dr, Dt~rx~i's disruptive behavior, unprofessio~.a~ be~aavxox a~~.d cliiucal
             pe~.~ormance placing Plaintiff at risk.

         76. The MEC,aclmuustrat~on aid Boaxds o:f WCIuIC and rJ'C T~ealtli certified and
             approved the unnecessary procedures ~f Dr. Durra~i o~ F~aintiff knowing they
             were unr~.eoessary and knowingly allowing the improper use ofBMP-2 and/or
            PuxeCxen ar~d lrnowing there was not proper informed ea~aserat.

         77. The MEC,admuustra~iori and Boards o~'4~CMC and UC Health failed to act
             do Dr. Durrani'~ t'aihure ui medical record documentation,

         7$. The MEC,administration and Boards of~CMC and UC Health failed to
             regture Dr. T~t~i~rarii to follow the ivles for offlabel experimental ~racedures.

         79. The MSC,admii~isfiratiot~ and Boards o~ ~VCMC end UC Health allowed Dr.
             Durrani to use undisclosed and ~u~giialified surgeons to perform his surgeries
             including Dr. Sl~anti:

         84. Tk~~ MEC,administration and Boaxds a~ WGMC anti UC health atXowed Dr,
             Dtu'ra~x to do nniltiple st~'geries at once.

        81, WCMC and UC Health have refiised to provide as privileged the peer review
           information £rgzn WCMC for Dr. Durrani to either the or their o~~rn expert.
            Therefflre, we have no knowledge of what action, if any, was taken ~.~ainst
           hun, However, based upon the fads he~'e, xt is obvious they failed tt~ tike
           action.

        82.$ased upon all o#'the above, it's i~iy opinion that WCMC and UC Heap.~veze
           neglxge~t i:n theiz~ credentialing, si~petvising, t~1SC1~]~111Ii1~ aTiC~ T0f2~1ri111g DT,
           Dctr~'ani a~ s#aft a~.d allowing him to obtain and keep pi~.vileges at"~CMC
           under t~.e sta~daxds of Ohio as detailed iri the Bre~~da She11's Response to
           Motion fox ~ttnv~ary Judgment aid this proximately caused harm fio ~'laintif~

        8~. Tha facts support Richard St~xa~"ield's cXait~a fox negligence, battery, laci~ of
            consent and fraud.

        $4. As a result ofthe negligence acid conduct o~Dr;Dur~~ni, CAST,~4Vest Chester

                                                15
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 266 of 271 PAGEID #: 288




                   aiac~ UC Health, Richard ~tan~ZeX~ suffered damages proximately caused by
                  them,including ~Yie fallowing:

                   A. Pe~~anent disability
                  B. Physical deformity and scaars
                  C. Pasfi, Cu~~ent and ~'utiare ~'~ysical and Mental Pai.~ at~.d Suf~ezing
                  D. ~,ost xx~come past, present and future
                  E. z.,ass of~~joyment oflife
                  F. Past medical expe~tses
                  G. Future medical expenses ~.pproxirfiately in the azn~uxa~ o~ $Sa,04~ to
                       $250,000 depending an caiuse of~teatment
                  l~I. Aggravation of apre-existing condition
                  ~. Decreased ability to ea~~i income
                  J. 3%increased risk of cancer and fear ~fcance~~ if B1VIP-2 was usecl.

   AFFIANT S.A.YETI~ FURTHER I~tOT



                                                                                     --~-
                                                     ~EIT~ D.'Ui~i       Y,M.L7.


                                                     NOTARY


   SU~SCR~~I3,SWORN TO AND ACKNOWLEDGED before me,a Notary Public, by
                         !~      April
   Keith D. Wilkey, NZ,A, on this          pt   day of~h 241.~.



            pi~~EtA ROlNSE17                         NO'~'AR- PUBLIC
         Kotary Publis - Notary 5eai                 M~ Commission.~xp.;
            -State of M(sspurl
    Commissfoned far 5~, Gharies Co{~n1y              ~-     ~Q County
    My Cammissiun Expltes,July #8,2095
      Gommisslon Number:14~33G18
                                                     State o~ ~~~~ ~ 1~,~^,
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 267 of 271 PAGEID #: 289




                                         i
                                         i




                                                                   •
     Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 268 of 271 PAGEID #: 290




                                          MEIYIC}R,AN~?C.1'~vI


~~       Tom,         3o~.n

      ~'~t41Vi;       ~atsdy

      ~,~Tl~:         August ~,X010

      ~tEf            ~3ros~da Sl~el~


      I s~OV~C~ r~t~ Br~a~ wit1~ tl~e Nest ~be~t~x It+~edica~ ~~t~t~rto~ay wko a~~sed #hit fix, T~cu~nta
     s~31 has not sigb~d c~f~+on the op repo~#s. He said Dr. Durarst~ is +currently suspender and car~rcot
     sot~e~ule new pat~e~ts= ~ur~e~~,e#a. un4i# ~,f~ ~~arts are o~mgleted sa he i~ 1n~pefl.~1 he wi11 ~$t tie
     c+~poxt~ ~3~ned soap. Z will c~t~ ~a~k ~ a cct~upl~ a~~vc~ks.
         `~U:        Scshzx

     ~~OMs           ~an.~~r

     ~A~'E:          Sepf~zt~t~er 2~,204

     lEtL:           Br~tida ~t~eI}                     -


     Y spoke with.Brian a~t~in ~tthe 1~Tes~ Ghes~ter Mediaa~ ~~ter wl~o ~dvis~d that1~z. ~urante still
     k~~s ~~at signed p~~n tie a~ repaz~s, k~$ ~.~tv3sed ~a~ he his ta~~e~ to ~~,I~ura~t~'~ ~ff~ce end
     ~~y ire a~var~ pia#'~~ n~~ds to sign the reports. H~ sa3d there is ~n~thuig e1s~ lte ~an~ da ~d
     ~u~g~cst~d X ~a~it~nue #o cell him #'ar the ~~us, .i vr~~~ chi book in a counl~ of~v~e~~,
         'k't~t        ~ari~ ~kcalr Fi~o

      ~`~.t)~Ui;     JQ3~uu Hofsc~t~h
      riA            Q~~a~ier 5}2f~X C!


     '~'al#~d ~it~ 1~r~~ at West~hast~ex an aofi~oh~r 3, He ~dvi~ Du~a~ta ~1~~nitslg~ed ern two
     pY~~s in ~i,~ o~art. A,~S~a~entiy t~~ ~uxd the ~gh~e ~vh~al~n at the h~~pitai!b~ #fin ~~ tt end they
     ~~tai~a~ av~ryth~~ they canto get ~ure~it~ t~ skgn, ~#g ,p~.v~Ieg~s are stitt sn~ndcd ~ni~i tie
     ai~au~. 'in arty e~vveaat, Y r~aller~ ~#r~a~ u ~ecoz~~ ~m~ and tv~d him we uz~er~ta+~~ that tie
     x~ hid men r~l~aaed to the ur a a~mpa~y. ~g said t~to~ o~n ~l~as~ ~.~ xa~ords~~e
     in.~tt~a~cr~ ~:am~an~ ~unaignr~d t~o~~~ i# i~ far~i~n~ p ~se~ a~ Qppns~t~ ~~g~ purposes. T
     ~nt~ 1~n tt~t at tt~s ~ai~Y w~~u~t~~ito ~a~ the rec~~ even ift~r~ya~ not pi t aad
     nat~r         ~e +said fire wauid ~o ah ~ttd n~~ss phis ~n~ gel the sr~z~i~ tr► t~s ~wit~ tt~4
     unde~st~wt~~,

     ~: 11~,~o     ~~~ll
     as~s~.~
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 269 of 271 PAGEID #: 291
       Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 270 of 271 PAGEID #: 292




'`"~       I , Dr. Dui~•ani suspended ~ort~~ time sooner thin ~.ugust d,2~10 t~t~ough at least Uctobsr S,
               2~t 4,
           ~. what surg~xi~s pel°Formed du~~ir~~ #hat #ime7

                        ,..
                              .~
        Slone,~rysta!                    GCJ4D S~,M                                    Q$1a~1~ ~

        ~ouch~ .~a~f~i~                  WCH'                                         4(1111~
        Stanfield, RE~k                 't~~H                                         ~~I~~11(~
        v~a~~ooa,cQt~~~                  ~rcr~                                        asraari o
        r~G~u~~~,~x~~~x~               ~ ~v~~                                         asr~~ri~
         Smith, Dot~~l~l                 GQOD SAM                                     48120/14
         Cotner, Get~~~d                 'W'~~T                                       0$/23t1U
         HQUghtox~, Rnb~r#               WCH                ~                         08I2~1i0
         Ross, Carol                     WC~                                          0812 /lb
         Raw~e ,~tnn~lc~                 WCH                                          Q$I~SI~p
        Brady, R.ebslcari                W~H                                         08/271t0
        t~ll~t~, ~hetx~ Lynn             W~H                                         08l~ 0!~ Q
        S~alim~y~r, Ward,Linda           W~H                                         0~13~11U
        Jo3uisa~, ~heis~a               ~Ot3L1 ~~~irl                                O~lO~JI~
        Ros~~b~~`~, Tea e               V~~~                                         X9148/10
        ~hatnp~rt, David                tiVCi~                                       ~911Q/IQ
        ~~~lu~~~u~, ~;a~+lo             `VIr~H                                       09J1511Q
        Juergens, Sarah                 WCT~                                         09I1~/~Q
        t~uinn, I+~Iarci~               ~U~~i                                        Q9f1711p
        Rociri uex, Debbie              VJC~I                                        09/171I ~
       ~piv}~, ~xll~                    V~C~                                         Q911711 D
        Br,~t~shaw,~atdya               W~~T ~                                      09/~O~I U
       K~eh, ~1mat3d~                   W~H                                         0912b11~
       A~v~ood, Chrasis~ph~r           'V~~~                                        09122II~
       ~'avaro.~, Neil                 '~'~~H                                       0912/i Q
       Kauf~'man,I~atelyu               WCR                                         49I2211Q
       ~~ldst~its, CEu~stine           1~C~                                         0~1~4110
       R~ ,Ttrd~                       'WCT~          .w,...~                       09I~~110
       Hieke~+, ~~nx~if~r               Vi1CH                                       ~Olf}~1[~
       Hur~oizg, Csr~if ti              W~H          ~                              Iai(~~/10
       Shampect, David                  W~H                                         10/01/k0
       Ste~,trn~~, ~iex~~a              GOAD SAM                                    ~blbl/l b
Case: 1:16-cv-00593-MRB Doc #: 1-3 Filed: 05/31/16 Page: 271 of 271 PAGEID #: 293




   ~a hiss, Steve {Louise}     ~ ~ WCH                      10/04110
   I~a)I1718~eC, ~&rd,~ir~d~   ~ ''~'CI~                    1 UIQ41~0
   ~ra~k~b~~r~,~a~l               ~r~~€       ~             x oro¢i~ a
   M~Cauley,I-Dram      ~         ~VCH                      101~9~1X ~
